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   Inc., L’Oréal USA Products, Inc., and
 8 SoftSheen-Carson, LLC
 9                                UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12 CYNTHIA L. JONES, an individual,                 Case No.
13                   Plaintiff,
                                                    DEFENDANTS L’ORÉAL USA,
14             vs.                                  INC., L’OREAL USA PRODUCTS,
                                                    INC., AND SOFTSHEEN-CARSON,
15 L’ORÉAL USA, INC., a corporation;                LLC’S NOTICE OF REMOVAL
   L’ORÉAL USA PRODUCTS, INC., a
16 corporation; SOFT SHEEN-CARSON
   LLC, a corporation; SOFT                         Case Filed: July 18, 2024
17 SHEEN*CARSON (W.I.), INC., a
   corporation.; STRENGTH OF
18 NATURE, LLC, a corporation;
   GODREJ SON HOLDINGS, INC., a
19 corporation; AVLON
   INDUSTRIES, INC., a corporation;
20 SAFEWAY INC., a corporation; THE
   VONS COMPANIES, INC., a
21 corporation; and DOES 1-100
   inclusive,,
22
                Defendants.
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                                          NOTICE OF REMOVAL
        Case 3:24-cv-06845-SI     Document 1     Filed 09/30/24    Page 2 of 256




 1             PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441, and
 2 1446, Defendants L’Oréal USA, Inc., L’Oreal USA Products, Inc., and SoftSheen-
 3 Carson, LLC (collectively, “L’Oréal USA”), by and through their undersigned
 4 counsel, hereby give notice of the removal of this action titled Cynthia L. Jones v.
 5 L’Oréal USA, Inc., et al., Case No. 24CV083993, from the Superior Court of the
 6 State of California, County of Alameda, to the United States District Court for the
 7 Northern District of California. In support of its notice of removal, L’Oréal USA
 8 states as follows:
 9 I.          PROCEDURAL BACKGROUND AND GROUNDS FOR REMOVAL
10             1.   On July 18, 2024, Plaintiff Cynthia L. Jones (“Plaintiff”) commenced
11 the instant action in the Superior Court of the State of California, County of
12 Alameda, against Defendants L’Oréal USA, Inc., L’Oréal USA Products, Inc.,
13 SoftSheen-Carson, LLC, Strength of Nature, LLC, Godrej SON Holdings, Inc.,
14 Avlon Industries, Inc., Safeway, Inc., the Vons Companies, Inc., and DOES 1-100.
15 Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served
16 upon or received by L’Oréal USA to date are attached hereto.
17             2.   This is a products liability lawsuit which arises from Plaintiff’s
18 allegation that her exposure to certain hair relaxer products caused her to develop
19 uterine fibroids. (See Ex. A, Compl. ¶ 3.) Defendants to this action are certain
20 manufacturers and alleged retailers of hair relaxer products. (Id. ¶¶ 17-53, 65.)
21             3.   A defendant may remove any civil action filed in a state court of which
22 the district courts of the United States have original jurisdiction. See 28 U.S.C. §
23 1441(a).
24             4.   In cases where removability appears on the face of the state court
25 complaint, a notice of removal must be filed within 30 days of service of the initial
26 pleading from which removability can be ascertained. See 28 U.S.C. § 1446(b)(1).
27 L’Oréal USA was served with Plaintiff’s Complaint on August 30, 2024. This
28

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                                         NOTICE OF REMOVAL
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 1 Notice of Removal is timely because it is being filed within 30 days after L’Oréal
 2 USA’s initial receipt of the Summons and Complaint.
 3             5.    As will be shown more fully below, the above-described action is a
 4 civil action over which this Court has jurisdiction pursuant to the provisions of 28
 5 U.S.C. § 1332(a), and is one which may be removed to this Court by L’Oréal USA
 6 pursuant to 28 U.S.C. §§ 1441(b) and 1446.
 7 II.         REMOVAL IS PROPER BECAUSE THIS COURT HAS ORIGINAL
 8             SUBJECT MATTER JURISDICTION PURSUANT TO 28 U.S.C. §
 9             1332(A).
10             A.    The Diversity of Citizenship and Amount in Controversy
11                   Requirements are Satisfied.
12             6.    The district courts have original jurisdiction of all civil actions “where
13 the matter in controversy exceeds the sum or value of $75,000, exclusive of interest
14 and costs” and is between “citizens of different States.” 28 U.S.C. § 1332(a)(1).
15             7.    Plaintiff, at the time she commenced this action, was a resident of the
16 State of California. (See Ex. A, Compl. ¶ 4.)
17             8.    Defendant L’Oréal USA, Inc. is a Delaware corporation with its
18 principal place of business in New York, New York.
19             9.    Defendant L’Oréal USA Products, Inc. is a Delaware corporation with
20 its principal place of business in New York, New York.
21             10.   Defendant SoftSheen-Carson, LLC at all relevant times was a limited
22 liability company organized under the laws of the state of New York. SoftSheen-
23 Carson, LLC’s sole member was L’Oréal USA, Inc., a Delaware corporation with its
24 principal place of business in New York. For purposes of diversity jurisdiction, a
25 limited liability company has the citizenship of each of its members. See Johnson v.
26
27
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                                          NOTICE OF REMOVAL
         Case 3:24-cv-06845-SI     Document 1     Filed 09/30/24   Page 4 of 256




 1 Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Thus,
 2 SoftSheen-Carson, LLC is a citizen of Delaware and New York.1
 3             11.   Defendant Strength of Nature, LLC is a Georgia corporation with its
 4 principal place of business located in Savannah, Georgia.
 5             12.   Defendant Godrej SON Holdings, Inc. is a Georgia corporation with its
 6 principal place of business located in Savannah, Georgia.
 7             13.   Defendant Avlon Industries, Inc. is an Illinois corporation with its
 8 principal place of business in Melrose Park, Illinois.
 9             14.   Defendant Safeway, Inc. is a Delaware corporation with its principal
10 place of business in Pleasanton, California.
11             15.   Defendant The Vons Companies, Inc. is a Michigan corporation with
12 its principal place of business in Pleasanton, California.
13             16.   As explained in section (B) below, Defendants Safeway, Inc. and The
14 Vons Companies, Inc. have been fraudulently joined in this action and therefore
15 their citizenship can be disregarded for purposes of evaluating diversity jurisdiction.
16 All other parties are completely diverse because Plaintiff is a citizen of California
17 and no other named Defendant is a citizen of California. The other properly served
18 Defendants consent to this removal.
19             17.   As to the amount in controversy, “a defendant’s notice of removal need
20 include only a plausible allegation that the amount in controversy exceeds the
21 jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574
22 U.S. 81, 89 (2014). “Evidence establishing the amount is required by
23 § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the
24 defendant’s allegation.” Id. at 89.
25
26
27   1
    Although Plaintiff also names Soft Sheen Carson (W.I.), Inc. as a Defendant, Soft
28 Sheen Carson (W.I.), Inc. is not an existing corporate entity.

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                                         NOTICE OF REMOVAL
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 1             18.   Plaintiff seeks an unspecified amount in damages against Defendants
 2 for no less than $25,000. (See Ex. A, Compl. caption page.) The items of damages
 3 for which Plaintiff seeks recovery are compensatory damages for the described
 4 losses with respect to each cause of action; past medical expenses; past and future
 5 lost wages and loss of earning capacity; past and future emotional distress; punitive
 6 damages with respect to each cause of action; reasonable attorneys’ fees where
 7 recoverable; costs; pre-judgment and all other interest recoverable, and such other
 8 additional relief as she may be entitled to in law or in equity. (See Ex. A, Compl. ¶
 9 420.)
10             19.   Plaintiff claims are not only that she was diagnosed with uterine
11 fibroids. (See Ex. A, Compl. ¶ 71.) Plaintiff also claims that her symptoms affected
12 her daily life in that she “struggled with heavy and irregular periods, severe pain and
13 cramping, and sharp pain during intercourse.” (Id. ¶ 72.) Plaintiff further claims
14 she underwent a uterine ablation but her symptoms continued to worsen and she was
15 in such unbearable pain that she was forced to leave her full-time job. (Id. ¶¶ 73,
16 74.) Plaintiff also alleges that she underwent a total abdominal hysterectomy and
17 hormone replacement therapy, that she was hospitalized for a week before
18 delivering her child, and that her struggle with fibroids has caused her to develop
19 anxiety and depression. (Id. ¶¶ 75, 76, 77, 80.)
20             20.   Plaintiff further alleges that the sum of the economic and noneconomic
21 losses damages she has suffered is in excess of the minimum jurisdictional limits of
22 the Superior Court of California, County of Alameda, which is $35,000 for
23 unlimited civil actions. (See, e.g., Ex. A, Compl. ¶¶ 234(c), 249(c).) This amount
24 and Plaintiff’s demand for punitive damages is sufficient to establish that the
25 amount in controversy plausibly exceeds the jurisdictional threshold of $75,000.
26 See Brooks v. Sanofi, S.A., No. 2:20-cv-565 JCM (EJY), 2020 WL 1847682, at *4
27 (D. Nev. Apr. 13, 2020) (explaining that the amount in controversy was met because
28 even if a court were to consider “a ‘conservative’ estimate at a 1:1 ratio of punitive

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                                         NOTICE OF REMOVAL
        Case 3:24-cv-06845-SI      Document 1    Filed 09/30/24   Page 6 of 256




 1 to economic damages, plaintiff’s past and future costs of care for two different
 2 forms of cancer would need to amount to only $37,500 to meet the amount in
 3 controversy. Notably, this is without considering any of plaintiff’s other requested
 4 relief.”).
 5             B.    Plaintiff has Fraudulently Joined Defendants Safeway, Inc. and
 6                   The Vons Companies, Inc. in an Improper Attempt to Preclude
 7                   Removal.
 8             21.   Removal is appropriate here pursuant to the doctrine of fraudulent
 9 joinder. See Grancare, LLC v. Thrower by & through Mills, 889 F.3d 543, 548 (9th
10 Cir. 2018) (“In determining whether there is complete diversity, district courts may
11 disregard the citizenship of a non-diverse defendant who has been fraudulently
12 joined.”). “If the plaintiff fails to state a cause of action against a resident
13 defendant, and the failure is obvious according to the settled rules of the state, the
14 joinder of the resident defendant is fraudulent.” McCabe v. Gen. Foods Corp., 811
15 F.2d 1336, 1339 (9th Cir. 1987).
16             22.   Here, the only two California-based Defendants are Safeway, Inc.
17 (“Safeway”) and The Vons Companies, Inc. (“Vons”). Plaintiff merely asserts that
18 she “frequently purchased Relaxer Products from Defendants Safeway’s and Vons
19 Companies’ stores in California.” (Ex. A, Compl. ¶ 65.) However, L’Oréal USA,
20 Strength of Nature LLC, Godrej SON Holdings, Inc., and Avlon Industries, Inc.
21 have no records of selling the hair relaxer products that Plaintiff alleges she
22 purchased to Safeway or Vons in California. Because Safeway and Vons did not
23 supply the hair relaxer products Plaintiff purchased, no cause of action can be stated
24 against them, and they have been fraudulently joined. Without these two
25 Defendants, complete diversity exists.
26             23.   Pursuant to 28 U.S.C. §§ 1441 and 1446, removal of this action from
27 the Superior Court of the State of California for the County of Alameda to the
28 United States District Court for the Northern District of California is appropriate.

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                                         NOTICE OF REMOVAL
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 1 The Superior Court of the State of California for the County of Alameda is within
 2 this district.
 3 III.        THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
 4             SATISFIED
 5             24.   Pursuant to 28 U.S.C. § 1446(d), L’Oréal USA will promptly serve a
 6 copy of this Notice of Removal, including exhibits thereto, on Plaintiff’s counsel
 7 and will file it with the Superior Court of the State of California for the County of
 8 Alameda in Case No. 24CV083993.
 9             25.   By filing this Notice of Removal, L’Oréal USA does not waive any
10 defense that is available to it. In the event any question arises as to the propriety of
11 the removal on this matter, L’Oréal USA requests the opportunity to present briefs,
12 oral arguments, and if necessary, additional affidavits and other evidence in support
13 of its position that removal is proper.
14             Wherefore, L’Oréal USA hereby removes this action from the Superior Court
15 of the State of California, County of Alameda to the United States District Court for
16 the Northern District of California.
17
18 DATED: September 30, 2024              ELLIS GEORGE LLP
19                                           Dennis S. Ellis
                                             Katherine F. Murray
20                                           Serli Polatoglu
21
22                                        By:         /s/ Dennis S. Ellis
23
                                                Attorneys for Defendants L’Oréal USA,
24                                              Inc., L’Oréal USA Products, Inc., and
25                                              SoftSheen-Carson, LLC

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27
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                                        NOTICE OF REMOVAL
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  EXHIBIT A
                       Case 3:24-cv-06845-SI                 Document 1               Filed 09/30/24               Page 9 of 256


                                                                                                                                                      SUM-100
                                                   S U M M o       N S                                                          FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                               (CITAC/ON JUDICIAL).
                                                                                                                      ELECTRONICALLY FILED
                                                                                                                            i           ifornia
NOTICE TO DEFENDANT:                                                                                                   SupeC untWoAlameii
(AVISO AL DEMANDADO):                                                                                                              0712212024
L'Oreal USA. Inc., a corporation; (Additional Parties Attachment form is attached.)
                                                                                                                       B~            D. Franklin         £fy

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
CYNTHIA L. JONES, an individual.

NOT[CE! You have been sued. The court may decide against you without your being heard unless you respondwithin 30 days. Read the information
below.
  You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call wi[I not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. [f you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken w[thout further wartiing from the court.
   There are other legal requirements. You may want to ca!l an attorney right away. [f you do not know an attorney, you may want to ca[l an attorney
referral service. [f you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidiren su contra sin escucharsu versidn. Lea la informaci6n a

   Tiene 30 DIAS DE CALENDARIO despucs de que le entreguen esta citacidn ypapeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no /o protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usarpara su respuesta.
Puede encontrar estos formularios de la corte y mi#s informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de la corte que
le dé un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener sefvicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en e/ sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
colegio de abogados locales. AVISO: Porley, la corte tiene derecho a reclamar las cuotas y los costos exentos porimponer un gravamen sobre
cualquierrecuperaci6n de $10,000 d mas de valorrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar e/ caso.

The name and address of the court is:                                                         CASE NUMaER:
                                                                                              (Numero del Caso):
(El nombre y direccion de la corte es): Alameda County Superior Court
                                                                                              24CV083993
1225 Fallon Street, Oakland, CA 94612

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Christopher R. Rodriguez, Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 95814
DATE:                                                               Clerk, by                                                                         Deputy
(Fecha) 0712212024 Chad Finke, ExecutNe Ofticerl Clerk ofthe Court (Secretario)            D. F ranklin                                              (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                               NOTICE TO THE PERSON SERVED: You are served
             ~~j 9I ~.9~~~            1. 0    as an individual defendant.
                                      2.   0      as the person sued under the fictitious name of                                                                       (speci
        ~~         ~~~~      ~ç

    ~          -                  ~   3.   0      on behalf of (specify): L'Oreal USA. Inc., a corporation
                                           under: [jjjjjj] CCP 416.10 (corporation)                         0      CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                   0        CCP 416.70 (conservatee)
                                                  0     CCP 416.40 (association or partnership)             [jjjjjjj CCP 416.90 (authorized person)
                                                  0     other (specify):               I
                                      4.         by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure §§ 412.20, 465
  Judicial Council of Califomia                                       SUMMONS                                                                      www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
                      Case 3:24-cv-06845-SI            Document 1           Filed 09/30/24           Page 10 of 256

                                                                                                                             SUM-200 A
  SHORT TITLE:                                                                                case NUMeeR:
  Cynthia L. Jones v. L'Oreal USA, Inc., et al.        .                                      24CV083993


                                                        INSTRUCTIONS FOR USE
  ->This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  - If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
    Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type ofparty.):

       0   Plaintiff    Ox Defendant              0
                                                 Cross-Complainant             0
                                                                         Cross-Defendant
L'OREAL USA PRODUCTS, INC., a corporation; SOFT SHEEN-CARSON LLC, a corporation; SOFT SHEEN*CARSON (W.I.), INC., a
corporation.; STRENGTH OF NATURE, LLC, a corporation; GODREJ SON HOLDINGS, INC., a corporation; AVLON INDUSTRIES,
INC., a corporation; SAFEWAY INC., a corporation; THE VONS COMPANIES, INC., a corporation; and DOES 1-100 inclusive,




                                                                                                                   Page    1     of    1
                                                                                                                                  Paqe 1of 1
 Form Adopted for Mandatory Use
   Judicial Council of Califomia                  ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case 3:24-cv-06845-SI        Document 1         Filed 09/30/24       Page 11 of 256


                                                                        ELECTRONICALLY FILED
                                                                         Superior Caurt of Califarnia,
 1     Christopher R. Rodriguez (SBN: 212274)                               County afAlameda
       Andrew D. Bluth (SBN: 232387)
 2     Danielle Ward Mason (pro hac vice forthcoming)                   EIV9O4 at U4:4~:95 FM
       Singleton Schreiber, LLP                                                By: aamaree Franklin,
 3                                                                                 Deputy Clerfc
       1414 K Street, Suite 470
 4     Sacramento, CA 95814
       Telephone: (916) 248-8478
 5     Facsimile: (619) 255-1515
 6 l Attorneys for Plaintiff

 7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

 8                                        COUNTY OF ALAMEDA

 9 l   CYNTHIA L. JONES, an individual,                     CaseNo.      4c3Yl3

10                               Plaintiff,                 COMPLAINT FOR DAMAGES
11      v.                                                  (1)Strict Liability—Failure to Warn;
12                                                          (2)Strict Liability—Design Defect;
       L'OREAL USA, INC., a corporation;                    (3)Breach of Express Warranty;
13     L'OREAL USA PRODUCTS, INC., a                        (4)Breach of Implied Warranty of
       corporation; SOFT SHEEN-CARSON LLC, a                Merchantability;
14     corporation; SOFT SHEEN*CARSON (W.I.),               (5)Breach of Implied Warranty of Fitness for a
       INC., a corporation.; STRENGTH OF                    Particular Purpose
15     NATURE, LLC, a corporation; GODREJ SON               (6)Negligence—Design, Manufacture and
16     HOLDINGS, INC., a corporation; AVLON                 Sale;
       INDUSTRIES, INC., a corporation;                     (7)Negligence—Failure to Recall/Retrofit;
17     SAFEWAY INC., a corporation; THE VONS                (8)Negligence—Failure to Warn;
       COMPANIES, INC., a corporation; and DOES             (9-13) Fraud—Intentional Misrepresentation;
18     1-100 inclusive,                                     (14-18) Fraud—Concealment;
                                                            (19) Unlawful Business Practices in Violation
19                                                          of Ca. Health & Safety Code Sec. 25249.6 Et
                                 Defendants.
                                                            Seq.
20
21                                                          (Unlimited Civil — Amount Demanded
                                                            Exceeds $25,000)
22
                                                            DEMAND FOR JURY TRIAL
23
24
25                                  I.        INTRODUCTION
26           1.     This is an action for damages relating to L'OREAL USA, INC.; L'OREAL USA I
27     PRODUCTS, INC.; SOFT SHEEN-CARSON LLC; SOFT SHEEN*CARSON (W.I.), INC.;
28     STRENGTH OF NATURE, LLC; GODREJ SON HOLDINGS, INC.; AVLON INDUSTRIES, INC.;
                                                        1
                                              COMPLAINT FOR DAMAGES
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 1   SAFEWAY INC.; THE VONS COMPANIES, INC.; AND DOES 1-100 INCLUSIVE, hereinafter
 2   "Defendants" design, manufacture, research, sale, testing, marketing, advertising, promotion, and/or
 3   distribution of chemical hair relaxer products ("Products"). These Products, commonly referred to as
 4   "hair relaxers," are a type of lotion or cream product that uses the chemicals contained therein to alter
 5   the structure of very tight curls or curly hair, thereby "relaxing" the curls.

 6           2.      The Products are common among women in the United States and are historically
 7   marketed particularly to Black and Brown women with tight curls or curly hair. When used as

 8   intended, the Products pose an increased risk of hormone-related cancers and reproductive problems

 9   including the development of uterine fibroids. Defendants had knowledge of these increased risks but

10   hid them from their customers and the public as they continued to manufacture, sell, promote, market,

11   and distribute the Products.

12           3.      As a direct and proximate result of Defendants' wrongful conduct, Plaintiff suffered
13   serious and permanent physical and emotional injuries, and uterine fibroids, and seeks damages
14   relating to Defendants' design, development, manufacture, testing, packaging, promotion, advertising,
15   marketing, distribution, labeling, and sale of Products, as described below.
16                                     II.        THE PARTIES
17           4:     Plaintiff Cynthia L. Jones is a citizen and resident of the State of California, with her place
18   of residence being North Highlands, California in Sacramento County.

19           5.     Defendant L'Oreal USA, Inc. is, and at all times relevant to this action, was a
20   corporation, with its principal places of business and headquarters located at 575 Fifth Avenue, New

21   York, New York 10017 and 888 North Douglas Street, E1 Segundo, California 90245. At all times

22   relevant hereto, Defendant L'Oreal USA, Inc. regularly and continuously did business within this

23   judicial district by designing, testing, manufacturing, researching, marketing, advertising, promoting,
24   selling, and/or distributing the Products.
25          6.      Defendant L'Oreal USA Products, Inc. is, and at all times relevant to this action, was a
26   corporation, with its principal place of business and headquarters located at 10 Hudson Yards 347 l 0th
27   Avenue New York, New York 10001 and 888 North Douglas Street, El Segundo, California 90245.
28   At all times relevant hereto, Defendant L'Oreal USA Products, Inc. regularly and continuously did
                                                        2
                                             COMPLAINT FOR DAMAGES
       Case 3:24-cv-06845-SI             Document 1      Filed 09/30/24      Page 13 of 256




 1   business within this judicial district by designing, testing; manufacturing, researching, marketing,
 2   advertising, promoting, selling, and/or distributing the Products.
 3           7.      Defendant Soft Sheen-Carson LLC ["Soft Sheen"], is, and at all times relevant to this
 4 II action, was a corporation with its principal place of business and headquarters located at 2870
 5   Peachtree Rd. Suite 464, Atlanta GA 40405 and process may be served upon its registered agent,
 6   Corporation Service Company, 80 State Street, Albany, NY 12207. At all times relevant hereto,

 7   Defendant Soft Sheen regularly and continuously did business within this judicial district by

 8   designing, testing, manufacturing, researching, marketing, advertising, promoting, selling, and/or

 9   distributing the Products.

10           8.     Defendant Soft Sheen*Carson (W.I.), Inc., ["Carson (W.I)"], is, and at all times
11   relevant to this action, was a corporation and process may be served upon its registered agent,
12   Corporate Services Company 251 Little Falls Drive, Wilmington, Delaware 19808. At all times

13   relevant hereto, Defendant Carson (W.I) regularly and continuously did business within this judicial
14   district by designing, testing, manufacturing, researching, marketing, advertising, promoting, selling,
15   and/or distributing the Products.

16           9.     Defendant Strength of Nature, LLC ["Strength of Nature"] is, and at all times relevant

17   to this action, was a corporation with its principal place of business and headquarters located at 64

18   Ross Road, Savannah, GA 31405 and process may be served upon its registered agent, Karan Sood at

19   64 Ross Road, Savannah GA 31405. At all times relevant hereto, Defendant Strength of Nature

20   regularly and continuously did business within this judicial district by designing, testing,

21   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the
22   Products.

23          10.     Godrej SON Holdings, Inc. ["Godrej SON"] is, and at all times relevant to this action, l
24   was a corporation with its principal place of business and headquarters located at 64 Ross Road, l
25   Savannah GA, 31405, and process may be served upon its registered agent, Karan Sood at 64 Ross
26   Road, Savannah, GA 31405. At all times relevant hereto, Defendant Godrej SON regularly and
27   continuously did business within this judicial district by designing, testing, manufacturing,

28   researching, marketing, aclvertising, promoting, selling, and/or distributing the Products.
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 1           11.     Defendant Avlon Industries, Inc. ["Avlon"], is, and at all times relevant to this action,
 2   was a corporation with its principal place of business and headquarters located at 1999 N 15th Ave
 3   Melrose Park, IL, 60160, and process may be served upon its registered agent, Kenneth J. Nemec, Jr.
 4   835 McClintock Dr., 2°d Floor, Blurr Ridge, IL 60527. At all times relevant hereto, Defendant Avlon
 5   regularly and continuously did business within this judicial district by designing, testing,

 6   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the

 7   Products.

 8           12.     Defendant Safeway Inc. ["Safeway"] is and at all times relevant to this action, was a

 9   California citizen with its principal place of business and headquarters located at 11555 Dublin

10   Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served upon its

11   registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times relevant

12   hereto, Defendant Safeway regularly and continuously did business within this state and county,
13   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,
14   by marketing, advertising, promoting, selling, and/or distributing the Products.
15           13.     Defendant The Vons Companies, Inc. ["Vons Companies"] is and at all times relevant

16   to this action, was California citizen with its principal place of business and headquarters located at

17   11555 Dublin Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served

18   upon its registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times

19   relevant hereto, Defendant Vons regularly and continuously did business within this state and county,

20   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,

21   by marketing, advertising, promoting, selling, and/or distributing the Products.

22                                   III.    JUItISDICTION AND VENiJE

23           14.     This Court has jurisdiction over the claims and causes of action asserted herein because
24   such claims arise out of all of the Defendants' unlawful business practices within the State of
25   California, at least some of the Defendants are citizens of the State of California, and Plaintiffs' injuries
26   were suffered within the State of California as a result of Defendants' conduct.
27           15.     Venue is proper in this Court because: Pursuant to California Code of Civil Procedure
28   section 395, at least some of the Defendants are residents of Alameda County; all of the Defendants
                                                        4
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 1   transact •business in California and in the County of Alameda; and all of the Defendants have
 2   committed unlawful acts in the County; thus, a substantial part of the events giving rise to the claims
 3   alleged herein occurred in this County.
 4                                       IV.     STATEMENT OF FACTS
 5           16.       Each of the preceding paragraphs is incorporated by reference herein.
 6           17.       At all pertinent times, all Defendants were engaged in the research, development,

 7   manufacture, design, testing, sale, and marketing of the chemical hair relaxer products ("Products")

 8   and introduced such products into interstate commerce with knowledge and intent that such Products

 9   be sold in the State of California.

10           18.      At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
11   Inc., Soft Sheen, and Carson (W.I) developed, tested, assembled, manufactured, packaged, labeled,

12   prepared, distributed, marketed, supplied, and/or sold the defective chemical hair relaxer Products,

13   Dark & Lovely and Mizani.
14          19.       Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
15   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

16   phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP),

17   and benzylbutyl phthalate.

18          20.       Upon information and belief Defendants L'Oreal USA, Inc., L'Oreal USA Products,

19   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

20   bisphenol A.

21          21.       Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
22   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

23   cyclosiloxanes,      including     but     not    limited    to    octamethylcycloetrasiloxane   (D4),
24   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
25          22.       Upon information and belief, Defendants L'Oreal USA, Inc, L'Oreal USA Products,
26   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
27   parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and
28   butyl paraben.
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 1           23.   • Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 2   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 3   antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
 4           24.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 5   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

 6   ethanolamines, including but not limited to menoethanolamine and diethanolamine.

 7           25.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 8   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

 9   alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol

10   monoethoxylate, and nonylphenol diethoxylate.

11          26.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
12   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained UV

13   filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone-
14   3, oxtinoxate, and octadimethyl PABA.

15          27.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
16   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

17   fragrances, including but not limited to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool,

18   methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB,

19   isobomyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.

20          28.     At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
21   Inc., Soft Sheen, and Carson (W.I) placed defective hair relaxer Products into the stream of interstate

22   commerce.

23          29.     Plaintiff Jones used the following L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft
24   Sheen, and Carson (W.I) Products:
25                 a. Dark & Lovely No-Lye Children Relaxer System; and
26                 b. Mizani Moderate Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and
27                     Honey.
28          30.     At all pertinent times, all Defendants were engaged in the research, development,
                                                        b
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 1   manufacture, design, testing, sale, and marketing •of the chemical hair relaxer products ("Products")
 2   and introduced such products into interstate commerce with knowledge and intent that such products
 3   be sold in the State of California.

 4           31.      At all times material hereto, Defendants Godrej SON and Strength of Nature
 5   developed, tested, assembled, manufactured, packaged, labeled, prepared, distributed, marketed,
 6   supplied, and/or sold the defective chemical hair relaxer Products, Just For Me, TCB, Motions, and

 7   Dr. Miracle's.

 8          32.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

 9   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained phthalates, including but not

10   limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP), and benzylbutyl phthalate.

11          33.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,
12   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained bisphenol A.
13          34.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,
14   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained cyclosiloxanes, including but

15   not limited to octamethylcycloetrasiloxane (D4), decamethylcyclopentasiloxane (D5), and

16   dodecamethylcyclohexylsiloxane (D6).

17          35.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,
18   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained parabens, including but not

19   limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and butyl paraben.

20          36.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

21   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxer contained antimicrobials including but not

22   limited to o-phenylphenol, triclosan, and triclocarban.

23          37.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
24   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained ethanolamines, including but
25   not limited to menoethanolamine and diethanolamine.
26          38.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
27   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained alkylphenols, including but not
28   limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol monoethoxylate, and nonylphenol

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 1   diethoxylate.                         .
 2           39.      Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
 3   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained UV filters including, but not
 4   limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone-3, oxtinoxate, and
 5   octadimethyl PABA.

 6           40.      Upon information and belief, Defendants Godrej SON, Strength ofNature product, Just
 7   For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained fragrances, including but not limited

 8   to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool, methyl eugenol, methyl salicylate,

 9   pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB, isobornyl acetate, methyl ionone,

10   musk ketone, musk xylene, and phenethyl alcohol.

11           41.      At all times material hereto, Defendants Godrej SON and Strength of Nature placed j

12 l defective hair relaxer Products into the stream of interstate commerce.

13           42.      Plaintiff Jones used the following Defendants Godrej SON and Strength of Nature's l
14 I Products:

15                 a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,
16                    Coconut Milk, and Vitamin E;

17                 b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular;
18                 c. TCB No Base Hair Relaxer with Protein and DNA Mild;

19                 d. Motions No-Lye Relaxer System with Shea Butter, Argan Oil, and Coconut Oil;

20                 e. African Pride Regular Hair Relaxer; and

21                 f. Dr. Miracle's No-Lye Relaxer with Vitamins A and E.

22          43.       At all times material hereto, Defendant Avlon developed, tested, assembled,
23   manufactured, packaged, labeled, prepared, distributed, marketed, supplied, and/or sold the defective
24   chemical hair relaxer Product, Affirm.
25          44.       Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
26   contained phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate l
27   (DEHP), and benzylbutyl phthalate.
28          45.       Upon information and belief Defendant Avlon's Product Affirm hair relaxers
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 1   contained bisphenol A:
 2          46.     Upon information and belief, Defendant Avlon's Product Affirm hair relaxers
 3   contained cyclosiloxanes, including but not limited to octamethylcycloetrasiloxane (D4),
 4   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
 5          47.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 6 ~ contained parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl)

 7   adipate, and butyl paraben.
 8          48.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 9   contained antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
10          49.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
11   contained ethanolamines, including but not limited to menoethanolamine and diethanolamine.
12          50.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
13   contained alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol
14   monoethoxylate, and nonylphenol diethoxylate.
15          51.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
16   contained UV filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2,
17   benzophenone-3, oxtinoxate, and octadimethyl PABA.
18          52.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
19   contained fragrances, including but not liriiited to benzylcetate, eugenol, hexyl cinnemal, limonene,
20   linalool, methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI,
21   HHCB, isobornyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.
22          53.     At all times material hereto, Defendant Avlon placed defective hair Products into the
23   stream of interstate commerce and Plaintiff Jones used Affirm Relaxer Products.
24          54.     Plaintiff Jones used Defendant Avlon's "Affirm" branded relaxer Products.
25                   PLAINTIFF JONES'S USE OF HAIR RELAXER PRODUCTS
26          55.     Plaintiff Jones was first exposed to Endocrine Disrupting Chemicals ("EDCs") and/or
27   phthalate-based Products around 1989, at or aroitnd the age of eleven (11) when she began using
28   Defendants' Products.
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 1          56.     Plaintiff Jones continued using Defendants' Products from around 1989 to 2020, from
 2   approximately age eleven (11) to forty-two (42), resulting in thirty-one (3 1) years of continuous
 3   exposure.
 4          57.     Between the ages of 14 and 42, Plaintiff Jones used L'Or6a1 USA, Inc., L'Oreal USA
 5   Products, Inc., Soft Sheen, and Carson (W.I)'s "Dark & Lovely" branded Products, including Dark &

 6   Lovely No-Lye Children Relaxer System.

 7          58.    Between the ages of 13 and 20, Plaintiff Jones used L'Oreal USA, Inc., L'Oreal USA

 8   Products, Inc., Soft Sheen, and Carson (W.I)'s "Mizani" branded Products, including Mizani Moderate

 9   Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and Honey.

10          59.    Between the ages of 11 to 14, Plaintiff Jones used Godrej SON and Strength ofNature's

11   "Just for Me" branded Products, including:

12                a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,
13                      Coconut Milk, and Vitamin E; and
14                b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular.
15          60.    Between the ages of 11 to 14, Plaintiff Jones used Godrej SON and Strength of Nature's
16   "TCB" branded Products, including TCB No Base Mild Hair Relaxer with Protein and DNA.

17          61.    Between the ages of 30 to 32, Plaintiff Jones used Godrej SON and Strength ofNature's
18   "African Pride" branded Products, including African Pride Regular Hair Relaxer.

19          62.    Between the ages of 16 to 42, Plaintiff Jones used Godrej SON and Strength ofNature's
20   "Motions" branded Products, including Motions No-Lye Relaxer System with Shea Butter, Argan Oil,

21   and Coconut Oil.

22          63.    Between the ages of 21 to 42, Plaintiff Jones used Godrej SON and Strength of Nature's

23   "Dr. Miracle's" branded Products, including Dr. Miracle's No-Lye Relaxer with Vitamins A and E.
24          64.    Between the ages of 13 to 20, Plaintiff Jones used Defendant Avlon's "Affirm" branded
25   Products.
26          65.    Plaintiff Jones frequently purchased Relaxer Products from Defendants Safeway's and
27   Vons Companies' "Safeway" stores in California.

28          66.    Plaintiff Jones received retouches to relax her new growth approximately every four
                                                       iu
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 1   (4) to six (6) weeks, resulting in approximately eight (8) to twelve (12) applications of relaxer per
 2   year.
 3           67.      Plaintiff Jones used Defendants' Products by applying them to her hair by having a
 4   professional at a hair salon apply Defendants' Products exactly as instructed by Defendants.
 5           68.      Plaintiff Jones kept the Product on her hair for the time allotted in the instructions.
 6           69.      There was never any indication, on the Products packaging or otherwise, that this
 7   normal use could and would cause her to develop uterine fibroids.

 8           70.      Plaintiff Jones's last purchase of hair relaxer products was in 2020 when she decided

 9   to go natural.

10           71.      Years earlier, in approximately 2005, Plaintiff Jones was diagnosed with uterine
11   fibroids at the young age of twenty-seven (27) years old.
12           72.      Plaintiff Jones's fibroid symptoms affected her daily life. She struggled with heavy and
13   irregular periods, severe pain and cramping, and sharp pain during intercourse.
14           73.      A few years after her diagnosis, Plaintiff Jones underwent uterine ablation to treat her
15   fibroids. However, the treatment was unsuccessful, and her symptoms continued to worsen.

16           74.      In 2009, living with the pain and heavy bleeding became so unbearable that Plaintiff

17   Jones was forced to leave her full-time job.

18           75.      After struggling with grueling symptoms for two more years, Plaintiff Jones made the
19   impossible decision between her health and her desire to have more children. When she was just thirty-

20   two (32) years old, Plaintiff Jones underwent a total abdominal hysterectomy on February 11, 2011.

21           76.      Plaintiff Jones then started hormone replacement therapy and began menopause at the
22   young age of thirty-four (34).
23           77.      In 1998, prior to Plaintiff Jones's diagnosis of uterine fibroids, Plaintiff Jones gave
24   birth to her first child prematurely at thirty (30) weeks into her pregnancy. Before delivering her child,
25   Plaintiff Jones was hospitalized for a week due to considerations for the baby's safety.
26           78.      After her hysterectomy, Plaintiff Jones was forced to give up her dream of having more
27   children forever. However, before Plaintiff Jones even had surgery, her fibroids prevented her from
28   having children because of the severe pain she experienced during intercourse.
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             79.     Plaintiff Jones's inability to have children• caused significant strain on her marriage,
 2   and eventually, contributed to Plaintiff Jones and her husband getting a divorce.

             80.     Plaintiff Jones's struggle with fibroids has negatively impacted her mental health
 4   leading her to develop anxiety and depression.
 5           81.     Plaintiff Jones could not and did not discover the causal connection between her use of
 6   Defendants' hair relaxer products and her own reproductive issues until late October 2022, when the

 7   Chang study was released linking the use of chemical hair straightener or relaxers to uterine cancers

     and raising awareness of its connection to other reproductive system issues.

             82.     On October 18, 2022, just one day after the Chang study was published, its results were

10   widely published and highlighted on multiple major television news networks and online and social

11   media platforms. l
12           83.     Following the release of this study, a press conference was held for a woman in Illinois
13   filing of the first lawsuits against Defendants for the development of uterine cancer, which went
14   similarly viral, including in the state of California where Plaintiff Jones resides.
15           84.     The publicity of the study put Plaintiff Jones on notice for the first time that she may
16   have similarly been harmed reproductively by her use of hair relaxers and that she may have a legal

17   claim as a result.

18          85.     As a result of Defendants' acts and/or omissions, Plaintiff Jones suffered extreme pain
19

20   1 See, e.g., Jacqueline Howard, US woman files lawsuit against L'Oreal, claiming chemical hair

21   straightening products are linked to her cancer, CNNHealth (Oct. 24, 2022), available at
     https://www.cnn.com/2022/10/24/health/hair-straightening=products-lawsuit/index.html (last
22   accessed Feb. 27, 2023); Julian Mark, She was diagnosed with cancer at 28. Her lawsuit blames hair
     relaxers, The Washington Post (Oct. 27, 2022), available at
23   https://www.washingtonpost.corri1nation12022/1 0/27/loreal-lawsuit-hair-straightener-relaxer/ (last
     accessed Feb. 27, 2023); Fox32News, Woman claims L'Oreal chemical relaxers caused uterine
24   cancer: lawsuit, Fox5Atlanta (Oct. 24, 2022), available at
25   https://www.fox5atlanta.com/news/woman-claims-loreal-chemical-relaxers-caused-uterine-cancer-
     lawsuit (last accessed Feb. 27, 2023); Amanda Su & Sabina Ghebremedhin, Woman sues 5
26   companies alleging their chemical hair-straightening products caused her uterine cancer, Good
     Moming America (Oct. 25, 2002), available at
27   https://www. goodinorningamerica.com/wellness/story/woman-sues-companies-al leging-chemical-
     hair-straip-htening-products-92007557 (last accessed Feb. 27, 2023).
28
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 •1   and suffering, and extreme emotional distress.
 2                                HAIR STRAIGHTENERS AND RELAXERS
 3    A.      Market for Hair Straightening and Relaxing Products
 4            86.     Black people make up about 13 percent of the U.S. population, but by one estimate,
 5    their spending accounts for as much as 22 percent of the $42 billion-a-year personal care products
 6    market, suggesting that they buy and use more of such products — including those with potentially

 7    harmful ingredients— than Americans as a whole.2
 8            87.     In an analysis of ingredients in 1,177 beauty and personal care products marketed to
 9    Black women, about one in twelve (12) was ranked highly hazardous on the scoring system of EWG's

10    Skin Deep® Cosinetics Database, a free online resource for finding less-hazardous alternatives to

11    personal care products. The worst-scoring products marketed to Black women were hair relaxers. Each
12    of these categories had an average product score indicating high potential hazard.
13            88.     In the U.S. alone, Black consumers spend over $1 trillion each year, with a significant
14    amount of that spending toward hair care products.
15            89.     In 2020, the global Black hair care market was estimated at $2.5 billion, with the hair
16    relaxer market alone estimated at $718 million in 2021, with the expectation of growth to $854 million

17    annually by 2028.

18    B.      .History of Hair Relaxers in America

19            90.     In its natural or virgin state, afro-hair texture is characterized by coily, springing,
20    zigzag, and s-curve curl patterns; as well as its density, fullness, texture, and fee1.3

21            91.     Afro-textured hair "naturally grows up and out." 4
22

23    2 Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2, 2012,
      americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php;      Personal       Care    Products
24    Manufacturing Industry Profile, Dun & Bradstreet First Research, August 2016,
      www.firstresearch.com/Industry-Research/Personal-Care-Products-Manufacturinghtml.      (This report
25    uses "Black" to describe not only people who identify as African-American, but Black people in the
      U.S. who come from the Caribbean or other areas. "African-American" is used only when a cited
26    source specifies that term).
27    3 Patrick Obukowcho, Hair Relaxers: Science, Design, andApplication, 26, 14 (2018).
      4 Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times, Apri130,
28    2014, https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html.
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 1           92.     In Africa, hair was seen as a source of personal and spiritual power. As the highest
 2   point of the body and "most elevated part of the body, some communities believe[d] [their hair]
 3   connected thein with the divine."5 For some, hair was the "conduit for spiritual interaction with God."
     6
 4

 5           93.    African hairstyles were also status syinbols reflecting one's "marital status, age,
 6   religion, and rank in society" and one's tribe. Warriors, kings, and queens wore braids to show their

 7   ranking in society.8 The Wolof tribe in West Africa, wore braided styles when they went to war.9

 8           94.    Most styling was extremely intricate and involved days of labor. "Only the mad and

 9   mourning did not do their hair." 10

10           95.    One of the of first things slave masters did to enslaved people brought to American soil

11   was cut their hair. This was a way to "break their spirit and make slaves easier to control." I 1 What was

12   once a symbol of pride became a tool for subordination and degradation. As such, hair cutting was

13   also a common form of punishment.
14           96.    The very nature of slavery involved working long hours in dire conditions. Enslaved
15   people had "no time to care about one's appearance or one's hair."12 "Hair that was once a source of ~

16   pride and expression of identity was often tucked away beneath cloth to cover rough, tangles tresses

17   and shield them from hours spent toiling under the sun."13 The hair that was once an important spiritual

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19
     5  Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
20   https://odelebeauty.com/blo gs/the-rinse/black-hair-history-facts.
     6 Rumeana Jahangir, How Does Black Hair Reflect Black History?, BBC News. May 31, 2015.
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23   g ld.
     9 Id.
24   10 Hlonipha Mokoena, From Slavery to Colonialism and School Rules, Navigating the History of
25   Myths about Black Hair, Quartz Africa, Fe., 24, 2018, https://qz.com/africa/1215070/black-hair-
     myths-from-slavery-to-colonialism-schoo l-rules-and-good-hair/.
26   11 Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
27   12 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
     https://odelebeauty.com/blo gs/the-rinse/black-hair-history-facts.
28   13 Id.
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 1    and cultural symbol became tangled and matted.
 2               97.    White Americans did not see African or Black hair as beautiful. Instead, they described
 3 I~ it as "closer to sheep wool than human hair."14 African hair that was once considered an attractive

 4    feature became a source of shame, to be covered or cut.
 5               98.   In 1786, the Governor of Louisiana, Don Esteban Miro, passed the "Tignon Law" ~
 6 I requiring Black women to wear a tignon (scarf) over their hair as a way of signifying they were ~

 7 J members of the slave class, even if they were free.15

 8             99.     "By requiring free Black women to wear the same hair covering, the governor was

 9 I marking them as related to enslaved women rather than white women."16

10             100.    This law sent a direct signal to Black people that their hair held a symbol of inequality
11   and was a sign of poverty regardless of their actual social status.
12             101.    Because afro-textured hair was kinky and reflected African heritage rather than
13 l European ancestry afro-textured, hair was a symbol of low social status.l7
14             102.    Slaves with lighter skin and less coily hair were favored to work in the home, a far less
15 I strenuous position than in the plantation fields. 18
16             103.    Texturism, the idea that "good hair" is equated with a straighter hair texture, was
17   cemented into American culture during its period of chattel slavery. "Eurocentric beauty standards

18   dictated that coily hair and dark skin were unattractive and inferior"; "lighter skinned and straighter

19   haired slaves were favored and selected for more desirable positions in the house" as opposed to the

20   fields.19     Thus, "the texture of an enslaved person's hair could determine their value and working

21
22
     14 Ayana Byrd & Lori Tharps, When Black Hair Is Against the
                                                                     Rules, The New York Times, April
23   30, 2014. https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html
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     16 Fashionable Rebellion, Women and the American Story,      New York Historical Society Museum
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     and Library, https://wams.nyhistory.org/settler-colonialism-and-revolution/settler-
26   colonialism/fashionable-rebellion/.
     17 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
27   121 (2015).
     i s Id.
28   19 Id
                                                            15
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 1   conditions, which in turn might impact their overall health, comfort and chances for freedom[.]"Zo
 2   Naturally, Black men and women strived for a better life in America and were taught that the straighter
 3   and less kinky their hair was, the better of a life they could have. This fueled the desire for tools and
 4   products that could straighten Black hair texture.
 5           104.     Gone were the days of African hairstyles and pride. "The goal of grooming the hair had
 6   morphed from the elaborate and symbolic designs of Africa into an imitation of White styles adapted

 7   to Black kinks and curls."21

 8           105.     To obtain a better life, so many slaves would go to "dangerous lengths to straighten

 9 I their hair."22

10           106.     Black, or afro-textured hair texture, can be manipulated into a straightened state with
11   hair tools and products. Prior to the invention of the chemical relaxer in 1900s, individuals would

12   "press" afro-textured hair with metal hair tools such as the "hot comb." Pressing combs or hot combs
13   are metal hair tools that are first heated in a stove or ceramic heater, then pressed into hair strands to
14   temporarily straighten them.23
15           107.     The hot comb was first invented by Frenchman, Marcel Grateau who popularized the

16   hair styling tool in Europe in the 1870s, including advertisements in catalogs of major department

17   stores like Sears and Bloomingdales.24 The hot comb was later modified by Madam C.J. Walker, a

18   trailblazer in the development of black hair products, to be manufactured with wider comb teeth.25

19   With Walker's system, once the comb was heated a softening ointment was then applied for easier

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     20 Id.
23   21 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
24   22 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
25   https://odelebeauty.com/blogs/the-rinse/black-hair-hi story-facts
     23 Jaclyn Peterson, The Price ofBeauty, CTI Charlotte Teachers Institute Curriculum (2021).
26   24 Henry Louis Gates, Madam Walker, the First BlackAmerican Woman to Be a Self-Made
     Millionaire, PBS 100 Amazing Facts About the Negro, https://www.pbs.org/wnet/african-americans-
27   many-rivers-to-cross/history/100-amazing-facts/madam-walker-the-first-black-american-woman-to-
28   be-a-self-made-millionaire/ (last visited October 18, 2022).
     25 Cookie Lommel, Madam C.J. Walker 60 (1993)
                                                      16
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 1    manipulation of Black hair.26    •                               .

 2            108.   Today, afro-textured hair is still often straightened with a hot coinb rather than with
 3   chemicals. However, pressed hair remains susceptible to "shrinkage." Shrinkage is the process by
 4   which curly-kinky hair that has been temporarily straightened coils back into its natural state once the
 5   hair interacts with water, humidity, or perspiration,27 creating a shorter or fuller appearance.
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22            i.     The Invention of the Chemical Relaxer
23           109.    African American inventor Garrett Augustus Morgan, discovered and created a system
24   that would permanently straighten afro-textured hair, eliminating the issue of "shrinkage."
25           110.    In addition to being an inventor, Morgan was also a tailor. In the early 1900s, Morgan
26
27
     26 Id. at 62.
28   2' Id.
                                                        17
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.l   was repairing his sewing machines and wanted to find a way to polish the needles to stitch fabrics
 2   more smoothly.28 He applied a chemical solution to the needles and wiped the solution off with a rag
 3   and later noticed that the "curly" fibers in the rag were straightened after exposure to the chemical.29
 4          111.    Morgan further tested the chemical on a dog with curly hair and eventually on his own
 5   hair. The chemical solution successfully straightened curly hair. He tumed his formula into a gel-hair
 6   product, creating the G.A. Morgan Hair Refining Cream which was marketed in 1913.

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     28 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
28   29 Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28 (2008).
                                                                                    18
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 1            112.   Morgan's invention paved the way for the alkaline relaxer and later development of
 2   additional chemical based permanent hair straightening products in the Black hair care market. 3o
 3            ii.    Defendants' Marketing Efforts
 4            113.   In 1971, Dark and Lovely manufactured the first lye relaxer. The formula consisted of
 5   sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers. 31
 6            114.   In the 1970s, lye relaxer users and manufacturers noticed that the lye formula stripped
 7   proteins from the hair strand, resulting in the hair thinning and breaking.32 As a result, Johnson and

 8   Johnson marketed the first "gentle" hair relaxer in 1981, which used milder chemicals such as

 9   potassium hydroxide and lithium 33

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              115.   Over time, Soft & Beautiful and other chemical relaxer manufacturers developed herbal
22
     and botanical hair relaxer fonnulas. 34
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25   30 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
26   31 Cicely A. Richard, This History ofHair Relaxers, September 29, 2017
     https://classroom.synonym.com/the-history-of-hair-relaxers-12078983.html.
27   32 Id.
     33 Id.
28   34 Id.
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 1             116.   For decades, Defendants have marketed their hair relaxer products to African American
 2   customers across the United States, and the world, reinforcing the same historical Eurocentric
 3   standards of beauty. Defendant's marketing scheme relies heavily on branding and slogans that
 4   reinforce straight hair as the standard.3s
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16             117. For example, in the first ad above, L'Oreal touts "how beautiful Black hair can be"

17   (emphasis added), implying that in its natural state Black Hair is not as beautiful as it could be if

18   straightened.

19             118. Defendants misrepresented that "no lye" relaxers, or "gentle treatment" relaxers were

20   milder and/or safer than alternative relaxers. This was false. Hair relaxer products marketed as using

21   "gentle treatment" or similar terminology are not any safer than the other hair relaxer products on the

22   market.

23            119. Finally, Defendant L'Oreal depicts a Black woman with straight hair on each of its

24   Dark and Lovely and Optimum brands of relaxer product.

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28   35 Id.
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             120.    Defendants L'Oreal's and SoftSheen's Dark & Lovely brand hair relaxer products are ~
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18    intentionally labeled as providing a "healthy" gloss and containing "nourishing" shea butter with

19    jojoba and avocado oils. The terms "healthy" and "nourishing" suggest that hair relaxer products are

20    safe and even beneficial for the body when they are not.
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             121.         Defendant L'Oreal and Softsheen-Carson's Beautiful Beginnings hair relaxer product l
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     line, which is targeted to young Black girls, states that it "moisturizes, nourishes, and prevents
15
16   breakage...without hurting your scalp." These representations suggest that their hair relaxer

17   products are safe and even beneficial for children's bodies when they are not.

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 1 11 C.       Chemical Relaxer Use
 2             122.   Hair relaxers are classified as creams or lotions which are specifically marketed to
 3   Black and Brown women to "tame" their ethnic hair by making it smoother, straighter, and easier to
 4   manage on a daily basis.
 5             123.   Hair relaxing, or lanthionization, can be performed by a professional cosmetologist in
 6   a salon or barbershop, or at home with at-home relaxer kits designed for individual use. These home

 7   kits are sold in grocery, drug, and beauty supply stores in urban and rural cities throughout the United

 8   States.

 9             124.   Relaxers are applied to the base of the hair shaft and left in place for a "cooking"
10 ~ interval, during which the relaxer alters the hair's texture by purposefully damaging the hair's natural
11   protein structure. The effect of this protein damage straightens and smooths the hair. After a period of

12   weeks four (4) to eight (8) weeks on average, depending on the hair's natural growth rate), the treated

13   portion of the hair grows away from the scalp as new growth sprouts from the roots, requiring
14   additional relaxer treatment to smooth the roots. These additional treatments are colloquially referred
15   to in the community as "re-touches", resulting in women relaxing their new growth every four to eight

16   weeks on average, usually for decades.

17             125.   Hair relaxers can, and often do, cause burns and lesions in the scalp, facilitating entry
18   of hair relaxer constituents into the body. The main ingredient of "lye" relaxers is sodium hydroxide;

19   no-lye relaxers contain calcium hydroxide and guanidine carbonate, and "thio" relaxers contain

20   thioglycolic acid salts. No-lye relaxers are advertised to cause fewer scalp lesions and burns than lye

21   relaxers, but there is little evidence to support this claim.

22             126.   In some studies, up to 90% of Black and brown women have used hair relaxants and ~
23   straighteners, which is more commonplace for these women than for any other race. Hair products I
24   such as relaxers contain hormonally active and carcinogenic compounds, such as phthalates, known
25   to cause endocrine disruption, which are not required to be listed separately as ingredients and are
26   often broadly lumped into the "fragrance" or "perfume" categories. Relaxer habits usually begin in
27   formative childhood years, and adolescence is likely a period of enhanced susceptibility to debilitating
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 1 II conditions resulting from exposure to these chemicals.36

 2           127.    In the 1990s, the first relaxer product for young Black girls, Just for Me, hit the market
 3   with a catchy advertising jingle that captured consumer attention.37 It soon became one of the most
 4 ~ popular straightening treatments, touting a no-lye formula designed to be gentler for children's

 5 ~ sensitive scalps.

 6           128.    Once relaxer use begins in childhood, it usually becomes a lifetime habit. The

 7 I frequency of scalp burns with relaxer application can increase the risk of permanent and debilitating

 8   diseases associated with long-term exposure to endocrine-disrupting chemicals.

 9           129.    The reasons for Black women's use and dependence upon hair straightening products
10 ~ are associated with various factors, including (1) slavery and internalization of acceptable beauty ~
11   norms, (2) media and advertisements, (3) assimilation and economic security, (4) ease of hair l
12   maintenance, and (5) culture.38

13           130.    In a culture where Black women feel reduced to a lower standard of beauty, these
14   factors impact women of color's decisions to begin and continue using products to alter the natural
15   state of their hair, many times as a protective mechanism against racial discrimination. In the Dove

16   CROWN Study for girls (2021) conducted by JOY Collective, the following statistics were

17   discovered:39

18          a. 100% of Black elementary school girls in majority-white schools who report experiencing ~

19              hair discrimination state they experience the discrimination by the age of ten (10).

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21   36 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
22   37 Dana Oliver, The `90s Just For Me Hair Relaxer Commercial Song Is Stuck In Our Heads,
     HuffPost, Feb. 1, 2014. https://www.huffpost.com/entry/just-for-me-hair-relaxer-commercial-
23   song_n_4689981
     38 Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of Self-
24   Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-alteration-
25   practices-amongst-black-women-and-the-assumption-of-self-hatred/
     39 The CROWN Act was created in 2019 by Dove and the CROWN Coalition, in partnership with
26   then State Senator Holly J. Mitchell of California, to ensure protection against discrimination based
     on race-based hairstyles by extending statutory protection to hair texture and protective styles such
27   as braids, locks, twists, and knots in the workplace and public schools.
     https://www.thecrownact.com/
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 1           b. 86% of Black teens who experience discrimination state they have experienced
 2               discrimination based on their hair by the age of twelve (12).
 3           c. 66% of Black girls in majority-white schools report experiencing hair discrimination
 4               compared to 45% of Black girls in all school environments.
 5           d. 53% of Black mothers, whose daughters have experienced hair discrimination, say their
 6               daughters experienced discrimination as early as five (5) years old.
 7           e. 47% of Black mothers report having experienced discrimination related to their hair.
 8           f. Trauma from these experiences cause girls to miss days from school; teenage Black girls

 9               are missing a week of school per year due to hair dissatisfaction.

10           g. While 90% of Black girls believe their hair is beautiful, the microaggressions and
11               discrimination she endures has an impact on how she sees herself.
12           h. Black women are 1.5 times more likely to be sent home from the workplace because of I
13               their hair.
14           i. Black women are 89% more likely than white woinen to agree with this statement, "I have
15               to change my hair from its natural state to fit in at the office."
16           131.    The CROWN Act of 2021 is a legislative bill introduced in both houses of Congress to I
17   address discrimination against protective hair styles worn predominantly by women of color. While

18   the bill has not yet passed fully on a federal level, eighteen states have signed a version of the bill into

19   state law. Unless, and until, the CROWN Act inakes hair discrimination illegal in every state, children,

20   teenagers, and women of color continue to face discriminatory practices related to their hair choices,

21   with relaxing and straightening their hair being a defensive, yet dangerous and toxic option.
22   D.     Endocrine Disrupting Chemicals
23          132.     The endocrine system is indispensable for life and influences nearly every cell, organ,
24   and process within the body.40 The endocrine system regulates all biological processes in the body
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     40 Endocrine System: The Endocrine System I,ncludes The
                                                             Thyroid, Adrenals, and the Pituitary
28
     Gland, Science Direct, https://www.sciencedirect.com/topics/psychology/endocrine-system
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 1 IIfrom conception through adulthood, including the development of the brain and nervous system, the
 2 11 growth and function of the reproductive system, as well as the metabolism and blood sugar levels. 41
 3           133.    The endocrine system is a tightly regulated system made up of glands that produce and
 4 II release precise amounts of hormones that bind to receptors located on specific target cells throughout
 5   the body.42
 6           134.    Hormones, such as estrogen, testosterone, progesterone, and androgen, are chemical
 7 I signals that control or regulate critical biological processes.43

 8           135.    When a hormone binds to a target cell's receptor, the receptor carries out the hormone's
 9   instructions, the stimulus, and either switches on or switches off specific biological processes in cells,

10   tissues, and organs.44

11           136.    The precise functioning of the endocrine system is vital to maintain hormonal
12 I homeostasis, the body's natural hormonal production and degradation. A slight variation in hormone

13   levels can lead to significant adverse-health effects, including reproductive impairment and infertility,
14   cancer, cognitive deficits, immune disorders, and metabolic syndrome. 4s
15           137.    Endocrine disrupting chemicals ("EDCs") are chemicals, or chemical mixtures, which
16 I interfere with the normal activity of the endocrine system.

17           138.    EDCs can act directly on hormone receptors as mimics or antagonists or on proteins
18   that control hormone delivery.a6

19           139.    EDCs disrupt the endocrine system and interfere with the body's hormonal homeostasis
20   in various ways.

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     41 Endocrine Disruption, United States Environmental Protection
                                                                       Agency, Mar. 7, 2022,
23   https://www.epa.gov/endocrine-disruption/what-endocrine-system
     42 Id.
24   43 Id.
     44 Id.
25
     451d.; Michele La Merrill, et al., Consensus on the Key Characteristics ofEndocrine-Disrupting
26   Chemicals as a Basisfor Hazard Identification, Nature Reviews Endocrinol, Nov. 12, 2019,
     https://www.nature.com/articles/s4 l 5 74-019-0273-8
27   46 Evanthia Diamanti-Kandarakis, et al., Endocrine-Disrupting Chemicals:
                                                                                An Endocrine Society
     Scientific Statement, Endocrine Reviews, June 30, 2009,
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     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2726844/
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• 1           140.    EDCs can cause the body to operate as if there were a proliferation of a hormone and
 2    thus over-respond to the stimulus or respond when it was not supposed to by mimicking a natural
 3    hormone.
 4            141. • EDCs can increase or decrease the levels of the body's hormones by affecting the
 5    production, degradation, and storage of hormones.
 6            142.   EDCs can block the hormone's stimulus by inducing epigenetic changes, modifications
 7    to DNA that regulate whether genes are turned on or off, or altering the structure of target cells'

 8    receptors.47

 9            143.   EDCs are known to cause numerous adverse human health outcomes including

10    endometriosis, impaired sperm quality, abnormalities in reproductive organs, various cancers, altered

11    nervous system and immune function, respiratory problems, metabolic issues, diabetes, obesity,
12    cardiovascular problems, growth, neurological, and leaming disabilities.48

13           144.    EDCs that mimic the effects of estrogen in the body may contribute to disease risk
14    because exposure to estrogen, endogenously and exogenously, is associated with a wide variety of
15    reproductive diseases, including reproductive cancers, fibroids and endometriosis, and a woman's

16    lifetime risk of developing these disease increases with greater duration and cumulative exposure.

17           145.    Natural and synthetic EDCs are present in hair products under the guise of "fragrance"
18    and "perfumes", and thus enter the body when these products are exogenously applied to the hair and

19    scalp. Studies exploring this issue have thus far classified EDCs as estrogens, phthalates, and parabens.

20           146.    Indeed, numerous studies spanning more than two decades have demonstrated the

21    adverse impact EDCs including Di-2-ethylhexylphthalate have on the male and female reproductive

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24    47 Luis Daniel Martinez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-
25    ethylhexyl) Phthalate in placental development, function, andpathophysiology, Environment
      International, January 2021,
26    https://www.sciencedirect.com/science/article/pii/S0160412020321838?via%3Dihub
      48Endocrine Disrupting Chemicals (EDCs), Endocrine Society, Jan. 24, 2022,
27    https://www.endocrine.org/patient-engagement/endocrine-
      library/edcs#:'-:text=EDCs%20can%20disrupt%20many%20different,%2C%20certain%20cancers%
28
      2C%20respiratory%20problems%2C
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 1   systems such as inducing endometriosis, abnormal reproductive tract formation, decreased sperm
 2   counts and viability, pregnancy loss, and abnorinal puberty onset.49
 3           147.    Hair products used by Black women and children have been found to contain multiple
 4   chemicals associated with endocrine disruption. In a 2018 study testing hair products, including hair
 5   relaxers, relaxers marketed to children were found to contain the highest levels of four EDCs
 6   prohibited in the European Union (DEHP, nonylphenol, BPA and diethanolamine) and California

 7   Prop 65 law (o-phenlyphenol), with one relaxer kit (Just For Me) containing all five of these EDCs.so

 8           i.      Phthalates

 9           148.    Phthalates are known EDCs which interfere with natural hormone production and
10   degradation and are detrimental to human health.s1

11           149.   Phthalates are used in a variety of cosmetics and personal care products. Phthalates are
12   chemical compounds developed in the last century that are used to make plastics more durable. These

13   colorless, odorless, oily liquids are also referred to as "plasticizers" based on their most common uses.
14           150.   Phthalates also function as solvents and stabilizers in perfumes and other fragrance
15   preparations. Cosmetics that may contain phthalates include nail polishes, hair sprays, aftershave

16   lotions, cleansers, and shampoos.

17           151.   Phthalates are chemicals used to improve the stability and retention of fragrances and
18   to help topical products stick to and penetrate skin and hair.52

19

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21

22

23   a9 Hee-Su Kim, et al., Hershberger Assaysfor Di-2-ethylhexyl Phthalate and Its Substitute
     Candidates, Dev Reproduction, Mar. 22, 2018,
24   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5915764/.
     so Helm Jessica S. et al., Measurement of endocrine disrupting and asthma-associated chemicals in
25
     hair products used by Black women, Environmental Research, Vol. 165:448-58 (2018),
26   https://doi.org/10.1016/j.envres.2018.03.030.
     51 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
27   9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
     52 Olivia Koski & Sheila Hu, Fighting Phthalates, National Resources Defense Council, April 20,
28   2022, https://www.nrdc.org/stories/fighting-phthalates
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 1            152.   Phthalates are commonly used by cosmetics and hair care product manufacturers to
 2   make fragrances and colors last longer, and to make hair more flexible after a product is applied,
 3   among other uses.
 4            153.   Phthalates can be found in most products that have contact with plastics during
 5   production, packaging, or delivery. Despite the short half-lives in tissues, chronic exposure to
 6   phthalates will adversely influence the endocrine system and functioning of multiple organs, which

 7   has negative long-term impacts on the success of pregnancy, child growth and •development, and

 8   reproductive systems in both young children and adolescents. Several countries have established

 9   restrictions and regulations on some types of phthalates.53

10            154.   Phthalates are a series of chemical substances, which are mainly used as plasticizers
11   added to polyvinyl chloride ("PVC") plastics for softening effects. Phthalates can potentially disrupt

12   the endocrine system.s4

13            155.   Under the authority of the Fair Packaging and Labeling Act ("FPLA"), the FDA
14   requires an ingredient declaration on cosmetic products sold at the retail level to consumers.
15            156.   However, the regulations do not require the listing of the individual fragrance or flavor,
16   or their specific ingredients, meaning phthalates evade listing when combined with a fragrance. As a

17   result, consumers, including Plaintiff, are not able to determine from the ingredient declaration on the

18   label if phthalates were present in a fragrance used in the herein referenced hair products used by the

19   Plaintiff and placed into the stream of commerce by Defendants.

20            157.   Since 1999, the Centers for Disease Control ("CDC") found phthalates in individuals
21   studied for chemical exposure.55 Neither IARC nor NTP has evaluated DEHP with respect to human

22   carcinogenicity.

23            158.   At all relevant times herein, Defendants' products contain phthalates, including Di-2- ~
24
25
     s3 Id.
26
     s4 Id.
27   ss Biomarker Groups, National Report on Human Exposure to Environmental Chemicals, Center for
     Disease Control, https://www.cdc.gov/exposurereport/pdf/Biomarker Groups_Infographic-508.pdf
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       ethylhexylphthalate.
 ►.1           ii.     Di-2-ethylhexylphthalate
               159.    Di-2-ethylhexylphthalate56 ("DEHP") is a highly toxic manufactured chemica157 that is
 4     not found naturally in the environment.58
               160.    DEHP belongs to the family of chemicals called phthalates.s9
 6             161.    DEHP was first used in 1949 in United States and has been the most abundantly used

 7     phthalate derivative in the twentieth century. 6o

 8             162.    DEHP does not covaleritly bind to its parent material. Non-covalent bonds are weak

 9     and, as a result, DEHP readily leaches into the environment increasing human exposure. 61

10             163.    Humans are exposed to DEHP through ingestion, inhalation, dermal exposure for their

11     lifetimes, including intrauterine life.62

12             164.    The Agency for Toxic Substances and Disease Registry ("ATSDR") estimates that the
13     range of daily human exposure to DEHP is 3-30 µg/lcg/day.63
14
15
       56 Also known as Bis(2-ethylhexyl) phthalate.
16     57Sai Rowdhwal & Jiaxiang Chen, Toxic Effects ofDi-2-ethylhexyl Phthalate: An Overview, Biomed
   Research International, Feb. 22, 2018,
17
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5842715/#:~:text=DEHP%20is%20noncovalently%
18 20bound%20to,and%20plastic%20waste%20dispo           sal%20sites.
   58 Toxicological Profilefor Di(2-Ethylhexyl) Phthalate (DEHP), U.S. Dept of Health and Human
19 Services, January 2022, https://www.atsdr.cdc.gov/ToxProfiles/tp9.pdf (DEHP is listed as hazardous
   pollutants under the Clean Air Act.; DEHP is on the Proposition 65 list because it can cause cancer
20 and birth defects or other reproductive harm).
   s9 Di(2-ethylhexyl) phthalate (DEHP), Proposition 65, California. Gov,
21
   https://www.p65warnings.ca.gov/fact-sheets/di2-ethylhexylphthalate-dehp
   60 Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects of Endocrine-Disrupting
22
   Chemicals: A Special Focus on Phthalates and Bisphenol A, Environmental Health Risk, June 16,
23 2016, https://www.intechopen.com/chapters/50234
   61 Katelyn H. Wong & Timur Durrani, Exposures to Endocrine Disrupting Chemicals in Consumer
24 Products — A Guidefor Pediatricians, Current Problems in Pediatric and Adolescent Health Care,
25 Science Direct, May 2017,
   https://www.sciencedirect.com/science/article/pii/S15385442 173 00822?via%3Dihub
26 62 Schmidt, Juliane-Susanne, et al., Effects of Di(2-ethylhexyl) Phthalate (DEHP) on Female Fertility
   and Adipogenesis in C3H/N Mice, Environmental Health Perspective, May 15, 2012,
27 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3440070/
   63 Hannon, Patrick et. al., Daily Exposure to Di(2-ethylhexyl) Phthalate Alters Estous Cyclicity and
28 Accelerates Primordial Follicle Recruitment
                                                  Potentially Via Dysregulation of the
                                                        30
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 1           165.     The no-observed-adverse-effect level for DEHP to humans is 4.8 mg/kg
 2   bodyweight/day and the tolerate daily intake (TDI) is 48 µg/kg bodyweight.64
 3        .Endpoint           Cancer (NSRL)            Developmental and Reproductive Toxicity
 4                                                     (MADL)
 5
           Route of           Oral         Inhalation Oral                     Inhalation
 6
           Exposure
 7

 8         DEHP               310 µg/day N.C.          410 µg/day              N.C.

 9           Source: OEHHA's safe harbor levels for TDCIPP, DBP, DEHP, benzene, and formaldehyde.

10           N.C. = not calculated by OEHHA as of August 2020.6s

11
12           166.     When DEHP enters the human body, it breaks down into specific metabolites. The I

13   toxicity of DEHP is mainly attributed to its unique metabolites which include the primary metabolite,

14   mono-(2-ethylhexyl)phthalate      (MEHP),      and     secondary    metabolites,    mono-(2-ethyl-5-
15 ~ hydroxyhexyl)phthalate (MEHHP), and mono-(2-ethyl-5-oxohexyl)phthlate (MEOHP).66
16           167.     DEHP and its metabolites are known to cause significant adverse-health effects l

17 I including but not limited to endometriosis, developmental abnormalities, reproductive dysfunction and I
18
19
     Phosphatidylinositol 3-Kinase Signaling Pathway in Adult Mice, Biology of Reproduction Volume
20   90, Issue 6, June 2014, 136, 1-11 https://academic.oup.com/biolreprod/article/90/6/136,%201-
21   11/2514356
     64 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
22   9(5):603, May 18, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
     65 Aalekhya Reddam & David Volz, Inhalation of two Prop 65-listed Chemicals Within Vehicles
23   May Be Associated with Increased Cancer Risk, Environment International Volume 149, April 2021,
     https://www.sciencedirect.com/science/article/pii/S016041202100026X
24   66 Saab, Yolande, et. al., RiskAssessment ofPhthalates and Their Metabolites in Hospitalized
25   Patients: A Focus on Di- and Mono-(2-ethylhexyl) Phthalates Exposure from Intravenous Plastic
     Bags. Toxics, 10(7), 357, https://pubmed.ncbi.nlm.nih.gov/35878262/; Ishtaf Sheikh, et. at.,
26   Endocrine disruption: In silico perspectives of interactions of di-(2-ethylhexyl)phthalate and itsfive
     major metabolites with progesterone receptor. BMC Structural Biology Volume 16, Suppl 1, 16,
27   Sept., 30, 2016, https://bmcstructbiol.biomedcentral.com/articles/10.1186/s12900-016-0066-4 (Other
     secondary metabolites include mono(2-ethyl-5-carboxypentyl)phthalate (5-cx-MEPP) and mono[2-
28   (carboxymethyl)hexyl]phthalate (2-cx-MMHP)).
                                                       31
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 1 IIinfertility,67 various cancers, and metabolic syndrome within the human population and their future
 2 11 children.68
 3           168.      Most of the available studies on the health effects of DEHP in laboratory animals used
 4   oral administration, with a few inhalation studies and only two dermal exposure studies identified.69
 5           169.      The results of the selected animal studies, along with limited human data, suggest
 6 II potential associations between DEHP exposure and the following health outcomes:

 7                  a. Reproductive effects. Epidemiological studies suggest a potential association between
 8           DEHP exposure and decreased serum testosterone and altered sperm parameters in males.

 9           Available studies on fertility effects in humans do not indicate an association between DEHP

10           exposure and infertility. In animals, the available oral and inhalation studies provide evidence
11           that the male reproductive system, particularly the testes, is susceptible to DEHP toxicity.
12           Evidence from animal studies indicates decreased male and female fertility at high oral doses.
13                  b. Developmental effects. Epidemiological studies suggest a potential association
14           between reduced AGD and testicular decent in male infants and prenatal DEHP exposure. In
15           addition, human epidemiological studies provide mixed results for potential relationships
16           between exposure to DEHP and preterm birth, early puberty, and delayed mental and

17           psychomotor development in children. Studies in animals indicate that altered glucose
18           homeostasis and the development of the reproductive system following early life exposure is
19           a particularly sensitive target of DEHP toxicity.

20           170.      The global consumption of DEHP was estimated at 3.07 inillion tons (Global demand
21   for plasticizers continues to rise). The estimated global market of phthalates in 2020 is expected to

22   reach 10 billion USD and would still be widely used in plasticizers.70

23

24   67 Richardson, Kadeem et. al., Di(2-ethylhexyl) Phthalate (DEHP) Alters Proliferation and Uterine

25   Gland Numbers in the Uterine ofAdult Exposed Mice, Reproductive Toxicology, 77, 70-79,
     https://pubmed.ncbi.nlm.nih.gov/29458081/
26   68 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
     9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
27   69 Chapter 2: Health Effects, Toxicological profile for Di(2-ethylhexyl) phthalate (DEHP) (2001),
     https://www.atsdr.cdc.gov/ToxProfiles/tp9-c2.pdf
28   70 Id.
                                                      32
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 1            171. • Human epidemiological studies have shown• a significant association between
 2   phthalates exposures and adverse reproductive outcomes in both women and men.71
 3            172.   Evidence found that DEHP was significantly related to insulin resistance and higher
 4   systolic blood pressure and the reproduction system problems, including earlier menopause, low birth
 5   weight, pregnancy loss, and preterm birth.72
 6            173.   When it comes to the impacts on children, epidemiological studies about phthalates
 7   toxicity focused on pregnancy outcomes, genital development, semen quality, precocious puberty,

 8   thyroid function, respiratory symptoms, and neurodevelopment.73

 9            174.   Since the turn of the century, restrictions on phthalates have been proposed in many
10   Asian and western countries. In 2008, the U.S. Congress announced the Consumer Protection Safety

11   Act (CPSA), which permanently banned the products, especially children's toys and childcare articles,

12   containing DEHP, DBP, and BBP at levels >0.1% by weight.74
13   E.       Regulatory Framework
14            175.   The law does not require cosmetic products and ingredients, other than color additives, ~
15   to have FDA approval before they go to market. But there are laws and regulations that apply to

16   cosmetics placed on the market. The two most important laws pertaining to cosmetics marketed in the

17   United States is the Federal Food Drug and Cosmetic Ace ("FD&C Act") and the Fair Packaging and I

18   Labeling Act ("FPLA")

19            176.   The FD&C Act expressly prohibits the marketing of "adulterated" or "misbranded" J
20   cosmetics in interstate commerce.

21            177.   Adulteration refers to a violation involving product composition whether it results from l
22   ingredients, contaminants, processing, packaging shipping or handling.

23
24
     71 Id.
25
     72  N.M. Grindler, et al., Exposure to Phthalate, an Endocrine Disrupting Chemical, Alters the First
26   Trimester Placental Methylome and Transcriptome in Women, Scientific Reports Volume 8, April 17,
     2018, https://doi.org/10.1038/s41598-018-24505-w
27   ~3 Id.
     74 Consumer Product Safety Improvement Act of
                                                           2008, H.R. 4040, 110th Cong. (2008), https:
28
     //www.congress.gov/110/plaws/publ314/PLAW-110pub1314.pdf
                                                     33
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 1    •       178.   Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
 2   or deleterious substance causing injury to the product user and (2) if its container is composed in whole
 3   or in part, of any poisonous or deleterious substance which may render the contents injurious to health.
 4            179.   Misbranding refers to violations involving iinproperly labeled or deceptively packaged
 5   products.

 6            180.   Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading,

 7   (2) the label does not include all required information, (3) required information is not prominent and

 8   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant

 9   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.75

10            181.   Under U.S. law, cosmetic manufacturers are not required to submit their safety data to

11   the FDA. However, it is against the law to put an ingredient in a cosmetic that makes the cosmetic

12   harmful when used as intended.76 An example is methylene chloride because it causes cancer in

13   animals and is likely to be harmful to human health as well.77
14            182.   On May 19, 2022, the FDA issued a rule to amend its food additive regulations to no
15   longer provide for most previously authorized phthalates to be used as food additives because these

16   uses have been abandoned by industry.78 The FDA revoked authorizations for the food contact use of

17   23 phthalates and two other substances used as plasticizers, adhesives, defoaming agents, lubricants,

18   resins, and slimicides.79

19            183.   Companies and/or individuals who manufacture or market cosmetics have a legal

20   responsibility and duty to ensure the safety of their own products. Neither the law nor FDA regulations

21
22
23
     75 Food and Drug Administration Cosmetic Act § 602 (1938).
24   76 Prohibited & Restricted Ingredients in Cosmetics, U.S. Food and Drug Administration,
25   https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
     cosmetics
26   ~" 21 Code of Federal Regulations § 700.19.
     78 § 87 FR 31080
27   79 Phthalates in FoodPackages andFood ContactApplications, U.S. Food and Drug
     Administration, https://www.fda.gov/food/food-ingredients-packaging/phthalates-food-packaging-
28   and-food-contact-applications
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     require specific tests to demonstrate the safety of individual products or ingredients, and the law also
 2   does not require cosmetic companies to share their safety information with the FDA.
 3           184.   The FDA has consistently advised manufacturers to use whatever testing is necessary
 4   to ensure the safety of products and ingredients, which may be substantiated through (a) reliance on
 5   already available toxicological test data on individual ingredients and on product formulations that are

 6   similar in composition to the particular cosmetic and (b) performance of any additional toxicological

 7   and other tests that are appropriate in light of such existing data and information.80

 8          185.    Except for color additives and ingredients prohibited or restricted by regulation, a

 9   manufacturer may use any ingredient in the formulation of a cosmetic, provided that (1) the ingredient

10   and the finished cosmetic are safe under labeled or customary conditions of use, (2) the product is

11   properly labeled, and (3) the use of the ingredient does not otherwise cause the cosmetic to be

12   adulterated or misbranded under the laws the FDA enforces.81

13          186.    With respect to whether the product is properly labeled, Title 21 of the Code of Federal
14   Regulations defines the establishment of warning statements related to cosmetic products. Section
15   740.1 states that "[t]he label of a cosmetic product shall bear a warning statement whenever necessary

16   or appropriate to prevent a health hazard that may be associated with the product." (Emphasis added).

17   This warning directive directly correlates with the broad authority of manufacturers over their own

18   cosmetic products to ensure that products are safe under labeled or customary conditions of use,

19   properly labeled, and not adulterated or misbranded under FDA laws.

20          187.    In short, under the current regulatory framework in the United States, it is incumbent

21   upon the manufacturers of cosmetic products, and them alone, to assess the safety and efficacy of their

22   products, and to warn consumers anytime a health hazard may be associated with their products. Here,

23   a wealth of scientific information is available regarding long-term use of hair relaxers, straighteners

24   and hair dyes as containing certain endocrine-disrupting chemicals, which should have alerted
25
26
     80 FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-Regulated,
27   U.S. Food and Drug Administration, Mar., 3, 2005, https://www.fda.gov/cosmetics/cosmetics-laws-
     regulations/fda-authority-over-cosmetics-how-cosmetics-are-not-fda-approved-are-fda-re ulated
28   81 Id.
                                                     35
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 1    manufacturers of these products to the specific and dangerous harms associated with their products
 2   when used as intended, particularly in women of color.
 3             188.   It is generally accepted that EDCs, like those contained in Defendants' hair relaxer
 4   products, act like "hormone mimics" and trick the body into thinking they are hormones.
 5             189.   Products containing hormones that are topically applied, are regulated by the FDA
 6   under 21 C.F.R. section 310.530, which states that "any OTC drug product containing an ingredient
 7   offered for use as a topically applied hormone cannot be considered generally recognized as safe and

 8   effective for its intended use." See 21 C.F.A 310.530(a).

 9            190.    At all relevant times, Defendants' products referenced herein, contained endocrine
10   disrupting chemicals and hormonal agents, and are therefore subject to regulation by the FDA under

11   21 C.F.R. section 310.530.
12            191.    The Federal Food, Drug and Cosmetic Act also expressly prohibits the marketing of I
13 j"adulterated" or "misbranded" cosmetics in interstate commerce.

14            192.    Adulteration refers to a violation involving product composition whether it results from j
15   ingredients, contaminants, processing, packaging shipping or handling.
16            193.    Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
17   or deleterious substance causing injury to the product user and (2) if its container is composed in whole
18   or in part, of any poisonous or deleterious substance which may render the contents injurious to health.

19            194.    Misbranding refers to violations involving improperly labeled or deceptively packaged
20   products.

21            195.    Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading, (
22   2) the label does not include all required information, (3) required information is not prominent and

23   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant
24   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.82
25            196.    In addition, the federal regulations require that every ingredient in a cosmetic product
26   and finished cosmetic product be adequately substantiated for safety prior to marketing, and state that
27
28
     82   Food and Drug Administration Cosmetic Act § 602 (1938).
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 1   any ingredient or product for which the safety has not been adequately substantiated prior to marketing
 2   is misbranded unless it displays a warning statement declaring, "Warning — The safety or this product
 3   has not been determined." 21 C.F.R. § 740.10.
 4   F.      California Prohibits Misbranded or Adulterated Cosmetics
 5           197.    The California Sherman Food, Drug, and Cosmetic Law prohibits the sale of
 6   "misbranded" cosmetics. A cosmetic is deemed misbranded if, among other things, its labeling is false
 7   or misleading if any word, statement or other information required to appear on the label or labeling

 8   is not prominently placed upon the label or labeling with conspicuousness, as compared with other

 9   words, statements, designs, or devices, in the labeling, and in terms as to render it likely to be read and

10   understood by the ordinary individual under customary conditions of purchase and use; and, if it is

11   subjected to the federal FDA regulations but is not in compliance therewith. Cal. Health & Saf. Code

12   § 111730, 111790.
13          198.    California also prohibits the sale of "adulterated" cosmetics mirroring the Federal
14   Food, Drug, and Cosmetics Act. A cosmetic is deemed adulterated if, among other things it bears or
15   contains any poisonous or deleterious substance that may render it injurious to users under the

16   conditions of use prescribed in the labeling or advertisement of the cosmetic, or under conditions of

17   use as are customary or unusual; and, if it is not in compliance with federal regulations. Cal. Health &

18   Saf. Code §§ 111670 - 111725.

19          199.    Effective January 1, 2006, the California Safe Cosmetics Act of 2005 (CSCA) became
20   law.

21          200.    The CSCA requires cosmetics manufacturers to disclose to the California Department
22   of Public Health (CDPH) all products sold in California containing ingredients listed in the Cal. Health

23   & Saf. Code § 111791.5.

24          201.    The California Legislature found and declared all of the following:
25                  a. Independent testing in the United States and the European union has determined
26                      that some cosmetic products contain substances known or suspected to cause cancer
27                      and reproductive toxicity that can harm the mother, fetus, and nursing children.
28                  b. Neither the federal Food and Drug Administration (FDA) nor the State Department
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 1   •                 of Health Services (DHS) require premarket safety testing, review, or approval of
 2                     cosmetic products. According to the FDA, the regulatory requirements governing
 3                     the sale of cosmetics are not as stringent as those that apply to other FDA regulated
 4                     products.
 5                 c. Under the federal Food, Drug and Cosmetic Act (21 U.S.C. Sec. 301), cosmetics
 6                     and their ingredients are not required to be approved before they are sold to the
 7                    public and the FDA does not have the authority to require manufacturers to file '
 8                    health and safety data on cosmetic ingredients or to order a recall of a dangerous
 9                     cosmetic product.
10                 d. Under the state Sherman Food, Drug, and Cosmetic Act, DHS has no authority to
11                    identify, review, or regulate ingredients in cosmetic products that may cause
12                    chronic health effects, such as cancer and reproductive toxicity.
13                 e. Federal law exempts chemicals used as fragrances or flavoring from being
14                    identified as ingredients on the labels of cosmetic products. Laboratory analyses of
15                    cosmetic products sold in California have found products that contain substances
16                    known to or likely to cause cancer or reproductive toxicity and not identified as an

17                    ingredient on the product's label. The law also does not require any ingredient
18                    labeling on cosmetic products sold for commercial use, thereby denying any
19                    information on ingredients to beauty care workers.
20                 f. Alternatives to substances that cause cancer or reproductive toxicity are readily

21                    available for use in cosmetic products. A number of manufacturers, including both
22                    small domestic producers and large multinational corporations, have eliminated
23                    substances that cause cancer or reproductive toxicity from their products.
24                 g. Given the presence of substances in cosmetic products that cause cancer or
25                    reproductive toxicity, the heavy use of these products by women of childbearing
26                    age, the significant exposure to these products in occupational settings such as
27                    beauty salons, the adverse impacts of these substances on human health, the
28                    inadequate information about the presence of these substances in products or the
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 1                  •       extent of their impacts, and the availability of alternatives to the use of these
 2                         substances, it is in the interest of the people of the State of California to take steps
 3                         to ensure that cosmetic products sold and used in the state can be used safely.83
 4             202.     Section 11792(a) of the CSCA places an affirmative duty on cosmetics manufacturers
 5   to inform state officials when they sell products in California that contain carcinogens or reproductive
 6   toxins:
 7                      Commencing January 1, 2007, the manufacturer or any cosmetic product subject to

 8                      regulation by the federal Food and drug Administration that is sold in this state shall,

 9                      on a schedule and in electronic or other format, as determined by the division, provide

10                      the division with a complete and accurate list of its cosmetic products that, as of the

11                      date of submission, are sold in the state and that contain any ingredient that is a

12                      chemical identifies as causing cancer or reproductive toxicity.
13             203.     Section 11793.5 of the Act provides:
14                      a. The Legislature finds and declares the following:
15                                 (1) The Cosmetic Ingredient Review (CIR) panel is a nongovernmental

16                                     body established and funded by the cosmetics industry to review the

17                                     safety of cosmetic ingredients.

18                                 (2) According to a 2004 analysis of the 2003 CIR Compendium by the

19                                     Environmental Working Group, 54 cosmetic products violate the CIR's
20              •                      own safe use recommendations to manufacturers by containing an

21                                     ingredient that the CIR has found is not safe for the specific use
22                                     indicated on the product's label.

23                                 (3) Federal regulations (21 C.F.R. 740.10) require every ingredient in a
24                                     cosmetic product and every finished cosmetic product to be adequately
25                                     substantiated for safety prior to marketing, and state that any ingredient
26                                     or product whose safety has not been adequately substantiated prior to
27
28   83 Cal. Health & Saf. Code § 111791 (2007).
                                                            39
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 1                              .    marketing is misbranded unless it displays a warning statement
 2                                   declaring, "The safety of this product has not been determined."
 3                   b. The division may, as early as feasible within existing resources, determine whether
 4                       the products identified in paragraph (2) of subdivision (a) have been adequately
 5                       substantiated for safety pursuant to § 740.10 of Title 21 of the Code of Federal
 6                       Regulations. For any product adequately substantiated for safety, the division shall
 7                       determine if the product contains any ingredient that the CIR has found is not safe
 8                       for the specific use indicated on the product's label.
 9                   c. If the division finds that a product has not been adequately substantiated for safety

10                       despite containing an ingredient that the CIR has found is not safe for the specific
11                       use indicated on the product's label, the division shall refer its findings to the
12                       Attomey General and the federal Food and Drug Administration for possible
13                       enforcement action pursuant to this part and the federal Food, Drug and Cosmetic
14                       Act (21 U.S.C. Sec. 301 et seq.).
15           204.    The California Cosmetic Fragrance and Flavor Right to Know Act (CFFIRKA) became
16   effective January 1, 2022.

17           205.    CFFIRKA requires manufacturers that sell cosmetic products in California to report
18   certain fragrance and flavor ingredients deemed hazardous to the Department of Public Health's

19   (DPH) Safe Cosmetics Program.
20           206.    The CFFIRKA requires companies selling retail cosmetic or professional salon
21   products in California to report the presence of any fragrance or flavor ingredient that appears on one
22   or more of the twenty-three (23) authoritative hazard lists referenced in the law to the California Safe
23   Cosmetics Program.
24           207.   The California Safe Cosmetics Program Database is updated twice annually and is
25   available to the public.
26          208.    The policy underlying CFFIRKA is that California residents are entitled to information
27   on known potential "carcinogens, reproductive toxicants, asthmagens, neurotoxins, allergens and other
28   chemicals of concern" in cosmetics products.
                                                     40
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 1            209.   Similar to federal law, the CFFIRKA defines a "cosmetic product" •as "an article for
 2   retail sale or professional use intended to be rubbed, poured, sprinkled, or sprayed on, introduced into,
 3   or otherwise applied to the human body for cleansing, beautifying, promoting attractiveness, or
 4   altering the appearance."84
 5            210.   The CFFIRKA applies to both consumer and professional use products.
 6            211.   In addition to requiring the disclosure of reportable ingredients, under the CFFIRKA,
 7   manufacturers must also disclose, 1) whether the product is intended for professional or retail use; 2)

 8   the Chemical Abstracts Service number for each ingredient and allergen; and 3) the corresponding

 9   Universal product Code for the product.

10            212.   Review of the California Safe Cosmetics Program's Reportable Ingredient list yielded
11   at least twenty-five (25) ingredients found in hair relaxers85 that are deemed "reportable" under the

12   California Safe Cosmetics Program.
13   G.       Uterine Fibroids are Associated with Exposure to Endocrine Disrupting Chemicals
14            213.   Uterine fibroids are associated with phthalate metabolites found in chemical hair
15   straightening and hair relaxer products.

16            214.   Black women have a higher prevalence of uterine fibroids and tumors than any other

17   ethnicity/racial group.86

18            215.   A study looking at over 1 million U.S. women from 2003 to 2014 found that Black

19   women had the highest rate of diagnosed uterine fibroids, with most diagnoses made between the age

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     84 Id.
24   85 The 45 ingredients detected in hair relaxers examined by the Helm study were compared to those

25   listed as of May 20, 2024 on the Reportable Ingredients excel database. See Helm JS, Nishioka M,
     Brody JG, Rudel RA, Dodson RE. Measurement of endocrine disrupting and asthma-associated
26   chemicals in hair products used by Black women. Environ Res. 2018 Aug;165:448-458. doi:
     10.1016/j.envres.2018.03.030. Epub 2018 Apr 25. PMID: 29705122. See also
27   https://cscpsubmit.cdph.ca.gov/subinission/assets/files/Reportable Ingredients List.xlsx, last visited
     May 20, 2024.
28   86 Food and Drug Administration Cosmetic Act § 602, supra.
                                                      41
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     of 30 — 54 years old.g7
 2           216.   Studies show that Black women are three to four times more likely to develop uterine
 3   fibroids in their lifetime compared to non-Hispanic white women, and an estimated 70-80% of Black
 4   women will develop fibroids over their lifetime.88
 5           217.   It is estimated that the annual financial impact of uterine fibroids on Black women in
 6   the United States is as high as 30 billion dollars, and this number may be an underestimation, as at

 7   least one-quarter of women reported losing work due to their disease. 89

             218.   Black women are seven (7) times more likely to undergo a myomectomy compared to

 9   non-Hispanic white women.90
10           219.   Uterine fibroids return at higher rates for Black women than white women following
11   surgical treatment, and recurrence can be as high as 59% within 5 years.91

12          220.    Given the magnitude of the problem — markedly altered quality of life, the effect on
13   reproductive health, and the costs of health care for this disease — the high prevalence of uterine
14   fibroids in Black women is considered a major public health issue.92
15          221.    A 2012 study in the American Journal of Epidemiology associated fibroid risk with the
16   use of hair relaxers.93 Shirley McDonald of the Hair and Scalp Clinic says, "We now know that many

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     87 Yu O, Scholes D, Schulze-Rath R, Grafton J, Hansen K, Reed SD. A US population-based study
19   of uterine fibroid diagnosis incidence, trends, and prevalence: 2005 through 2014. American Journal
20   of Obstetrics and Gynecology. 2018;219(6):591.e1-591.e8.
     88 Al-Hendv A, Salama SA. Ethnic distribution of estrogen receptor-a polvmorphism is associated
21   with a higher prevalence of uterine leiomyomas in black Americans. Fertil Steril. 2006;86(3):686-
     693. Doi:10.1016/i.fertnstert.2006.01.052
22   89 Igboeli P, Walker W, McHugh A, Sultan, A, et al. Burden of uterine fibroids: an african
     perspective, a call for action and opportunitv for intervention. COGO. 287-294.
     90 Eltoukhi HM, Modi MN, Weston M, Ai-mstrong AY, Stewart EA. The health
23                                                                                   disparities of uterine
     fibroid tumors for African American women: a public health issue. Am J Obstet Gvnecol.
24   2014;210(3):194-199. doi:10.1016/i.aiog.2013.08.008
     91 Donnez J, Dohnans M. Uterine fibroid management: from the present to the future.
                                                                                           Hum Reprod
25   Update. 22(06):665-686.
     92 Eltoukhi HM, Modi MN, Weston M, Armstrong AY, Stewart EA. The healtli disparities of
26   uterine fibroid tumors for African American women: a public health issue. Am J Obstet Gynecol.
     2014;210(3):194-199. doi:10.1016/j.ajog.2013.08.008
27   93 Wise LA, Palmer JR, Reich D, Cozier YC, Rosenberg L. Hair relaxer use and risk of uterine
     leiomyomata in African-American women. Am J Epidemiol. 2012 Mar 1;175(5):432-40. doi:
28   10.1093/aje/kwr351. Epub 2012 Jan 10. PMID: 22234483; PMCID: PMC3282879.
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 1   hair products contain chemicals that are considered carcinogenic and/or hormone •disrupters, leading
 2   to increased risk of medical issues such as fibroids (non-cancerous tumors that grow in the uterus,
 3   potentially damaging fertility and leading to a host of other complications). Trichologists see lots of
 4   conditions that are likely to be triggered by hair products, particularly central centrifugal cicatricial
 5   alopecia, a type of permanent hair loss to the crown area of the scalp."
 6            222.   More recently, the National Institutes of Health spent eight-years studying over 46,000
 7   women of all races between the ages of 35-74. They were looking for links between chemical hair

 8   relaxers and breast cancer. They discovered Black women's breast cancer risk increased risk by 45% 94

 9   Breast cancer and other reproductive issues, including fibroid development, are often connected. This

10   study suggests there are even more reasons to steer clear of chemical hair straighteners and relaxers.

11            223.   Concerns around racial disparities in healthcare linked to chemicals found in cosmetic
12   products are not new; previous studies, as far back as 2012, have also suggested a correlation between
13   chemical relaxer use and uterine fibroids, a condition that disproportionately affects Black women. 9s
14            224.   Hair relaxers are used by millions of black women, possibly exposing them to various
15   chemicals through scalp lesions and bums. In the Black Women's Health Study, the authors assessed
16   hair relaxer use in relation to uterine leiomyomata incidence. In 1997, participants reported on hair

17   relaxer use (age at first use, frequency, duration, number of burns, and type of formulation). From

18   1997 to 2009, 23,580 premenopausal women were followed for incident uterine leiomyomata. The

19   incidence of uterine leiomyomata is 2-3 times higher in US black women than in US white women.

20    •       225.   The Houston Fibroids Clinic in Houston, Texas also highlights the association between
21   hair relaxers and uterine fibroids, stating that black women develop fibroids up to three times as often

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     94 Che-Jung Chang, Katie M. O'Brien, Alexander P. Keil, Symielle A. Gaston, Chandra
                                                                                           L.
25   Jackson, Dale P. Sandler, Alexandra J. White. Use of Straighteners and Other Hair Products and
     Incident Uterine Cancer. Journal of the National Cancer Institute DOI:
26   https://doi.orp/10.1093/jnci/diac165 (2022)
27   95Nadine White, Campaign urges beautyfirms to pull `toxic' hair products aimed at Black women,
     Independent (August 3, 2021), https://www.independent.co.uk/news/uk/home-news/black-hair-lye-
28   no-more-lyes bl893747.html.
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 l   as women of other races, their fibroids develop earlier in age than other races (oftentimes in their
 2   twenties), and are more likely to suffer from anemia due to fibroids. They also have a higher risk for
 3   fibroid symptoms, including but not limited to, painful intercourse, severe pelvic pain, and heavy
 4   periods.96
 5                                         FIRST CAUSE OF ACTION
 6                               STRICT LIABILITY - FAILURE TO WARN
 7                                            (Against AIl Defendants)
 8            226.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation

 9   set forth in the preceding paragraphs.

10            227.   At all pertinent times, the Defendants were manufacturing, marketing, testing,
11   promoting, selling and/or distributing the Products in the regular course of business.

12            228.   The Products had potential risks and side effects that were known or knowable to
13   defendants by the use of scientific knowledge available before, at, and after the time of manufacture,
14   distribution, and sale of the Products. Defendants knew or should have known of the defective
15   condition, characteristics, and risks associated with said product, as previously set forth herein.
16            229.   Defendants' Products were expected to and did reach consumers, including Plaintiff,
17   without substantial change in the condition in which their Products were manufactured, sold, or
18   otherwise released into the stream of commerce by Defendant.

19            230.   The Products that were manufactured, distributed, and/or sold by the defendants to
20   Plaintiff were in a defective condition that was unreasonably and substantially dangerous to any user

21   or ordinary consumer of the Products, such as Plaintiff. Such ordinary consumers, including Plaintiff,

22   would not and could not have recognized or discovered the potential risks and side effects of the

23   Products as set forth herein.

24           231.    At all pertinent times, Plaintiff used the Products on her hair and at the roots of her hair
25   which is a reasonably foreseeable use.
26           232.    At all pertinent times, Defendants knew or should have known that the use phthalates
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28   96      Black Hair Relaxers and Fibroid Risk l Houston Fibroids
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 1   and other EDCs in hair products significantly increases the risk of diseases including but not limited
 2   to cancer, fibroids and/or endometriosis, based upon scientific knowledge dating back for decades.
 3           233.   At all pertinent times, including the time of sale and consumption, the Products,
 4   Defendants were then and there guilty of one or more of the following acts:
 5                  a. Manufactured, marketed, tested, promoted, sold, and/or distributed unreasonable
 6                      dangerous and defective products;
 7                  b. Improperly warned of increased risk of diseases as required by C.F.R. § 740.1;
 8                  c. Inadequately wamed of increased risk of diseases as required by C.F.R. § 740.1;

 9                  d. Inadequately labeled relaxer products as containing EDCs that act as hormonal

10                      agents as required by 21 C.F.R. § 310.530.
11                  e. Improperly wamed and instructed Plaintiff of inherent risks of debilitating and life-

12                      altering conditions.
13           234.   Plaintiff sustained the following dainages as a foreseeable, direct, and proximate result
14   of Defendants' acts and/or omissions:
15                  a. Economic losses including medical care and lost earnings; and

16                  b. Noneconomic losses including physical and mental pain and suffering, emotional

17                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
18                      and future.

19              c. The sum of the damages Plaintiff has suffered is in excess of the minimum

20                  jurisdictional limits of this Court.

21          235.    Defendants' lack of sufficient instructions or warnings prior to, on, and after the date
22   of Plaintiff's initial use of the Products was a substantial factor in causing Plaintiff's injuries and

23   damages, as described herein.

24          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
25   damages together with interest, the costs of suit and such other and further relief as this Court deems
26   just and proper.

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 1                                      SECOND CAUSE OF ACTION
 2                                STRICT LIABILITY - DESIGN DEFECT
 3                                            (Against All Defendants)
 4           236.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6           237.    At all relevant times, Defendants engaged in the design, development, manufacture,
 7   marketing, sale, and distribution of the Products in California and the United States.
 8           238.   At all relevant times, Defendants engaged in the design, development, manufacture,

 9   marketing, sale, and distribution of the Products in a defective and unreasonably dangerous condition
10   to consumers, including Plaintiff. Said defects included, but were not limited to, the fact that the

11   Products contained phthalates and/or other endocrine receptive chemicals that substantially increased
12   the risks of triggering tumors and cancerous growths in premenopausal women, thereby substantially '
13   increasing the risk of diseases including but not limited to cancer, fibroids, and/or endometriosis.
14           239.   Defendants caused the Products to enter the stream of commerce and to be sold through
15   various retailers, where Plaintiff purchased the Products.

16          240.    The Products were expected to, and did, reach consumers, including Plaintiff, without ~
17 I change in the condition in which it was manufactured and sold by Defendant L' Oreal USA, Inc. and/or ~
18   otherwise released into the stream of commerce.

19          241.    Plaintiff used the Products in a manner normally intended, recommended, promoted, l
20   and marketed by Defendants.

21          242.    Products failed to perform safely when used by Plaintiff in a reasonably foreseeable
22   manner, specifically increasing her risk of developing uterine fibroids.
23          243.    The propensity of phthalates and other endocrine receptive chemicals to trigger tumors
24   and cancerous growths in premenopausal women, thereby substantially increasing the risk of diseases
25   including but not limited to cancer, fibroids, and/or endometriosis, renders the Products unreasonably
26   dangerous when used in the manner it was intended and to an extent beyond that would be I
27   contemplated by the ordinary consumer.
28          244.    Importantly, the Products are an inessential cosmetic product that do not treat or cure
                                                         46
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 1   any serious disease. Further, safer alternatives, including fragrance free products, have been readily
 2   available for decades.
 3          245.    Defendants knew, or by the exercise of reasonably care should have known, that the

 4   Products are unreasonably dangerous but have continued to design, manufacture, sell, distribute,
 5   market, promote, and supply the Products to maximize sales and profits at the expense of public health

 6   and safety in conscious disregard of the foreseeable harm to the consuming public, including Plaintiff.

 7          246.    Defendants owed a duty to all reasonably foreseeable users to design a safe product.

 8          247.    At all pertinent times, Defendants were then and there guilty of one or more of the

 9   following acts and/or omissions:

10                  a. Designing, manufacturing, selling, distributing, marketing, promoting, and

11                      supplying Products that they knew or should have known were unreasonable

12                      dangerous;

13                  b. Failing to use reasonable care in the design and/or manufacturing of their Products;

14                      or

15                  c. Failing to use reasonably feasible alternative designs in the design and/or

16                      manufacturing of the Products.

17          248.    As a direct and proximate result thereof, it became necessary for plaintiff to incur

18   expenses for doctors, hospitals, surgeries, nurses, and other reasonably required and medically

19   necessary supplies and services. Plaintiff prays for leave to amend this Complaint to insert these

20   elements of damage when the same are finally determined.

21          249.    As a direct and proximate result of Defendants' conduct, including actions, omissions,

22   and misrepresentations, Plaintiff sustained the following damages:

23                  a. Economic losses including medical care and lost earnings; and

24                  b. Noneconomic losses including physical and mental pain and suffering, emotional

25                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past

26                      and future.

27                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum

28                      jurisdictional limits of this Court.
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 1          250.    Defendants' design, manufacture, marketing, promotion, defense, and/or sale of the
 2   Products was a substantial factor in causing plaintiff s injuries, as described herein.
 3          WIIEREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory
 4   damages together with interest, the costs of suit and such other and further relief as this Court deems
 5   just and proper.
 6                                       THIRD CAUSE OF ACTION

 7                                   BREACH OF EXPRESS WARRANTY

 8                                            (Against AIl Defendants)

 9          251.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation

10   set forth in the preceding paragraphs.

11          252.    Defendants made statements of fact and promises to consumers, including Plaintiff,

12 I that the Products were:

13                 a. Safe;
14                 b. efficacious;
15                 c. fit for use;

16                 d. of merchantable quality;

17                 e. adequately tested;

18                 f. did not increase the risk of injury;

19       253.       Defendants breached the express warranties as follows:

20                 a. Defendants misrepresented the safety of the Products in the Products' labeling,

21                      advertising, marketing materials, promotion, and/or publications;

22                 b. Defendants misrepresented the risks associated with the Products;

23                 c. Defendants withheld and/or concealed and/or downplayed the information and/or
24                      evidence that the products were associated with an increased risk of injuries;
25                 d. Defendants misrepresented that the Products were safe, and/or safer than other
26                      similar products used;
27                 e. Defendants fraudulently concealed information about the safety of the Products
28                      including information that the product was not safer than alternative products
                                                     48
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 1                      available on the market; and
 2                 £ Defendants misrepresented information regarding the safety and/or efficacy of the
 3                      Products.
 4          254.    The Products did not conform to Defendants' express representations and warranties
 5   or meetthe quality of Defendants' descriptions of safety and efficacy.

 6          255.    At all relevant times, including during the period that Plaintiff used the Products, they

 7' did not perform as safely as an ordinary consumer would expect when used as intended or in a

 8   reasonably foreseeable manner.

 9          256.    At all relevant times, including during the period that Plaintiff used the Products, they

10   did not perform in accordance with the Defendants' representations.

11          257.    In deciding to purchase and use the Products, Plaintiff and other consumers relied upon

12   Defendants' express warranties.

13          258.    As a direct and proximate result of Defendants' conduct, including actions, omissions,

14   and misrepresentations described herein, Plaintiff sustained the following damages:

15                  a. Economic losses including medical care and lost earnings; and

16                  b. Noneconomic losses including physical and mental pain and suffering, emotional

17                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past

18                      and future.

19                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum

20                      jurisdictional limits of this Court.

21          259.    The failure of the Products to perform as represented was a substantial factor in causing

22   Plaintiff's injuries and damages, as described herein.

23          VWHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
24   damages together with interest, the costs of suit and such other and further relief as this Court deems
25   just and proper.
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 1                  .                      FOURTH CAUSE OF ACTION
 2                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 3                                              (Against All Defendants)
 4           260.       Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6           261.       Plaintiff purchased the Products from Defendants, and each of them.
 7           262.       At all relevant and material times, including the time of Plaintiff's purchase,
 8   Defendants were in the business of manufacturing, designing, formulating, producing, marketing,

 9   promoting, selling and/or distributing the Products.

10           263.   Defendants by their occupation held themselves out as having special knowledge or
11   skill regarding the Products.

12           264.   Defendants knew and intended that the Products be used when they were placed into
13   the stream of commerce.

14           265.   Defendants knew and intended that the Products be used as they were by Plaintiff.
15          266.    Defendants impliedly warranted to Plaintiff that the Products were safe for use.
16          267.    Plaintiff reasonably andjustifiably relied on Defendants' expertise, skill,judgment, and
17   knowledge of the Defendants and upon the Defendants' express and/or implied warranty that the

18   Products were safe, of merchantable quality, and fit for use.

19          268.    The Products used were not safe, of inerchantable quality, fit for use, the quality that a
20   buyer would expect, or the same quality of those products generally acceptable in the trade.

21          269.    The Products were not fit for the ordinary purposes for which such goods are used and
22   did not conform to the quality established by the parties' prior dealings or by usage of trade.

23          270.    The Products used by Plaintiff were neither safe nor fit for use.
24          271.    Defendants were aware that consumers, including Plaintiff, would use the Products,
25   which is to say that Plaintiff was a foreseeable user of Defendants' Products.
26          272.    Plaintiff was at all relevant times in privity with Defendants.
27          273.    Plaintiff took reasonable steps to notify Defendants, and each of them, within a
28   reasonable time that the Products did not have the expected quality.
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 1     •     274.       The Products were expected to reach and did in fact reach consumers, including
 2    Plaintiff, without substantial change in the condition in which the product was manufactured and sold
 3    by Defendants.
 4           275.       Defendants breached various implied warranties with respect to the Products as set
 5   forth above.
 6           276.       Defendants breached the implied warranties in that the Products did not conform to
 7   Defendants' implied representations and warranties.
 8           277.       Plaintiff reasonably relied upon one and/or several of the Defendants' implied
 9   warranties.

10           278.    Plaintiff used the Products as intended and directed by the Defendants and in a
11   foreseeable manner as intended, recommended, promoted, and/or marketed by Defendants.
12           279.    Defendants breached one or several of the implied warranties provided to and relied on
13   by Plaintiff.
14           280.    As a direct and proximate result of Defendants' conduct, including actions, omissions,
15   and misrepresentations described herein, Plaintiff sustained the following damages:
16                   a. Economic losses including medical care and lost earnings; and
17                   b. Noneconomic losses including physical and mental pain and suffering, emotional
18                         distress, inconvenience, loss of enjoyment and impairment of quality of life, past
19                         and future.
20                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum
21                         jurisdictional limits of this Court.
22          281.     The failure of the Products to have the expected quality was a substantial factor in
23   causing Plaintiff's harm.
24          WIEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
25   damages together with interest, the costs of suit and such other and further relief as this Court deems
26   just and proper.
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 1                  .                        FIFTH CAUSE OF ACTION
 2      BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
 3                                              (Against AII Defendants)
 4           282.       Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.

 6           283.       Plaintiff purchased the Products from Defendants, and each of them.

 7           284.       At the time of purchase, Defendants, and each of them, knew or had reason to know

 8   that Plaintiff intended to use the product for a particular purpose.

 9           285.       At the time of purchase, Defendants, and each of them, knew or had reason to know

10   that Plaintiff was relying on Defendants' skill and judgment to select or furnish a product that was

11   suitable for the particular purpose.

12           286.       Plaintiff reasonably and justifiably relied on Defendants' skill and judgment.
13           287.       The Products were not suitable for Plaintiff's particular purpose.
14           288.       Plaintiff took reasonable steps to notify Defendants, and each of them, within a
15   reasonable time that the Products were not suitable.

16           289.       As a direct and proximate result of Defendants' conduct, including actions, omissions,

17   and misrepresentations described herein, Plaintiff sustained the following damages:

18                      a. Economic losses including medical care and lost earnings; and

19                      b. Noneconomic losses including physical and mental pain and suffering, emotional

20                         distress, inconvenience, loss of enjoyment and impairment of quality of life, past

21                         and future.

22                      c. The sum of the damages Plaintiff has suffered is in excess of the minimum

23                         jurisdictional limits of this Court.
24           290.       The failure of the Products to be suitable was a substantial factor in causing Plaintiffs
25   harm.
26           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
27   damages together with interest, the costs of suit and such other and further relief as this Court deems
28   just and proper.
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 1                                         SIXTH CAUSE OF ACTION
 2                       NEGLIGENCE - DESIGN, MANUFACTURE AND SALE
 3                                            (Against All Defendants)
 4           291.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.

 6           292.   Prior to, on and after the date of Plaintiff's initial use of the Products, and at all relevant

 7 ~ times, Defendants designed, tested, distributed, manufactured, advertised, sold, and/or marketed the

 8 ~ Products for use by consumers, such as Plaintiff.

 9           293.   Prior to, on, and after Plaintiff's initial use of the Products, Defendants were negligent

10• ~ and careless in and about their design, testing, distribution, manufacture, advertising, sale, and/or
11   marketing of the above-described Products.

12          294.    Prior to, on, and after Plaintiff's initial use of the Products, Defendants performed

13   inadequate evaluation and testing of the Products where such evaluation and testing would have

14   revealed the propensity of the Products' failures, and increased risk of injury as described herein.

15          295.    Prior to, on, and/or after Plaintiff's initial use of the Products, Defendants had received

16   complaints from consumers that the Products failed and posed an increased risk of injury as described

17   herein, but Defendants consciously decided not to: perform any further testing on the Products;

18   investigate the root cause of these failures and increased risk of injury; suspend sales and distribution;

19   or warn consumers, such as Plaintiff, of the propensity of the Products to fail and pose an increased I

20   risk of injury as described herein.

21          296.    Defendants' conduct is per se negligent because their negligent design, manufacture,

22   and sale of defective and dangerous products violated several federal and state laws, including but not

23   limited to:

24                  a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                     accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                     and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;

27                  b. The California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Saf. Code

28                     §§ 111730, 111790;
                                                          53
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 1                 •   c. The California Safe Cosmetics Act of 2005•, Cal. Health & Saf. Code § 111791.5;
 2                     d. The California Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
 3                        Cal. Health & Saf. Code § 111791.5; and
 4                     e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
 5                        Cal. Health & Saf. Code § 25249.5.
 6           297.      As a direct and proximate result of Defendants' above-described negligence in design,
 7   testing, distribution, manufacture, advertising, sales, and/or marketing, Plaintiff sustained the

 8   following damages:

 9                     a. Economic losses including medical care and lost earnings; and
10                     b. Noneconomic losses including physical and mental pain and suffering, emotional
11                         distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                         and future.
13                     c. The sum of the damages Plaintiff has suffered is in excess of the minimum
14                         jurisdictional limits of this Court.
15           298.      As a direct and legal result of Defendants' actions and/or omissions, Plaintiff has also
16   suffered, and continues to suffer, an increased risk of developing illnesses, diseases and/or disease

17   processes relating to exposure to the Products.

18           299.      As a direct and legal result of Defendants' tortious conduct, Plaintiff has also suffered
19   the past, present and future medical need to undergo diagnostic testing for the early detection of latent

20   or misidentified illnesses, diseases and/or disease processes related to her exposure to the Products.

21          300.       Diagnostic and/or monitoring procedures exist that comport with contemporary
22   scientific principles and the standard of care and make early detection of illnesses and conditions

23   related to exposure to the Products possible and beneficial to Plaintiff.
24          301.       •As a result of being significantly and repeatedly exposed to the Products, the need for
25   Plaintiff's medical monitoring is currently necessary, and the monitoring is reasonable.
26          302.       Plaintiff thus also seeks an award of the cost of medical monitoring for the early
27   detection of latent or misidentified illnesses, diseases and/or disease processes associated with
28   exposure to the Products.
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                                              COMPLAINT FOR DAMAGES
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 1             303.   Defendants' negligence in design, testing, distribution, manufacture, advertising, sales,
 2   and/or marketing prior to, on, and after the date of Plaintiff's initial surgery was a substantial factor in
 3    causing Plaintiff's injuries and damages, as described herein.
 4           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 5   damages together with interest, the costs of suit and such other and further relief as this Court deems
 6   just and proper.
 7                                       SEVENTH CAUSE OF ACTION
 8                          NEGLIGENCE - FAILURE TO RECALL/RETROFIT
 9                                            (Against All Defendants)
10           304.     Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
11   set forth in the preceding paragraphs.
12           305.     Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
13   relevant times, Defendants designed, distributed, manufactured, sold, and/or marketed the Products
14   for use by consumers, such as Plaintiff.
15           306.     Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
16   relevant times, Defendants knew or reasonably should have known that the Products and their

17   warnings were dangerous or were likely to be dangerous when used in a reasonably foreseeable
18   manner.

19           307.     Prior to, on, and/or after the date of Plaintiff's initial use of the Products, defendants
20   became aware of the defects of the Products, including their propensity to increase the risk of injury

21   as described herein.
22           308.     Defendants failed to recall, retrofit, or warn consumers, such as Plaintiff, about the
23   danger of the Products prior to, on, and/or after the date of Plaintiffls initial use of the Products, and
24   at all relevant times, and continue to fail to recall the Products to date.
25          309.      In light of the severity and amount of the data available to Defendants, reasonable
26   manufacturers and distributors under the same or similar circumstances would have recalled or
27   retrofitted the Products, and would thereby have avoided and prevented harm to hundreds of thousands
28   of consumers, such as Plaintiff.
                                                        55
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 1           310.    As a direct and proximate result of Defendants' above-described negligent failure to
 2   recall or retrofit, Plaintiff sustained the following damages:
 3                   a. Economic losses including medical care and lost earnings; and
 4                   b. Noneconomic losses including physical and mental pain and suffering, emotional
 5                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
 6                       and future.
 7                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum
 8                       jurisdictional limits of this Court.
 9           311.    Defendants' negligent failure to recall or retrofit the Products and their warnings was a
10   substantial factor in causing Plaintiffls injuries and damages, as described herein.

11           WHEREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory
12   damages together with interest, the costs of suit and such other and further relief as this Court deems
13   just and proper.
14                                       EIGHTH CAUSE OF ACTION
15                                 NEGLIGENCE - FAILURE TO WARN
16                                            (Against All Defendants)
17           312.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
18   set forth in the preceding paragraphs.

19           313.    At all relevant times, Defendants engaged in the design, development, manufacture,
20   marketing, sale and distribution of the Products in a defective and unreasonably dangers condition to

21   consumers, including Plaintiff.
22          314.    Defendants knew, or by the exercise of reasonable care, should have known use of their
23   Products were dangerous, harmful, and injurious when used by consumers, such as Plaintiff, in a
24   reasonably foreseeable manner. Such danger included the Products' propensity to increase the risk of
25   injury, illness, and/or disease as described herein.
26          315.    Defendants knew, or by the exercise of reasonable care, should have known ordinary
27   consumers, such as Plaintiff, would not have realized the potential risks and dangers of their Products,
28   and that the Products were likely to increase the risk of tumors and cancerous growths in
                                                            56
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 1   premenopausal women, thereby increasing the risk of cancer, fibroids, and/or endometriosis, when
 2   used in the manner they were intended and to an extent beyond that would be contemplated by the
 3   ordinary consumer.
 4          316.    Defendants owed a duty to all reasonably foreseeable consumers to disclose the risks
 5   associated with the use of their Products.
 6          317.    At all pertinent times, Defendants were then and there guilty of one or more of the
 7   following acts and/or omissions:

 8                 a. Failed to provide adequate warnings on their Products;

 9                 b. Inadequately provided warnings on their Products;

10                 c. Provided misleading advertisements; or

11                 d. Failed to provide instructions on how to safely use their Products.
12                 e. Failed to use due care in the manufacture, inspection and labeling of the Products to
13                     prevent risk of injuries to individuals, such as Plaintiff, who used the Products;
14                 f. Failed to provide adequate and accurate warnings and information regarding the risk
15                    and dangers associated with the Products as described herein, to non-defendant
16                     entities that sold the Products; and
17                 g. Failed to label the Products to adequately warn Plaintiff of the increased risk of

18                    injury associated with the product including an increased risk of hormone-related
19                    cancers and reproductive problems including the development of uterine fibroids
20                    and other injuries.
21      318.       Defendants' conduct is per se negligent because their failure to warn of dangerous
22          ingredients of their products violated several federal and state laws, including but not limited
23          to:
24                 a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                    accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                    and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;
27                 b. The California Sherman Food, Drug, and Cosmetic Law, Ca1. Health & Saf. Code
28                    §§ 111730, 111790;
                                                       57
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 1                  c. The California Safe Cosmetics Act of 2005, Cal. Health & Saf. Code § 111791.5;
 2                 d. The California Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
 3                      Cal. Health & Saf. Code § 111791.5; and
 4                 e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
 5                      Cal. Health & Saf. Code § 25249.5.

 6          319.    As a direct and proximate result of Defendants' above-described negligent conduct,
 7   including failure to warn, actions, omissions, and misrepresentations, Plaintiff sustained the following

 8   damages:

 9                  a. Economic losses including medical care and lost earnings; and

10                  b. Noneconomic losses including physical and mental pain and suffering, emotional
11                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                      and future:
13                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
14                      jurisdictional limits of this Court.
15          320.    Defendants' negligent failure to warn consumers, including Plaintiff, at all relevant
16   times, was a substantial factor in causing Plaintiff's injuries and damages, as described herein.

17          WHEREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory

18   damages together with interest, the costs of suit and such other and further relief as this Court deems

19   just and proper.

20                                       NINTH CAUSE OF ACTION
21                         FRAUD - INTENTIONAL MISREPRESENTATION
22       (Against L'Oreal USA, Inc, L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))

23          321.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
24   set forth in the preceding paragraphs.
25          322.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
26   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
27   and complete information regarding said products.

28
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                323.    Defendants fraudulently misrepresented the use of the Products as safe, effective, and
 2       not unreasonably dangerous.
 3              324.    Defendants knowingly and intentionally represented to consumers, including the
 4       Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
 5       and/or promotional materials fully described all known risks associated with the Products. Said
 6       representations were of facts that were material and important to Plaintiff's decision to use the
 7       Products.

 8              325.    When Defendants made said representations, Defendants either knew that said
 9       representations were false or made said representations recklessly and without regard for their truth.

10              326.     When Defendants made said representations, Defendants intended that consumers,
11   such as Plaintiff, would rely on said representations.

12              327.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
13   representations that the Products were safe for use and that their labeling, marketing, and promotional
14   materials fully described all known risks associated with the Products.
15              328.    A recent article was published on October 4, 2022, on MSN and other online news
16   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young

17   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got

18   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look

19   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.

20   Many of them are wearing natural hairstyles today.97

21   •          329.   At all pertinent times, Defendants were then and there guilty of one or more of the
22   following acts and/or omissions:

23                     a. Knowingly made omissions that were material, false, incomplete, misleading,
24                         deceptive, and deceitful;
25                     b. Knowingly made misrepresentations for the purpose of deceiving and defrauding
26                         consumers, including Plaintiff; or
27
28   97 The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1         •          c. Knowingly made omissions for the purpose of deceiving . and defrauding
 2                        consumers, including Plaintiff.
 3             330.   Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
 4   which induced her to purchase and use the Products on a regular basis for decades.
 5             331.   Defendants profited, significantly, from their unethical and illegal conduct that
 6   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective
 7   product.
 8             332.   As a direct and proximate result of Defendants' above-described fraudulent conduct,
 9   including intentional misrepresentations, Plaintiff sustained the following damages:
10                    a. Economic losses including medical care and lost eamings; and
11                    b. Noneconomic losses including physical and mental pain and suffering, emotional
12                        distress, inconvenience, loss of enjoyment and impairment of quality of life, past
13                        and future.
14                    c. The sum of the damages Plaintiff have suffered is in excess of the minimum
15                        jurisdictional limits of this Court.
16             333.   Plaintiff's reliance •on said representations made by Defendants were a substantial
17   factor in causing Plaintiff to suffer the injuries and damages described herein.
18             WIIEREF0RE, Plaintiff demand judgment against Defendants and seek compensatory
19   damages together with interest, the costs of suit and such other and further relief as this Court deems
20   just and proper.
21                                        TENTH CAUSE OF ACTION
22                        • • FRAUD - INTENTIONAL MISREPRESENTATION

23                               (Against Godrej SON and Strength of Nature)
24             334.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
25   set forth in the preceding paragraphs.
26             335.   Defendants engaged in the development, manufacture, marketing, sale, and distribution
27   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
28   and complete information regarding said products.
                                                      60
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  1            336.   Defendants fraudulently misrepresented the use of the Products as safe, effective and
 2     not unreasonably dangerous. For example, Defendants Godrej Consumer Products, Godrej SON, and
 3    Strength of Nature's Soft & Beautiful Products are intentionally labeled as "Botanicals" and with
 4 11 "Natural" ingredients that are "Ultra Nourishing," including but not limited to using "Natural Plant

 5 II Oils and Butters."

 6             337.   Defendants knowingly and intentionally represented to consumers, including the
 7    Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,

 8    and/or promotional materials fully described all known risks associated with the Products. Said

 9    representations were of facts that were material and important to Plaintiff's decision to use the

10    Products.
11             338.   When Defendants made said representations, Defendants either knew that said ~
12 I representations were false or made said representations recklessly and without regard for their truth.
13             339.    When Defendants made said representations, Defendants intended that consumers, ~
14    such as Plaintiff, would rely on said representations.
15             340.   Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
16    representations that the Products were safe for use and that their labeling, marketing, and promotional

17    materials fully described all known risks associated with the Products.

18             341.   A recent article was published on October 4, 2022, on MSN and other online news l
19    outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young

20    black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got

21 1 their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look

22    of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.

23    Many of them are wearing natural hairstyles today.98
24             342.   At all pertinent times, Defendants were then and there guilty of one or more of the
25    following acts and/or omissions:
26
27
28    98   The Relaxer Box Girls: Where Are They Now? (insn.com)
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 1                  d. Knowingly made omissions that •were material, false, incomplete, misleading,
 2                      deceptive, and deceitful;
 3                  e. Knowingly made misrepresentations for the purpose of deceiving and defrauding

 4                      consumers, including Plaintiff; or
 5                  f. Knowingly made omissions for the purpose of deceiving and defrauding
 6                      consumers, including Plaintiff.

 7          343.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,

 8   which induced her to purchase and use the Products on a regular basis for decades.

 9          344.    Defendants profited, significantly, from their unethical and illegal conduct that

10   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

11   product.

12          345.    As a direct and proximate result of Defendants' above-described fraudulent conduct,

13   including intentional misrepresentations, Plaintiff sustained the following damages:
14                  d. Economic losses including medical care and lost earnings; and
15                  e. Noneconomic losses including physical and mental pain and suffering, emotional

16                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past

17                      and future.

18                  f. The sum of the damages Plaintiff have suffered is in excess of the minimum

19                      jurisdictional limits of this Court.

20          346.    Plaintiff's reliance on said representations made by Defendants were a substantial

21   factor in causing Plaintiff to suffer the injuries and damages described herein.

22          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory

23   damages together with interest, the costs of suit and such other and further relief as this Court deems
24   just and proper.

25                                    ELEVENTH CAUSE OF ACTION
26                         FRAUD - INTENTIONAL MISREPRESENTATION
27                                               (Against Avlon)
28          347.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
                                                          b6
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 1   set forth in the preceding paragraphs.
 2           348.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
 3   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
 4   and complete information regarding said products.
 5           349.    Defendants fraudulently misrepresented the use of the Products as safe, effective, and
 6   not unreasonably dangerous, specifically:

 7                  a. Defendants Namaste, Dabur, and Dermoviva's Products are marketed as "Olive Oil"
 8                     products to imply natural products, and their Products are advertised as being "Build
 9                     in Protection;"
10                  b. Defendants Namaste, Dabur, and Dermoviva's website states that their Products use
11                     "Rich Olive and Avocado Oils" that they claim "moisturize and condition while
12                     Aloe Vera protects the skin and scalp."
13                  c. Defendants Namaste, Dabur, and Dermoviva's Products claim that they "use[] the
14                     latest technology to safely elongate tight coils."
15          350.    Defendants knowingly and intentionally represented to consumers, including the
16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,

17   and/or promotional materials fully described all known risks associated with the Products. Said
18   representations were of facts that were material and important to Plaintiff's decision to use the

19   Products.

20          351.    When Defendants made said representations, Defendants either knew that said
21   representations were false or made said representations recklessly and without regard for their truth.

22          352.     When Defendants made said representations, Defendants intended that consumers,
23   such as Plaintiff, would rely on said representations. '
24          353.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25   representations that the Products were safe for use and that their labeling, marketing, and promotional
26   materials fully described all known risks associated with the Products.
27          354.    A recent article was published on October 4, 2022, on MSN and other online news
28   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young
                                                      63
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got-
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today.99
 5          355.    At all pertinent times, Defendants were then and there guilty of one or more of the

 6 l following acts and/or omissions:

 7                  g. Knowingly made omissions that were material, false, incoinplete, misleading,

 8                      deceptive, and deceitful;

 9                  h. Knowingly made misrepresentations for the purpose of deceiving and defrauding

10                      consumers, including Plaintiff; or

11                  i. Knowingly made omissions for the purpose of deceiving and defrauding
12                      consumers, including Plaintiff.
13          356.    Plaintiff relied with reasonable justification, on the misrepresentations
                                                                                p             by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.
15          357.    Defendants profited, significantly, from their unethical and illegal conduct that

16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

17   product.

18          358.    As a direct and proximate result of Defendants' above-described fraudulent conduct, ~

19   including intentional misrepresentations, Plaintiff sustained the following damages:

20                  g. Economic losses including medical care and lost earnings; and

21                  h. Noneconomic losses including physical and mental pain and suffering, emotional
22                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                      and future.
24                  i. The sum of the damages Plaintiff has suffered is in excess of the minimum
25                      jurisdictional limits of this Court.
26          359.    Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   99 The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1    in causing Plaintiff to suffer the injuries and damages described herein.
 2           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 3    damages together with interest, the costs of suit and such other and further relief as this Court deems
 4   just and proper.
 5                                     TWELFTH CAUSE OF ACTION
 6                          FRAUD - INTENTIONAL MISREPRESENTATION
 7                                       (Against Doe Defendants 1-100)
 8           360.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9           set forth in the preceding paragraphs.
10           361.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
11   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
12   and complete information regarding said products.
13           362.    Defendants fraudulently misrepresented the use of the Products as safe, effective and
14   not unreasonably dangerous.
15           363.   Defendants knowingly and intentionally represented to consumers, including the
16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,

17   and/or promotional materials fully described all known risks associated with the Products. Said
18   representations were of facts that were material and important to Plaintiff's decisions to use the

19   Products.

20           364.   When Defendants made said representations, Defendants either knew that said
21   representations were false or made said representations recklessly and without regard for their truth.
22          365.      When Defendants made said representations, Defendants intended consumers, such
23   as Plaintiff, would rely on said representations.
24          366.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25   representations that the Products were safe for use and that their labeling, marketing, and promotional
26   materials fully described all known risks associated with the Products.
27          367.    A recent article was published on October 4, 2022, on MSN and other online news
28   outlets, titled "The Relaxer Box Girls: Where Are They Now," which revealed that many of the young
                                                       65
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today. loo
 5          368.    At all pertinent times, Defendants were then and there guilty of one or more of the
 6 j following acts and/or omissions:

 7                  j. Knowingly made omissions that were material, false, incomplete, misleading, ~
 8                       deceptive, and deceitful;

 9                  k. . Knowingly made misrepresentations for the purpose of deceiving and defrauding

10                       consumers, including Plaintiff; or
11                  1. Knowingly made omissions for the purpose of deceiving and defrauding l

12                       consumers, including Plaintiff.
13          369.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.

15          370.    Defendants profited, significantly, from their unethical and illegal conduct that
16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

17 ~ product.
18          371.    As a direct and proximate result of Defendants' above-described fraudulent conduct,

19   including intentional misrepresentations, Plaintiff sustained the following damages:

20                  j. Economic losses including medical care and lost earnings; and

21                  k. Noneconomic losses including physical and mental pain and suffering, emotional
22                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                       and future.
24                  1.   The sum of the damages Plaintiff have suffered is in excess of the minimum
25                       jurisdictional limits of this Court.
26          372.    Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   ioo The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1    in causing Plaintiff to suffer the injuries and damages described herein.
 2           WHEREFORE, Plaintiff demand judgment against Defendants and seeks compensatory
 3   damages together with interest, the costs of suit and such other and further relief as this Court deems
 4   just and proper.
 5                                   THIRTEENTH CAUSE OF ACTION
 6                                        FRAUD - CONCEALMENT
 7       (Against L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))
 8           373.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9   set forth in the preceding paragraphs.

10           374.    In marketing and selling the Products, Defendants concealed material facts from
11   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
12   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
13   making said disclosure deceptive; intentionally failing to disclose important facts known only to
14   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
15   concealing important facts from consumers, including Plaintiff, from discovery said important facts.

16           375.   At all pertinent times, Defendants were then and there guilty of one or more of the

17   following acts and/or omissions:
18                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the
19                      dangers and risk of injuries associated with the use of the Products and the fact that
20                      the Product was unreasonably dangerous;
21                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
22                      and/or otherwise understated the nature of the risks associated with the use of the
23                      Products to increase sales;
24                  c. Defendants undertook the concealment of material facts with an intent that
25                      consumers, including Plaintiff, rely upon them.
26          376.    Plaintiff and other consumers did not know that Defendants concealed material facts
27   and were justified in their reliance on Defendants representations regarding the safety of the Products.
28          377.    Defendants had sole access to material facts concerning the dangers and 'unreasonable
                                                          b/
                                            COMPLAINT FOR DAMAGES
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 1   risks of the Products.
 2           378.   The intentional concealment of information by Defendants about the substantial risks
 3   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
 4           379.   Had Defendants not fraudulently concealed the information as described herein, the
 5   Products would not have been used by Plaintiff.
 6          380.    Had Plaintiff been aware of the increased risks of injury associated with the Products,

 7   Plaintiff would not have used them.

 8          381.    As a direct and proximate result of Defendants' fraudulent and/or intentional

 9   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following

10   damages:

11                  a. Economic losses including medical care and lost earnings; and
12                  b. Noneconomic losses including physical and mental pain and suffering, emotional
13                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
14                      and future.
15                  c. The sum of the damages Plaintiff have suffered is in excess of the minimum

16                      jurisdictional limits of this Court.

17          382.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
18   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and

19   damages described herein.

20          WIHEREF0RE, Plaintiff demands judgment against Defendants and seek compensatory

21   damages together with interest, the costs of suit and such other and further relief as this Court deems

22   just and proper.

23                                    FOURTEENTH CAUSE OF ACTION
24                                       FRAUD - CONCEALMENT
25                             (Against Godrej SON and Strength of Nature)
26          383.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
27   set forth in the preceding paragraphs.
28          384.    In marketing and selling the Products, Defendants concealed material facts from
                                                         o2S
                                              COMPLAINT FOR DAMAGES
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 1   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
 2   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
 3   making said disclosure deceptive; intentionally failing to disclose important facts known only to
 4   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
 5   concealing important facts from consumers, including Plaintiff, froin discovery said important facts.
 6           385.   At all pertinent times, Defendants were then and there guilty of one or more of the

 7   following acts and/or omissions:

 8                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the

 9                     dangers and risk of injuries associated with the use of the Products and the fact that

10                     the Product was unreasonably dangerous;

11                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
12                     and/or otherwise understated the nature of the risks associated with the use of the
13                     Products in order to increase sales;
14                  c. Defendants undertook the concealment of material facts with an intent that I

15                     consumers, including Plaintiff, rely upon them.
16          386.    Plaintiff and other consumers did not know that Defendants concealed material facts

17   and were justified in their reliance on Defendants representations regarding the safety of the Products.

18          387.    Defendants had sole access to material facts concerning the dangers and unreasonable

19   risks of the Products.

20          388.    The intentional concealment of information by Defendants about the substantial risks

21   of injury and/or disease.associated with the Products, was known by Defendants to be wrongful.

22          389.    Had Defendants not fraudulently concealed the information as described herein, the

23   Products would not have been used by Plaintiff.

24          390.    Had Plaintiff been aware of the increased risks of injury associated with the Products,
25   Plaintiff would not have used them.
26          391.    As a direct and proximate result of Defendants' fraudulent and/or intentional
27   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
28   damages:
                                                        69
                                           COMPLAINT FOR DAMAGES
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 1                  d. Economic losses including medical care and lost earnings; and
 2                  e. Noneconomic losses including physical and mental pain and suffering, emotional
 3                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
 4                       and future.
 5                  f. The sum of the damages Plaintiff have suffered is in excess of the minimum
 6                       jurisdictional limits of this Court.

 7          392.    Plaintiffs reasonable reliance on Defendants' fraudulent and/or intentional

 8   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and

 9   damages described herein.

10          VWHEREF0RE, Plaintiff demand judgment against Defendants and seek compensatory

11   damages together with interest, the costs of suit and such other and further relief as this Court deems

12   just and proper.

13                                     FIFTEENTH CAUSE OF ACTION
14                                        FRAUD - CONCEALMENT
15                                                (Against Avlon)
16          393.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation

17   set forth in the preceding paragraphs.

18          394.    In marketing and selling the Products, Defendants concealed material facts from

19   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of

20   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,

21   making said disclosure deceptive; intentionally failing to disclose important facts known only to

22   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively

23   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
24          395.    At all pertinent times, Defendants were then and there guilty of one or more of the
25   following acts and/or omissions:
26                 a. Defendants omitted, suppressed, and/or concealed material facts concerning the
27                      dangers and risk of injuries associated with the use of the Products and the fact that
28                      the Product was unreasonably dangerous;
                                                        iu
                                             COMPLAINT FOR DAMAGES
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 1                 b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
 2                     and/or otherwise understated the nature of the risks associated with the use of the
 3                     Products in order to increase sales;
 4                 c. Defendants undertook the concealment of inaterial facts with an intent that
 5                     consumers, including Plaintiff, rely upon them.
 6          396.    Plaintiff and other consumers did not know that Defendants concealed material facts
 7   and were justified in their reliance on Defendants representations regarding the safety of the Products.

 8          397.    Defendants had sole access to material facts concerning the dangers and unreasonable

 9   risks of the Products.

10          398.    The intentional concealment of information by Defendants about the substantial risks
11   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
12          399.    Had Defendants not fraudulently concealed the information as described herein, the
13   Products would not have been used by Plaintiff.
14          400.    Had Plaintiff been aware of the increased risks of injury associated with the Products,
15   Plaintiff would not have used them.
16          401.    As a direct and proximate result of Defendants' fraudulent and/or intentional
17   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
18   damages:

19                  g. Economic losses including medical care and lost earnings; and

20                  h. Noneconomic losses including physical and mental pain and suffering, emotional
21                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
22                      and future.
23                  i. The sum of the damages Plaintiff has suffered is in excess of the minimum
24                     jurisdictional limits of this Court.
25          402.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
26   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and
27   damages described herein.
28          WIIEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
                                                      71
                                           COMPLAINT FOR DAMAGES
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• 1    damages togetherwith interest, the costs of suit and such other and further relief as this Court deems
 2    just and proper.
 3                                         SIXTEENTH CAUSE OF ACTION
 4                                             FRAUD - CONCEALMENT
 5                                      (Against Doe Defendants 1-100, inclusive)
 6                403.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 7    set forth in the preceding paragraphs.
 8                404.    In marketing and selling the Products, Defendants concealed material facts from
 9    consumers, including Plaintiff. Said concealment included some or all of the •following: disclosure of
10    some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
11    making said disclosure deceptive; intentionally failing to disclose important facts known only to
12    Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
13    concealing important facts from consumers, including Plaintiff, from discovery said important facts.
14                405.    At all pertinent times, Defendants were then and there guilty of one or more of the
15    following acts and/or omissions:
16                       a. Defendants omitted, suppressed, and/or concealed material facts concerning the
17                          dangers and risk of injuries associated with the use of the Products and the fact that
18                          the Product was unreasonably dangerous;
19            •          b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
20                          and/or otherwise understated the nature of the risks associated with the use of the
21     •     •Products                in order to increase sales;
22                       c. Defendants undertook the concealment of material facts with an intent that
23                          consumers, including Plaintiff, rely upon them.
24            406.       Plaintiff and other consumers did not know that Defendants concealed material facts
25    and were justified in their reliance on Defendants representations regarding the safety of the Products.
26            407.       Defendants had sole access to material facts concerning the dangers and unreasonable
27    risks of the Products.
28            408.       The intentional concealment of information by Defendants about the substantial risks
                                                               /G

                                                 COMPLAINT FOR DAMAGES
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 1   of injury and/or disease associated with the Products, was known by Defendants•to be wrongful.
 2           409.   Had Defendants not fraudulently concealed the information as described herein, the
 3   Products would not have been used by Plaintiff.
 4           410.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
 5   Plaintiff would not have used them.

 6           411.   As a direct and proximate result of Defendants' fraudulent and/or intentional

 7   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following

 8   damages:

 9                  j. Economic losses including medical care and lost earnings; and

10                  k. Noneconomic losses including physical and mental pain and suffering, emotional

11                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                       and future.
13                  1.   The sum of the damages Plaintiff have suffered is in excess of the minimum
14                       jurisdictional limits of this Court.
15          412.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
16   concealment of facts was a was a substantial factor in causing Plaintiff sto suffer the injuries and

17   damages described herein.

18          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory

19   damages together with interest, the costs of suit and such other and further relief as this Court deems

20   just and proper.

21                                  SEVENTEENTH CAUSE OF ACTION
22   UNLAWFUL, UNFAIR AND FRAUDULENT BUSINESS PRACTICES IN VIOLATION OF

23                           CALIFORNIA B & P CODE SEC. 17200, ET SEQ.
24                                            (Against A11 Defendants)
25          413.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
26   set forth in the preceding paragraphs.

27          414.    California's Unfair Competition Law (UCL) creates a cause of action for those harmed
28   by unfair competition, which includes "any unlawful, unfair or fraudulent business act or practice and
                                                       is
                                            COMPLAINT FOR DAMAGES
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  1     unfair, deceptive; untrue or misleading advertising."
  2             415.    Defendants have made numerous misrepresentations to Plaintiff, consumers, and the
  3     general public. Among those misrepresentations are Defendants' claims that the Products are safe,
  4     effective, and not unreasonably dangerous.

  5             416.    Defendants failed to disclose to Plaintiff, consumers, and the general public that the
  6     Products are defective, unreasonably dangerous and are likely to increase the risk of tumors and

  7     cancerous growths in premenopausal women, thereby increasing the risk of cancer, fibroids, and/or

  8     endometriosis, and injuries as described herein.

 9              417.    Defendants' business practices relating to the Products are unlawful because they

10      constitute false advertising, intentional misrepresentation, and fraudulent concealment.

11                      m. As a direct and proximate result of Defendants' unlawful business practices and

12                           false advertising, Defendants have generated enormous revenues and profits at the
13                           expense of Plaintiff. Plaintiff is thus entitled to restitutionary disgorgement, in an
14                           amount to be proven at trial, injunctive relief, attorney's fees, and other remedies
15                           available under the law.
16              418.    Defendants' unlawful business practices, at all relevant times, were a substantial factor

17      in causing Plaintiff's harm, as described herein.

18              WHEREFORE, Plaintiff demands judgment against .Defendants and seeks an order of this

19      Court awarding restitutionary disgorgement, injunctive relief, attorneys' fees and costs and all other

20      relief as this Court deems just and proper under California Business and Professions Code Section

21      17200 et seq.

22                                         V.      PRAYER FOR RELIEF
23             419.     Plaintiff incorporates by reference each and every paragraph of this Complaint as
24      though set forth here in full and further prays.
25             420.     So far as the law and this Court allows, Plaintiff demands judgment against each
26      Defendant on each count as follows:
27                      a.      Compensatory damages for the described losses with respect to each cause of
28 II                           action;
                                                           74
                                                COMPLAINT FOR DAMAGES
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 1                  b.    • Past medical expenses;•
 2                  c.      Past and future lost wages and loss of eaming capacity;
 3                  d.      Past and future emotional distress;
 4                  e.      Punitive damages with respect to each cause of action;
 5                  f.      Reasonable attorneys fees where recoverable;

 6                  g.      Costs of this action;

 7                  h.      Pre-judgment and all other interest recoverable; and

 8                  i.      Such other additional and further relief as Plaintiff may be entitled to in law or

 9                          in equity.

10                                              JURY DEMAND

11          Plaintiff demands a jury trial for all claims so triable.

12

13   Dated: July 18, 2024                           SINGLETON SCIIRIBER, LLP
14

15                                                  By:
                                                            Andrew Bluth (SBN: 232387)
16                                                          Christopher Rodriguez (SBN: 212274)
                                                            Danielle Ward Mason (pro hac vice
17
                                                           forthcoming)
18
                                                            Attorneysfor Plaintiff
19

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                                                       75
                                            COMPLAINT FOR DAMAGES
                   Case 3:24-cv-06845-SI                            Document 1               Filed 09/30/24                    Page 86 of 256
                                                                                                                                                                       CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):                                                             FOR COURT USE ONLY
Christopher R. Rodriguez SBN 212274, Andrew D. Bluth SBN 232387,
Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 958144
       TELEPHONE NO.:916-248-8478              FAX NO„(Optionaq: (619) 255-1515
                                                                                                                      ELECTRONICALLY FILED
         E-MAILADDRESS: crOdrlguezq~Singletonschreiber.com                                                                 ~ 4~ p    r i4Jl VVUIL of VCiIifU r II ICi f
  ATTORNEY FOR (Name): Plalntlff

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA                                                                                     (`
                                                                                                                                    "~~ ~~`{ ~ ~~ r'I~~
                                                                                                                                                  Q     ~~ a
 STREET ADDRESS:1225 Fallon Street                                                                                     ~1/1Oi04 at 04;43;15 p M
MAILINGADDRESS: 1225 Fallon Street
CITYANDZIPCODE: 0akland, 94612
                                                                                                                                     ~ti+` •• Damaree Franklin,
     BRANCH NAME: Oakland - Rene C. Davidson Courthouse                                                                                     Deputy C!eIk
CASE NAME:
 Cynthia Jones v. L'Oreal USA, et al.
                                                                                                                 CASENUMBER:                    -
       CIVIL CASE COVER SHEET                                       Complex Case Designation
~x Unlimited                       0      Limited               0      Counter           0        Joinder                    4 C V              ] 83              l 9 3
        (Amount                           (Amount
                                                           Filed with first appearance by defendant              JUosE:
        demanded                          demanded is
                                                               (Cal. Rules of Court, rule 3.402)                  oEPT.:
        exceeds $25,000)                  $25,000 or less)
                                             ltems 1-6 'belRVta must be:complefed (see instrUctioffs on page 2).
1. Check one box below for the case type that best describes this case:
  Auto Tort                                   Contract                                                       Provisionally Complex Civ[l Littgation
           Auto (22)                                                 Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
     Q     Uninsured motorist (46)                          [jjjjj] Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
     Other PIIPD/WD (Personal Injury/Property               jjjjjjjjj Other collections (09)                        Construction defect (10)
     DarnagelWrongfu[ Death) Tort                                                                              X     Mass tort (40)
                                                                      Insurance coverage (18)                _d;
     jjjjjjjjjjj Asbestos (04)                              O         Other contract (37)                    [],     Securities litigation (28)
                 Product liability (24)                                                                               Environmental/Toxic tort (30)
                                                              Real Property
             Medical malpractice (45)                                                                        jjjjjjjj Insurance coverage ctaims arising from the
                                                                       Eminent domain/inverse
             Other PIlPD/WD (23)                                                                                      above listed provisionally complex case
                                                                      condemnation (14)
                                                                                                                      types (41)
     Non-PI/PD/WD (Other) Tort                                [j      Wrongful eviction (33)                 Enforcement of Judgment
                  Business tort/unfair business practice (07) Q       Other real property (26)               ~        Enforcement of judgment (20)
                  Civil rights (08)                           Unlawful Detainer
                                                                                                             Miscellaneous Civil Complaint
                                                              [jjjjj] Commercial (31)
     Ejjjjjjjjjjj Defamation (13)                                                                                    RICO (27)
     0            Fraud (16)                                  0       Residential (32)
                                                                                                                      Other complaint (not specified above) (42)
     jjjjjjjj] Intellectual property (19)                   0     Drugs (38)
                                                                                                              Miscellaneous Civil Petition
     0.        Professional negligence (25)                 Judicial Review
                                                                                                             [jj]    Partnership and corporate governance (21)
     [jjjjj Other non-PIlPD/WD tort (35)                    0        Asset forfeiture (05)
                                                            0       Petition re: arbitration award (11)      0       Other petition (nof specified above) (43)
     Employment
     ljjjjjj] Wrongful termination (36)                     [jjjjj] Writ of mandate (02)
     ]jjjjjjjjjj Other employment (15)                      0        Other judicial review (39)
2.  This case jjjjjjj is       0       is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a. jjjjj Large number of separately represented parties           d. Q     Large number of witnesses
   b.  jjjjjjjj
          x     Extensive motion practice raising difficult or novel e. 0     Coordination with related actions pending in one or more
                issues that will be time-consuming to resolve                 courts in other counties, states, or countries, or in a federal
   c. 0         Substantial amount of documentary evidence                    court
                                                                     f, Q     Substantial postjudgmentjudicial supervision
3. Remedies sought (check all that apply): a. [jjjJ monetary b. 0           nonmonetary; declaratory or injunctive relief c. 0        punitive
4. Number of causes of action (specify): 17
5. This case             is        x is not
                                 jjjjJ        a class action suit.
6. If there are any known related cases, file and serve a notice of related case, (You may use                                         015.)
Date: 07/18/2024                                                           ~         ~ ~~                                        ~
Andrew D. Bluth                                                                                              f
                              (TYPE OR PRINT NAME)                                                          (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                 W   OTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                         Page 1of 2
 Form Adopted for Mandatory Use                                                                                            Cal. Rules of Court, rules 2.30, 3.220, 3.400-3,403, 3,740;
   Judlclal Council of Califomia
                                                                CIVIL CASE COVER SHEET                                             Cal. Slandards of Judfclal Administratlon, std. 3.10
 CM-010 [Rev,September 1, 2021]                                                                                                                                     www.couds,ca.gov
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                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
To Plaintiffs and Others=Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                     Contract
                                                                                                   Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal InjurylProperty              Breach  of Contract/Warranty (06)
                                                                                                   Rules of Court Rules 3,400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease
                                                                        entaease
                                                                            l/L
                                                                                                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                        Contract (not unlawful detainer
                                                                                                          Construction Defect (10)
        case involves an uninsured                                  or wrongful  evictlon)                Claims Involving Mass Tort (40)
        motorist claim subject to                        Contract/Warranty Breach—Seller
                                                                                                          Securities Litigation (28)
        arbitration, check this item                          Plaintiff (not fraud or negligence)
                                                                                                          Environmental/Toxic Tort (30)
        instead ofAuto)                                  Negligent Breach of Contract/
                                                                                                          Insurance Coverage Claims
  Other PIIPDIWD (Personal
                      Personal In'u       /                   Warranty
                                       ry                Other Breach of Contract/Warranty                      (arising from provisionally complex
  Property DamagefWrongful Death)                                                                               case type listed above) (41)
  Tort                                               Collections   (e.g., money   owed,  open      Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)
                                                                                                       Enforcement of Judgment (20)
         Asbestos Property Damage                        Collection Case—Seller Plaintiff
                                                                                                           Abstract of Judgment (Out of
         Asbestos Personal Injury/                       Other Promissory Note/Collections
                                                                                                                 County)
               Wrongful Death                                 Case
                                                                                                       Confession of Judgment (non-
      Product Liability (not asbestos or            Insurance   Coverage     (not  provisionafly            domestic relations)
          toxic%nvironmental) (24)                       complex) (18)
                                                                                                       Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation
                                                                                                       Administrative Agency Award
           Medical Malpractice—                          Other Coverage
                                                                                                           (not unpaid taxes)
                Physicians & Surgeons                Other Contract    (37)
                                                                                                        Petition/Certification of Entry of
      Other Professional Health Care                     Contractual    Fraud
                                                                                                            Judgment on Unpaid Taxes
             Malpractice                                 Other Contract Dispute
                                                Real Property                                           Other  Enforcement of Judgment
      Other PI/PD/WD (23)                                                                                     Case
                      Liability (e.g., slip         Einent Domain/Inverse
                                                    Eminent
                                                                                                   Miscellaneous Civil Complaint
                    fall)                                Condemnation
                                                             dti           ( )                          RICO (27)
          Intentional Bodily Injury/PDIWD           Wrongful   Eviction   (33)
                                                                                                        Other Complaint (not specified
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
                                                                                                             above) (42)
          Intentional Infliction of                     Writ of Possession of Real Property
                                                                                                             Declaratory Relief Only
               Emotional Distress                       Mortgage Foreclosure
                                                                                                             Injunctive Relief Only (non-
           Negligent Infliction of                      Quiet Title
                                                                                                                  harassmenf)
                Emotional Distress                      Other Real Property (not eminent
                                                                                                             Mechanics Lien
           Other PI/PD/WD                               domain, landtord/tenant, or
                                                                                                             Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                              foreclosure)
                                                Unlawful                                                          Case (non-torUnon-complex)
      Business Tort/Unfair Business                        D eaner
                                                              t  i
                                                                                                             Other Civil Complaint
         Practice (07)                              Commercial      (31)
                                                                                                                  (non-torf/non-complex)
      Civil Rights
              g (e.g., discrimination,              Residential (32)
                                                                                                   Miscellaneous Civil Petition
           false arrest) (not civil                 Drugs (38) (if the case involves illegal
                                                                                                       Partnership and Corporate
           harassment) (08)                         drugs, check this item; othenvise,
                                                                                                            Governance (21)
     Defamation (e.g., slander, libel)              report as  Commercial      or ResidentialJ
                                                Judicial                                                Other Petition (not specified
            (13)                                          Review
                                                                                                            above) (43)
     Fraud (16)                                     Asset Forfeiture (05)
                                                                                                            Civil Harassment
     Intellectual Property (19)                     Ptiti
                                                      eonRe: Arbitration Award (11)
                                                                                                            Workplace Violence
     Professional Negligence (25)                   Writ of Manae d t (02)
                                                                                                            Elder/Dependent Adult
         Legal Malpractice                              Writ—Administrative     Mandamus
                                                        Writ—Mandamus on Limited                                 Abuse
         Other Professional Malpractice                                              i d Court
                                                                                   mte                      Election Contest
              (not medical or legal)                       Case Maer   tt
                                                        Writ—Other Limited Court Case                       Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                                                                           Petition for Relief From Late
 Employment                                                Review
                                                                                                                 Claim
     Wrongful Termination (36)                      Other Judicial Review (39)
                                                                                                            Other Civil Petition
     Other Employment (15)                              Revlew    of Health   Officer Order
                                                        Notice of Appeal-Labor
                                                              Commissioner Agpeals
CM-010 1Rev, September 1, 2021]
                                                          CIVIL CASE GOVER SHEET                                                          Page 2 ot z
For your protection and privacy, please press the Clear
This Form button after you have printed the form.             PClnt thiS fOCIri      Save tfliS form
                Case 3:24-cv-06845-SI                         Document 1                Filed 09/30/24                  Page 88 of 256



                                                                             (hril?rd Jtuh:s uflhr Supr,rior l;ourr. o/ Col(forniri, (;oimr}=uf rtlt~mcda
     F-'A DENDUM T"CIVI             ASF C V^        SHEET
Short Ttue:                                                                                                          ca5e Numbar:
                 Cynthia Jones v. L'Oreal USA, Inc., et al.
                                                      CIVIL CASE COVER SHEET ADDENDUM
                               THIS FORM IS REQUIRED IN ALI. NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                            [ ] Hayward Hall or Justice (447)
[ 7cJ Oakland, Rene C. Davidson Alameda County Courthouse (446)                          [   J Pleasanton, Gale-Schenone Hall of Justice (448)
Ctv11 Caea Cbvar
5heet category         Civil case cover 8heet case Typa,.,      , , Alameda;Coun             Gase Type (check only one)                           _
Auto Tort              Aulo lort (22)                               [ J     34    Auto tort (G)
                                                                   Is thfs an unlnsured motorist case7 J. J yes              J no
Olher PI /PD J         Asbestos (04)                               ( j         75     Asbestos (D)
WD Tort                Product liability (24)                      ( j         89     Product liability (no( asbestos or toxic torUenvironmenlal) (G)
                       Medical malpractice (45)                    ( j         97     Medical malpractice (G)
                       Olher PIIPDMJD tort (23)                                33     Other PIlPDMJD tort (G)
Non - PI /PD J         Bus lort J unfalr bus, pracllce (07)         t          79     Bus tort / unfair bus. praclice (G)
WD Tort                Civil righls (00)                           (],         80     Civil rights (G)
                       Defamallon (13)                             (' J,       84     Defatnatlon (G)
                       Fraud (16)                                  ( J         24     Fraud (G)
                       Inlellec(ual property (19)                  ( J         87     Inletectuaf property (G)
                       Professional negligence (25)                (]          59     Professional negligence - non-medical (G)
                       Other non-PIJPDAND lart 35)                             03     Other non-PIIPD/WD (ort(G)
Employment             Wrongful termination (36)                   ([          38     Wrongful termination (G)
                       Other employmenl (15)                       ( 1         85     Other employmenl (G)
                                                                   [(          53     Labor comm award confrrmalion
                                                                               54     No(Ice of ap eal - L.C_A.
Conlract               Breach contract J Wrnty (06)                ( J         04     Breach contracl / r1Vrnly (G)
                       Collec(lons (09)                            •( ]        81     Colleclions (G)
                       Insurancc coverage (18)                      [ J        86     Ins. covernge - non-complex (G)
                       Olher contrac(.(37)                        J,           98     Olher conlract G
Real Proporty          Cmincnl domain 71nv Cdm (14)                []          18     Eminonl domain / Inv Com (G)
                       Wrongful evicllon (33)                       ()         17     Wrongful evlction (G)
                       Olher real prope (26)                             J     36     Olhcr rcal property (G)
Unlawful Delalner      Cornrnerclal (31)                           [[          94     Unlawful Delalner- commerclai             Is the deft. In possession
                       Resldenllal (32)                            [ 1         47     Unlawful Detainer - resldential            of tho property?
                       Dru s (38)                                              21     Unlawful delainer- drugs                  [] Yes [ J No
Judiclal Revlew        Asset forfeiture (05)                        [ J      41 Assel forterlure
                       Pe(Illon re: arbitrallon award (1'1)         []       62 Pel. re: arbitralion award
                       Wri1 of Mandale (02)                         [ J      49 Wrlt of mandale
                                                                   Is this a CEQA action (Publ,Res.Code sectlon 21000 et seq) [ J Yes () No
                       Olher udidal ievlew (39)                        )     64 Olher udldal revlew
Provisionally          Antitrust / Trade regulation (03)           (]          77     Antitrust / Trade regulalion
Complex                Construclion defect (10)                     []         82     Conslruction defect
                       Claims Involving mass tort (40)              [ x]       78     Claims involving mass 10.1
                       Securities litigatlon (20)                   [ 1        91     Securities litlgalion
                       Toxic tort / Environmental (30)              ( J        93     Toxic tort / Environmenlal
                       Ins covrg from cmpix case f     e f411                  95     Ins covrg from complex case lype
Enforcement of         Enforcement of judgmen( (20)                 t]         19     Enforcemenl of )udgmenl
Judgment                                                                       08     Confession of'ud menl
falsc Complalnl        GiICO (Z7)                                   I J        90     RICO (G)
                       Partnershlp / Corp. governance (21)          J J        88     Parlrtership J Corp. governance (G)
                       Olher cornplalnl (42)                        J 1        88     AII olhci corn laints(13)
Mlsc, Civll Pelilion   Other petltion (43)                            ]        06 • Change ofname
                                                                               69 Other etltlon
       202-19 (511/00)                                                                                                                                A-13
                  Case 3:24-cv-06845-SI               Document 1           Filed 09/30/24            Page 89 of 256

                                                                                                     ReservedforClerk'sFileStamp
               SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF ALAMEDA                                                                         FILED
  COURTHOUSE ADDRESS:
                                                                  '                                 Superior Court of California
                                                                                                        CiUnty
                                                                                                         Q     4f .~ia 171~ da
 Rene C. Davidson Courthouse
 Administration Building, 1221 Oak Street, 0akland, CA 94612                                              07/1$12Q24
  PLAINTIFF:                                                                              C Yad F IiISe~ tFJe Q        r JCk
                                                                                                                          le r of$ e Co i
  CYNTHIA L JONES                                                                              B             „~                    ~ ~~
  DEFENDANT:                                                                                    ~                                   p
  L'Oreal USA. Inc., a corporation et al                                                                     D. Franklin
                                                                                              CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                           24CV083993
 TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

 You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
 the filing of the complaint (Cal. Rules of Court, 3.110(b)).

 Give notice of this conference to all other parties and file proof of service.

 Your Case Management Conference has been scheduled on:


                                  Date: 11/15/2024           Time: 8:30 AM        Dept.: 23
                                  Location: Rene C. Davidson Courthouse
                                            Administration Building, 1221 Oak Street, Oakland, CA 94612

 TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD

 The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
 required by law, you must respond as stated on the summons.

 TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
 procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.qov.




Form Approved for Mandatory Use
Superior Court of California,                             NOTICiE OF
CountyofAlameda
ALA CIV-100 [Rev. 10/2021]
                                  CASE MANAGEMENT CONFERENCE
           Case 3:24-cv-06845-SI         Document 1         Filed 09/30/24             Page 90 of 256


                                                                                         ReservedforClerk'sFileStamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                             FILE D
                                                                                       Superior Court af California
Rene C. Davidson Courthouse                                                               Countyofl~lameda
1225 Fallon Street, Oakland, CA 94612
                                                                                                  a7/18/2024
PLAINTIFF/PETITIONER:                                                           Ciad Fl~ke~il~e             r~Clerk oi11e Gbir1
CYNTHIA L JONES                                                                   B~                                 Deputy
DEFENDANT/RESPONDENT:                                                                              D. Franklin

L'Oreal USA. Inc., a corporation et al
                                                                                CASE NUMBER:
                        CERTIFICATE OF MAILING                                  24CV083993

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Oakland, California, one copy of the original filed/entered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.




   Christopher R. Rodriguez
   SINGLETON SCHREIBER LLP
   1414 K St Ste 470
   Sacramento, CA 95814




                                                     Chad Finke, Executive Officer / Clerk of the Court
Dated: 07/22/2024                                     By:



                                                                   D. Fkuiklin, De1nitF C leiIt




                                     CERTIFICATE OF MAILING
Case 3:24-cv-06845-SI   Document 1   Filed 09/30/24   Page 91 of 256




   EXHIBIT B
                      Case 3:24-cv-06845-SI                     Document 1               Filed 09/30/24                Page 92 of 256

                                                                                                                                                           SUM-100
                                                      SU M M O N S                                                               FOR COURT USE ONLY
                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                              .(CITACION JUDICIAL)
                                                                                                                          ELECTRONICALLY FILED
                                                                                                                             Superior Courtof California
NOTICE TO DEFENDANT:                                                                                                              CountyofAlameda
(AVISO AL DEMANDADO):                                                                                                                07/22/2024
L'Oreal USA. Inc., a corporation; (Additional Parties Attachment form is attached.)                                       ct~d~~,rw.E~~~•.ro~~~,ct~oe_:,~~~a
                                                                                                                                      D. Franklin    pz~ffy

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTi4 DEMANDANDO EL DEMANDANTE):
CYNTHIA L. JONES, an individual.

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
  You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. [f you cannot pay the filing fee, ask the
court clerk for a fee waiver form. [f you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. [f you cannot afford an attorney, you may be eligible for free legal serv[ces from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the Califomia Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any sett[ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidiren su contra sin escucharsu versidn. Lea la informacion a

    Tiene 30 DlAS DE CALENDARIO despuds de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrarestos formularios de la corte ymas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de /a corte que
le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos /ega/es. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Seivices,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o ponicndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquierrecuperaci6n de $10,000 6 más de valorrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                             CASE NUMeER:
                                                                                                  (Numero del Caso):
(El nombre y direccion de la corte es): Alameda County Superior Court
                                                                                                  24CV083993
1225 Fallon Street, Oakland, CA 94612

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccidn y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Christopher R. Rodriguez, Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 95814
DATE:                                                                              Clerk, by                                                               Deputy
        t-,7r ~] ~5 r~S n ,i                                                                                     D . F fSC1~4I1t1
(Fecha) ~J rr LLr Gt! 2 `+        Chad Finke, ExecutNe Officerf Clerkofthe Court   (Secretario)                                                           (Adjunto)
(For proof of service ofthis summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                                 NOTICE TO THE PERSON SERVED: You are served
                                        1. O    as an individual defendant.
                                        2.   0      as the person sued under the fictitious name of (specify):
                                                                                   L'ORI=AL USA PRODUCTS, INC., a corporation
                                        3.   O      on behalf of (specify):
                                             under: 0        CCP 416.10 (corporation)                           O      CCP 416.60 (minor)
                                                     Ijjjj1 CCP 416.20 (defunct corporation)                    0      CCP 416.70 (conservatee)
                                                            CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                     O      other (specify):
                                             O      by personal delivery on (date):
                                                                                                                                                              Page i of 1
Form Adopted for Mandatory Use                                                                                                      Code of Civil Procedure §§ 412.20, 465
  Judicial Council of Califomia                                           SUMMONS                                                                       www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
                      Case 3:24-cv-06845-SI            Document 1            Filed 09/30/24           Page 93 of 256

                                                                                                                              SUM-200 A
  SHORT TITLE:                                                                                CASE NUMBER:

  Cynthia L. Jones v. L'Oreal USA, Inc., et al.                                               24CV083993


                                                        INSTRUCTIONS FOR USE
  -> This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -* If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

 List additional parties (Check only one box. Use a separate page for each type of party.):

     Eiiiiiil Plaintiff [jjjj] Defendant  0 Cross-Complainant            Cross-Defendant
L'ORI=AL USA PRODUCTS, INC., a corporation; SOFT SHEEN-CARSON LLC, a corporation; SOFT SHEEN*CARSON (W.I.), INC., a
corporation.; STRENGTH OF NATURE, LLC, a corporation; GODREJ SON HOLDINGS, INC., a corporation; AVLON INDUSTRIES,
INC., a corporation; SAFEWAY INC., a corporation; THE VONS COMPANIES, INC., a corporation; and DOES 1-100.inclusive,




                                                                                                                    Page    1     of
                                                                                                                                        iofi
 Form Adopted for Mandatory Use
   Judicial Council of Califomia
                                                  ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
       Case 3:24-cv-06845-SI       Document 1         Filed 09/30/24     Page 94 of 256


                                                                    ELECTRNICALLY FILED
                                                                    Superior Caurt of Califarnia,
 1   Christopher R. Rodriguez (SBN: 212274)                            County af Alameda
     Andrew D. Bluth (SBN: 232387)
 2   Danielle Ward Mason (pro hac vice forthcoming)                 [J~/1$il]4 at ~4:4~:95 PM
     Singleton Schreiber, LLP                                             By: Damaree Franklin,
 3                                                                            aeputy Clerk
     1414 K Street, Suite 470
 4   Sacramento, CA 95814
     Telephone: (916) 248-8478
 5   Facsimile: (619) 255-1515
 6 l Attorneys for Plaintiff

 7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

 8                                      COUNTY OF ALAMEDA

 9    CYNTHIA L. JONES, an individual,                 Case No.     4     V O8          ! !E1 3

10                             Plaintiff,             l COMPLAINT FOR DAMAGES
11    v.                                               (1) Strict Liability—Failure to Warn;
12                                                     (2)Strict Liability—Design Defect;
      L'OREAL USA, INC., a corporation;                (3)
                                                         Breach of Express Warranty;
13    L'OREAL USA PRODUCTS, INC., a                    (4)Breach of Implied Warranty of
      corporation; SOFT SHEEN-CARSON LLC, a            Merchantability;
14    corporation; SOFT SHEEN*CARSON (W.I.),           (5)Breach of Implied Warranty of Fitness for a
      INC., a corporation.; STRENGTH OF                Particular Purpose
15
      NATURE, LLC, a corporation; GODREJ SON           (6)Negligence—Design, Manufacture and
16    HOLDINGS, INC., a corporation; AVLON             Sale;
      INDUSTRIES, INC., a corporation;                 (7)Negligence—Failure to Recall/Retrofit;
17    SAFEWAY INC., a corporation; THE VONS            (8)Negligence—Failure to Warn;
      COMPANIES, INC., a corporation; and DOES         (9-13) Fraud—Intentional Misrepresentation;
18    1-100 inclusive,                                 (14-18) Fraud—Concealment;
                                                       (19) Unlawful Business Practices in Violation
19                                                     of Ca. Health & Safety Code Sec. 25249.6 Et
                               Defendants.
                                                       Seq.
20
21                                                     (Unlimited Civil — Amount Demanded
                                                       Exceeds $25,000)
22
                                                       DEMAND FOR JURY TRIAL
23
24
25                                I.        INTRODUCTION
26         1.       This is an action for damages relating to L'OREAL USA, INC.; L'OREAL USA
27   PRODUCTS, INC.; SOFT SHEEN-CARSON LLC; SOFT SHEEN*CARSON (W.I.), INC.;
28 l STRENGTH OF NATURE, LLC; GODREJ SON HOLDINGS, INC.; AVLON INDUSTRIES, INC.;
                                                      1
                                            COMPLAINT FOR DAMAGES
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 1   SAFEWAY INC.; THE VONS COMPANIES; INC.; AND DOES 1-100 INCLUSIVE, hereinafter
 2   "Defendants" design, manufacture, research, sale, testing, marketing, advertising, promotion, and/or
 3   distribution of chemical hair relaxer products ("Products"). These Products, commonly referred to as
 4   "hair relaxers," are a type of lotion or cream product that uses the chemicals contained therein to alter
 5   the structure of very tight curls or curly hair, thereby "relaxing" the curls.
 6           2.      The Products are common among women in the United States and are historically
 7   marketed particularly to Black and Brown women with tight curls or curly hair. When used as
 8   intended, the Products pose an increased risk of hormone-related cancers and reproductive problems
 9   including the development of uterine fibroids. Defendants had knowledge of these increased risks but
10   hid them from their customers and the public as they continued to manufacture, sell, promote, market,
11   and distribute the Products.
12           3.      As a direct and proximate result of Defendants' wrongful conduct, Plaintiff suffered
13   serious and permanent physical and emotional injuries, and uterine fibroids, and seeks damages
14   relating to Defendants' design, development, inanufacture, testing, packaging, promotion, advertising,
15   marketing, distribution, labeling, and sale of Products, as described below.
16                                     II.        THE PARTIES
17         • 4.     Plaintiff Cynthia L. Jones is a citizen and resident of the State of Califomia, with her place
18   of residence being North Highlands, Califomia in Sacramento County.
19           5.     Defendant L'Oreal USA, Inc. is, and at all times relevant to this action, was a
20   corporation, with its principal places of business and headquarters located at 575 Fifth Avenue, New
21   York, New York 10017 and 888 North Douglas Street, El Segundo, Califomia 90245. At all times
22   relevant hereto, Defendant L'Oreal USA, Inc. regularly and continuously did business within this
23   judicial district by designing, testing, manufacturing, researching, marketing, advertising, promoting,
24   selling, and/or distributing the Products.
25          -6.     Defendant L' Oreal USA Products, Inc. is, and at all times relevant to this action, was a
26   corporation, with its principal place of business and headquarters located at 10 Hudson Yards 347 l 0th
27   Avenue New York, New York 10001 and 888 North Douglas Street, El Segundo, Califomia 90245.
28   At all times relevant hereto, Defendant L'Oreal USA Products, Inc. regularly and continuously did
                                                         2
                                             COMPLA.INT FOR DAMAGES
       Case 3:24-cv-06845-SI             Document 1      Filed 09/30/24     Page 96 of 256




 1 I~ business •within this judicial district by designing, testing, manufacturing, researching, marketing,

 2 II advertising, promoting, selling, and/or distributing the Products.

 3           7.      Defendant Soft Sheen-Carson LLC ["Soft Sheen"], is, and at all times relevant to this
 4   action, was a corporation with its principal place of business and headquarters located at 2870
 5   Peachtree Rd. Suite 464, Atlanta GA 40405 and process may be served upon its registered agent,
 6   Corporation Service Company, 80 State Street, Albany, NY 12207. At all times relevant hereto,

 7   Defendant Soft Sheen regularly and continuously did business within this judicial district by

 8   designing, testing, manufacturing, researching, marketing, advertising, promoting, selling, and/or

     distributing the Products.

10           8.     Defendant Soft Sheen*Carson (W.I.), Inc., ["Carson (W.I)"], is, and at all times ~
11   relevant to this action, was a corporation and process may be served upon its registered agent,
12   Corporate Services Company 251 Little Falls Drive, Wilmington, Delaware 19808. At all times

13   relevant hereto, Defendant Carson (W.I) regularly and continuously did business within this judicial
14   district by designing, testing, manufacturing, researching, marketing, advertising, promoting, selling,
15   and/or distributing the Products.

16           9.     Defendant Strength of Nature, LLC ["Strength of Nature"] is, and at all times relevant ~
17   to this action, was a corporation with its principal place of business and headquarters located at 64

18   Ross Road, Savannah, GA 31405 and process may be served upon its registered agent, Karan Sood at

19   64 Ross Road, Savannah GA 31405. At all times relevant hereto, Defendant Strength of Nature

20   regularly and continuously did business within this judicial district by designing, testing,
21   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the
22   Products.
23          10.     Godrej SON Holdings, Inc. ["Godrej SON"] is, and at all times relevant to this action, ~
24   was a corporation with its principal place of business and headquarters located at 64 Ross Road,
25   Savannah GA, 31405, and process may be served upon its registered agent, Karan Sood at 64 Ross
26   Road, Savannah, GA 31405. At all times relevant hereto, Defendant Godrej SON regularly and
27   continuously did business within this judicial district by designing, testing, manufacturing,
28   researching, marketing, advertising, promoting, selling, and/or distributing the Products.
                                                         3
                                            COMPLAINT FOR DAMAGES
       Case 3:24-cv-06845-SI           Document 1         Filed 09/30/24        Page 97 of 256




 1           11.     Defendant Avlon Industries, Inc. ["Avlon"], is, and at all times relevant to this action,
 2   was a corporation with its principal place of business and headquarters located at 1999 N 15th Ave
 3   Melrose Park, IL, 60160, and process may be served upon its registered agent, Kenneth J. Nemec, Jr.
 4   835 McClintock Dr., 2na Floor, Blurr Ridge, IL 60527. At all times relevant hereto, Defendant Avlon
 5   regularly and continuously did business within this judicial district by designing, testing,
 6   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the
 7   Products.
 8           12.     Defendant Safeway Inc. ["Safeway"] is and at all times relevant to this action, was a
 9   Califomia citizen with its principal place of business and headquarters located at 11555 Dublin
10   Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served upon its
11   registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times relevant
12   hereto, Defendant Safeway regularly and continuously did business within this state and county,
13   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,
14   by marketing, advertising, promoting, selling, and/or distributing the Products.
15           13.     Defendant The Vons Companies, Inc. ["Vons Companies"] is and at all times relevant
16   to this action, was California citizen with its principal place of business and headquarters located at
17   11555 Dublin Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served
18   upon its registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times
19   relevant hereto, Defendant Vons regularly and continuously did business within this state and county,
20   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,
21   by marketing, advertising, promoting, selling, and/or distributing the Products.
22                                   III.    JURISDICTION AND VENUE
23           14.    This Court has jurisdiction over the claims and causes of action asserted herein because
24   such claims arise out of all of the Defendants' unlawful business practices within the State. of
25   Califomia, at least some of the Defendants are citizens of the State of California, and Plaintiffs' injuries
26   were suffered within the State of Califomia as a result of Defendants' conduct.
27          15.     Venue is proper in this Court because: Pursuant to Califomia Code of Civil Procedure
28   section 395, at least some of the Defendants are residents of Alameda County; all of the Defendants
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 1   transact •business in California and in the County of Alameda; and all of the • Defendants have
 2   committed unlawful acts in the County; thus, a substantial part of the events giving rise to the claims
 3   alleged herein occurred in this County.
 4                                      IV.     STATEMENT OF FACTS
 5          16.       Each of the preceding paragraphs is incorporated by reference herein.
 6          17.       At all pertinent times, all Defendants were engaged in the research, development,

 7   manufacture, design, testing, sale, and marketing of the chemical hair relaxer products ("Products")

 8   and introduced such products into interstate commerce with knowledge and intent that such Products

 9   be sold in the State of California.

10          18.       At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
11   Inc., Soft Sheen, and Carson (W.I) developed, tested, assembled, manufactured, packaged, labeled,

12   prepared, distributed, marketed, supplied, and/or sold the defective chemical hair relaxer Products,

13   Dark & Lovely and Mizani.

14          19.       Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
15   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

16   phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP),

17   and benzylbutyl phthalate.

18          20.       Upon information and belief Defendants L'Oreal USA, Inc., L'Oreal USA Products,

19   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

20   bisphenol A.

21          21.       Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,

22   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

23   cyclosiloxanes,      including    but     not    limited    to    octamethylcycloetrasiloxane    (D4),
24   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
25          22.       Upon information and belief, Defendants L'Oreal USA, Inc, L'Oreal USA Products,
26   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

27   parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and
28   butyl paraben.
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 1          23.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 2   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 3   antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
 4          24.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 5   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 6   ethanolamines, including but not limited to menoethanolamine and diethanolamine.

 7          25.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 8   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

 9   alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol
10   monoethoxylate, and nonylphenol diethoxylate.

11          26.     Upon information and belief,.Defendants L'Oreal USA, Inc., L'Oreal USA Products,
12   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained UV

13   filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone-
14   3, oxtinoxate, and octadimethyl PABA.

15          27.     Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
16   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained

17   fragrances, including but not limited to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool,

18   methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB,

19   isobornyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.

20          28.     At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products,

21   Inc., Soft Sheen, and Carson (W.I) placed defective hair relaxer Products into the stream of interstate

22   commerce.

23          29.     Plaintiff Jones used the following L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft
24   Sheen, and Carson (W.I) Products:
25                 a. Dark & Lovely No-Lye Children Relaxer System; and
26                 b. Mizani Moderate Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and
27                     Honey.

28          30.     At all pertinent times, all Defendants were engaged in the research, development,
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 1   manufacture, design, testing, sale, and marketing of the chemical hair relaxer products ("Products")
 2   and introduced such products into interstate commerce with knowledge and intent that such products
 3   be sold in the State of California.
 4          31.       At all times material hereto, Defendants Godrej SON and Strength of Nature
 5   developed, tested, assembled, manufactured, packaged, labeled, prepared, distributed, marketed,

 6   supplied, and/or sold the defective chemical hair relaxer Products, Just For Me, TCB, Motions, and

 7   Dr. Miracle's.

 8          32.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

 9   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained phthalates, including but not

10   limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP), and benzylbutyl phthalate.

11          33.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,

12   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained bisphenol A.

13          34.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,

14   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained cyclosiloxanes, including but

15   not limited to octamethylcycloetrasiloxane (D4), decamethylcyclopentasiloxane (D5), and

16   dodecamethylcyclohexylsiloxane (D6).

17          35.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,

18   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained parabens, including but not

19   limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and butyl paraben.

20          36.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

21   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxer contained antimicrobials including but not

22   limited to o-phenylphenol, triclosan, and triclocarban.

23          37.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

24   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained ethanolamines, including but
25   not limited to menoethanolamine and diethanolamine.
26          38.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,

27   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained alkylphenols, including but not

28   limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol monoethoxylate, and nonylphenol

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 1   diethoxylate.                        .                       .
 2          39.      Upon infoi-mation and belief, Defendants Godrej SON, Strength of Nature's product,
 3   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained UV filters including, but not
 4   limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone-3, oxtinoxate, and
 5   octadimethyl PABA.

 6          40.      Upon information and belief, Defendants Godrej SON, Strength ofNature product, Just

 7   For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained fragrances, including but not limited

 8   to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool, methyl eugenol, methyl salicylate,

 9   pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB, isobornyl acetate, methyl •ionone,

10   musk ketone, musk xylene, and phenethyl alcohol.

11          41.      At all times material hereto, Defendants Godrej SON and Strength of Nature placed

12   defective hair relaxer Products into the stream of interstate commerce.

13          42.      Plaintiff Jones used the following Defendants Godrej SON and Strength of Nature's
14   Products:
15                a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,

16                   Coconut Milk, and Vitamin E;

17                b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular;

18                c. TCB No Base Hair Relaxer with Protein and DNA Mild;

19                d. Motions No-Lye Relaxer System with Shea Butter, Argan Oil, and Coconut Oil;

20                e. African Pride Regular Hair Relaxer; and

21                f. Dr. Miracle's No-Lye Relaxer with Vitamins A and E.

22          43.      At all times material hereto, Defendant Avlon developed, tested, assembled,

23   manufactured, packaged, labeled, prepared, distributed, marketed, supplied, and/or sold the defective

24   chemical hair relaxer Product, Affirm.
25          44.      Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
26   contained phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate

27   (DEHP), and benzylbutyl phthalate.
28          45.      Upon information and belief Defendant Avlon's Product Affirm hair relaxers
                                                        s
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 1   contained bisphenol A.
 2          46.     Upon information and belief, Defendant Avlon's Product Affirm hair relaxers
 3   contained cyclosiloxanes, including but not limited to octamethylcycloetrasiloxane (D4),
 4   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
 5          47.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 6 ~ contained parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl)

 7 l adipate, and butyl paraben.

 8          48.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 9   contained antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
10          49.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
11   contained ethanolamines, including but not limited to menoethanolamine and diethanolamine.
12          50.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
13   contained alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol
14   monoethoxylate, and nonylphenol diethoxylate.
15          51.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
16   contained UV filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2,
17   benzophenone-3, oxtinoxate, and octadimethyl PABA.
18          52.    Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
19   contained fragrances, including but not limited to benzylcetate, eugenol, hexyl cinnemal, limonene,
20   linalool, methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI,
21   HHCB, isobomyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.
22          53.    At all times material hereto, Defendant Avlon placed defective hair Products into the
23   stream of interstate commerce and Plaintiff Jones used Affirm Relaxer Products.
24          54.    Plaintiff Jones used Defendant Avlon's "Affirm" branded relaxer Products.
25                   PLAINTIFF JONES'S USE OF HAIR RELAXER PRODUCTS
26          55.    Plaintiff Jones was first exposed to Endocrine Disrupting Chemicals ("EDCs") and/or
27   phthalate-based Products around 1989, at or around the age of eleven (11) when she began using
28   Defendants' Products.
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 1          56.     Plaintiff Jones continued using Defendants' Products from around 1989 to 2020, from
 2   approximately age eleven (11) to forty-two (42), resulting in thirty-one (3 1) years of continuous
 3   exposure.
 4          57.     Between the ages of 14 and 42, Plaintiff Jones used L'Oreal USA, Inc., L'Oreal USA
 5• Products, Inc., Soft Sheen, and Carson (W.I)'s "Dark & Lovely" branded Products, including Dark &

 6   Lovely No-Lye Children Relaxer System.

 7          58.    Between the ages of 13 and 20, Plaintiff Jones used L'Oreal USA, Inc., L'Oreal USA
 8   Products, Inc., Soft Sheen, and Carson (W.I)'s "Mizani" branded Products, including Mizani Moderate

 9   Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and Honey.

10          59.    Between the ages of 11 to 14, Plaintiff Jones used Godrej SON and Strength of Nature's
11   "Just for Me" branded Products, including:
12                 a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,
13                      Coconut Milk, and Vitamin E; and
14                b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular.
15          60.    Between the ages of 11 to 14, Plaintiff Jones used Godrej SON and Strength of Nature's
16   "TCB" branded Products, including TCB No Base Mild Hair Relaxer with Protein and DNA.

17          61.    Between the ages of 30 to 32, Plaintiff Jones used Godrej SON and Strength of Nature's
18   "African Pride" branded Products, including African Pride Regular Hair Relaxer.

19          62.    Between the ages of 16 to 42, Plaintiff Jones used Godrej SON and Strength ofNature's
20   "Motions" branded Products, including Motions No-Lye Relaxer System with Shea Butter, Argan Oil,

21   and Coconut Oil.
22          63.    Between the ages of 21 to 42, Plaintiff Jones used Godrej SON and Strength of Nature's
23   "Dr. Miracle's" branded Products, including Dr. Miracle's No-Lye Relaxer with Vitamins A and E.
24          64.    Between the ages of 13 to 20, Plaintiff Jones used Defendant Avlon's "Affirm" branded
25   Products.
26          65.    Plaintiff Jones frequently purchased Relaxer Products from Defendants Safeway's and
27   Vons Companies' "Safeway" stores in Califomia.

28          66.    Plaintiff Jones feceived retouches to relax her new growth approximately every four
                                                      iu
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 1   (4) to six (6) weeks, resulting in approximately eight (8) to twelve (12) applications of relaxer per
 2   year.
 3           67.      Plaintiff Jones used Defendants' Products by applying them to her hair by having a
 4   professional at a hair salon apply Defendants' Products exactly as instructed by Defendants.
 5           68.      Plaintiff Jones kept the Product on her hair for the time allotted in the instructions.
 6           69.      There was never any indication, on the Products packaging or otherwise, that this
 7   normal use could and would cause her to develop uterine fibroids.

 8           70.      Plaintiff Jones's last purchase of hair relaxer products was in 2020 when she decided

 9   to go natural.

10           71.      Years earlier, in approximately 2005, Plaintiff Jones was diagnosed with uterine
11   fibroids at the young age of twenty-seven (27) years old.
12           72.      Plaintiff Jones's fibroid symptoms affected her daily life. She struggled with heavy and
13   irregular periods, severe pain and cramping, and sharp pain during intercourse.
14           73.      A few years after her diagnosis, Plaintiff Jones underwent uterine ablation to treat her
15   fibroids. However, the treatment was unsuccessful, and her symptoms continued to worsen.

16           74.      In 2009, living with the pain and heavy bleeding became so unbearable that Plaintiff

17   Jones was forced to leave her full-time job.

18           75.      After struggling with grueling symptoms for two more years, Plaintiff Jones made the
19   impossible decision between her health and her desire to have more children. When she was just thirty-

20   two (32) years old, Plaintiff Jones underwent a total abdominal hysterectomy on February 11, 2011.

21           76.      Plaintiff Jones then started hormone replacement therapy and began menopause at the
22   young age of thirty-four (34).

23           77.      In 1998, prior to Plaintiff Jones's diagnosis of uterine fibroids, Plaintiff Jones gave
24   birth to her first child prematurely at thirty (3 0) weeks into her pregnancy. Before delivering her child,
25   Plaintiff Jones was hospitalized for a week due to considerations for the baby's safety.
26           78.      After her hysterectomy, Plaintiff Jones was forced to give up her dream of having more
27   children forever. However, before Plaintiff Jones even had surgery, her fibroids prevented her from
28   having children because of the severe pain she experienced during intercourse.
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 1           79.     Plaintiff Jones's inability to have children 'caused significant strain' on her marriage,
 2   and eventually, contributed to Plaintiff Jones and her husband getting a divorce.
 3           80.     Plaintiff Jones's struggle with fibroids has negatively impacted her mental health
 4   leading her to develop anxiety and depression.
 5           81.     Plaintiff Jones could not and did not discover the causal connection between her use of
 6   Defendants' hair relaxer products and her own reproductive issues until late October 2022, when the

 7   Chang study was released linking the use of chemical hair straightener or relaxers to uterine cancers

 8   and raising awareness of its connection to other reproductive system issues.

 9           82.     On October 18, 2022, just one day after the Chang study was published, its results were

10   widely published and highlighted on multiple major television news networks and online and social

11   media platforms. l

12           83.     Following the release of this study, a press conference was held for a woman in Illinois
13   filing of the first lawsuits against Defendants for the development of uterine cancer, which went

14   similarly viral, including in the state of California where Plaintiff Jones resides.
15           84.     The publicity of the study put Plaintiff Jones on notice for the first time that she may
16   have similarly been harmed reproductively by her use of hair relaxers and that she may have a legal

17   claim as a result.

18           85.    As a result of Defendants' acts and/or omissions, Plaintiff Jones suffered extreme pain

19
20   1 See, e.g., Jacqueline Howard, US woman files lawsuit against L'Oreal, claiming chemical hair

21   straightening products are linked to her cancer, CNNHealth (Oct. 24, 2022), available at
     https://www.cnn.com/2022/10/24/health/hair-strai h~g =products-lawsuit/index.html (last
22   accessed Feb. 27, 2023); Julian Mark, She was diagnosed with cancer at 28. Her lawsuit blames hair
     relaxers, The Washington Post (Oct. 27, 2022), available at
23   https://www.washin g_  tonpost.com/nation/2022/10/27/loreal-lawsuit-hair-straightener-relaxer/ (last
     accessed Feb. 27, 2023); Fox32News, Woman claims L'Oreal chemical relaxers caused uterine
24   cancer: lawsuit, Fox5Atlanta (Oct. 24, 2022), available at
25   https://www.fox5atlanta.com/news/woman-claims-loreal-chemical-relaxers-caused-uterine-cancer-
     lawsuit (last accessed Feb. 27, 2023); Amanda Su & Sabina Ghebremedhin, Woman sues 5
26   companies alleging their chemical hair-straightening products caused her uterine cancer, Good
     Morning America (Oct. 25, 2002), available at
27   https://www.goodmorningamerica.com/wellness/story/woman-sues-companies-alleging-chemical-
     hair-strai htening_products-92007557 (last accessed Feb. 27, 2023).
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 1   and suffering, and extreme emotional distress.          -
 2                               HAIR STRAIGHTENERS AND RELAXERS
 3   A.      Market for Hair Straightening and Relaxing Products
 4           86.     Black people make up about 13 percent of the U.S. population, but by one estimate,
 5   their spending accounts for as much as 22 percent of the $42 billion-a-year personal care products

 6   market, suggesting that they buy and use more of such products — including those with potentially

 7   harmful ingredients— than Americans as a whole.Z

 8           87.     In an analysis of ingredients in 1,177 beauty and personal care products marketed to

 9   Black women, about one in twelve (12) was ranked highly hazardous on the scoring system of EWG's

10   Skin Deep® Cosmetics Database, a free online resource for finding less-hazardous alternatives to

11   personal care products. The worst-scoring products marketed to Black women were hair relaxers. Each

12   of these categories had an average product score indicating high potential hazard.

13           88.     In the U.S. alone, Black consumers spend over $1 trillion each year, with a significant
14   amount of that spending toward hair care products.
15           89.     In 2020, the global Black hair care market was estimated at $2.5 billion, with the hair

16   relaxer market alone estimated at $718 million in 2021, with the expectation of growth to $854 million

17   annually by 2028.

18   B.      History of Hair Relaxers in America

19           90.     In its natural or virgin state, afro-hair texture is characterized by coily, springing,

20   zigzag, and s-curve curl patterns; as well as its density, fullness, texture, and feel.3

21           91.     Afro-textured hair "naturally grows up and out." 4

22
23   2 Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2, 2012,
     americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php;      Personal     Care    Products
24   Manufacturing Industry Profile, Dun & Bradstreet First Research, August 2016,
     www.firstresearch.com/Industry-Research/Personal-Care-Products-Manufacturing.html (This report
25   uses "Black" to describe not only people who identify as African-American, but Black people in the
     U.S. who come from the Caribbean or other areas. "African-American" is used only when a cited
26   source specifies that term).
27   3 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application, 26, 14 (2018).
28   4 Ay~na Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times, April 30,
     2014, https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html.
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                92.   In Africa, hair was seen as a source of personal and spiritual power. As the highest
 2   point of the body and "most elevated part of the body, some communities believe[d] [their hair]
 3   connected them with the divine."5 For some, hair was the "conduit for spiritual interaction with God."
     6
 4

 5              93.   African hairstyles were also status symbols reflecting one's "marital status, age,
 6   religion, and rank in society" and one's tribe. ' Warriors, kings, and queens wore braids to show their

 7   ranking in society.8 The Wolof tribe in West Africa, wore braided styles when they went to war.9

 8              94.   Most styling was extremely intricate and involved days of labor. "Only the mad and
 9   mourning did not do their hair." 10

10              95.   One of the of first things slave masters did to enslaved people brought to American soil
11   was cut their hair. This was a way to "break their spirit and make slaves easier to control."11 What was
12   once a symbol of pride became a tool for subordination and degradation. As such, hair cutting was

13   also a common form of punishment.
14              96.   The very nature of slavery involved working long hours in dire conditions. Enslaved
15   people had "no time to care about one's appearance or one's hair."12 "Hair that was once a source of ~

16   pride and expression of identity was often tucked away beneath cloth to cover rough, tangles tresses

17   and shield them from hours spent toiling under the sun."13 The hair that was once an important spiritual

18
19
     5  Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
20   https://odelebeauty.com/blogs/the-rinse/black-hair-hi story-facts.
     6 Rumeana Jahangir, How Does Black Hair Reflect Black History?, BBC News. May 31, 2015.
21
     https://www.bbc.comlnews/uk-england-merseyside-3143 8273.amp.
22   ~ History ofBraids: More Than Just a Hairstyle, Genesis Career College,
     https://www.genesiscareer.edu/history-of-braids-more-than just-a-hairstyle/.
23   8 Id.
     9 Id.
24   10 Hlonipha Mokoena, From Slavery to Colonialism and School Rules, Navigating the History of
25   Myths about Black Hair, Quartz Africa, Fe., 24, 2018, https://qz.com/africa/1215070/black-hair-
     myths-from-slavery-to-colonialism-school-rules-and-good-hair/.
26   11 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
27   12 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
     https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
28   13
          Id.
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 1    and cultural symbol became tangled and matted.
 2               97.   White Americans did not see African or Black hair as beautiful. Instead, they described
 3 II it as "closer to sheep wool than human hair."14 African hair that was once considered an attractive

 4 Il feature became a source of shame, to be covered or cut.

 5               98.   In 1786, the Governor of Louisiana, Don Esteban Miro, passed the "Tignon Law"
 6    requiring Black women to wear a tignon (scarf) over their hair as a way of signifying they were
 7 ~ members of the slave class, even if they were free. ls

 8               99.   "By requiring free Black women to wear the same hair covering, the governor was

 9 l marking them as related to enslaved women rather than white women."16

10             100.    This law sent a direct signal to Black people that their hair held a symbol of inequality
11 I and was a sign of poverty regardless of their actual social status.
12             101.    Because afro-textured hair was kinky and reflected African heritage rather than ~
13 l European ancestry afro-textured, hair was a symbol of low social status. l7
14            102.     Slaves with lighter skin and less coily hair were favored to work in the home, a far less
15 I strenuous position than in the plantation fields. 18
16            103.     Texturism, the idea that "good hair" is equated with a straighter hair texture, was
17   cemented into American culture during its period of chattel slavery. "Eurocentric beauty standards

18   dictated that coily hair and dark skin were unattractive and inferior"; "lighter skinned and straighter

19   haired slaves were favored and selected for more desirable positions in the house" as opposed to the

20   fields.19     Thus, "the texture of an enslaved person's hair could determine their value and working

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     14 Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times,
                                                                                                   April
23   30, 2014. https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html
     15 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele,
                                                                                        Feb. 22, 2021,
24   https://odelebeauty.com/blogs/the-rinse/black-hair-histor~facts.
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     16 Fashionable Rebellion, Women and the American Story, New York Historical Society Museum
25
     and Library, https://wams.nyhistory.org/settler-colonialism-and-revolution/settler-
26   co lonialism/fashionable-rebellion/.
     17 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
27   121 (2015).
     is
        ld.
28   19 Id
                                                            15
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 1   conditions, which in turn might impact their overall health, comfort and chances for freedom[.]"20
 2   Naturally, Black men and women strived for a better life in America and were taught that the straighter
 3   and less kinky their hair was, the better of a life they could have. This fueled the desire for tools and
 4   products that could straighten Black hair texture.
 5           104.     Gone were the days of African hairstyles and pride. "The goal of grooming the hair had
 6   morphed from the elaborate and symbolic designs of Africa into an imitation of White styles adapted

 7   to Black kinks and curls."21

 8           105.     To obtain a better, life, so many slaves would go to "dangerous lengths to straighten

 9 l their hair."ZZ

10           106.     Black, or afro-textured hair texture, can be manipulated into a straightened state with

11   hair tools and products. Prior to the invention of the chemical relaxer in 1900s, individuals would

12   "press" afro-textured hair with metal hair tools such as the "hot comb." Pressing combs or hot combs

13   are metal hair tools that are first heated in a stove or ceramic heater, then pressed into hair strands to

14   temporarily straighten them.23

15           107.     The hot comb was first invented by Frenchman, Marcel Grateau who popularized the
16   hair styling tool in Europe in the 1870s, including advertisements in catalogs of major department

17   stores like Sears and Bloomingdales.24 The hot comb was later modified by Madam C.J. Walker, a

18   trailblazer in the development of black hair products, to be manufactured with wider comb teeth.25

19   With Walker's system, once the comb was heated a softening ointment was then applied for easier

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     2o Id.
23   21 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
24   22 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
25   https://odelebeauty.com/blo gs/the-rinse/black-hair-history-facts
     23 Jaclyn Peterson, The Price ofBeauty, CTI Charlotte Teachers Institute Curriculum (2021).
26   24 Henry Louis Gates, Madam Walker, the First Black American Woman to Be a Self-Made
     Millionaire, PBS 100 Amazing Facts About the Negro, https://www.pbs.org/wnet/african-americans-
27   many-rivers-to-cross/history/100-amazing-facts/madam-walker-the-first-black-american-woman-to-
     be-a-self-made-millionaire/ (last visited October 18, 2022).
28   25 Cookie Lommel, Madam C.J. Walker 60 (1993)
                                                        16
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 1    manipulation of Black hair.26      .

 2            108.   Today, afro-textured hair is still often straightened with a hot comb rather than with
 3    chemicals. However, pressed hair remains susceptible to "shrinkage." Shrinkage is the process by
 4   which curly-kinky hair that has been temporarily straightened coils back into its natural state once the
 5   hair interacts with water, humidity, or perspiration,27 creating a shorter or fuller appearance.
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22            i.     The Invention of the Chemical Relaxer
23           109.    African American inventor Garrett Augustus Morgan, discovered and created a system
24   that would permanently straighten afro-textured hair, eliminating the issue of "shrinkage."
25           110.    In addition to being an inventor, Morgan was also a tailor. In the early 1900s, Morgan
26
27
     Z6 Id. at 62.
28   27 Id.
                                                       17
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     was repairing his sewing machines and wanted to find a way to polish the needles to stitch fabrics

 2   more smoothly.28 He applied a chemical solution to the needles and wiped the solution off with a rag

 3   and later noticed that the "curly" fibers in the rag were straightened after exposure to the chemical.29

 4          111.    Morgan further tested the chemical on a dog with curly hair and eventually on his own

 5   hair. The chemical solution successfully straightened curly hair. He turned his formula into a gel-hair

 6   product, creating the G.A. Morgan Hair Refining Cream which was marketed in 1913.

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     28 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
28   29 Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28 (2008).
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 1            112.   Morgan's invention paved the way for the alkaline relaxer and later development of
 2    additional chemical based permanent hair straightening products in the Black hair care market.3o
 3            ii.    Defendants' Marketing Efforts
 4            113.   In 1971, Dark and Lovely manufactured the first lye relaxer. The formula consisted of
 5   sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers. 31
 6            114.   In the 1970s, lye relaxer users and manufacturers noticed that the lye formula stripped
 7   proteins from the hair strand, resulting in the hair thinning and breaking.32 As a result, Johnson and

 8   Johnson marketed the first "gentle" hair relaxer in 1981, which used milder chemicals such as

 9   potassium hydroxide and lithium33

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              115.   Over time, Soft & Beautiful and other chemical relaxer manufacturers developed herbal
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     and botanical hair relaxer formulas. 34
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     30  Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
26   31  Cicely A. Richard, This History ofHair Relaxers, September 29, 2017
     https://classroom.synonym.com/the-history-of-hair-relaxers-12078983.html.
27   32 Ia
     33 Id.
28   34 Id.
                                                     19
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 .1             116.    For decades, Defendants have marketed their hair relaxer products to African Arnerican
 2     customers across the United States, and the world, reinforcing the same historical Eurocentric
 3     standards of beauty. Defendant's marketing scheme relies heavily on branding and slogans that
 4    reinforce straight hair as the standard.3s
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16              117..   For example, in the first ad above, L'Oreal touts "how beautiful Black hair can be"

17    (emphasis added), implying that in its natural state Black Hair is not as beautiful as it could be if

18    straightened.

19             118. Defendants misrepresented that "no lye" relaxers, or "gentle treatment" relaxers were

20    milder and/or safer than alternative relaxers. This was false. Hair relaxer products marketed as using

21    "gentle treatment" or similar terminology are not any safer than the other hair relaxer products on the

22    market.

23             119. Finally, Defendant L'Oreal depicts a Black woman with straight hair on each of its

24    Dark and Lovely and Optimum brands of relaxer product.

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28    35 Id.
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            120.    Defendants L'Oreal's and SoftSheen's Dark & Lovely brand hair relaxer products are ~
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     intentionally labeled as providing a "healthy" gloss. and containing "nourishing" shea butter with
18
19   jojoba and avocado oils. The terms "healthy" and "nourishing" suggest that hair relaxer products are

20   safe and even beneficial for the body when they are not.      •




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            121.    Defendant L'Oreal and Softsheen-Carson's Beautiful Beginnings hair relaxer product I
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     line, which is targeted to young Black girls, states that it "moisturizes, nourishes, and prevents
15
16   breakage...without hurting your scalp." These representations suggest that their hair relaxer

17   products are safe and even beneficial for children'.s bodies when they are not.

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 1 I C.        • Chemical Relaxer Use •
 2             122.   Hair relaxers are classified as creams or lotions which are specifically marketed to
 3   Black and Brown women to "tame" their ethnic hair by making it smoother, straighter, and easier to
 4   manage on a daily basis.
 5             123.   Hair relaxing, or lanthionization, can be performed by a professional cosmetologist in
 6   a salon or barbershop, or at home with at-home relaxer kits designed for individual use. These home
 7   kits are sold in grocery, drug, and beauty supply stores in urban and rural cities throughout the United

 8   States.

 9             124.   Relaxers are applied to the base of the hair shaft and left in place for a "cooking" I
10   interval, during which the relaxer alters the hair's texture by purposefully damaging the hair's natural
11   protein structure. The effect of this protein damage straightens and smooths the hair. After a period of
12   weeks four (4) to eight (8) weeks on average, depending on the hair's natural growth rate), the treated
13   portion of the hair grows away from the scalp as new growth sprouts from the roots, requiring
14   additional relaxer treatment to smooth the roots. These additional treatments are colloquially referred
15   to in the community as "re-touches", resulting in women relaxing their new growth every four to eight
16   weeks on average, usually for decades.

17             125.   Hair relaxers can, and often do, cause burns and lesions in the scalp, facilitating entry
18   of hair relaxer constituents into the body. The main ingredient of "lye" relaxers is sodium hydroxide;
19   no-lye relaxers contain calcium hydroxide and guanidine carbonate, and "thio" relaxers contain
20   thioglycolic acid salts. No-lye relaxers are advertised to cause fewer scalp lesions and burns than lye

21   relaxers, but there is little evidence to support this claim.

22             126.   In some studies, up to 90% of Black and brown women have used hair relaxants and l
23   straighteners, which is more commonplace for these women than for any other race. Hair products ~
24   such as relaxers contain hormonally active and carcinogenic compounds, such as phthalates, known
25   to cause endocrine disruption, which are not required to be listed separately as ingredients and are
26   often broadly lumped into the "fragrance" or "perfume" categories. Relaxer habits usually begin in
27   formative childhood years, and adolescence is likely a period of enhanced susceptibility to debilitating
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 1   conditions resulting from exposure to these chemicals.36
 2           127.    In the 1990s, the first relaxer product for young Black girls, Just for Me, hit the market
 3 ~ with a catchy advertising jingle that captured consumer attention.37 It soon became one of the most

 4 l popular straightening treatments, touting a no-lye formula designed to be gentler for children's
 5   sensitive scalps.
 6           128.    Once relaxer use begins in childhood, it usually becomes a lifetime habit. The
 7 l frequency of scalp bums with relaxer application can increase the risk of permanent and debilitating

 8   diseases associated with long-term exposure to endocrine-disrupting chemicals.

 9           129.    The reasons for Black women's use and dependence upon hair straightening products

10 ¡ are associated with various factors, including (1) slavery and intemalization of acceptable beauty
11   norms, (2) media and advertisements, (3) assimilation and economic security, (4) ease of hair

12   maintenance, and (5) culture.38
13          130.     In a culture where Black women feel reduced to a lower standard of beauty, these ~
14   factors impact women of color's decisions to begin and continue using products to alter the natural
15   state of their hair, many times as a protective mechanism against racial discrimination. In the Dove
16   CROWN Study for girls (2021) conducted by JOY Collective, the following statistics were

17   discovered:39

18          a. 100% of Black elementary school girls in majority-white schools who report experiencing

19              hair discrimination state they experience the discrimination by the age of ten (10).

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21   36 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
22   37 Dana Oliver, The `90s Just For Me Hair Relaxer Commercial Song Is Stuck In Our Heads,
     HuffPost, Feb. 1, 2014. https://www.huffpost:com/entry/just-for-me-hair-relaxer-commercial-
23   song_n_4689981
     38 Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of Self-
24   Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-alteration-
25   practices-amongst-black-women-and-the-assumption-of-self-hatred/
     39 The CROWN Act was created in 2019 by Dove and the CROWN Coalition, in partnership with
26   then State Senator Holly J. Mitchell of Califomia, to ensure protection against discrimination based
     on race-based hairstyles by extending statutory protection to hair texture and protective styles such
27   as braids, locks, twists, and knots in the workplace and public schools.
     https://www.thecrownact.com/
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 1             b. 86% of Black teens who experience discrimination state they have experienced
 2                discrimination based on their hair by the age of twelve (12).
 3             c. 66% of Black girls in majority-white schools report experiencing hair discrimination
 4                compared to 45% of Black girls in all school environments.
 5            d. 53% of Black mothers, whose daughters have experienced hair discrimination, say their
 6                daughters experienced discrimination as early as five (5) years old.

 7            e. 47% of Black mothers report having experienced discrimination related to their hair.

 8            f. Trauma from these experiences cause girls to miss days from school; teenage Black girls

 9                are missing a week of school per year due to hair dissatisfaction.

10            g. While 90% of Black girls believe their hair is beautiful, the microaggressions and

11                discrimination she endures has an impact on how she sees herself.

12            h. Black women are 1.5 times more likely to be sent home from the workplace because of
13                their hair.
14            i. Black women are 89% more likely than white women to agree with this statement, "I have
15                to change my hair from its natural state to fit in at the office."
16            131.    The CROWN Act of 2021 is a legislative bill introduced in both houses of Congress to

17   address discrimination against protective hair styles worn predominantly by women of color. While

18   the bill has not yet passed fully on a federal level, eighteen states have signed a version of the bill into

19   state law. Unless, and until, the CROWN Act makes hair discrimination illegal in every state, children,

20   teenagers, and women of color continue to face discriminatory practices related to their hair choices,

21   with relaxing and straightening their hair being a defensive, yet dangerous and toxic option.

22   D.       Endocrine Disrupting Chemicals

23            132.    The endocrine system is indispensable for life and influences nearly every cell, organ,
24   and process within the body.40 The endocrine system regulates all biological processes in the body
25

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     40Endocrine System: The Endocrine System Includes The Thyroid, Adrenals, and the Pituitary
28   Gland, Science Direct, https://www.sciencedirect.com/topics/psychology/endocrine-system
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 1 ~ from conception through adulthood, including the development of the brain and nervous system, the

 2 I growth and function of the reproductive system, as well as the metabolism and blood sugar levels. 41

 3           133.    The endocrine system is a tightly regulated system made up of glands that produce and
 4 ~ release precise amounts of hormones that bind to receptors located on specific target cells throughout

 5 I the body.42

 6           134.    Hormones, such as estrogen, testosterone, progesterone, and androgen, are chemical ~
 7 I signals that control or regulate critical biological processes.43

 8           135.    When a hormone binds to a target cell's receptor, the receptor carries out the hormone's
 9 J instructions, the stimulus, and either switches on or switches off specific biological processes in cells,
10   tissues, and organs. 44
11           136.    The precise functioning of the endocrine system is vital to maintain hormonal j
12 ~ homeostasis, the body's natural hormonal production and degradation. A slight variation in hormone
13   levels can lead to significant adverse-health effects, including reproductive impairment and infertility,
14   cancer, cognitive deficits, immune disorders, and metabolic syndrome.4s
15           137.    Endocrine disrupting chemicals ("EDCs") are chemicals, or chemical mixtures, which
16 ~ interfere with the normal activity of the endocrine system.
17           138.    EDCs can act directly on hormone receptors as mimics or antagonists or on proteins
18 ~ that control hormone delivery. 46
19           139.    EDCs disrupt the endocrine system and interfere with the body's hormonal homeostasis
20   in various ways.

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     41 Endocrine Disruption, United States Environmental Protection
                                                                       Agency, Mar. 7, 2022,
23   https://www.epa.gov/endocrine-disruption/what-endocrine-system
     42 Id.
24   43 Id.
     44 Id.
25
     451d.; Michele La Merrill, et al., Consensus on the Key Characteristics ofEndocrine-Disrupting
26   Chemicals as a Basisfor Hazard Identification, Nature Reviews Endocrinol, Nov. 12, 2019,
     https://www.nature.com/articles/s41574-019-0273 -8
27   46 Evanthia Diamanti-Kandarakis, et al., Endocrine-Disrupting
                                                                    Chemicals: An Endocrine Society
     Scientific Statement, Endocrine Reviews, June 30, 2009,
28
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2726844/
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 l.           140.    EDCs can cause the body to operate as if there were a proliferation of a hormone and
 2    thus over-respond to the stimulus or respond when it was not supposed to by mimicking a natural
 3 I hormone.

 4            141.    EDCs can increase or decrease the levels of the body's hormones by affecting the
 5    production, degradation, and storage of hormones.
 6            142.    EDCs can block the hormone's stimulus by inducing epigenetic changes, modifications
 7    to DNA that regulate whether genes are turned on or off, or altering the structure of target cells'
 8    receptors.47

 9            143.   EDCs are known to cause numerous adverse human health outcomes including
10    endometriosis, impaired sperm quality, abnormalities in reproductive organs, various cancers, altered
11    nervous system and immune function, respiratory problems, metabolic issues, diabetes, obesity,
12    cardiovascular problems, growth, neurological, and learning disabilities.48
13            144.   EDCs that mimic the effects of estrogen in the body may contribute to disease risk
14    because exposure to estrogen, endogenously and exogenously, is associated with a wide variety of l
15    reproductive diseases, including reproductive cancers, fibroids and endometriosis, and a woman's
16    lifetime risk of developing these disease increases with greater duration and cumulative exposure.
17           145.    Natural and synthetic EDCs are present in hair products under the guise of "fragrance"
18    and "perfumes", and thus enter the body when these products are exogenously applied to the hair and

19    scalp. Studies exploring this issue have thus far classified EDCs as estrogens, phthalates, and parabens.
20           146.    Indeed, numerous studies spanning more than two decades have demonstrated the
21    adverse impact EDCs including Di-2-ethylhexylphthalate have on the male and female reproductive

22
23
24    47 Luis Daniel Martinez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-

25    ethylhexyl) Phthalate in placental development, function, and pathophysiology, Environment
      International, January 2021,
26    https://www.sciencedirect.comlscience/article/piiIS01 6041202032183 8?via%3Dihub
      48Endocrine Disrupting Chemicals (EDCs), Endocrine Society, Jan. 24, 2022,
27    https://www.endocrine.org/patient-engagement/endocrine-
      library/edcs#:~:text=ED Cs%20can°/o20disrupt%20many%20different,%2C%20certain%20cancers%
28    2C%20respiratory%20problems%2C
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  1    systems such as inducing endometriosis, abnormal reproductive tract formation, • decreased sperm
  2    counts and viability, pregnancy loss, and abnormal puberty onset.49
  3            147.   Hair products used by Black women and children have been found to contain multiple
  4    chemicals associated with endocrine disruption. In a 2018 study testing hair products, including hair
  5    relaxers, relaxers marketed to children were found to contain the highest levels of four EDCs

  6    prohibited in the European Union (DEHP, nonylphenol, BPA and diethanolamine) and California

  7    Prop 65 law (o-phenlyphenol), with one relaxer kit (Just For Me) containing all five of these EDCs.so

  8            i.     Phthalates

  9            148.   Phthalates are known EDCs which interfere with natural hormone production and

10     degradation and are detrimental to human health.sl

1• 1           149.   Phthalates are used in a variety of cosmetics and personal care products. Phthalates are

12     chemical compounds developed in the last century that are used to make plastics more durable. These

13     colorless, odorless, oily liquids are also referred to as "plasticizers" based on their most common uses.

14             150.   Phthalates also function as solvents and stabilizers in perfumes and other fragrance
15     preparations. Cosmetics that may contain phthalates include nail polishes, hair sprays, aftershave

16     lotions, cleansers, and shampoos.

17            151.    Phthalates are chemicals used to improve the stability and retention of fragrances and

18     to help topical products stick to and penetrate skin and hair.5z

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23     49 Hee-Su Kim, et al., Hershberger Assaysfor Di-2-ethylhexyl Phthalate and Its Substitute
       Candidates, Dev Reproduction, Mar. 22, 2018,
24     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5 915764/.
25     50 Helm Jessica S. et al., Measurement of endocrine disrupting and asthma-associated chemicals in
       hair products used by Black women, Environmental Research, Vol. 165:448-58 (2018),
26     https://doi.org/10.1016/j.envres.2018.03.030.
       sl Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
27     9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
28     52 Olivia Koski & Sheila Hu, Fighting Phthalates, National Resources Defense Council, April 20,
       2022, https://www.nrdc.org/stories/fighting-phthalates
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 .1              152.   Phthalates are commonly used by cosmetics and hair- care product manufacturers to
 2     make fragrances and colors last longer, and to make hair more flexible after a product is applied,
 3    among other uses.
 4               153.   Phthalates can be found in most products that have contact with plastics during
 5    production, packaging, or delivery. Despite the short half-lives in tissues, chronic exposure to
 6    phthalates will adversely influence the endocrine system and functioning of multiple organs, which

 7    has negative long-term impacts on the success of pregnancy, child growth and development, and

 8    reproductive systems in both young children and adolescents. Several countries have established

 9    restrictions and regulations on some types of phthalates.53

10               154.   Phthalates are a series of chemical substances, which are mainly used as plasticizers ~
11    added to polyvinyl chloride ("PVC") plastics for softening effects. Phthalates can potentially disrupt I
12    the endocrine system. 54

13               155.   Under the authority of the Fair Packaging and Labeling Act ("FPLA"), the FDA
14    requires an ingredient declaration on cosmetic products sold at the retail level to consumers.
15               156.   However, the regulations do not require the listing of the individual fragrance or flavor,
16    or their specific ingredients, meaning phthalates evade listing when combined with a fragrance. As a

17    result, consumers, including Plaintiff, are not able to determine from the ingredient declaration on the

18    label if phthalates were present in a fragrance used in the herein referenced hair products used by the

19    Plaintiff and placed into the stream of commerce by Defendants. .

20               157.   Since 1999, the Centers for Disease Control ("CDC") found phthalates in individuals J
21    studied for chemical exposure.55 Neither IARC nor NTP has evaluated DEHP with respect to human I

22    carcinogenicity.
23               158.   At all relevant times herein, Defendants' products contain phthalates, including Di-2- ~
24
25
      53
26         Id.
      54 Id.
27    55 Biomarker Groups, National Report on Human Exposure to Environmental
                                                                              Chemicals, Center for
      Disease Control, https://www.cdc.gov/exposurereport/pdf/Biomarker Groups_Infographic-508.pdf
28
                                                            29
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      ethylhexylphthalate.
 ~           ii.     Di-2-ethylhexylphthalate
             159.    Di-2-ethylhexylphthalate56 ("DEHP") is a highly toxic manufactured chemica157 that is
 4    not found naturally in the environment.58

             160.    DEHP belongs to the family of chemicals called phthalates.s9

             161.    DEHP was first used in 1949 in United States and has been the most abundantly used
 7   phthalate derivative in the twentieth century.6o

             162.    DEHP does not covalently bind to its parent material. Non-covalent bonds are weak

 9   and, as a result, DEHP readily leaches into the environment increasing human exposure. 61

10           163.    Humans are exposed to DEHP through ingestion, inhalation, dermal exposure for their

11   lifetimes, including intrauterine life. 62

12           164.    The Agency for Toxic Substances and Disease Registry ("ATSDR") estimates that the
13   range of daily human exposure to DEHP is 3-30 µg/kg/day.63

14
15
     56 Also known as Bis(2-ethylhexyl) phthalate.
16 57Sai Rowdhwal & Jiaxiang Chen, Toxic Effects ofDi-2-ethylhexyl Phthalate: An Overview, Biomed
   Research   International, Feb. 22, 2018,
17
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5842715/#:'-:text=DEHP%20is%20noncovalently%
18 20bound%20to,and%20plastic%20waste%20disposal%20           sites.
   58 Toxicological Profilefor Di(2-Ethylhexyl) Phthalate (DEHP), U.S. Dept of Health and Human
19 Services, January 2022, https://www.atsdr.cdc.gov/ToxProfiles/tp9.pdf (DEHP is listed as hazardous
   pollutants under the Clean Air Act.; DEHP is on the Proposition 65 list because it can cause cancer
20 and birth defects or other reproductive harm).
   s9 Di(2-ethylhexyl) phthalate (DEHP), Proposition 65, California. Gov,
21
   https://www.p65warnings.ca.gov/fact-sheets/di2-ethylhexylphthalate-dehp
   60 Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects ofEndocrine-Disrupting
22
   Chemicals: A Special Focus on Phthalates and Bisphenol A, Environmental Health Risk, June 16,
23 2016, https://www.intechopen.com/chapters/50234
   61 Katelyn H. Wong & Timur Durrani, Exposures to Endocrine Disrupting Chemicals in Consumer
24 Products — A Guidefor Pediatricians, Current Problems in Pediatric and Adolescent Health Care,
25 Science Direct, May 2017,
   https://www.sciencedirect.com/science/article/pii/S15385442173 00822?via%3Dihub
26 62 Schmidt, Juliane-Susanne, et al., Effects ofDi(2-ethylhexyl) Phthalate (DEHP) on Female Fertility
   and Adipogenesis in C3H/NMice, Environmental Health Perspective, May 15, 2012,
27 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3440070/
   63 Hannon, Patrick et. al., Daily Exposure to Di(2-ethylhexyl) Phthalate Alters Estous Cyclicity and
28 Accelerates Primordial Follicle Recruitment Potentially Via Dysregulation of the
                                                       30
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-    1           165.     The no-observed-adverse-effect level for DEHP to humans is 4.8 • mg/kg
     2   bodyweight/day and the tolerate daily intake (TDI) is 48 µg/kg bodyweight.6a
     3         Endpoint           Cancer (NSRL)            Developmental and Reproductive Toxicity
     4                                                     (1VIADL)
     5
               Route of           Oral         Inhalation Oral                     Inhalation
     6
               Exposure
     7

     8         DEHP               310 µg/day N.C.          410 µg/day              N.C.

     9           Source: OEHHA's safe harbor levels for TDCIPP, DBP, DEHP, benzene, and formaldehyde.

    10           N.C. = not calculated by OEHHA as of August 2020.6s

    11
    12           166.     When DEHP enters the human body, it breaks down into specific metabolites. The l

    13   toxicity of DEHP is mainly attributed to its unique metabolites which include the primary metabolite,

    14   mono-(2-ethylhexyl)phthalate      (MEHP),      and     secoridary   metabolites,    mono-(2-ethyl-5-
    15 1 hydroxyhexyl)phthalate (MEHHP), and mono-(2-ethyl-5-oxohexyl)phthlate (MEOHP). 66
    16          167.      DEHP and its metabolites are known to cause significant adverse-health effects l

17 l including but not limited to endometriosis, developmental abnormalities, reproductive dysfunction and ~
18
19
         Phosphatidylinositol 3-Kinase Signaling Pathway in Adult Mice, Biology of Reproduction Volume
20       90, Issue 6, June 2014, 136, 1-11 https://academic.oup.com/biolreprod/article/90/6/136,%201-
21       11/2514356
         64 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
22       9(5):603, May 18, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
         65 Aalekhya Reddam & David Volz, Inhalation of two Prop 65-listed Chemicals Within Vehicles
23       May Be Associated with Increased Cancer Risk, Environment International Volume 149, April 2021,
         https://www.sciencedirect.comlscience/article/pii/S0 16041202100026X
24       66 Saab, Yolande, et. al., RiskAssessment ofPhthalates and Their Metabolites in Hospitalized
25       Patients: A Focus on Di- and Mono-(2-ethylhexyl) Phthalates Exposure from Intravenous Plastic
         Bags. Toxics, 10(7), 357, https://pubmed.ncbi.nlm.nih.gov/35878262/; Ishtaf Sheikh, et. at.,
26       Endocrine disruption: In silico perspectives of interactions of di-(2-ethylhexyl)phthalate and itsfive
         major metabolites with progesterone receptor. BMC Structural Biology Volume 16, Suppl 1, 16,
27       Sept., 30, 2016, https://bmcstructbiol.biomedcentral.com/articles/10.1186/s12900-016-0066-4 (Other
         secondary metabolites include mono(2-ethyl-5-carboxypentyl)phthalate (5-cx-MEPP) and mono[2-
28
         (carboxymethyl)hexyl]phthalate (2-cx-MMHP)).
                                                           31
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 1   infertility,67 various cancers, and metabolic syndrome within the human population and their future
 2 l children.68

 3           168.     Most of the available studies on the health effects of DEHP in laboratory animals used
 4 l oral administration, with a few inhalation studies and only two dermal exposure studies identified.69

 5           169.     The results of the selected animal studies, along with limited human data, suggest
 6 l potential associations between DEHP exposure and the following health outcomes:

 7                 a. Reproductive effects. Epidemiological studies suggest a potential association between ,

 8          DEHP exposure and decreased serum testosterone and altered sperm parameters in males.

 9          Available studies on fertility effects in humans do not indicate an association between DEHP

10          exposure and infertility. In animals, the available oral and inhalation studies provide evidence

11          that the male reproductive system, particularly the testes, is susceptible to DEHP toxicity.

12          Evidence from animal studies indicates decreased male and female fertility at high oral doses.

13                 b. Developmental effects. Epidemiological studies suggest a potential association ~

14          between reduced AGD and testicular decent in male infants and prenatal DEHP exposure. In
15          addition, human epidemiological studies provide mixed results for potential relationships

16          between exposure to DEHP and preterm birth, early puberty, and delayed mental and

17          psychomotor development in children. Studies in animals indicate that altered glucose

18          homeostasis and the development of the reproductive system following early life exposure is

19          a particularly sensitive target of DEHP toxicity.

20          170.      The global consumption of DEHP was estimated at 3.07 million tons (Global demand

21   for plasticizers continues to rise). The estimated global market of phthalates in 2020 is expected to

22   reach 10 billion USD and would still be widely used in plasticizers.70

23
24   67 Richardson, Kadeem et. al., Di(2-ethylhexyl) Phthalate (DEHP) Alters Proliferation and Uterine

25   Gland Numbers in the Uterine ofAdult Exposed Mice, Reproductive Toxicology, 77, 70-79,
     https://pubmed.ncbi.nlm.nih.gov/29458081 /
26   68 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
     9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
27   69 Chapter 2: Health Effects, Toxicological profile for Di(2-ethylhexyl) phthalate (DEHP) (2001),
     https://www.atsdr.cdc.gov/ToxProfiles/tp9-c2.pdf
28   70 Id.
                                                      32
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 1          171.    Human epidemiological studies have shown a significant association between
 2   phthalates exposures and adverse reproductive outcomes in both women and men.71
 3          172.    Evidence found that DEHP was significantly related to insulin resistance and higher
 4   systolic blood pressure and the reproduction system problems, including earlier menopause, low birth
 5   weight, pregnancy loss, and preterm birth.72
 6          173.    When it comes to the impacts on children, epidemiological studies about phthalates
 7   toxicity focused on pregnancy outcomes, genital development, semen quality, precocious puberty,

 8   thyroid function, respiratory symptoms, and neurodevelopment.73

 9          174.    Since the turn of the century, restrictions on phthalates have been proposed in many
10   Asian and western countries. In 2008, the U.S. Congress announced the Consumer Protection Safety

11   Act (CPSA), which permanently banned the products, especially children's toys and childcare articles,

12   containing DEHP, DBP, and BBP at levels >0.1% by weight.74

13   E.     Regulatory Framework
14          175.    The law does not require cosmetic products and ingredients, other than color additives, ~
15   to have FDA approval before they go to market. But there are laws and regulations that apply to

16   cosmetics placed on the market. The two most important laws pertaining to cosmetics marketed in the

17   United States is the Federal Food Drug and Cosmetic Ace ("FD&C Act") and the Fair Packaging and

18   Labeling Act ("FPLA")

19          176.    The FD&C Act expressly prohibits the marketing of "adulterated" or "misbranded" I

20   cosmetics in interstate commerce.

21          177.   Adulteration refers to a violation involving product composition whether it results from

22   ingredients, contaminants, processing, packaging shipping or handling.

23
24
     71 Id.
25   72 N.M. Grindler, et al., Exposure to Phthalate, an Endocrine Disrupting Chemical, Alters the First
26   Trimester Placental Methylome and Transcriptome in Women, Scientific Reports Volume 8, April 17,
     2018, https://doi.org/10.1038/s41598-018-24505-w
27   ~3 Id.
     74 Consumer Product Safety Improvement Act of 2008, H.R. 4040, 110th Cong. (2008), https:
28
     //www.congress.gov/110/plaws/pub1314/PLAW-110pub1314.pdf
                                                       33
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 1           178.   Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
 2   or deleterious substance causing injury to the product user and (2) if its container is composed in whole
 3   or in part, of any poisonous or deleterious substance which may render the contents injurious to health.
 4           179.   Misbranding refers to violations involving improperly labeled or deceptively packaged
 5   products.
 6           180.   Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading,

 7   (2) the label does not include all required information, (3) required information is not prominent and

 8   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant

 9   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.75

10          181.    Under U.S. law, cosmetic manufacturers are not required to submit their safety data to

11   the FDA. However, it is against the law to put an ingredient in a cosmetic that makes the cosmetic

12   harmful when used as intended.76 An example is methylene chloride because it causes cancer in

13   animals and is likely to be harmful to human health as well.77

14          182.    On May 19, 2022, the FDA issued a rule to amend its food additive regulations to no
15   longer provide for most previously authorized phthalates to be used as food additives because these

16   uses have been abandoned by industry.78 The FDA revoked authorizations for the food contact use of

17   23 phthalates and two other substances used as plasticizers, adhesives, defoaming agents, lubricants,

18   resins, and slimicides.79

19          183.    Companies and/or individuals who manufacture or market cosmetics have a legal

20   responsibility and duty to ensure the safety of their own products. Neither the law nor FDA regulations

21

22

23
     75 Food and Drug Administration Cosmetic Act § 602 (1938).
24   76 Prohibited & Restricted Ingredients in Cosmetics, U.S. Food and Drug Administration,

25   https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
     cosmetics
26   '' 21 Code of Federal Regulations § 700.19.
     7$ § 87 FR 31080
27   79 Phthalates in Food Packages and Food ContactApplications, U.S. Food and Drug
     Administration, https://www.fda.gov/food/food-ingredients-packaging/phthalates-food-packaging-
28   and-food-contact-applications
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 1   require specific •tests to demonstrate the safety of individual products or ingredients, and the law also
 2   does not require cosmetic companies to share their safety information with the FDA.
 3           184.    The FDA has consistently advised manufacturers to use whatever testing is necessary
 4   to ensure the safety of products and ingredients, which may be substantiated through (a) reliance on
 5   already available toxicological test data on individual ingredients and on product formulations that are
 6   similar in composition to the particular cosmetic and (b) performance of any additional toxicological

 7   and other tests that are appropriate in light of such existing data and information.80

 8           185.   Except for color additives and ingredients prohibited or restricted by regulation, a
 9   manufacturer may use any ingredient in the formulation of a cosmetic, provided that (1) the ingredient

10   and the finished cosmetic are safe under labeled or customary conditions of use, (2) the product is

11   properly labeled, and (3) the use of the ingredient does not otherwise cause the cosmetic to be
12   adulterated or misbranded under the laws the FDA enforces.81
13           186.   With respect to whether the product is properly labeled, Title 21 of the Code of Federal
14   Regulations defines the establishment of waming statements related to cosmetic products. Section
15   740.1 states that "[t]he label of a cosmetic product shall bear a waming statement whenever necessary

16   or appropriate to prevent a health hazard that ynay be associated with the product." (Emphasis added).

17   This warning directive directly correlates with the broad authority of manufacturers over their own

18   cosmetic products to ensure that products are safe under labeled or customary conditions of use,

19   properly labeled, and not adulterated or misbranded under FDA laws.

20          187.    In short, under the current regulatory framework in the United States, it is incumbent
21   upon the manufacturers of cosmetic products, and them alone, to assess the safety and efficacy of their

22   products, and to warn consumers anytime a health hazard may be associated with their products. Here,

23   a wealth of scientific information is available regarding long-term use of hair relaxers, straighteners
24   and hair dyes as containing certain endocrine-disrupting chemicals, which should have alerted
25

26
     80 FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-Regulated,
27   U.S. Food and Drug Administration, Mar., 3, 2005, https://www.fda.gov/cosmetics/cosmetjcs-laws-
                                                                                         gulated
28   81
     s' Id.
                                                     35
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 1 11 manufacturers of these products to the specific and•dangerous harms associated with their products

 2 ~l when used as intended, particularly in women of color.

 3             188.   It is generally accepted that EDCs, like those contained in Defendants' hair relaxer
 4 ~I products, act like "hormone mimics" and trick the body into thinking they are hormones.

 5             189.   Products containing hormones that are topically applied, are regulated by the FDA
 6   under 21 C.F.R. section 310.530, which states that "any OTC drug product containing an ingredient

 7   offered for use as a topically applied hormone cannot be considered generally recognized as safe and

 8   effective for its intended use." See 21 C.F.A 310.530(a).

 9            190.    At all relevant times, Defendants' products referenced herein, contained endocrine ~
10   disrupting chemicals and hormonal agents, and are therefore subject to regulation by the FDA under

11   21 C.F.R. section 310.530.
12            191.    The Federal Food, Drug and Cosmetic Act also expressly prohibits the marketing of
13   "adulterated" or "misbranded" cosmetics in interstate commerce.
14            192.    Adulteration refers to a violation involving product composition whether it results from ~
15   ingredients, contaminants, processing, packaging shipping or handling.
16            193.    Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
17   or deleterious substance causing injury to the product user and (2) if its container is composed in whole

18   or in part, of any poisonous or deleterious substance which may render the contents injurious to health. ~

19            194.    Misbranding refers to violations involving improperly labeled or deceptively packaged l
20 ~ products.
21            195.    Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading, (
22   2) the label does not include all required information, (3) required information is not prominent and

23   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant
24   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.82
25            196.    In addition, the federal regulations require that every ingredient in a cosmetic product
26   and finished cosmetic product be adequately substantiated for safety prior to marketing, and state that
27
28   82   Food and Drug Administration Cosmetic Act § 602 (1938).
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 1   any ingredientor product for which the safety has not been adequately substantiated prior to marketing
 2   is misbranded unless it displays a warning statement declaring, "Warning — The safety or this product
 3   has not been determined." 21 C.F.R. § 740.10.
 4   F.      California Prohibits Misbranded or Adulterated Cosmetics
 5           197.    The California Sherman Food, Drug, and Cosmetic Law prohibits the sale of
 6   "misbranded" cosmetics. A cosmetic is deemed misbranded if, among other things, its labeling is false
 7   or misleading if any word, statement or other information required to appear on the label or labeling

 8   is not prominently placed upon the label or labeling with conspicuousness, as compared with other

 9   words, statements, designs, or devices, in the labeling, and in terms as to render it likely to be read and

10   understood by the ordinary individual under customary conditions of purchase and use; and, if it is

11   subjected to the federal FDA regulations but is not in compliance therewith. Cal. Health & Saf. Code

12   §§ 111730, 111790.

13           198.   California also prohibits the sale of "adulterated" cosmetics mirroring the Federal
14   Food, Drug, and Cosmetics Act. A cosmetic is deemed adulterated if, among other things it bears or
15   contains any poisonous or deleterious substance that may render it injurious to users under the
16   conditions of use prescribed in the labeling or advertisement of the cosmetic, or under conditions of

17   use as are customary or unusual; and, if it is not in compliance with federal regulations. Cal. Health &

18   Saf. Code § 111670 - 111725.

19          199.    Effective January 1, 2006, the California Safe Cosmetics Act of 2005 (CSCA) became

20   law.

21          200.    The CSCA requires cosmetics manufacturers to disclose to the California Department
22   of Public Health (CDPH) all products sold in California containing ingredients listed in the Cal. Health

23   & Saf. Code § 111791.5.
24          201.    The Califomia Legislature found and declared all of the following:
25                  a. Independent testing in the United States and the European union has determined
26                      that some cosmetic products contain substances known or suspected to cause cancer
27                      and reproductive toxicity that can harm the mother, fetus, and nursing children.
28                  b. Neither the federal Food and Drug Administration (FDA) nor the State Department
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 1   •             of Health Services (DHS) require premarket safety testing, review, or approval of
 2                 cosmetic products. According to the FDA, the regulatory requirements governing
 3                 the sale of cosmetics are not as stringent as those that apply to other FDA regulated
 4                 products.
 5             c. Under the federal Food, Drug and Cosmetic Act (21 U.S.C. Sec. 301), cosmetics
 6                 and their ingredients are not required to be approved before they are sold to the
 7                 public and the FDA does not have the authority to require manufacturers to file
 8                 health and safety data on cosmetic ingredients or to order a recall of a dangerous
 9                 cosmetic product.

10             d. Under the state Sherman Food, Drug, and Cosmetic Act, DHS has no authority to

11                identify, review, or regulate ingredients in cosmetic products that may cause
12                chronic health effects, such as cancer and reproductive toxicity.
13             e. Federal law exempts chemicals used as fragrances or flavoring from being
14                identified as ingredients on the labels of cosmetic products. Laboratory analyses of
15                cosmetic products sold in California have found products that contain substances
16                known to or likely to cause cancer or reproductive toxicity and not identified as an
17                ingredient on the product's label. The law also does not require any ingredient
18                labeling on cosmetic products sold for commercial use, thereby denying any
19                information on ingredients to beauty care workers.
20             f. Alternatives to substances that cause cancer or reproductive toxicity are readily
21                available for use in cosmetic products. A number of manufacturers, including both
22                small domestic producers and large multinational corporations, have eliminated
23                substances that cause cancer or reproductive toxicity from their products.
24             g. Given the presence of substances in cosmetic products that cause cancer or
25                reproductive toxicity, the heavy use of these products by women of childbearing
26                age, the significant exposure to these products in occupational settings such as
27                beauty salons, the adverse impacts of these substances on human health, the
28                inadequate information about the presence of these substances in products or the
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 1                         extent of their impacts, and the availability of alternatives to the use of these
 2                         substances, it is in the interest of the people of the State of California to take steps
 3                        to ensure that cosmetic products sold and used in the state can be used safely.83
 4              202.   Section 11792(a) of the CSCA places an affirmative duty on cosmetics manufacturers
 5    to inform state officials when they sell products in California that contain carcinogens or reproductive
 6 I toxins:

 7                     Commencing January 1, 2007, the manufacturer or any cosmetic product subject to
 8                     regulation by the federal Food and drug Administration that is sold in this state shall,
 9                     on a schedule and in electronic or other format, as determined by the division, provide

10,                    the division with a complete and accurate list of its cosmetic products that, as of the

11                     date of submission, are sold in the state and that contain any ingredient that is a
12                     chemical identifies as causing cancer or reproductive toxicity.
13             203.    Section 11793.5 of the Act provides:
14                     a. The Legislature finds and declares the following:
15                                (1) The Cosmetic Ingredient Review (CIR) panel is a nongovernmental
16                                    body established and funded by the cosmetics industry to review the
17                                    safety of cosmetic ingredients.
18                                (2) According to a 2004 analysis of the 2003 CIR Compendium by the
19                                    Environmental Working Group, 54 cosmetic products violate the CIR's
20                                    own safe use recommendations to manufacturers by containing an
21                                    ingredient that the CIR has found is not safe for the specific use
22                                    indicated on the product's label.
23                                (3) Federal regulations (21 C.F.R. 740.10) require every ingredient in a
24                                    cosmetic product and every finished cosmetic product to be adequately
25                                    substantiated for safety prior to marketing, and state that any ingredient
26                                    or product whose safety has not been adequately substantiated prior to
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      83   Ca1. Health & Saf. Code § 111791 (2007).
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 1                              •   marketing is misbranded unless it displays a warning statement
 2                                  declaring, "The safety of this product has not been determined."
 3                   b. The division may, as early as feasible within existing resources, determine whether
 4                       the products identified in paragraph (2) of subdivision (a) have been adequately
 5                      substantiated for safety pursuant to § 740.10 of Title 21 of the Code of Federal

 6                      Regulations. For any product adequately substantiated for safety, the division shall

 7                       determine if the product contains any ingredient that the CIR has found is not safe

 8                       for the specific use indicated on the product's label.

 9                   c. If the division finds that a product has not been adequately substantiated for safety

10                      despite containing an ingredient that the CIR has found is not safe for the specific

11                      use indicated on the product's label, the division shall refer its findings to the

12                      Attorney General and the federal Food and Drug Administration for possible

13                      enforcement action pursuant to this part and the federal Food, Drug and Cosmetic

14                      Act (21 U.S.C. Sec. 301 et seq.).

15           204.   The California Cosmetic Fragrance and Flavor Right to Know Act (CFFIRKA) became

16   effective January 1, 2022.

17           205.   CFFIRKA requires manufacturers that sell cosmetic products in California to report
18   certain fragrance and flavor ingredients deemed hazardous to the Department of Public Health's

19   (DPH) Safe Cosmetics Program.

20          206.    The CFFIRKA requires companies selling retail cosmetic or professional salon

21   products in California to report the presence of any fragrance or flavor ingredient that appears on one

22   or more of the twenty-three (23) authoritative hazard lists referenced in the law to the California Safe

23   Cosmetics Program.
24          207.    The California Safe Cosmetics Program Database is updated twice annually and is
25   available to the public.
26          208.    The policy underlying CFFIRKA is that California residents are entitled to information
27   on known potential "carcinogens, reproductive toxicants, asthmagens, neurotoxins, allergens and other
28   chemicals of concern" in cosmetics products.
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 1           209:    Similar to federal law, the CFFIRKA defines a "cosmetic product" as "an article for
 2   retail sale or professional use intended to be rubbed, poured, sprinkled, or sprayed on, introduced into,
 3   or otherwise applied to the human body for cleansing, beautifying, promoting attractiveness, or
 4   altering the appearance."84
 5           210.    The CFFIRKA applies to both consumer and professional use products.
 6           211.    In addition to requiring the disclosure of reportable ingredients, under the CFFIRKA,

 7   manufacturers must also disclose, 1) whether the product is intended for professional or retail use; 2)

 8   the Chemical Abstracts Service number for each ingredient and allergen; and 3) the corresponding

 9   Universal product Code for the product.

10           212.   Review of the California Safe Cosmetics Program's Reportable Ingredient list yielded
11   at least twenty-five (25) ingredients found in hair relaxers85 that are deemed "reportable" under the

12   California Safe Cosmetics Program.

13   G.      Uterine Fibroids are Associated with Exposure to Endocrine Disrupting Chemicals
14           213.   Uterine fibroids are associated with phthalate metabolites found in chemical hair
15   straightening and hair relaxer products.

16          214.    Black women have a higher prevalence of uterine fibroids and tumors than any other

17   ethnicity/racial group.86

18          215.    A study looking at over 1 million U.S. women from 2003 to 2014 found that Black

19   women had the highest rate of diagnosed uterine fibroids, with most diagnoses made between the age

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     s4 Id.
24   85 The 45 ingredients detected in hair relaxers examined by the Helm study were compared to those
25   listed as of May 20, 2024 on the Reportable Ingredients excel database. See Helm JS, Nishioka M,
     Brody JG, Rudel RA, Dodson RE. Measurement of endocrine disrupting and asthma-associated
26   chemicals in hair products used by Black women. Environ Res. 2018 Aug;165:448-458. doi:
     10.1016/j.envres.2018.03.030. Epub 2018 Apr 25. PMID: 29705122. See also
27   https://cscpsubmit.cdph.ca.gov/subinission/assets/files/Reportable Ingredients List.xlsx, last visited
     May 20, 2024.
28   86 Food and Drug Administration Cosmetic Act § 602, supra.
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     of 30 — 54 years old.87

             216.    Studies show that Black women are three to four times more likely to develop uterine
     fibroids in their lifetime compared to non-Hispanic white women, and an estimated 70-80% of Black
 4   women will develop fibroids over their lifetime.88
 5           217.    It is estimated that the annual financial impact of uterine fibroids on Black women in
 6   the United States is as high as 30 billion dollars, and this number may be an underestimation, as at

 7   least one-quarter of women reported losing work due to their disease. 89
 8           218.    Black women are seven (7) times more likely to undergo a myomectomy compared to
 9   non-Hispanic white women.90

10           219.   Uterine fibroids return at higher rates for Black women than white women following
11   surgical treatment, and recurrence can be as high as 59% within 5 years.91

12           220.   Given the magnitude of the problem — markedly altered quality of life, the effect on
13   reproductive health, and the costs of health care for this disease — the high prevalence of uterine
14   fibroids in Black women is considered a major public health issue. 92
15           221.   A 2012 study in the American Joumal of Epidemiology associated fibroid risk with the
16   use of hair relaxers.93 Shirley McDonald of the Hair and Scalp Clinic says, "We now know that many

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     87 Yu O, Scholes D, Schulze-Rath R, Grafton J, Hansen K, Reed SD. A US population-based study
19   of uterine fibroid diagnosis incidence, trends, and prevalence: 2005 through 2014. American Joumal
20   of Obstetrics and Gynecology. 2018;219(6):591.e1-591.e8.
     88 AI-Hendv A, Salama SA. Ethnic distribution of estrogen receptor-a polvmorphism is associated
21   with a higher Drevalence of uterine leiomvomas in black Americans. Fertil Steril. 2006;86(3):686-
     693. Doi:10.1016/i .fertnstert.2006.01.052
22   89 Igboeli P, Walker W, McHugh A, Sultan, A, et al. Burden of uterine fibroids: an african
     perspective, a call for action and oDportunitv for intervention. COGO. 287-294.
     90 Eltoukhi HM, Modi MN, Weston M, Armstrong AY, Stewart EA. The
23                                                                             health disparities of uterine
     fibroid tumors for African American women: a public health issue. Am J Obstet Gvnecol.
24   2014;210(3):194-199. doi:10.1016/i.aiog.2013.08.008
     91 Donnez J, Dolmans M. Uterine fibroid management: from the Dresent to the
                                                                                    future. Hum Reprod
25   UDdate. 22(06):665-686.
     92 Eltoukhi HM, Modi MN, Weston M, Armstrong AY, Stewart EA. The health disparities of
26   uterine fibroid tumors for African American women: a public health issue. Am J Obstet Gynecol.
     2014;210(3):194-199. doi:10.1016/j.ajog.2013.08.008
27   93 Wise LA, Palmer JR, Reich D, Cozier YC, Rosenberg L. Hair relaxer use and risk
                                                                                          of uterine
     leiomyomata in African-American women. Am J Epidemiol. 2012 Mar 1;175(5):432-40. doi:
28   10.1093/aje/kwr351. Epub 2012 Jan 10. PMID: 22234483; PMCID: PMC3282879.
                                                      42
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 1   hair products contain chemicals that are considered carcinogenic and/or hormone disrupters, leading
 2   to increased risk of medical issues such as fibroids (non-cancerous tumors that grow in the uterus,
 3   potentially damaging fertility and leading to a host of other complications). Trichologists see lots of
 4   conditions that are likely to be triggered by hair products, particularly central centrifugal cicatricial
 5   alopecia, a type of permanent hair loss to the crown area of the scalp."
 6           222.   More recently, the National Institutes of Health spent eight-years studying over 46,000
 7   women of all races between the ages of 35-74. They were looking for links between chemical hair

 8   relaxers and breast cancer. They discovered Black women's breast cancer risk increased risk by 45%.9a

 9   Breast cancer and other reproductive issues, including fibroid development, are often connected. This

10   study suggests there are even more reasons to steer clear of chemical hair straighteners and relaxers.

11           223.   Concerns around racial disparities in healthcare linked to chemicals found in cosmetic
12   products are not new; previous studies, as far back as 2012, have also suggested a correlation between

13   chemical relaxer use and uterine fibroids, a condition that disproportionately affects Black women. 9s
14          224.    Hair relaxers are used by millions of black women, possibly exposing them to various
15   chemicals through scalp lesions and burns. In the Black Women's Health Study, the authors assessed

16   hair relaxer use in relation to uterine leiomyomata incidence. In 1997, participants reported on hair

17   relaxer use (age at first use, frequency, duration, number of burns, and type of formulation). From

18   1997 to 2009, 23,580 premenopausal women were followed for incident uterine leiomyomata. The

19   incidence of uterine leiomyomata is 2-3 times higher in US black women than in US white women.

20          225.    The Houston Fibroids Clinic in Houston, Texas also highlights the association between
21   hair relaxers and uterine fibroids, stating that black women develop fibroids up to three times as often

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     9a Che-Jung Chang, Katie M. O'Brien, Alexander P. Keil, Symielle A. Gaston, Chandra
                                                                                           L.
25   Jackson, Dale P. Sandler, Alexandra J. White. Use of Straighteners and Other Hair Products and
     Incident Uterine Cancer. Journal of the National Cancer Institute DOI:
26   https://doi.org/10.1093/jnci/d'a
                                   ~ c165 (2022)
27   9sNadine White, Campaign urges
                                      beautyfirms to pull `toxic' hair products aimed at Black women,
     Independent (August 3, 2021), https://www.independent.co.uk/news/uk/home-news/black-hair-lye-
28
     no-more-lyes b1893747.html.
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     • as women of other races, their fibroids develop earlier in age than other races (oftentimes in their
 2    twenties), and are more likely to suffer from anemia due to fibroids. They also have a higher risk for
 3    fibroid symptoms, including but not limited to, painful intercourse, severe pelvic pain, and heavy
 4    periods. 96
 5                                         FIRST CAUSE OF ACTION
 6                               STRICT LIABILITY - FAILURE TO WARN
 7                                             (Against A11 Defendants)
 8            226.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9    set forth in the preceding paragraphs.

10            227.   At all pertinent times, the Defendants were manufacturing, marketing, testing,
11    promoting, selling and/or distributing the Products in the regular course of business.

12            228.   The Products had potential risks and side effects that were known or knowable to
13    defendants by the use of scientific knowledge available before, at, and after the time of manufacture,
14    distribution, and sale of the Products. Defendants knew or should have known of the defective
15    condition, characteristics, and risks associated with said product, as previously set forth herein.
16            229.   Defendants' Products were expected to and did reach consumers, including Plaintiff,
17   without substantial change in the condition in which their Products were manufactured, sold, or

18   otherwise released into the stream of commerce by Defendant.

19            230.   The Products that were manufactured, distributed, and/or sold by the defendants to
20   Plaintiff were in a defective condition that was unreasonably and substantially dangerous to any user

21   or ordinary consumer of the Products, such as Plaintiff. Such ordinary consumers, including Plaintiff,

22   would not and could not have recognized or discovered the potential risks and side effects of the

23   Products as set forth herein.
24            231.   At all pertinent times, Plaintiff used the Products on her hair and at the roots of her hair
25   which is a reasonably foreseeable use.
26            232.   At all pertinent times, Defendants knew or should have known that the use phthalates
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28   96       Black Hair Relaxers and Fibroid Risk l Houston Fibroids
                                                       44
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 1   and other EDCs in hair products significantly increases the risk of diseases including but not limited
 2   to cancer, fibroids and/or endometriosis, based upon scientific knowledge dating back for decades.
 3           233.       At all pertinent times, including the time of sale and consumption, the Products,
 4   Defendants were then and there guilty of one or more of the following acts:
 5                  a. Manufactured, marketed, tested, promoted, sold, and/or distributed unreasonable
 6                         dangerous and defective products;
 7                  b. Improperly warned of increased risk of diseases as required by C.F.R. § 740.1;
 8                  c. Inadequately warned of increased risk of diseases as required by C.F.R. § 740.1;

 9                  d. Inadequately labeled relaxer products as containing EDCs that act as hormonal
10                         agents as required by 21 C.F.R. § 310.530.
11                  e. Improperly warned and instructed Plaintiff of inherent risks of debilitating and life-
12                         altering conditions.
13           234.   Plaintiff sustained the following damages as a foreseeable, direct, and proximate result
14   of Defendants' acts and/or omissions:
15                  a. Economic losses including medical care and lost earnings; and
16                  b. Noneconomic losses including physical and mental pain and suffering, emotional

17                         distress, inconvenience, loss of enjoyment and impairment of quality of life, past
18                         and future.
19              c. The sum of the damages Plaintiff has suffered is in excess of the minimum

20                  jurisdictional limits of this Court.
21          235.    Defendants' lack of sufficient instructions or warnings prior to, on, and after the date
22   of Plaintiff's initial use of the Products was a substantial factor in causing PlaintifPs injuries and

23   damages, as described herein.
24          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
25   damages together with interest, the costs of suit and such other and further relief as this Court deems
26   just and proper.
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 1                                      SECOND CAUSE OF ACTION
 2                                STRICT LIABILITY - DESIGN DEFECT
 3                                            (Against A11 Defendants)
 4           236.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6           237.   At all relevant times, Defendants engaged in the design, development, manufacture,
 7   marketing, sale, and distribution of the Products in California and the United States.

 8           238.   At all relevant times, Defendants engaged in the design, development, manufacture,
 9   marketing, sale, and distribution of the Products in a defective and unreasonably dangerous condition
10   to consumers, including Plaintiff. Said defects included, but were not limited to, the fact that the

11   Products contained phthalates and/or other endocrine. receptive chemicals that substantially increased
12   the risks of triggering tumors and cancerous growths in premenopausal women, thereby substantially
13   increasing the risk of diseases including but not limited to cancer, fibroids, and/or endometriosis.
14          239.    Defendants caused the Products to enter the stream of commerce and to be sold through
15   various retailers, where Plaintiff purchased the Products.
16          240.    The Products were expected to, and did, reach consumers, including Plaintiff, without
17   change in the condition in which it was manufactured and sold by Defendant L'0real USA, Inc. and/or

18   otherwise released into the stream of commerce.

19          241.    Plaintiff used the Products in a manner normally intended, recommended, promoted, I
20   and marketed by Defendants.

21          242.    Products failed to perform safely when used by Plaintiff in a reasonably foreseeable
22   manner, specifically increasing her risk of developing uterine fibroids.

23          243.    The propensity of phthalates and other endocrine receptive chemicals to trigger tumors
24   and cancerous growths in premenopausal women, thereby substantially increasing the risk of diseases
25   including but not limited to cancer, fibroids, and/or endometriosis, renders the Products unreasonably I
26   dangerous when used in the manner it was intended and to an extent beyond that would be l
27   contemplated by the ordinary consumer.
28          244.    Importantly, the Products are an inessential cosmetic product that do not treat or cure
                                                         4b
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 1   any serious disease. Further, safer alternatives, including fragrance free products, have been readily
 2   available for decades.
 3           245.   Defendants knew, or by the exercise of reasonably care should have known, that the
 4   Products are unreasonably dangerous but have continued to design, manufacture, sell, distribute,
 5   market, promote, and supply the Products to maximize sales and profits at the expense of public health
 6   and safety in conscious disregard of the foreseeable harm to the consuming public, including Plaintiff.
 7           246.   Defendants owed a duty to all reasonably foreseeable users to design a safe product.
 8           247.   At all pertinent times, Defendants were then and there guilty of one or more of the
 9   following acts and/or omissions:

10                  a. Designing, manufacturing, selling, distributing, marketing, promoting, and
11                      supplying Products that they knew or should have known were unreasonable
12                      dangerous;
13                  b. Failing to use reasonable care in the design and/or manufacturing of their Products;
14                      or
15                  c. Failing to use reasonably feasible alternative designs in the design and/or
16                     manufacturing of the Products.
17          248.    As a direct and proximate result thereof, it became necessary for plaintiff to incur
18   expenses for doctors, hospitals, surgeries, nurses, and other reasonably required and medically

19   necessary supplies and services. Plaintiff prays for leave to amend this Complaint to insert these

20   elements of damage when the same are finally determined.

21          249.    As a direct and proximate result of Defendants' conduct, including actions, omissions,
22   and misrepresentations, Plaintiff sustained the following damages:

23                  a. Economic losses including medical care and lost earnings; and
24                  b. Noneconomic losses including physical and mental pain and suffering, emotional
25                     distress, inconvenience, loss of enjoyment and impairment of quality of life, past
26                     and future.
27                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
28                     jurisdictional limits of this Court.
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 1            250.    Defendants' design, manufacture, marketing, promotion, defense, and/or sale of the
 2   Products was a substantial factor in causing plaintiff's injuries, as described herein.
 3            WHEREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory
 4   damages together with interest, the costs of suit and such other and further relief as this Court deems
 5   just and proper.

 6                                         THIRD CAUSE OF ACTION
 7                                     BREACH OF EXPRESS WARRANTY
 8                                            (Against All Defendants)
 9            251.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
10   set forth in the preceding paragraphs.

11            252.    Defendants made statements of fact and promises to consumers, including Plaintiff,
12   that the Products were:
13                   a. Safe;
14                   b. efficacious;
15                   c. fit for use;
16                   d. of merchantable quality;

17                   e. adequately tested;

18                   f. did not increase the risk of injury;

19      253.         Defendants breached the express warranties as follows:
20                   a. Defendants misrepresented the safety of the Products in the Products' labeling,

21                      advertising, marketing materials, promotion, and/or publications;
22      •b.             Defendants misrepresented the risks associated with the Products;
23                   c. Defendants withheld and/or concealed and/or downplayed the information and/or
24                      evidence that the products were associated with an increased risk of injuries;
25                   d. Defendants misrepresented that the Products were safe, and/or safer than other
26                      similar products used;
27                   e. Defendants fraudulently concealed information about the safety of the Products
28                      including information that the product was not safer than alternative products
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 1                      available on the•market; and             •
 2                  f. Defendants misrepresented information regarding the safety and/or efficacy of the
 3                      Products.
 4           254.   The Products did not conform to Defendants' express representations and warranties
 5   or meet the quality of Defendants' descriptions of safety and efficacy.
 6           255.   At all relevant times, including during the period that Plaintiff used the Products, they

 7   did not perform as safely as an ordinary consumer would expect when used as intended or in a

 8   reasonably foreseeable manner.

 9           256.   At all relevant times, including during the period that Plaintiff used the Products, they

10   did not perform in accordance with the Defendants' representations.

11           257.   In deciding to purchase and use the Products, Plaintiff and other consumers relied upon
12   Defendants' express warranties.
13           258.   As a direct and proximate result of Defendants' conduct, including actions, omissions,
14   and misrepresentations described herein, Plaintiff sustained the following damages:
15                  a. Economic losses including medical care and lost earnings; and

16                  b. Noneconomic losses including physical and mental pain and suffering, emotional

17                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
18                      and future.

19                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum

20                      jurisdictional limits of this Court.
21          259.    The failure of the Products to perform as represented was a substantial factor in causing
22   Plaintiff's injuries and damages, as described herein.

23          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
24   damages together with interest, the costs of suit and such other and further relief as this Court deems
25   just and proper.
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 l                                      FOURTH CAUSE OF ACTION
 2                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 3                                            (Against All Defendants)
 4           260.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6           261.   Plaintiff purchased the Products from Defendants, and each of them.
 7      .    262.   At all relevant and material times, including the time of Plaintiff's purchase,
 8   Defendants were in the business of manufacturing, designing, formulating, producing, marketing,

 9   promoting, selling and/or distributing the Products.

10           263.   Defendants by their occupation held themselves out as having special knowledge or
11   skill regarding the Products.

12           264.   Defendants knew and intended that the Products be used when they were placed into
13   the stream of commerce.
14          265.    Defendants knew and intended that the Products be used as they were by Plaintiff.
15          266.    Defendants impliedly warranted to Plaintiff that the Products were safe for use.
16          267.    Plaintiff reasonably and justifiably relied on Defendants' expertise, skill, judgment, and

17   knowledge of the Defendants and upon the Defendants' express and/or implied warranty that the

18   Products were safe, of merchantable quality, and fit for use.

19          268.    The Products used were not safe, of inerchantable quality, fit for use, the quality that a

20   buyer would expect, or the same quality of those products generally acceptable in the trade.

21          269.    The Products were not fit for the ordinary purposes for which such goods are used and
22   did not conform to the quality established by the parties' prior dealings or by usage of trade.

23          270.    The Products used by Plaintiff were neither safe nor fit for use.
24          271.    Defendants were aware that consumers, including Plaintiff, would use the Products,
25   which is to say that Plaintiff was a foreseeable user of Defendants' Products.
26          272.    Plaintiff was at all relevant times in privity with Defendants.
27          273.    Plaintiff took reasonable steps to notify Defendants, and each of them, within a
28   reasonable time that the Products did not have the expected quality.
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 1           274.       The Products were expected to reach and did in fact reach consumers, including
 2   Plaintiff, without substantial change in the condition in which the product was manufactured and sold
 3   by Defendants.
 4           275.    Defendants breached various implied warranties with respect to the Products as set
 5   forth above.
 6           276.    Defendants breached the implied warranties in that the Products did not conform to
 7   Defendants' implied representations and warranties.

 8           277.    Plaintiff reasonably relied upon one and/or several of the Defendants' implied
 9   warranties.

10           278.    Plaintiff used the Products as intended and directed by the Defendants and in a
11   foreseeable manner as intended, recommended, promoted, and/or marketed by Defendants.

12           279.    Defendants breached one or several of the implied warranties provided to and relied on
13   by Plaintiff.

14           280.    As a direct and proximate result of Defendants' conduct, including actions, omissions,
15   and misrepresentations described herein, Plaintiff sustained the following damages:

16                   a. Economic losses including medical care and lost eamings; and

17                   b. Noneconomic losses including physical and mental pain and suffering, emotional
18                        distress, inconvenience, loss of enjoyment and impairment of quality of life, past

19                        and future.
20                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum

21                        jurisdictional limits of this Court.
22          281.     The failure of the Products to have the expected quality was a substantial factor in
23   causing Plaintiff's harm.
24          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
25   damages together with interest, the costs of suit and such other and further relief as this Court deems
26   just and proper.

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• 1                                          FIFTH CAUSE OF ACTION
 2       BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
 3                                             (Against AIl Defendants)
 4            282.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5    set forth in the preceding paragraphs.
 6            283.   Plaintiff purchased the Products from Defendants, and each of them.

 7            284.     At the time of purchase, Defendants, and each of them, knew or had reason to know
                                                                       •
 8    that Plaintiff intended to use the product for a particular purpose.

 9            285.   At the time of purchase, Defendants, and each of them, knew or had reason to know

10    that Plaintiff was relying on Defendants' skill and judgment to select or furnish a product that was

11    suitable for the particular purpose.
12            286.   Plaintiff reasonably and justifiably relied on Defendants' skill and judgment.
13            287.   The Products were not suitable for Plaintiff's particular purpose.
14            288.   Plaintiff took reasonable steps to notify Defendants, and each of them, within a
15 I reasonable time that the Products were not suitable.

16            289.   As a direct and proximate result of Defendants' conduct, including actions, omissions,

17    and misrepresentations described herein, Plaintiff sustained the following damages:

18                   a. Economic losses including medical care and lost earnings; and

19                   b. Noneconomic losses including physical and mental pain and suffering, emotional
20                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
21                       and future.
22                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum

23                       jurisdictional limits of this Court.
24            290.   The failure of the Products to be suitable was a substantial factor in causing Plaintiff s
25    harm.
26            WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
27    damages together with interest, the costs of suit and such other and further relief as this Court deems
28    just and proper.                         '
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 1          •                             •SIXTH CAUSE OF ACTION
 2                          NEGLIGENCE - DESIGN, MANUFACTURE AND SALE
 3                                              (Against All Defendants)
 4              291.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6              292.    Prior to, on and after the date of Plaintiff's initial use of the Products, and at all relevant
 7   times, Defendants designed, tested, distributed, manufactured, advertised, sold, and/or marketed the

 8   Products for use by consumers, such as Plaintiff.

 9              293.    Prior to, on, and after Plaintiff's initial use of the Products, Defendants were negligent
10   and careless in and about their design, testing, distribution, manufacture, advertising, sale, and/or

11   marketing of the above-described Products.
12              294.    Prior to, on, and after Plaintiff's initial use of the Products, Defendants performed
13   inadequate evaluation and testing of the Products where such evaluation and testing would have
14   revealed the propensity of the Products' failures, and increased risk of injury as described herein.
15           295.       Prior to, on, and/or after Plaintiff's initial use of the Products, Defendants had received
16   complaints from consumers that the Products failed and posed an increased risk of injury as described

17   herein, but Defendants consciously decided not to: perform any further testing on the Products;

18   investigate the root cause of these failures and increased risk of injury; suspend sales and distribution;

19   or warn consumers, such as Plaintiff, of the propensity of the Products to fail and pose an increased

20   risk of injury as described herein.

21          296.       Defendants' conduct is per se negligent because their negligent design, manufacture,
22   and sale of defective and dangerous products violated several federal and state laws, including but not

23   limited to:
24                     a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                        accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                        and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;
27                     b. The California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Saf. Code
28                        §§ 111730, 111790;
                                                         53
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 1                  c. The California Safe Cosmetics Act of 2005, Cal. Health & Saf. Code § 111791.5;
 2                  d. The California Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
 3                     Cal. Health & Saf. Code § 111791.5; and
 4                  e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
 5                     Cal. Health & Saf. Code § 25249.5.

 6           297.   As a direct and proximate result of Defendants' above-described negligence in design,

 7   testing, distribution, manufacture, advertising, sales, and/or marketing, Plaintiff sustained the

 8 l following damages:

 9                  a. Economic losses including medical care and lost earnings; and

10                  b. Noneconomic losses including physical and mental pain and suffering, emotional

11                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past

12                      and future.

13                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
14                      jurisdictional limits of this Court.
15           298.   As a direct and legal result of Defendants' actions and/or omissions, Plaintiff has also ~

16   suffered, and continues to suffer, an increased risk of developing illnesses, diseases and/or disease

17   processes relating to exposure to the Products.

18          299.    As a direct and legal result of Defendants' tortious conduct, Plaintiff has also suffered

19   the past, present and future medical need to undergo diagnostic testing for the early detection of latent

20   or misidentified illnesses, diseases and/or disease processes related to her exposure to the Products.

21          300.    Diagnostic and/or monitoring procedures exist that comport with contemporary

22   scientific principles and the standard of care and make early detection of illnesses and conditions

23   related to exposure to the Products possible and beneficial to Plaintiff.
24         . 301.   As a result of being significantly and repeatedly exposed to the Products, the need for
25   Plaintiff's medical monitoring is currently necessary, and the monitoring is reasonable.
26          302.    Plaintiff thus also seeks an award of the cost of medical monitoring for the early
27   detection of latent or misidentified illnesses, diseases and/or disease processes associated with
28   exposure to the Products.
                                                         54
                                            COMPLAINT FOR DAMAGES
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 1        •   303.   Defendants' negligence in design, testing, distribution, manufacture, advertising, sales,
 2   and/or marketing prior to, on, and after the date of Plaintiff's initial surgery was a substantial factor in
 3   causing Plaintiff's injuries and damages, as described herein.
 4            WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 5   damages together with interest, the costs of suit and such other and further relief as this Court deems
 6   just and proper.

 7                                      SEVENTH CAUSE OF ACTION
 8                          NEGLIGENCE - FAILURE TO RECALL/RETROFIT

 9                                            (Against All Defendants)
10            304.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
11   set forth in the preceding paragraphs.

12            305.   Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
13   relevant times, Defendants designed, distributed, manufactured, sold, and/or marketed the Products
14   for use by consumers, such as Plaintiff.
15            306.   Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
16   relevant times, Defendants knew or reasonably should have known that the Products and their

17   warnings were dangerous or were likely to be dangerous when used in a reasonably foreseeable

18   manner.

19            307.   Prior to, on, and/or after the date of Plaintiff's initial use of the Products, defendants

20   became aware of the defects of the Products, including their propensity to increase the risk of injury

21   as described herein.

22            308.   Defendants failed to recall, retrofit, or wam consumers, such as Plaintiff, about the
23   danger of the Products prior to, on, and/or after the date of Plaintiff s initial use of the Products, and

24   at all relevant times, and continue to fail to recall the Products to date.
25            309.   In light of the severity and amount of the data available to Defendants, reasonable
26   manufacturers and distributors under the same or similar circumstances would have recalled or
27   retrofitted the Products, and would thereby have avoided and prevented harm to hundreds of thousands
28   of consumers, such as Plaintiff.
                                                        55
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 1           310.    As a direct and proximate result of Defendants' above-described negligent failure to
 2   recall or retrofit, Plaintiff sustained the following damages:
 3                   a. Economic losses including medical care and lost earnings; and
 4                   b. Noneconomic losses including physical and mental pain and suffering, emotional
 5                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
 6                       and future.
 7                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum
 8                       jurisdictional limits of this Court.
 9           311.    Defendants' negligent failure to recall or retrofit the Products and their warnings was a
10   substantial factor in causing Plaintiffls injuries and damages, as described herein.

11           WHEREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory
12   damages together with interest, the costs of suit and such other and further relief as this Court deems
13   just and proper.
14                                       EIGHTH CAUSE OF ACTION
15                                  NEGLIGENCE - FAILURE TO WARN
16                                            (Against All Defendants)
17           312.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
18   set forth in the preceding paragraphs.

19           313.   At all relevant times, Defendants engaged in the design, development, manufacture,
20   marketing, sale and distribution of the Products in a defective and unreasonably dangers condition to

21   consumers, including Plaintiff.

22          314.    Defendants knew, or by the exercise of reasonable care, should have known use of their
23   Products were dangerous, harmful, and injurious when used by consumers, such as Plaintiff, in a
24   reasonably foreseeable manner. Such danger included the Products' propensity to increase the risk of
25   injury, illness, and/or disease as described herein.
26          315.    Defendants knew, or by the exercise of reasonable care, should have known ordinary
27   consumers, such as Plaintiff, would not have realized the potential risks and dangers of their Products,
28   and that the Products were likely to increase the risk of tumors and cancerous growths in
                                                       56
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 1   premenopausal women, thereby increasing the risk of cancer, fibroids, and/or endometriosis, when
 2   used in the manner they were intended and to an extent beyond that would be contemplated by the
 3   ordinary consumer.
 4          316.    Defendants owed a duty to all reasonably foreseeable consumers to disclose the risks
 5   associated with the use of their Products.
 6          317.    At all pertinent times, Defendants were then and there guilty of one or more of the
 7   following acts and/or omissions:
 8                 a. Failed to provide adequate warnings on their Products;

 9                 b. Inadequately provided warnings on their Products;

10                 c. Provided misleading advertisements; or

11                 d. Failed to provide instructions on how to safely use their Products.

12                 e. Failed to use due care in the manufacture, inspection and labeling of the Products to
13                     prevent risk of injuries to individuals, such as Plaintiff, who used the Products;
14                 f. Failed to provide adequate and accurate warnings and information regarding the risk
15                     and dangers associated with the Products as described herein, to non-defendant
16                     entities that sold the Products; and

17                 g. Failed to label the Products to adequately warn Plaintiff of the increased risk of

18                     injury associated with the product including an increased risk of hormone-related
19                    cancers and reproductive problems including the development of uterine fibroids
20                    and other injuries.

21      318.       Defendants' conduct is per se negligent because their failure to warn of dangerous
22          ingredients of their products violated several federal and state laws, including but not limited
23          to:
24                 a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                    accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                    and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;
27                 b. The California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Saf. Code
28                    §§ 111730, 111790;
                                                      57
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         1    .             c: The California Safe Cosmetics Act of 2005, Cal. Health & Saf. Code § 111791.5;
         2                  d. The Califomia Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
         3                      Cal. Health & Saf. Code § 111791.5; and.
         4                  e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
         5                      Ca1. Health & Saf. Code § 25249.5.
         6           319.   As a direct and proximate result of Defendants' above-described negligent conduct,
         7   including failure to wam, actions, omissions, and misrepresentations, Plaintiff sustained the following
         8   damages:
         9                  a. Economic losses including medical care and lost earnings; and
        10                  b. Noneconomic losses including physical and mental pain and suffering, emotional
        11                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
        12                      and future.
        13                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
        14                      jurisdictional limits of this Court.
        15           320.   Defendants' negligent failure to warn consumers, including Plaintiff, at all relevant
        16   times, was a substantial factor in causing Plaintiff's injuries and damages, as described herein.
        17           WI-EREF0RE, Plaintiff demands judgment against Defendants and seeks compensatory
        18   damages together with interest, the costs of suit and such other and further relief as this Court deems
•       19   just and proper.
        20                                       NINTH CAUSE OF ACTION
        21            •            FRAUD - INTENTIONAL MISREPRESENTATION
        22        (Against L'Orea1 USA, Inc, L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))
        23           321.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
        24   set forth in the preceding paragraphs.
        25           322.   Defendants engaged in the development, manufacture, marketing, sale, and distribution
        26   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
        27   and complete information regarding said products.
    •   28
                                                              58
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 1           323.    Defendants• fraudulently misrepresented the use of the Products as safe, effective, and
 2   not unreasonably dangerous.
 3           324.    Defendants knowingly and intentionally represented to consumers, including the
 4   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
 5 ~ and/or promotional materials fully described all known risks associated with the Products. Said

 6 l representations were of facts that were material and important to Plaintiff's decision to use the

 7 I Products.

 8           325.    When Defendants made said representations, Defendants either knew that said

 9   representations were false or made said representations recklessly and without regard for their truth.

10           326.     When Defendants made said representations, Defendants intended that consumers,
11   such as Plaintiff, would rely on said representations.

12           327.   Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
13   representations that the Products were safe for use and that their labeling, marketing, and promotional
14   materials fully described all known risks associated with the Products.
15          328.    A recent article was published on October 4, 2022, on MSN and other online news ~
16   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young

17   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got

18   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look

19   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
20   Many of them are wearing natural hairstyles today.97
21          329.    At all pertinent times, Defendants were then and there guilty of one or more of the J
22   following acts and/or omissions:
23                  a. Knowingly made omissions that were material, false, incomplete, misleading, J
24                      deceptive, and deceitful;
25                  b. Knowingly made misrepresentations for the purpose of deceiving and defrauding
26                      consumers, including Plaintiff; or
27
28   97 The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1                   c. Knowingly made • omissions for the purpose of deceiving and defrauding
 2                       consumers, including Plaintiff.
 3           330.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
 4   which induced her to purchase and use the Products on a regular basis for decades.
 5           331.    Defendants profited, significantly, from their unethical and illegal conduct that
 6   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

 7   product.

 8           332.    As a direct and proximate result of Defendants' above-described fraudulent conduct,

 9   including intentional misrepresentations, Plaintiff sustained the following damages:

10                   a. Economic losses including medical care and lost earnings; and
11                   b. Noneconomic losses including physical and mental pain and suffering, emotional
12               .       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
13                       and future.
14                   c. The sum of the damages Plaintiff have suffered is in excess of the minimum
15                       jurisdictional limits of this Court.
16          333.     Plaintiffls reliance on said representations made by Defendants were a substantial
17   factor in causing Plaintiff to suffer the injuries and damages described herein.

18          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory

19   damages together with interest, the costs of suit and such other and further relief as this Court deems

20   just and proper.

21                                       TENTH CAUSE OF ACTION
22                          FRAUD - INTENTIONAL MISREPRESENTATION
23                              (Against Godrej SON and Strength of Nature)
24          334.     Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
25   set forth in the preceding paragraphs.
26          335.     Defendants engaged in the development, manufacture, marketing, sale, and distribution
27   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
28   and complete information regarding said products.
                                                       60
                                            COMPLAINT FOR DAMAGES
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 1          • 336.   Defendants fraudulently misrepresented the use of the Products as safe, effective and
 2   not unreasonably dangerous. For example, Defendants Godrej Consumer Products, Godrej SON, and
 3   Strength of Nature's Soft & Beautiful Products are intentionally labeled as "Botanicals" and with
 4   "Natural" ingredients that are "Ultra Nourishing," including but not limited to using "Natural Plant
 5   Oils and Butters."

 6           337.    Defendants knowingly and intentionally represented to consumers, including the
 7   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,

 8   and/or promotional materials fully described all known risks associated with the Products. Said

 9   representations were of facts that were material and important to Plaintiff's decision to use the

10   Products.

11           338.    When Defendants made said representations, Defendants either knew that said
12   representations were false or made said representations recklessly and without regard for their truth.
13          339.      When Defendants made said representations, Defendants intended that consumers,
14   such as Plaintiff, would rely on said representations.

15          340.     Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
16   representations that the Products were safe for use and that their labeling, marketing, and promotional

17   materials fully described all known risks associated with the Products.
18          341.     A recent article was published on October 4, 2022, on MSN and other online news

19   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young

20   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got

21   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look

22   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.

23   Many of them are wearing natural hairstyles today.98
24          342.     At all pertinent times, Defendants were then and there guilty of one or more of the
25   following acts and/or omissions:
26
27
28   98 The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1                  d. Knowingly made omissions that were material, false, incomplete, misleading,
 2                      deceptive, and deceitful;
 3                  e. Knowingly made misrepresentations for the purpose of deceiving and defrauding
 4                      consumers, including Plaintiff; or
 5                  f. Knowingly made omissions for the purpose of deceiving and defrauding
 6                      consumers, including Plaintiff.
 7          343.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,

 8   which induced her to purchase and use the Products on a regular basis for decades.

 9          344.    Defendants profited, significantly, from their unethical and illegal conduct that

10   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

11   product.

12          345.    As a direct and proximate result of Defendants' above-described fraudulent conduct,
13   including intentional misrepresentations, Plaintiff sustained the following damages:

14                  d. Economic losses including medical care and lost earnings; and
15                  e. Noneconomic losses including physical and mental pain and suffering, emotional

16                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past

17                      and future.

18                  f. The sum of the damages Plaintiff have suffered is in excess of the minimum

19                      jurisdictional limits of this Court.

20          346.    Plaintiff's reliance on said representations made by Defendants were a substantial ~

21   factor in causing Plaintiff to suffer the injuries and damages described herein.

22          VWFIEREF0RE, Plaintiff demand judgment against Defendants and seek compensatory

23   damages together with interest, the costs of suit and such other and further relief as this Court deems
24   just and proper.
25                                    ELEVENTH CAUSE OF ACTION
26                         FRAUD - INTENTIONAL MISREPRESENTATION
27                                               (Against Avlon)
28          347.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
                                                          b6
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 1• set forth in the preceding paragraphs.                                      .
 2           348.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
 3   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
 4   and complete information regarding said products.
 5           349.   Defendants fraudulently misrepresented the use of the Products as safe, effective, and
 6   not unreasonably dangerous, specifically:

 7                  a. Defendants Namaste, Dabur, and Dermoviva's Products are marketed as "Olive Oil"

 8                     products to imply natural products, and their Products are advertised as being "Build

 9                     in Protection;"

10                  b. Defendants Namaste, Dabur, and Dermoviva's website states that their Products use

11                     "Rich Olive and Avocado Oils" that they claim "moisturize and condition while
12                     Aloe Vera protects the skin and scalp."
13                  c. Defendants Namaste, Dabur, and Dermoviva's Products claim that they "use[] the
14                     latest technology to safely elongate tight coils."
15          350.    Defendants knowingly and intentionally represented to consumers, including the
16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,

17   and/or promotional materials fully described all known risks associated with the Products. Said

18   representations were of facts that were material and important to Plaintiff's decision to use the

19   Products.

20          351.    When Defendants made said representations, Defendants either knew that said
21   representations were false or made said representations recklessly and without regard for their truth.

22          352.     When Defendants made said representations, Defendants intended that consumers,
23   such as Plaintiff, would rely on said representations.
24          353.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25   representations that the Products were safe for use and that their labeling, marketing, and promotional
26   materials fully described all known risks associated with the Products.
27          354.    A recent article was published on October 4, 2022, on MSN and other online news
28   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today.99
 5          355.    At all pertinent times, Defendants were then and there guilty of one or more of the
 6 l following acts and/or omissions:

 7                  g. Knowingly made omissions that were material, false, incomplete, misleading,
 8                      deceptive, and deceitful;
 9                  h. Knowingly made misrepresentations for the purpose of deceiving and defrauding ~
10                      consumers, including Plaintiff; or
11                  i. . Knowingly made omissions for the purpose of deceiving and defrauding I
12                      consumers, including Plaintiff.
13          356.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.
15          357.    Defendants profited, significantly, from their unethical and illegal conduct that
16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

17   product.

18          358.    As a direct and proximate result of Defendants' above-described fraudulent conduct, l
19   including intentional misrepresentations, Plaintiff sustained the following damages:

20                  g. Economic losses including medical care and lost earnings; and
21                  h. Noneconomic losses including physical and mental pain and suffering, emotional
22                     distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                     and future.
24                  i. The sum of the damages Plaintiff has suffered is in excess of the minimum
25                     jurisdictional limits of this Court.
26          359.   Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   99 The Relaxer Box Girls: Where Are They Now? (msn.com)
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   1   in causing Plaintiff tosuffer the injuries and damages described herein.
  2            WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
  3    damages together with interest, the costs of suit and such other and further relief as.this Court deems
  4    just and proper.
  5                                      TWELFTH CAUSE OF ACTION
  6                            FRAUD - INTENTIONAL MISREPRESENTATION
  7                                       (Against Doe Defendants 1-100)
  8            360.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
  9            set forth in the preceding paragraphs.
 10            361.   Defendants engaged in the development, manufacture, marketing, sale, and distribution
 11    of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
 12    and complete information regarding said products.
 13            362.   Defendants fraudulently misrepresented the use of the Products as safe, effective and
 14    not unreasonably dangerous.
 15           363.    Defendants knowingly and intentionally represented to consumers, including the
. 16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
 17    and/or promotional materials fully described all known risks associated with the Products. Said
 18    representations were of facts that were material and important to Plaintiff's decisions to use the
 19    Products.
20            364.    When Defendants made said representations, Defendants either knew that said
21     representations were false or made said representations recklessly and without regard for their truth.
22            365.        When Defendants made said representations, Defendants intended consumers, such
23     as Plaintiff, would rely on said representations.
24            366.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25     representations that the Products were safe for use and that their labeling, marketing, and promotional
26     materials fully described all known risks associated with the Products.
27            367.    A recent article was published on October 4, 2022, on MSN and other online news
28     outlets, titled "The Relaxer Box Girls: Where Are They Now," which revealed that many of the young
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today.1oo
 5           368.    At all pertinent times, Defendants were then and there guilty of one or more of the
 6   following acts and/or omissions:
 7                  j. Knowingly made omissions that were material, false, incomplete, misleading,
 8                       deceptive, and deceitful;
 9                   k. Knowingly made misrepresentations for the purpose of deceiving and defrauding
10                       consumers, including Plaintiff; or
11                  1. Knowingly made omissions for the purpose of deceiving and defrauding
12                       consumers, including Plaintiff.
13          369.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.
15          370.    Defendants profited, significantly, from their unethical and illegal conduct that
16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective

17   product.

18          371.    As a direct and proximate result of Defendants' above-described fraudulent conduct,
19   including intentional misrepresentations, Plaintiff sustained the following damages:

20                  j. Economic losses including medical care and lost earnings; and

21                  k. Noneconomic losses including physical and mental pain and suffering, emotional
22                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                       and future.
24                  1.   The sum of the damages Plaintiff have suffered is in excess of the minimum
25                       jurisdictional limits of this Court.
26          372.    Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   loo The Relaxer Box Girls: Where Are They Now? (msn.com)
                                                   66
                                             COMPLAIINT FOR DAMAGES
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 l   in causing Plaintiff to suffer the injuries and damages described herein.
 2           WHEREFORE, Plaintiff demand judgment against Defendants and seeks compensatory
 3   damages together with interest, the costs of suit and such other and further relief as this Court deems
 4   just and proper.
 5                                   THIRTEENTH CAUSE OF ACTION
 6                                        FRAUD - CONCEALMENT
 7       (Against L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))

 8           373.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9   set forth in the preceding paragraphs.

10           374.    In marketing and selling the Products, Defendants concealed material facts from
11   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
12   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
13   making said disclosure deceptive; intentionally failing to disclose important facts known only to
14   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
15   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
16           375.    At all pertinent times, Defendants were then and there guilty of one or more of the
17   following acts and/or omissions:

18                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the

19                      dangers and risk of injuries associated with the use of the Products and the fact that
20                      the Product was unreasonably dangerous;
21                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
22                      and/or otherwise understated the nature of the risks associated with the use of the
23                      Products to increase sales;
24                  c. Defendants undertook the concealment of material facts with an intent that
25                      consumers, including Plaintiff, rely upon them.
26          376.    Plaintiff and other consumers did not know that Defendants concealed material facts
27   and were justified in their reliance on Defendants representations regarding the safety of the Products.
28          377.    Defendants had sole access to material facts concerning the dangers and unreasonable

                                            COMPLAINT FOR DAMAGES
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 1   risks of the Products.             .
 2           378.    The intentional concealment of information by Defendants about the substantial risks
 3   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
 4           379.   Had Defendants not fraudulently concealed the information as described herein, the
 5   Products would not have been used by Plaintiff.
 6           380.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
 7   Plaintiff would not have used them.

 8           381.   As a direct and proximate result of Defendants' fraudulent and/or intentional
 9   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following

10   damages:

11                  a. Economic losses including medical care and lost earnings; and
12                  b. Noneconomic losses including physical and mental pain and suffering, emotional
13                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
14                      and future.
15                  c. The sum of the damages Plaintiff have suffered is in excess of the minimum
16                      jurisdictional limits of this Court.
17          382.    Plaintiffs reasonable reliance on Defendants' fraudulent and/or intentional
18   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and

19   damages described herein.

20          WHEREF0RE, Plaintiff demands judgment against Defendants and seek compensatory
21   damages together with interest, the costs of suit and such other and further relief as this Court deems

22   just and proper.

23                                    FOURTEENTH CAUSE OF ACTION
24                                          FRAUD - CONCEALMENT
25                             (Against Godrej SON and Strength of Nature)
26          383.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
27   set forth in the preceding paragraphs.

28          384.    In marketing and selling the Products, Defendants concealed material facts from
                                                         btS
                                             COMPLAINT FOR DAMAGES
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.1    consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
 2    some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
 3    making said disclosure deceptive; intentionally failing to disclose important facts known only to
 4   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
 5   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
 6           385.    At all pertinent times, Defendants were then and there guilty of one or more of the
 7   following acts and/or omissions:

 8                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the

 9                     dangers and risk of injuries associated with the use of the Products and the fact that
10                     the Product was unreasonably dangerous;
11                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
12                     and/or otherwise understated the nature of the risks associated with the use of the
13                     Products in order to increase sales;
14                  c. Defendants undertook the concealment of material facts with an intent that
15                     consumers, including Plaintiff, rely upon them.
16           386.   Plaintiff and other consumers did not know that Defendants concealed material facts
17   and were justified in their reliance on Defendants representations regarding the safety of the Products.

18           387.   Defendants had sole access to material facts concerning the dangers and unreasonable
19 I risks of the Products.

20           388.   The intentional concealment of information by Defendants about the substantial risks
21   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.

22           389.   Had Defendants not fraudulently concealed the information as described herein, the
23   Products would not have been used by Plaintiff.
24           390.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
25   Plaintiff would not have used them.
26           391.   As a direct and proximate result of Defendants' fraudulent and/or intentional
27   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
28   damages:
                                                        69
                                           COMPLAINT FOR DAMAGES
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 1                  d. Economic losses including medical care and lost earnings; and
 2                  e. Noneconomic losses including physical and mental pain and suffering, emotional
 3                       distress, inconvenience, loss of enjoyment and impairinent of quality of life, past
 4                       and future.
 5                  f. The sum of the damages Plaintiff have suffered is in excess of the minimum
 6                       jurisdictional limits of this Court.
 7          392.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
 8   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and

 9   damages described herein.

10          VWHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory

11   damages together with interest, the costs of suit and such other and further relief as this Court deems

12   just and proper.

13                                     FIFTEENTH CAUSE OF ACTION
14                                        FRAUD - CONCEALMENT
15                                                (Against Avlon)
16          393.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
17   set forth in the preceding paragraphs.

18          394.    In marketing and selling the Products, Defendants concealed material facts from

19   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of

20   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,

21   making said disclosure deceptive; intentionally failing to disclose important facts known only to

22   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively

23   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
24          395.    At all pertinent times, Defendants were then and there guilty of one or more of the
25   following acts and/or omissions:
26                 a. Defendants omitted, suppressed, and/or concealed material facts concerning the
27                      dangers and risk of injuries associated with the use of the Products and the fact that
28                      the Product was unreasonably dangerous;
                                                       iu
                                            COMPLAINT FOR DAMAGES
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 1                 b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
 2                     and/or otherwise understated the nature of the risks associated with the use of the
 3                     Products in order to increase sales;
 4                 c. Defendants undertook the concealment of material facts with an intent that
 5                     consumers, including Plaintiff, rely upon them.
 6          396.    Plaintiff and other consumers did not know that Defendants concealed material facts
 7   and were justified in their reliance on Defendants representations regarding the safety of the Products.

 8          397.    Defendants had sole access to material facts concerning the dangers and unreasonable
 9   risks of the Products.

10          398.    The intentional concealment of information by Defendants about the substantial risks

11   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.

12          399.    Had Defendants not fraudulently concealed the information as described herein, the
13   Products would not have been used by Plaintiff.
14          400.    Had Plaintiff been aware of the increased risks of injury associated with the Products,
15   Plaintiff would not have used them.
16          401.    As a direct and proximate result of Defendants' fraudulent and/or intentional
17   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following

18   damages:

19                  g. Economic losses including medical care and lost earnings; and

20                  h. Noneconomic losses including physical and mental pain and suffering, emotional
21                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
22                      and future.
23                  i. The sum of the damages Plaintiff has suffered is in excess of the minimum
24                      jurisdictional limits of this Court.
25          402.    Plaintiffs reasonable reliance on Defendants' fraudulent and/or intentional
26   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and
27   damages described herein.

28          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
                                                       71
                                            COMPLAINT FOR DAMAGES
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 1   damages together with interest, the costs of suit and such other and further relief as this Court deems
 2   just and proper.
 3                                    SIXTEENTH CAUSE OF ACTION
 4                                        FRAUD - CONCEALMENT
 5                                 (Against Doe Defendants 1-100, inclusive)
 6           403.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 7   set forth in the preceding paragraphs.

 8           404.    In marketing and selling the Products, Defendants concealed material facts from

 9   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of

10   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,

11   making said disclosure deceptive; intentionally failing to disclose important facts known only to
12   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
13   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
14           405.    At all pertinent times, Defendants were then and there guilty of one or more of the
15   following acts and/or omissions:

16                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the

17                      dangers and risk of injuries associated with the use of the Products and the fact that
18                      the Product was unreasonably dangerous;
19                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
20                      and/or otherwise understated the nature of the risks associated with the use of the
21                      Products in order to increase sales;
22                  c. Defendants undertook the concealment of material facts with an intent that
23                      consumers, including Plaintiff, rely upon them.
24          406.    Plaintiff and other consumers did not know that Defendants concealed material facts
25   and were justified in their reliance on Defendants representations regarding the safety of the Products.
26          407.    Defendants had sole access to material facts concerning the dangers and unreasonable
27   risks 6f the Products.
28          408.    The interitional concealment of information by Defendants about the substantial risks
                                                          /6
                                            COMPLAINT FOR DAMAGES
      Case 3:24-cv-06845-SI           Document 1         Filed 09/30/24       Page 166 of 256




 1   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
 2           409.   Had Defendants not fraudulently concealed the information as described herein, the
 3   Products would not have been used by Plaintiff.
 4           410.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
 5   Plaintiff would not have used them.
 6           411.   As a direct and proximate result of Defendants' fraudulent and/or intentional
 7   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
 8   damages:

 9                  j. Economic losses including medical care and lost earnings; and

10                  k. Noneconomic losses including physical and mental pain and suffering, emotional
11                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                      and future.
13                  1. The sum of the damages Plaintiff have suffered is in excess of the minimum
14                      jurisdictional limits of this Court.
15          412.    Plaintiffls reasonable reliance on Defendants' fraudulent and/or intentional
16   concealment of facts was a was a substantial factor in causing Plaintiff sto suffer the injuries and

17   damages described herein.

18          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory
19   damages together with interest, the costs of suit and such other and further relief as this Court deems

20   just and proper.

21                                 SEVENTEENTH CAUSE OF ACTION
22   UNLAWFUL, UNFAIR AND FRAUDULENT BUSINESS PRACTICES IN VIOLATION OF
23                          CALIFORNIA B & P CODE SEC. 17200, ET SEQ.
24                                            (Against A11 Defendants)
25          413.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
26   set forth in the preceding paragraphs.

27          414.    California's Unfair Competition Law (UCL) creates a cause of action for those harmed
28   by unfair competition, which includes "any unlawful, unfair or fraudulent business act or practice and
                                                      is
                                           COMPLAINT FOR DAMAGES
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 1   unfair, deceptive, untrue or•misleading advertising."
 2           415.    Defendants have made numerous misrepresentations to Plaintiff, consumers, and the
 3   general public. Ainong those misrepresentations are Defendants' claims that the Products are safe,
 4   effective, and not unreasonably dangerous.
 5           416.    Defendants failed to disclose to Plaintiff, consumers, and the general public that the
 6   Products are defective, unreasonably dangerous and are likely to increase the risk of tumors and

 7   cancerous growths in premenopausal women, thereby increasing the risk of cancer, fibroids, and/or
 8   endometriosis, and injuries as described herein.

 9           417.    Defendants' business practices relating to the Products are unlawful because they
10   constitute false advertising, intentional misrepresentation, and fraudulent concealment.
11                   m. As a direct and proximate result of Defendants' unlawful business practices and
12                        false advertising, Defendants have generated enormous revenues and profits at the
13                        expense of Plaintiff. Plaintiff is thus entitled to restitutionary disgorgement, in an
14                        amount to be proven at trial, injunctive relief, attorney's fees, and other remedies
15                        available under the law.
16           418.    Defendants' unlawful business practices, at all relevant times, were a substantial factor
17   in causing Plaintiff's harm, as described herein.

18           WIIEREFORE, Plaintiff demands judgment against Defendants and seeks an order of this
19   Court awarding restitutionary disgorgement, injunctive relief, attorneys' fees and costs and all other

20   relief as this Court deems just and proper under California Business and Professions Code Section
21   17200 et seq.
22                                      V.      PRAYER FOR RELIEF
23          419.     Plaintiff incorporates by reference each and every paragraph of this Complaint as
24   though set forth here in full and further prays.
25          420.     So far as the law and this Court allows, Plaintiff demands judgment against each
26   Defendant on each count as follows:
27                   a.      Compensatory damages for the described losses with respect to each cause of
28                           action;
                                                        74
                                             COMPLAINT FOR DAMAGES
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 1                  b.      Past medical expenses;
 2                  c.      Past and future lost wages and loss of earning capacity;
 3                  d.      Past and future emotional distress;
 4                  e.      Punitive damages with respect to each cause of action;
 5                  f.      Reasonable attorneys' fees where recoverable;
 6                  g.      Costs of this action;
 7                  h.      Pre-judgment and all other interest recoverable; and
 8                  i.      Such other additional and further relief as Plaintiff may be entitled to in law or

 9                          in equity.
10                                              JURY DEMAND
11          Plaintiff demands a jury trial for all claims so triable.
12

13   Dated: July 18, 2024                           SINGLETON SCHRIBER, LLP
14

15                                                  By:
                                                             Andrew Bluth (SBN: 232387)
16                                                           Christopher Rodriguez (SBN: 212274)
                                                             Danielle Ward Mason (pro hac vice
17
                                                            forthcoming)
18
                                                            Attorneysfor Plaintiff
19

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                                                      75
                                           COMPLAINT FOR DAMAGES
                 Case 3:24-cv-06845-SI                              Document 1                Filed 09/30/24                          Page 169 of 256

                                                                                                                                                                          CM-010
ATTORNEY DR PARTY WITHOUTATTORNEY (Name. State Barnumber, and address):                                                                 FOR COURT USE ONLY
Christopher R. Rodriguez SBN 212274, Andrew D. Bluth SBN 232387,
Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 958144
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                                                                                                                         ELEUTR~1MIkr►f' LLLY FILED
           TELEPHONE NO.:916_24H-8478                      FAX NO, (optionat): (619) 255-1515                                     •
      E-MAILADDRESS: crodnguez@singletollSchreiber.com
  ATTORNEY FOR (Name): Plaintiff
                                                                                                                           S uperlar Cowrt of California l
               COURT OF CALIFORNIA, COUNTY OF ALAMEDA                                                                                  " oun}{~,
                                                                                                                                            `~ of f'I amda
                                                                                                                                       County
STREETADDRESS: 1225 FaIIOn Street                                                                                          ~V1BìO4 at 4,43:15 p1
MAILING ADDRESS: 1225 Fallon Street
CITYAND ZIP CODE: 0akland, 94612                                                 •
                                                                                                                              By : Damaree Franklin,
              NAME: Oakland - Rene C. Davidson Courthouse                                                                      • [} Deput y CIQrk
                                                                                                                                   ~+6pu`y

CASE NAME:
 Cynthia Jones v. L'Oreal USA, et ai.
                                                                                                                    CASE NUMBER:
        CIVIL CASE COVER SHEET                                      Complex Case Designation
Ox Unlimited                       [jjjjjjj] Limited            0      Counter                    Joinder                2 4C'./ O$3                                 J I3
        (Amount                           (Amount
                                                           Flled with first appearance by defendant                 JuoGE:
        demanded                          demanded is
                                                               (Cal. Rules of Court, rule 3.402)                    DEP-r.•,
        exceeds $25,000)                  $25,000 or less)
                                             tferrts 1-6 betoiw must be:comp/efed (see rrtstruct[aris on page Z).
1. Check one box below for the case type that best describes this case:
  Auto Tort                                   Contract                                                          Provisionally Complex Civil Litigation
    0     Auto (22)                                         0        Breach of contract/warranty (06)           (Ca[. Rules of Court, rules 3.400-3.403)
          Uninsured motorist (46)                                    Rule 3.740 collections (09)                        AntitrustlTrade regulation (03)
    Other PI/PD/WD (Personal Injury/Property                         Other collections (09)                           , Construction defect (10)
    Damage/Wrongful Death) Tort                                                                                         Mass tort (40)
                                                                     Insurance coverage (18)                    ~ X
             Asbestos (04)                                  O        Other contract (37)                        Q       Securities litigation (28)
             Product liability (24)                                                                                   EnvironmentaUToxic tort () 30
                                                            Real Property                                       ~
             Medical malpractice (45)                                                                           Q     Insurance coverage c[aims arising from the
                                                                Eminent domain/Inverse
             Other PI/PD(WD (23)                                                                                      above listed provisionally complex case
                                                               condemnation (14)
                                                                                                                      types (41)
    Non-PIIPDIWD (Other) Tort                           0      Wrongful
                                                                    g eviction(33)                              Enforcement of Judgment
    ~       Business tortlunfair business practice (07) Q      Other real property (26)
                                                                                                                    [ Enforcement of judgment (20)
    0       Civil rights (08)                           Unlawful Detainer
                                                                                                                Misce[laneous Civil Complaint
    [jjjjj] Defamation (13)                             [jjjj] Commercial (31)
                                                                                                                         RICO (27)
             Fraud (16)                                              Residential (32)
    f                                                                                                           jjjjjjj Other complaint (not speciffed above) (42)
                                                            0     Drugs (38)
     jjjjjjJ Intellectual property (19)                                                                         Miscellaneous Civil Petition
    [jjjjjjjjJ Professional negligence (25)                 Judicial Review
                                                                                                                0       Partnership and corporate govemance (21)
         Other non-PI/PD1WD tort (35)                        jjjjjj] Asset forfeiture (05)
                                                            [jjjjj] Petition re: arbitration award (11)         0       Other petition (not specJfied above) (43)
    Employment
    l        Wrongful termination (36)                      0       Writ of mandate (02)

    [jl]     Other employment (15)                          0         Otherjudicial review (39)
2. This case 0         is      jjjjjjjjjj is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a. ]jjjjjj] Large number of separately represented parties             d,       ] Large number of witnesses
   b. ~ X Extensive motion practice raising difficult or novel e. ¡jjjjJ Coordination with related actions pending in one or more
               issues that will be time-consuming to resolve                         courts in other counties, states, or countries, or in a federal
   c. 0        Substantial amount of documentary evidence                            court
                                                                          f, Çjjjjj[ Substantial postjudgmentjudicial supervision
3. Remedies sought (check all thaf apply): a.                 monetary b. jjjjjJ nonmonetary; declaratory or injunctive relief c. ®          punitive
4.  Number     of causes   of action     (specify): 17
5. This case 0          is     x~ is not            a class action suit.
6. If there are any known related cases, file and serve a notice of related case, (You may use                      Q15.)
Date: 07/1812024                                                                   ~            ~      ~~_
Andrew D. Bluth
                                                                                                   f ~"`
                                        PRINT

  • Plaintiff mlist file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may resuit
    in sanctions.
  • File this cover sheet in addltion to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                            Page1of2
 Form Adopted for Mandatory Use                                                                                                Cal, Rules of Court, rules 2,3U, 3,225, 3.9UU-3,9U3, 3,74U;
   Judlclai Councll of Caliromta                                CIVIL CASE COVER SHEET                                                 Cal Slandards of Judicial Administratfon, sld. 3,10
 CM-010 [Rev.Seplember 1, 2021]                                                                                                                                      www.courts.ca.gov
               Case 3:24-cv-06845-SI                   Document 1               Filed 09/30/24              Page 170 of 256


                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                         CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper,.the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Fallure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal InjurylProperty              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                           AntltrustlTrade Regufation (03)
        Uninsured Motorist (46) (if the                        Contract (not unlawful detainer            Construction Defect (10)
         case involves an uninsured                                 or  wrongful     i ti
                                                                                   evcon)                 Claims Involving Mass Tort (40)
        moforisf claim subject to                        Contract/Warranty Breach-Seller                  Securities Litigation (28)
         arbitration, check this item                          Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
         instead ofAuto)                                 Negligent Breach of Contract/                    Insurance Coverage Claims
  Other PIIPDIWD (Personal Injury/                             Warranty                                          (arising from provisionally complex
  Property DamagelWrongful Death)                        Other   Breach    of Contract/Warranty                  case type listed above) (41)
  Tort                                               Collectlons   (e.g.,  money    owed,  open     Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                   Abstraot of Judgment (Out of
          Asbestos Personal Injury/           .        . Other Promissory Note/Collections                        County)
                Wrongful Death                                 Case                                     Confession of Judgment (non-
      Product Liability (not asbesfos or             Insurance    Coverage     (not provisionally            domestic relations)
           toxic%nvironmental) (24)                      complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                               Administrative Agency Award
            Medical Mal ractice—                         Other Coverage                                     (not unpaid taxes)
                          p
                 Physicians & Surgeons               Other   Contract     37
                                                                         ( )                             Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                   Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                          Other Enforcement of Judgment
      Other P[/PD/WD (23)                        Real Property                                                 Case
            Premises Liability (e.g., slip           Eminent Domain/inverse                         Miscellaneous Civil Complaint
                 and fall)                               Condemnation        (14)                        RICO (27)
            [ntentional Bodily Injury/PD/WD          Wrongful Eviction (33)                              Other Complaint (not specified
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)             above) (42)
            Intentional lnfliction of                    Writ of Possession of Real Property                  Declaratory Relief Only
                 Emotional Distress                      Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                      Quiet Tltie                                               harassment)
                  Emotional Distress                     Other Real Property (noteminent                      Mechanics Lien
            Other PI/PD/WD                               domain, landlord/fenant, or                          Other Commercial Complaint
  Non-PI/PD/WD (Other) Tort                              foreclosure)                                              Case (non-tort/non-complex)
      Business Tort/Unfair Business              Un lawu   l Detainer                                         Other Civil Complaint
           Practice (07)                             Commercial (31)                                               (non-tort/non-complex)
       Civil Rights (e.g., discrimination,           Residential (32)                               Miscellaneous Civil Petition
             false arrest) (not civil                Drugs   (38)  (if the case   involves  illegal      Partnership and Corporate
             harassment) (08)                         drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)              report as Commercial or Residential)                Other Petition (not specified
              (13)                               Judfcial Review                                             above) (43)
      Fraud (16)                                     Asset Forfeiture (05)                                   Civil Harassment
      Intellectual Property (19)                     Petition  Re:  Arbitration    Award
                                                                                    war   ( )                Workplace Violence
      Professional Ne li ence(25)                    Writ of Mandate (02)                                    Elder/Dependent Adult
                          g
           Legal Malpractice g                           Writ—Administrative       Mandamus                        Abuse
           Other Professional Malpractice                Writ—Mandamus on Lim        meited
                                                                                       it d Court            Election Contest
                (nof inedical or legal)                       Case Matter                                    Petition for Name Change
       Other Non-PI/PDIWD Tort (35)                      Writ—Other Limited Court Case                       Petition for Relief From Late
  Employment                                                  Review                                               Clalm
       Wrongful Termination (36)                      Other  Judicial   Review   (39)                        Other Civil Petition
       Other Employment (15)                             Review     of Health   Officer  Order
                                                         Notice ofAppeal--Labor
                                                               '.Commi ss'ioner Aogeals
CM-010 [Rev, September 1, 20211                                                                                                             Page 2 of 2
                                                           CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.              Prl11t thiS fOrftl      SBVe this form
                   Case 3:24-cv-06845-SI                          Document 1                 Filed 09/30/24                   Page 171 of 256



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                                                                                                                         Case Number:                  .
                    Cynthia Jones v. L'Oreal USA, Inc., et al.
                                                 CIVIL CASE COVER SHEET ADDENDUM
                                               _ .. ..
           •                     THIS FORM IS REQUIRED IN ALL NEW UNLIMITED C1VIL CASE FILINGS IN THE
                                              SUPERIOR COURT OF CALIFORNtA, COUNTY OF ALAMEDA
                                                                            [ ] Hayward Hall of Justice (447)

[ R) Oakland, Rene C. Davidson Alameda County Courthouse (446)                                [] Pleasanton, Gale-Schenone Hall of Justice (448)
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Auto Tort                Auto tort (22)                                (]      34    Auto tort (G)
                                                                      Is this an uninsured motorist case7                  yes 1 J no

O(her PI /PD /           Asbeslas (04)                                 ()          75      Asbestos (D)
WD Tort                  Product liability (24)                        ()           89     Producl liability (~o asbestos or toxic torl)environmenial) (G)
                         Medical malpractice (45)                      (]           97     Medical malpractice (G)
               •          Olher PIIPDMJD torl (23)                                  33     Other PIIPDMID tort (G)
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Non . PI !PD /           8us lort! un(air bus, pracllce (07)           ( i          79     Bus tort / unfair bus. praclice (G)
VJD Tort                 Civil righls (00)                             j),          80     Civil rights (G)
                          Defamallon (13)                              ( J          84     De(amatlon (G)
                          Fraud (16)                                   ( J          24     Fraud (G)
                          Intellectual property (19)                   ( J          87     InleBectual property (G)
                          Professional negligence (25)                 [)           59     Pro(essional negligence - non-medical (G)
                          Other non-PIlPDAND lort (35)                              03     Other non-PI/PDIWD lort. G
Employment                Wrongful termlnation (36)                    ( I          38     Wronqful terminalion (G)
                          Olher employrnent (15)                       ( I          85     Other employment (G)
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                                                                                    54      Nollce of appeal • L.C-A.
Con(racl                  Breach contracl ! Wrnly (06)                 ( J          04      Breach contract / Wrnly (G)
                          Collections (09)                             [ J          81      Collectlons (G)
                          Insuroncc coverage (18)                      []           86      Ins. oouerngc - non-cornplex (G)
                          Other contract (37)                                       98      Olher conlract (G)
Real Property            • Eminenl iiomain / Inv Com (14)              []           18      Eminont domaln I Inv Com (G)
                          Wrongful evicllon (33)                       (]           17      Wroiigful evlction (G)
                          Other real.prope        (26)                              36      Olhor rcal pro erty (G)
UnlawfUl Delalner         Cornrnerclal (31)                            (]           94     Unlaw(ul Detainer- commercial                Is the dett. In possession
                          Resldentlal (32)                             [ J          47      Unlawful Detalner- resldentlal               ofthe propertyY
                          Drugs (38)                                                21      Unlawful detainer• drugs                    j] Yes ( J No
Judlclal Revlew           Asset forfeture (05)                         [)           41      Assel forteilure
                          Pelillon re: arbitration award (1 1)         []           62      Pel. re: arbl(rallon award
                          Wrlt of Mandale (02)                         O            49      Wrlt of mandate
                                                                       Is this a CEQA action (Publ,Res.Code sectlon 21000 et seq) [] Yes (] No
                          Ottier udidal revlew (39)                          (       64     Olher Judldal revlew
Provisionally             Antilrusl / Trade regulalion (03)            (]            77     Antitrust / Trade regulalion
 Complex                  Conslruction defect (10)                      (]           82     Construction defect
                          Glalms Involving mass tort (40)              [ x)          78     Claims involving mass tmt
                          Securities litigatlon (28)                    []           91     SecuriUes litlgation
                          Toxic tort / Environmenta( (30)               (]           93     Toxic tort / Environmenlal
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 Judgment                                                                            08     Confession of'ud ment
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                Case 3:24-cv-06845-SI                    Document 1       Filed 09/30/24          Page 172 of 256

                                                                                                  ReservedforClerk'sFileStamp
               SUPERIOR COURT OF CALIFORNIA
                            COUNTY OF. ALAMEDA                                                             FILE
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                                                                                                                      ialifornla
  COURTHOUSE ADDRESS:             .
                                                                                                     0ounty of~lameda
 Rene C. Davidson Courthouse                                                                           ~~~~ ~~~~~~
 Administration Building, 1221 Oak Street, Oakland, CA 94612
  PLAINTIFF:                                                                             ~YadFIYRi"        $JQ        rJCkIk07I~L' 6~51
 CYNTHIA L JONES                                                                                                  -
  DEFENDANT:                                                                                 '
                                                                                                          D. Franklin
  L'Oreal USA. Inc., a corporation et al
                                                                                         CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                          24CV083993

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                      Date: 11/15/2024       Time: 830 AM        Dept.: 23
                                      Location: Rene C. Davidson Courthouse
                                                Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
                        ,
Superior Court of Califomia                 NOTICE OF
CountyofAlameda
ALA CIV-100 [Rev. 10/2021]
                                  CASE MANAGEMENT CONFERENCE
          Case 3:24-cv-06845-SI           Document 1         Filed 09/30/24            Page 173 of 256


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            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                             FILE L~
                                                                                       Superiar Caurt af Califarnia
Rene C. Davidson Courthouse                                                               Cauntyafr"~Jameda
1225 Fallon Street, Oakland, CA 94612                                                        a7/r1 $/2B24
PLAINTIFF/PETITIONER:                                                          Ckad                             ifi oftie co ri
CYNTHIA L JONES                                                                  By.                                Deputy
                                                                                                  D. Franklin
DEFENDANT/RESPONDENT:
L'Oreal USA. Inc., a corporation et al
                                                                               CASE NUMBER:
                        CERTIFICATE OF MAILING                                 24CV083993

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Oakland, California, one copy of the original filed/entered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordancewith standard court practices.




    Christopher R. Rodriguez
    SINGLETON SCHREIBER LLP
    1414 K St Ste 470
    Sacramento, CA 95814




                                                     Chad Finke, Executive Officer / Clerk of the Court

Dated: 07/22/2024                                      By:



                                                                    D. Fian]rliii, DeputgClei3c




                                         CERTIFICATE OF MAILING
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   EXHIBIT C
                      Case 3:24-cv-06845-SI                Document 1              Filed 09/30/24                  Page 175 of 256

                                                                                                                                                     SUM-100
                                                  SU M M O N S                                                                 FOR COURT USE ONLY
                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)
                                                                                                                       ELECTRONICALLY FILED
                                                                                                                          Sufrerior Caurt of Catifomia
NOTICE TO DEFENDANT:                                                                                                           County of A9ameda
(AVISO AL DEMANDADO):                                                                                                            07/22/2024
L'Oreal USA. Inc., a corporation; (Additional Parties Attachment form is attached.)                                    'CE3dFiritcc,E~uEveCE5a~lCFerkalG7eCau1
                                                                                                                        ay,         D. Frankiln

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
CYNTHIA L. JONES, an individual.

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a wriffen response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.cou►tinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an aftomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iAVISOt Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a

   Tiene 30 D%AS DE CALENDARIO despuas de que le entreguen esta citaci6n y pape%s legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefbnica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal conecto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usarpara su respuesta.
Puede encontrar estos formularios de la corte y m3s informaci6n en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacibn, pida al secretario de la corte que
le d€ un fonnulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrb
quitar su sueldo, dinero y bienes sin mSs advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califomia Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o ponibndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mfis de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civi/. Tiene que
pagar e/ gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                         CASE NUMBER:
                                                                                              (Numero del Caso):
(El nombre y direcci6n de la corte es): Alameda County Superior Court
                                                                                              24CV083993
1225 Fallon Street, Oakland, CA 94612

The name, address, and telephone number of plaintiffs attorney, or plaintiffwithout an attorney, is:
(El nombre, la direcci6n y el numero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Christopher R. Rodriguez, Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 95814
DATE:                                                                 Clerk, by                       F I,S~~I~~          Deputy
(Fecha) 07122/2024 ChadFinke,ExecutMeOfficerJClerkoftheCourt (Secretario)                          .         D           (Adjunto)
(Forproof of service of this summons, use Proof of Service of Summons (fonn POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).                  .2
 [SEAL]                          NOTICE TO THE PERSON SERVED: You are served
                                 1.           as an individual defendant.                                        ~
                                 2. [jjjjjjjj as the person sued under the fictitious name of (specify):
                                                                          SOFT SHEEN-CARSON LLC, a corporation
                                    3.    ®     on behalf of (specify):
                                          under: O     CCP 416.10 (corporation) .                           0       CCP 416.60 (minor)
                                                       CCP 416.20 (defunct corporation)                             CCP 416.70 (conservatee)
                                                       CCP 416.40 (association or partnership)              O       CCP 416.90 (authorized person)
                                                       other (specify):
                                    4.   O      by personal delivery on (date):
                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
  Judicial Council of Califamia                                      SUMMONS
                                                                                                                                                  www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
                      Case 3:24-cv-06845-SI           Document 1           Filed 09/30/24          Page 176 of 256

                                                                                                                                SUM-200 A
  SHORT TITLE:                                                                                CASE NUMBER:
  Cynthia L. Jones v. L'Oreal USA, Inc., et al.                                               24CV083993

                                                        INSTRUCTIONS FOR USE
  -> This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -' If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."
List additional parties (Check only one box. Use a separate page for each type ofparfy.):

     [11111111 Plaintiff x0 Defendant     0      Cross-Complainant       Cross-Defendant
L'ORÈAL USA PRODUCTS, INC., a corporation; SOFT SHEEN-CARSON LLC, a corporation; SOFT SHEEN*CARSON (W.I.), INC., a
corporation.; STRENGTH OF NATURE, LLC, a corporation; GODREJ SON HOLDINGS, INC., a corporation; AVLON INDUSTRIES,
INC., a corporation; SAFEWAY INC., a corporation; THE VONS COMPANIES, INC., a corporation; and DOES 1-100 inclusive,




                                                                                                                   Page     1     of
                                                                                                                                        1of1
 Form Adopted for Mandatory Use
   Judicial Council of Califomia
                                              ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                   Attachment to Summons
           Case 3:24-cv-06845-SI       Document 1       Filed 09/30/24        Page 177 of 256
~

                                                                           ELECTRONICALLY FILED
                                                                            Superior Court af California,
     1   Christopher R. Rodriguez (SBN: 212274)                                County ofAlarneda
         Andrew D. Bluth (SBN: 232387)
     2   Danielle Ward Mason (pro hac viceforthcoming)                     U7/98ì2O24 at U4:43:15 PM
         Singleton Schreiber, LLP                                                By: Gamaree Franklin,
     3                                                                               Deputy Clerk
         1414 K Street, Suite 470
     4   Sacramento, CA 95814
         Telephone: (916) 248-8478
     5   Facsimile: (619) 255-1515
     6 I Attorneys for Plaintiff

     7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

     8                                      COUNTY OF ALAMEDA
     9    CYNTHIA L. JONES, an individual,                    CaseNo.

    10                             Plaintiff,                 COMPLAINT FOR DAMAGES
    11    v.                                                  (1)Strict Liability—Failure to Warn;
    12                                                        (2)Strict Liability—Design Defect;
         L'OREAL USA, INC., a corporation;                    (3)Breach of Express Warranty;
    13   L'OREAL USA PRODUCTS, INC., a                        (4)Breach of Implied Warranty of
         corporation; SOFT SHEEN-CARSON LLC, a                Merchantability;
    14   corporation; SOFT SHEEN*CARSON (W.I.),               (5)Breach of Implied Warranty of Fitness for a
         INC., a corporation.; STRENGTH OF                    Particular Purpose
    15   NATURE, LLC, a corporation; GODREJ SON               (6)Negligence—Design, Manufacture and
    16   HOLDINGS, INC., a corporation; AVLON                 Sale;
         INDUSTRIES, INC., a corporation;                     (7)Negligence—Failure to Recall/Retrofit;
    17   SAFEWAY INC., a corporation; THE VONS                (8)Negligence—Failure to Warn;
         COMPANIES, INC., a corporation; and DOES             (9-13) Fraud—Intentional Misrepresentation;
    18   1-100 inclusive,                                     (14-18) Fraud—Concealment;
                                                              (19) Unlawful Business Practices in Violation
    19                                                        of Ca. Health & Safety Code Sec. 25249.6 Et
                                   Defendants.
                                                              Seq.
    20
    21                                                        (Unlimited Civil — Amount Demanded
                                                              Exceeds $25,000)
    22
                                                              DEMAND FOR JURY TRIAL
    23
    24
    25                                I.        INTRODUCTION
    26         1.       This is an action for damages relating to L'OREAL USA, INC.; L'OREAL USA
    27   PRODUCTS, INC.; SOFT SHEEN-CARSON LLC; SOFT SHEEN*CARSON (W.I.), INC.;
    28   STRENGTH OF NATURE, LLC; GODREJ SON HOLDINGS, INC.; AVLON INDUSTRIES, INC.;
                                                          1
                                                COMPLAINT FOR DAMAGES
        Case 3:24-cv-06845-SI          Document 1         Filed 09/30/24       Page 178 of 256




 1   SAFEWAY INC.; THE VONS COMPANIES, INC.; AND DOES 1-100 INCLUSIVE, hereinafter
 2   "Defendants" design, manufacture, research, sale, testing, marketing, advertising, promotion, and/or
 3   distribution of chemical hair relaxer products ("Products"). These Products, commonly referred to as
 4   "hair relaxers," are a type of lotion or cream product that uses the chemicals contained therein to alter
 5   the structure of very tight curls or curly hair, thereby "relaxing" the curls.
 6           2.     The Products are common among women in the United States and are historically
 7 marketed particularly to Black and Brown women with tight curls or curly hair. When used as
 8   intended, the Products pose an increased risk of hormone-related cancers and reproductive problems
 9   including the development of uterine fibroids. Defendants had knowledge of these increased risks but
10   hid them from their customers and the public as they continued to manufacture, sell, promote, market,
11   and distribute the Products.
12           3.     As a direct and proximate result of Defendants' wrongful conduct, Plaintiff suffered l
13 ~ serious and permanent physical and emotional injuries, and uterine fibroids, and seeks damages l
14   relating to Defendants' design, development, manufacture, testing, packaging, promotion, advertising, l
15   marketing, distribution, labeling, and sale of Products, as described below.
16                                      II.       THE PARTIES
17           4.     Plaintiff Cynthia L. Jones •is a citizen and resident of the State of California, with her place
18   of residence being North Highlands, California in Sacramento County.
19           5.     Defendant L'Oreal USA, Inc. is, and at all times relevant to this action, was a ~
20   corporation, with its principal places of business and headquarters located at 575 Fifth Avenue, New
21   York, New York 10017 and 888 North Douglas Street, El Segundo, California 90245. At all times
22   relevant hereto, Defendant L'Oreal USA, Inc. regularly and continuously did business within this
23   judicial district by designing, testing, manufacturing, researching, marketing, advertising, promoting,
24   selling, and/or distributing the Products.
25           6.     Defendant L'Oreal USA Products, Inc. is, and at all times relevant to this action, was a ~
26 l corporation, with its principal place of business and headquarters located at 10 Hudson Yards 347 l 0th l
27 Avenue New York, New York 10001 and 888 North Douglas Street, El Segundo, California 90245.
28   At all times relevant hereto, Defendant L'Oreal USA Products, Inc. regularly and continuously did
                                                           2
                                              COMPLAINT FOR DAMAGES
       Case 3:24-cv-06845-SI         Document 1        Filed 09/30/24      Page 179 of 256




 1   business within this judicial district by designing, testing, manufacturing, researching, marketing,
 2   advertising, promoting, selling, and/or distributing the Products.
 3           7.     Defendant Soft Sheen-Carson LLC ["Soft Sheen"], is, and at all times relevant to this
 4   action, was a corporation with its principal place of business and headquarters located at 2870
 5   Peachtree Rd. Suite 464, Atlanta GA 40405 and process may be served upon its registered agent,
 6   Corporation Service Company, 80 State Street, Albany, NY 12207. At all times relevant hereto,
 7   Defendant Soft Sheen regularly and continuously did business within this judicial district by
 8   designing, testing, manufacturing, researching, marketing, advertising, promoting, selling, and/or
 9   distributing the Products.
10          8.      Defendant Soft Sheen*Carson (W.I.), Inc., ["Carson (W.I)"], is, and at all times
11   relevant to this action, was a corporation and process may be served upon its registered agent,
12   Corporate Services Company 251 Little Falls Drive, Wilmington, Delaware 19808. At all times
13   relevant hereto, Defendant Carson (W.I) regularly and continuously did business within this judicial
14   district by designing, testing, manufaoturing, researching, marketing, advertising, promoting, selling,
15   and/or distributing the Products.
16          9.      Defendant Strength of Nature, LLC ["Strength of Nature"] is, and at all times relevant
17   to this action, was a corporation with its principal place of business and headquarters located at 64
18   Ross Road, Savannah, GA 31405 and process may be served upon its registered agent, Karan Sood at
19   64 Ross Road, Savannah GA 31405. At all times relevant hereto, Defendant Strength of Nature
20   regularly and continuously did business within this judicial district by designing, testing,
21   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the
22   Products.
23          10.     Godrej SON Holdings, Inc. ["Godrej SON"] is, and at all times relevant to this action,
24   was a corporation with its principal place of business and headquarters located at 64 Ross Road,
25   Savannah GA, 31405, and process may be served upon its registered agent, Karan Sood at 64 Ross
26   Road, Savannah, GA 31405. At all times relevant hereto, Defendant Godrej SON regularly and
27   continuously did business within this judicial district by designing, testing, manufacturing,
28   researching, marketing, advertising, promoting, selling, and/or distributing the Products.
                                                     3
                                          COMPLAINT FOR DAMAGES
       Case 3:24-cv-06845-SI           Document 1        Filed 09/30/24       Page 180 of 256




 1          11.    Defendant Avlon Industries, Inc. ["Avlon"], is, and at all times relevant to this action, ~
 2   was a corporation with its principal place of business and headquarters located at 1999 N 15t ' Ave
 3   Melrose Park, IL, 60160, and process may be served upon its registered agent, Kenneth J. Nemec, Jr.
 4   835 McClintock Dr., 2°d Floor, Blurr Ridge, IL 60527. At all times relevant hereto, Defendant Avlon
 5   regularly and continuously did business within this judicial district by designing, testing,
 6   manufacturing, researching, marketing, advertising, promoting, selling, and/or distributing the
 7   Products.
 8          12.     Defendant Safeway Inc. ["Safeway"] is and at all times relevant to this action, was a ~
 9   California citizen with its principal place of business and headquarters located at 11555 Dublin
10   Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served upon its
11   registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times relevant
12   hereto, Defendant Safeway regularly and continuously did business within this state and county,
13   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,
14   by marketing, advertising, promoting, selling, and/or distributing the Products.
15          13.     Defendant The Vons Companies, Inc. ["Vons Companies"] is and at all times relevant ~
16   to this action, was California citizen with its principal place of business and headquarters located at
17   11555 Dublin Canyon Road, Pleasanton, CA 94588 in Alameda County, and process may be served
18   upon its registered agent Amanda Garcia at 330 N Brand Blvd, Glendale, CA 91203. At all times
19   relevant hereto, Defendant Vons regularly and continuously did business within this state and county,
20   including at its corporate headquarters, located at 11555 Dublin Canyon Road, Pleasanton, CA 94588,
21   by marketing, advertising, promoting, selling, and/or distributing the Products.
22                                   III.    JURISDICTION AND VENUE
23          14.     This Court has jurisdiction over the claims and causes of action asserted herein because ~
24 l such claims arise out of all of the Defendants' unlawful business practices within the State of ~
25   Califomia, at least some of the Defendants are citizens of the State of California, and Plaintiffs' injuries ~
26   were suffered within the State of California as a result of Defendants' conduct.
27          15.     Venue is proper in this Court because: Pursuant to California Code of Civil Procedure I
28   section 395, at least some of the Defendants are residents of Alameda County; all of the Defendants
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 1   transact business in California and in the County of Alameda; and all of the Defendants have ~
 2   cominitted unlawful acts in the County; thus, a substantial part of the events giving rise to the claims ~
 3   alleged herein occurred in this County.
 4                                      IV.     STATEMENT OF FACTS

 5           16.      Each of the preceding paragraphs is incorporated by reference herein.
 6           17.      At all pertinent times, all Defendants were engaged in the research, development,
 7 . manufacture, design, testing, sale, and marketing of the chemical hair relaxer products ("Products")

 8   and introduced such products into interstate commerce with knowledge and intent that such Products
 9   be sold in the State of California.
10           18.      At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products, ~
11 ~ Inc., Soft Sheen, and Carson (W.I) developed, tested, assembled, manufactured, packaged, labeled, ~
12   prepared, distributed, marketed, supplied, and/or sold the defective chemical hair relaxer Products,
13   Dark & Lovely and Mizani.
14           19.      Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products, I
15 ~ Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained ~
16   phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP),
17   and benzylbutyl phthalate.
18           20.      Upon information and belief Defendants L'Oreal USA, Inc., L'Oreal USA Products,
19   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained ~
20   bisphenol A.
21           21.      Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
22   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
23   cyclosiloxanes,      including     but    not    limited    to    octamethylcycloetrasiloxane     (D4),

24   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
25           22.      Upon information and belief, Defendants L'Oreal USA, Inc, L'Oreal USA Products,
26   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
27   parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and
28   butyl paraben.
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 1           23.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 2   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 3   antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
 4           24.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 5   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 6   ethanolamines, including but not limited to menoethanolamine and diethanolamine.
 7           25.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products,
 8   Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained
 9   alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol l
10   monoethoxylate, and nonylphenol diethoxylate.
11           26.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products, ~
12 l Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained UV l
13   filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone- l
14   3, oxtinoxate, and octadimethyl PABA.
15           27.    Upon information and belief, Defendants L'Oreal USA, Inc., L'Oreal USA Products, l
16 ~ Inc., Soft Sheen, and Carson (W.I)'s hair relaxer Products, Dark & Lovely and Mizani contained l
17   fragrances, including but not limited to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool,
18   methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB,
19   isobornyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.
20           28.    At all times material hereto, Defendants L'Oreal USA, Inc., L'Oreal USA Products, ~
21 ~ Inc., Soft Sheen, and Carson (W.I) placed defective hair relaxer Products into the stream of interstate ~
22   commerce.
23           29.    Plaintiff Jones used the following L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft ~
24 ~ Sheen, and Carson (W.I) Products:
25                 a. Dark & Lovely No-Lye Children Relaxer System; and
26                 b. Mizani Moderate Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and l
27                     Honey.
28           30.    At all pertinent times, all Defendants were engaged in the research, development,

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 1   manufacture, design, testing, sale, and marketing •of the chemical hair relaxer products ("Products")
 2   and introduced such products into interstate commerce with knowledge and intent that such products
 3   be sold in the State of California.
 4          31,       At all times material hereto, Defendants Godrej SON and Strength of Nature J
 5   developed, tested, assembled, manufactured, packaged, labeled, prepared, distributed, marketed,
 6   supplied, and/or sold the defective chemical hair relaxer Products, Just For Me, TCB, Motions, and
 7   Dr. Miracle's.
 8          32.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
 9   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained phthalates, including but not
10   limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate (DEHP), and benzylbutyl phthalate.
11          33.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products, J
12 ~ Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained bisphenol A.
13          34.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,
14   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained cyclosiloxanes, including but
15   not limited to octamethylcycloetrasiloxane (D4), decamethylcyclopentasiloxane (D5), and
16   dodecamethylcyclohexylsiloxane (D6).
17          35.       Upon information and belief, Defendants Godrej SON, Strength of Nature's Products,
18   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained parabens, including but not
19   limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl) adipate, and butyl paraben.
20          36.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
21   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxer contained antimicrobials including but not
22   limited to o-phenylphenol, triclosan, and triclocarban.
23          37.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
24   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained ethanolamines, including but
25   not limited to menoethanolamine and diethanolamine.
26          38.       Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
27   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained alkylphenols, including but not
28   limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol monoethoxylate, and nonylphenol

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 1   diethoxylate.
 2          39.      Upon information and belief, Defendants Godrej SON, Strength of Nature's product,
 3   Just For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained UV filters including, but not
 4   limited to benzophenone, benzophenone-1, benzophenone-2, benzophenone-3, oxtinoxate, and
 5   octadimethyl PABA.
 6          40.      Upon information and belief, Defendants Godrej SON, Strength ofNature product, Just
 7   For Me, TCB, Motions, and Dr. Miracle's hair relaxers contained fragrances, including but not limited
 8   to benzylcetate, eugenol, hexyl cinnemal, limonene, linalool, methyl eugenol, methyl salicylate,
 9   pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB, isobomyl acetate, methyl ionone,
10   musk ketone, musk xylene, and phenethyl alcohol.
11          41.      At all times material hereto, Defendants Godrej SON and Strength of Nature placed
12   defective hair relaxer Products into the stream of interstate commerce.
13          42.      Plaintiff Jones used the following Defendants Godrej SON and Strength of Nature's
14   Products:
15                a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,
16                   Coconut Milk, and Vitamin E;
17                b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular;
18                c. TCB No Base Hair Relaxer with Protein and DNA Mild;
19                d. Motions No-Lye Relaxer System with Shea Butter, Argan Oil, and Coconut Oil;
20                e. African Pride Regular Hair Relaxer; and
21                f. Dr. Miracle's No-Lye Relaxer with Vitamins A and E.
22          43.      At all times material hereto, Defendant Avlon developed, tested, assembled,
23   manufactured, packaged, labeled, prepared, distributed, marketed, supplied, and/or sold the defective
24   chemical hair relaxer Product, Affirm.
25          44.      Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
26   contained phthalates, including but not limited to diethyl phthalate (DEP), bis(2-ethyhexyl) phthalate
27   (DEHP), and benzylbutyl phthalate.
28          45.      Upon information and belief Defendant Avlon's Product Affirm hair relaxers
                                                        s
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 1 ~ contained bisphenol A.

 2          46.     Upon information and belief, Defendant Avlon's Product Affirm hair relaxers
 3   contained cyclosiloxanes, including but not limited to octamethylcycloetrasiloxane (D4),
 4   decamethylcyclopentasiloxane (D5), and dodecamethylcyclohexylsiloxane (D6).
 5          47.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 6 ~ contained parabens, including but not limited to methyl paraben, ethyl paraben, bis(2-ethylhexyl)

 7 l adipate, and butyl paraben.

 8          48.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
 9   contained antimicrobials including but not limited to o-phenylphenol, triclosan, and triclocarban.
10          49.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
11   contained ethanolamines, including but not limited to menoethanolamine and diethanolamine.
12          50.     Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
13   contained alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol, nonylphenol
14   monoethoxylate, and nonylphenol diethoxylate.
15          51.    Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
16   contained UV filters including, but not limited to benzophenone, benzophenone-1, benzophenone-2,
17   benzophenone-3, oxtinoxate, and octadimethyl PABA.
18          52.    Upon information and belief, Defendant Avlon's Product, Affirm hair relaxers
19   contained fragrances, including but not limited to benzylcetate, eugenol, hexyl cinnemal, limonene,
20   linalool, methyl eugenol, methyl salicylate, pinene, terpineol, AHTN, bucinal, diphenyl ether, DPMI,
21   HHCB, isobornyl acetate, methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.
22          53.    At all times material hereto, Defendant Avlon placed defective hair Products into the
23   stream of interstate commerce and Plaintiff Jones used Affirm Relaxer Products.
24          54.    Plaintiff Jones used Defendant Avlon's "Affirm" branded relaxer Products.
25                   PLAINTIFF JONES'S USE OF HAIR RELAXER PRODUCTS
26          55.    Plaintiff Jones was first exposed to Endocrine Disrupting Chemicals ("EDCs") and/or
27   phthalate-based Products around 1989, at or around the age of eleven (11) when she began using
28   Defendants' Products.
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      1'          56.    Plaintiff Jones continued using Defendants' Products from around 1989 to 2020, from
      2 ~ approximately age eleven (11) to forty-two (42), resulting in thirty-one (31) years of continuous

      3 j exposure.

      4           57.    Between the ages of 14 and 42, Plaintiff Jones used L'Oreal USA, Inc., L'Oreal USA
      5    Products, Inc., Soft Sheen, and Carson (W.I)'s "Dark & Lovely" branded Products, including Dark &
      6    Lovely No-Lye Children Relaxer System.
      7           58.    Between the ages of 13 and 20, Plaintiff Jones used L'Oreal USA, Inc., L'Oreal USA
      8    Products, Inc., Soft Sheen, and Carson (W.I)'s "Mizani" branded Products, including Mizani Moderate
      9    Curl Reduction Relaxer with Shea Butter, Cocoa Butter, and Honey.
     10           59.    Between the ages of 11 to 14, Plaintiff Jones used Godrej SON and Strength of Nature's ~
     11 ~"Just for Me" branded Products, including:
     12                 a. Just for Me No-Lye Conditioning Creme Relaxer with Sunflower Oil, Shea Butter,
     13                       Coconut Milk, and Vitamin E; and
     14                 b. Just for Me No-Lye Conditioning Creme Relaxer Kit Regular.
     15           60.    Between the ages of 11 to 14, PlaintiffJones used Godrej SON and Strength ofNature's
     16    "TCB" branded Products, including TCB No Base Mild Hair Relaxer with Protein and DNA.
     17           61.    Between the ages of 30 to 32, Plaintiff Jones used Godrej SON and Strength ofNature's
     18    "African Pride" branded Products, including African Pride Regular Hair Relaxer.
     19           62.    Between the ages of 16 to 42, Plaintiff Jones used Godrej SON and Strength of Nature's
     20    "Motions" branded Products, including Motions No-Lye Relaxer System with Shea Butter, Argan Oil, l
     21    and Coconut Oil.
     22           63.    Between the ages of 21 to 42, Plaintiff Jones used Godrej SON and Strength of Nature's
     23    "Dr. Miracle's" branded Products, including Dr. Miracle's No-Lye Relaxer with Vitamins A and E.
     24           64.    Between the ages of 13 to 20, Plaintiff Jones used Defendant Avlon's "Affirm" branded
     25    Products.
     26           65.    Plaintiff Jones frequently purchased Relaxer Products from Defendants Safeway's and ~
     27    Vons Companies' "Safeway" stores in Califomia.
     28           66.    Plaintiff Jones received retouches to relax her new growth approximately every four
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 1 II (4) to six (6) weeks, resulting in approximately eight (8) to twelve (12) applications of relaxer per
 2 11 year.
 3            67.     Plaintiff Jones used Defendants' Products by applying them to her hair by having a
 4   professional at a hair salon apply Defendants' Products exactly as instructed by Defendants.
 5            68.     Plaintiff Jones kept the Product on her hair for the time allotted in the instructions.
 6            69.     There was never any indication, on the Products packaging or otherwise, that this
 7   normal use could and would cause her to develop uterine fibroids.
 8            70.     Plaintiff Jones's last purchase of hair relaxer products was in 2020 when she decided
 9   to go natural.
10            71.     Years earlier, in approximately 2005, Plaintiff Jones was diagnosed with uterine
11   fibroids at the young age of twenty-seven (27) years old.
12            72.     Plaintiff Jones's fibroid symptoms affected her daily life. She struggled with heavy and
13   irregular periods, severe pain and cramping, and sharp pain during intercourse.
14            73.     A few years after her diagnosis, Plaintiff Jones underwent uterine ablation to treat her
15   fibroids. However, the treatment was unsuccessful, and her symptoms continued to worsen.
16            74.     In 2009, living with the pain and heavy bleeding became so unbearable that Plaintiff
17   Jones was forced to leave her full-time job.
18            75.     After struggling with grueling symptoms for two more years, Plaintiff Jones made the
19   impossible decision between her health and her desire to have more children. When she was just thirty-
20   two (32) years old, Plaintiff Jones underwent a total abdominal hysterectomy on February 11, 2011.
21            76.     Plaintiff Jones then started hormone replacement therapy and began menopause at the
22   young age of thirty-four (34).
23            77.     In 1998, prior to Plaintiff Jones's diagnosis of uterine fibroids, Plaintiff Jones gave
24   birth to her first child prematurely at thirty (30) weeks into her pregnancy. Before delivering her child,
25   Plaintiff Jones was hospitalized for a week due to considerations for the baby's safety.
26            78.     After her hysterectomy, Plaintiff Jones was forced to give up her dream of having more
27   children forever. However, before Plaintiff Jones even had surgery, her fibroids prevented her from
28   having children because of the severe pain she experienced during intercourse.
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             79.     Plaintiff Jones's inability to have children caused significant strain on her marriage,
 2   and eventually, contributed to Plaintiff Jones and her husband getting a divorce.
 3           80.     Plaintiff Jones's struggle with fibroids has negatively impacted her mental health
 4   leading her to develop anxiety and depression.
 5           81.     Plaintiff Jones could not and did not discover the causal connection between her use of
 6   Defendants' hair relaxer products and her own reproductive issues until late October 2022, when the
 7   Chang study was released linking the use of chemical hair straightener or relaxers to uterine cancers
 8   and raising awareness of its connection to other reproductive system issues.
 9           82.     On October 18, 2022, just one day after the Chang study was published, its results were
10   widely published and highlighted on multiple major television news. networks and online and social
11   media platforms. l
12          83.      Following the release of this study, a press conference was held for a woman in Illinois
13   filing of the first lawsuits against Defendants for the development of uterine cancer, which went
14   similarly viral, including in the state of California where Plaintiff Jones resides.
15          84.      The publicity of the study put Plaintiff Jones on notice for the first time that she may
16   have similarly been harmed reproductively by her use of hair relaxers and that she may have a legal
17   claim as a result.
18          85.     As a result of Defendants' acts and/or omissions, Plaintiff Jones suffered extreme pain
19
20   1 See, e.g., Jacqueline Howard, US woman files lawsuit against L'Oreal, claiming chemical hair

21   straightening products are linked to her cancer, CNNHealth (Oct. 24, 2022), available at
     https://www.cnn.com/2022/10/24/health/hair-strai gening=products-lawsuit/index.html
                                                        ht                                   (last
22   accessed Feb. 27, 2023); Julian Mark, She was diagnosed with cancer at 28. Her lawsuit blames hair
     relaxers, The Washington Post (Oct. 27, 2022), available at
23   https://www.washin tonpost.com/nation/2022/10/27/loreal-lawsuit-hair-straightener-relaxer/ (last
     accessed Feb. 27, 2023); Fox32News, Woman claims L'Oreal chemical relaxers caused uterine
24   cancer: lawsuit, Fox5Atlanta (Oct. 24, 2022), available at
25   https://www.fox5atlanta.com/news/woman-claims-loreal-chemical-relaxers-caused-uterine-cancer-
     lawsuit (last accessed Feb. 27, 2023); Amanda Su & Sabina Ghebremedhin, Woman sues 5
26   companies alleging their chemical hair-straightening products caused her uterine cancer, Good
     Moming America (Oct. 25, 2002), available at
27   https://www.goodmorningamerica.coin/wellness/story/woman-sues-companies-alleging-chemical-
     hair-strai htening=products-92007557 (last accessed Feb. 27, 2023).
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     and suffering, and extreme emotional distress.
 2                               HAIR STRAIGHTENERS AND RELAXERS
 3 l A.       Market for Hair Straightening and Relaxing Products
 4            86.    Black people make up about 13 percent of the U.S. population, but by one estimate,
 5   their spending accounts for as much as 22 percent of the $42 billion-a-year personal care products
 6   market, suggesting that they buy and use more of such products — including those with potentially
 7   harmful ingredients— than Americans as a whole.2
 8            87.    In an analysis of ingredients in 1,177 beauty and personal care products marketed to
 9   Black women, about one in twelve (12) was ranked highly hazardous on the scoring system of EWG's
10   Skin Deep® Cosmetics Database, a free online resource for finding less-hazardous alternatives to
11   personal care products. The worst-scoring products marketed to Black women were hair relaxers. Each
12   of these categories had an average product score indicating high potential hazard.
13            88.    In the U.S. alone, Black consumers spend over $1 trillion each year, with a significant
14   amount of that spending toward hair care products.
15            89.   In 2020, the global Black hair care market was estimated at $2.5 billion, with the hair
16   relaxer market alone estimated at $718 million in 2021, with the expectation of growth to $854 million
17   annually by 2028.
18   B.      History of Hair Relaxers in America
19           90.    In its natural or virgin state, afro-hair texture is characterized by coily, springing,
20   zigzag, and s-curve curl patterns; as well as its density, fullness, texture, and fee1.3
21           91.    Afro-textured hair "naturally grows up and out." 4
22
23   2 Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2, 2012,
     americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php; Personal            Care    Products
24   Manufacturing Industry Profile, Dun & Bradstreet First Research, August 2016,
     www.firstresearch.com/Industry-Research/Personal-Care-Products-Manufacturin gh~ .      (This report
25   uses "Black" to describe not only people who identify as African-American, but Black people in the
     U.S. who come from the Caribbean or other areas. "African-American" is used only when a cited
26   source specifies that term).
27   3 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application, 26, 14 (2018).
     4 Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times, April 30,
28   2014, https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html.
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 1           92.    In Africa, hair was seen as a source of personal and spiritual power. As the highest
 2 I point of the body and "most elevated part of the body, some communities believe[d] [their hair]
 3   connected them with the divine."5 For some, hair was the "conduit for spiritual interaction with God."
     6
 4

 5           93.    African hairstyles were also status symbols reflecting one's "marital status, age,
 6   religion, and rank in society" and one's tribe. Warriors, kings, and queens wore braids to show their
 7   ranking in society.g The Wolof tribe in West Africa, wore braided styles when they went to war.9
 8           94.    Most styling was extremely intricate and involved days of labor. "Only the mad and
 9   mouming did not do their hair." 10
10           95.    One of the of first things slave masters did to enslaved people brought to American soil
11   was cut their hair. This was a way to "break their spirit and make slaves easier to control."11 What was
12   once a symbol of pride became a tool for subordination and degradation. As such, hair cutting was
13   also a common form of punishment.
14           96.    The very nature of slavery involved working long hours in dire conditions. Enslaved
15   people had "no time to care .about one's appearance or one's hair."12 "Hair that was once a source of l
16   pride and expression of identity was often tucked away beneath cloth to cover rough, tangles tresses
17   and shield them from hours spent toiling under the sun."13 The, hair that was once an important spiritual
18
19
     5Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
20 https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
21 6 Rumeana Jahangir, How Does Black Hair Reflect Black History?, BBC News. May 31, 2015.
   https://www.bbc.com/news/uk-england-merseyside-31438273.amp.
22 ~ History of Braids: More Than Just a Hairstyle, Genesis Career College,
   https://www.genesiscareer.edu/history-of-braids-more-than just-a-hairstyle/.
23 8 Id.
   9 Id.
24 10 Hlonipha Mokoena, From Slavery to Colonialism and School Rules, Navigating the History of
25 Myths about Black Hair, Quartz Africa, Fe., 24, 2018, https://qz.com/africa/1215070/black-hair-
   myths-from-slavery-to-colonialism-school-rules-and-good-hair/.
26 11 Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
27   12 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
     https://odelebeauty.com/blogs/tlie-rinse/black-hair-history-facts.
28   13 Id.
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      1 l and cultural symbol became tangled and matted.
      2           97.     White Americans did not see African or Black hair as beautiful. Instead, they described
      3 I it as "closer to sheep wool than human hair."14 African hair that was once considered an attractive

      4 J feature became a source of shame, to be covered or cut.

      5           98.     In 1786, the Governor of Louisiana, Don Esteban Miro, passed the "Tignon Law" ~
      6 l requiring Black women to wear a tignon (scarf) over their hair as a way of signifying they were ~

      7 l members of the slave class, even if they were free. ls

      8           99.     "By requiring free Black women to wear the same hair covering, the governor was
      9 ~ marking them as related to enslaved women rather than white women."16

     10           100.    This law sent a direct signal to Black people that their hair held a symbol of inequality l
     11   and was a sign of poverty regardless of their actual social status.
     12           101.    Because afro-textured hair was kinky and reflected African heritage rather than
     13 ~ European ancestry afro-textured, hair was a symbol of low social status.l7
     14           102.    Slaves with lighter skin and less coily hair were favored to work in the home, a far less
     15 I strenuous position than in the plantation fields. 18
     16           103.    Texturism, the idea that "good hair" is equated with a straighter hair texture, was
     17   cemented into American culture during its period of chattel slavery. "Eurocentric beauty standards '
     18   dictated that coily hair and dark skin were unattractive and inferior"; "lighter skinned and straighter
     19   haired slaves were favored and selected for more desirable positions in the house" as opposed to the
     20   fields.19 Thus, "the texture of an enslaved person's hair could determine their value and working
     21
     22
          14 Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times, April
     23   30, 2014. https://www.nytimes.com/2014/05/01 /opinion/when-black-hair-is-against-the-rules.html
          15 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021,
     24   https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts.
          16 Fashionable Rebellion, Women and the American Story, New York Historical Society Museum
     25
          and Library, https://wams.nyhistory.org/settler-colonialism-and-revolution/settler-
     26   colonialism/fashionable-rebellion/.
          17 Brenda A. Randle, IAm Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     27   121 (2015).
          is
             ld.
     28   19 Id
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 1   conditions, which in turn might impact their overall health, comfort and chances for freedom[.]"20
 2   Naturally, Black men and women strived for a better life in America and were taught that the straighter
 3   and less kinky their hair was, the better of a life they could have. This fueled the desire for tools and
 4   products that could straighten Black hair texture.
 5           104.     Gone were the days of African hairstyles and pride. "The goal of grooming the hair had
 6   morphed from the elaborate and symbolic designs of Africa into an imitation of White styles adapted
 7   to Black kinks and curls."21
 8           105.     To obtain a better life, so many slaves would go to "dangerous lengths to straighten
 9   their hair."2z
10           106. Black, or afro-textured hair texture, can be manipulated into a straightened state with
11   hair tools and products. Prior to the invention of the chemical relaxer in 1900s, individuals would
12   "press" afro-textured hair with metal hair tools such as the "hot comb." Pressing combs or hot combs
13   are metal hair tools that are first heated in a stove or ceramic heater, then pressed into hair strands to
14   temporarily straighten them.23
15           107.     The hot comb was first invented by Frenchman, Marcel Grateau who popularized the
16   hair styling tool in Europe in the 1870s, including advertisements in catalogs of major department
17   stores like Sears and Bloomingdales.24 The hot comb was later modified by Madam C.J. Walker, a
18   trailblazer in the development of black hair products, to be manufactured with wider comb teeth.25
19   With Walker's system, once the comb was heated a softening ointment was then applied for easier
20
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     20 Id.
23   21 Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 —
     121 (2015).
24   22 Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
25   https://odelebeauty.com/blogs/the-rinse/black-liair-history-facts
     23 Jaclyn Peterson, The Price ofBeauty, CTI Charlotte Teachers Institute Curriculum (2021).
26   24 Henry Louis Gates, Madam Walker, the First BlackAmerican Woman to Be a Self-Made
     Millionaire, PBS 100 Amazing Facts About the Negro, https://www.pbs.org/wnet/african-americans-
27   many-rivers-to-cross/history/100-amazing-facts/madam-walker-the-first-black-american-woman-to-
28   be-a-self-made-millionaire/ (last visited October 18, 2022).
     25 Cookie Lommel, Madam C.J. Walker 60 (1993)
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 1   manipulation of Black hair.26
 2            108.   Today, afro-textured hair is still often straightened with a hot comb rather than with
 3   chemicals. However, pressed hair remains susceptible to "shrinkage." Shrinkage is the process by
 4   which curly-kinky hair that has been temporarily straightened coils back into its natural state once the
 5   hair interacts with water, humidity, or perspiration,27 creating a shorter or fuller appearance.
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22            i.     The Invention of the Chemical Relaxer
23           109. African American inventor Garrett Augustus Morgan, discovered and created a system
24   that would permanently straighten afro-textured hair, eliminating the issue of "shrinkage."
25           110. In addition to being an inventor, Morgan was also a tailor. In the early 1900s, Morgan
26
27
     z6 Id. at 62.
28   z7 Id.
                                                     17
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 1   was repairing his sewing machines and wanted to find a way to polish the needles to stitch fabrics

 2   more smoothly.28 He applied a chemical solution to the needles and wiped the solution off with a rag

 3   and later noticed that the "curly" fibers in the rag were straightened after exposure to the chemical.29

 4          111.    Morgan further tested the chemical on a dog with curly hair and eventually on his own

 5   hair. The chemical solution successfully straightened curly hair. He turned his formula into a gel-hair

 6   product, creating the G.A. Morgan Hair Refining Cream which was marketed in 1913.

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     28 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
28   29 Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28 (2008).
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         1           112.   Morgan's invention paved the way for the alkaline relaxer and later development of
         2   additional chemical based permanent hair straightening products in the Black hair care market.30
         3          ii.     Defendants' Marketing Efforts
         4           113.   In 1971, Dark and Lovely manufactured the first lye relaxer. The formula consisted of
         5   sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers.31
         6           114.   In the 1970s, lye relaxer users and manufacturers noticed that the lye formula stripped
         7   proteins from the hair strand, resulting in the hair thinning and breaking.32 As a result, Johnson and
         8   Johnson marketed the first "gentle" hair relaxer in 1981, which used milder chemicals such as
         9   potassium hydroxide and lithium33
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                    115.    Over time, Soft & Beautiful and other chemical relaxer manufacturers developed herbal
        22
             and botanical hair relaxer formulas. 34
        23
        24
        25   3o Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
        26   31 Cicely A. Richard, This History ofHair Relaxers, September 29, 2017
             https://classroom.synonym.com/the-history-of-hair-relaxers-12078983.html.
        27   3a Id.
             33
                ICI.
        28   34 Id.
                                                             19
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     1             116.   For decades, Defendants have marketed their hair relaxer products to African American
     2   customers across the United States, and the world, reinforcing the same historical Eurocentric
     3   standards of beauty. Defendant's marketing scheme relies heavily on branding and slogans that
     4   reinforce straight hair as the standard.3s
     5                                                            _ _--- _ --__-- >------- _ _.~ _- ---   -
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     6                                                                         relaxes your hair.             ,

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    16             117. For example, in the first ad above, L'Oreal touts "how beautiful Black hair can be"

    17   (emphasis added), implying that in its natural state Black Hair is not as beautiful as it could be if

    18   straightened.

    19             118. Defendants misrepresented that "no lye" relaxers, or "gentle treatment" relaxers were

    20   milder and/or safer than alternative relaxers. This was false. Hair relaxer products marketed as using

    21   "gentle treatment" or similar terminology are not any safer than the other hair relaxer products on the

    22   market.

    23            119. Finally, Defendant L'0real depicts a Black woman with straight hair on each of its

    24   Dark and Lovely and Optimum brands of relaxer product.

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    28   35 Id.
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                    120.    Defendants L'Oreal's and SoftSheen's Dark & Lovely brand hair relaxer products are ~
        17
             intentionally labeled as providing a "healthy" gloss and containing "nourishing" shea butter with
        18
        19   jojoba and avocado oils. The terms "healthy" and "nourishing" suggest that hair relaxer products are

        20   safe and even beneficial for the body when they are not.
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                121.    Defendant L'Oreal and Softsheen-Carson's Beautiful Beginnings hair relaxer product l
    14
         line, which is targeted to young Black girls, states that it "moisturizes, nourishes, and prevents
    15
    16   breakage...without hurting your scalp." These representations suggest that their hair relaxer

    17   products are safe and even beneficial for children's bodies when they are not.

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    27                                                                      NO-LYE RELAXER


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 1 I C.        Chemical Relaxer Use
 2             122.   Hair relaxers are classified as creams or lotions which are specifically marketed to
 3   Black and Brown women to "tame" their ethnic hair by making it smoother, straighter, and easier to
 4   manage on a daily basis.
 5             123.   Hair relaxing, or lanthionization, can be performed by a professional cosmetologist in
 6   a salon or barbershop, or at home with at-home relaxer kits designed for individual use. These home
 7   kits are sold in grocery, drug, and beauty supply stores in urban and rural cities throughout the United
 8   States.
 9             124.   Relaxers are applied to the base of the hair shaft and left in place for a "cooking"
10   interval, during which the relaxer alters the hair's texture by purposefully damaging the hair's natural
11   protein structure. The effect of this protein damage straightens and smooths the hair. After a period of
12   weeks four (4) to eight (8) weeks on average, depending on the hair's natural growth rate), the treated
13   portion of the hair grows away from the scalp as new growth sprouts from the roots, requiring
14   additional relaxer treatment to smooth the roots. These additional treatments are colloquially referred
15   to in the community as "re-touches", resulting in woinen relaxing their new growth every four to eight l
16   weeks on average, usually for decades.
17             125.   Hair relaxers can, and often do, cause burns and lesions in the scalp, facilitating entry l
18   of hair relaxer constituents into the body. The main ingredient of "lye" relaxers is sodium hydroxide;
19   no-lye relaxers contain calcium hydroxide and guanidine carbonate, and "thio" relaxers contain
20   thioglycolic acid salts. No-lye relaxers are advertised to cause fewer scalp lesions and burns than lye
21   relaxers, but there is little evidence to support this claim.
22             126.   In some studies, up to 90% of Black and brown women have used hair relaxants and
23   straighteners, which is more commonplace for these women than for any other race. Hair products
24   such as relaxers contain hormonally active and carcinogenic compounds, such as phthalates, known
25   to cause endocrine disruption, which are not required to be listed separately as ingredients and are
26   often broadly lumped into the "fragrance" or "perfume" categories. Relaxer habits usually begin in
27   formative childhood years, and adolescence is likely a period of enhanced susceptibility to debilitating
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 1 ~ conditions resulting from exposure to these chemicals. 36

 2           127.    In the 1990s, the first relaxer product for young Black girls, Just for Me, hit the market
 3 ~.with a catchy advertising jingle that captured consumer attention.37 It soon became one of the most

 4'I popular straightening treatments, touting a no-lye formula designed to be gentler for children's
 5 ~ sensitive scalps.

 6           128.    Once relaxer use begins in childhood, it usually becomes a lifetime habit. The
 7 l frequency of scalp burns with relaxer application can increase the risk of permanent and debilitating

 8   diseases associated with long-term exposure to endocrine-disrupting chemicals.
 9          129.     The reasons for Black women's use and dependence upon hair straightening products ~
10 I are associated with various factors, including (1) slavery and internalization of acceptable beauty ~
11   norms, (2) media and advertisements, (3) assimilation and economic security, (4) ease of hair ~
12   maintenance, and (5) culture.38
13          130.     In a culture where Black women feel reduced to a lower standard of beauty, these
14   factors impact women of color's decisions to begin and continue using products to alter the natural
15   state of their hair, many times as a protective mechanism against racial discrimination. In the Dove
16   CROWN Study for girls (2021) conducted by JOY Collective, the following statistics were
17   discovered:39

18          a. 100% of B1ack elementary school girls in majority-white schools who report experiencing
19              hair discrimination state they experience the discrimination by the age of ten (10).
20
21   36 Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
22   37 Dana Oliver, The `90s Just For Me Hair Relaxer Commercial Song Is Stuck In Our Heads,
     HuffPost, Feb. 1, 2014. https://www.huffpost.com/entry/just-for-me-hair-relaxer-commercial-
23   song_n_4689981
     38 Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of Self-
24   Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-alteration-
25   practices-amongst-black-women-and-the-assumption-of-self-hatred/
     39 The CROWN Act was created in 2019 by Dove and the CROWN Coalition, in partnership with
26   then State Senator Holly J. Mitchell of California, to ensure protection against discrimination based
     on race-based hairstyles by extending statutory protection to hair texture and protective styles such
27   as braids, locks, twists, and knots in the workplace and public schools.
     https://www.thecrownact.com/
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     1            b. 86% of Black teens who experience discrimination state they have experienced
     2               discriinination based on their hair by the age of twelve (12).

     3            c. 66% of Black girls in majority-white schools report experiencing hair discrimination

     4               compared to 45% of Black girls in all school environments.

     5            d. 53% of Black mothers, whose daughters have experienced hair discrimination, say their

     6               daughters experienced discrimination as early as five (5) years old.

     7            e. 47% of Black mothers report having experienced discrimination related to their hair.

     8            f. Trauma froin these experiences cause girls to miss days from school; teenage Black girls

     9               are missing a week of school per year due to hair dissatisfaction.

    10            g. While 90% of Black girls believe their hair is beautiful, the microaggressions and ~

    11               discrimination she endures has an impact on how she sees herself.

    12            h. Black women are 1.5 times more likely to be sent home from the workplace because of l

    13               their hair.
    14            i. Black women are 89% more likely than white women to agree with this statement, "I have

    15               to change my hair from its natural state to fit in at the office."

    16            131.   The CROWN Act of 2021 is a legislative bill introduced in both houses of Congress to l

    17   address discrimination against protective hair styles wom predominantly by women of color. While

    18   the bill has not yet passed fully on a federal level, eighteen states have signed a version of the bill into

    19   state law. Unless, and until, the CROWN Act makes hair discrimination illegal in every state, children,

    20   teenagers, and women of color continue to face discriminatory practices related to their hair choices,

    21   with relaxing and straightening their hair being a defensive, yet dangerous and toxic option.

    22   D.      Endocrine Disrupting Chemicals

    23           132.    The endocrine system is indispensable for life and influences nearly every cell, organ,
    24   and process within the body.40 The endocrine system regulates all biological processes in the body
    25
    26
    27
         40Endocrine System: The Endocrine System Includes The Thyroid, Adrenals, and the Pituitary
    28   Gland, Science Direct, https://www.sciencedirect.com/topics/psychology/endocrine-system
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 1     from conception through adulthood, including the development of the brain and nervous system, the
 2 l   growth and function of the reproductive system, as well as the metabolism and blood sugar levels. 41
 3             133.    The endocrine system is a tightly regulated system made up of glands that produce and
 4 l release precise amounts of hormones that bind to receptors located on specific target cells throughout

 5 I the body.42

 6             134. Hormones, such as estrogen, testosterone, progesterone, and androgen, are chemical
 7     signals that control or regulate critical biological processes.43
 8             135.    When a hormone binds to a target cell's receptor, the receptor carries out the hormone's
 9 ~ instructions, the stimulus, and either switches on or switches off specific biological processes in cells,

10     tissues, and organs.44
11            136.    The precise functioning of the endocrine system is vital to maintain hormonal
12 I homeostasis, the body's natural hormonal production and degradation. A slight variation in hormone
13     levels can lead to significant adverse-health effects, including reproductive impairment and infertility,
14     cancer, cognitive deficits, immune disorders, and metabolic syndrome.4s
15            137. Endocrine disrupting chemicals ("EDCs") are chemicals, or chemical mixtures, which
16     interfere with the normal activity of the endocrine system.
17            138. EDCs can act directly on hormone receptors as mimics or antagonists or on proteins 'I
18     that control hormone delivery.a6
19            139. EDCs disrupt the endocrine system and interfere with the body's hormonal homeostasis
20     in various ways.
21
22
       41 Endocrine Disruption, United States Environmental Protection Agency, Mar. 7, 2022,
23     https://www.epa.gov/endocrine-disruption/what-endocrine-system
       42 Id.
24     43 Id.
       4a Id.
25     4s
         ld.; Michele La Merrill, et al., Consensus on the Key Characteristics ofEndocrine-Disrupting
26     Chemicals as a Basisfor Hazard Identifr.cation, Nature Reviews Endocrinol, Nov. 12, 2019,
       https://www.nature.com/articles/s41574-019-0273-8
27     46 Evanthia Diamanti-Kandarakis, et al., Endocrine-Disrupting Chemicals: An Endocrine Society
       Scientific Statement, Endocrine Reviews, June 30, 2009,
28     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2726844/
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 1           140. EDCs can cause the body to operate as if there were a proliferation of a hormone and
 2   thus over-respond to the stimulus or respond when it was not supposed to by mimicking a natural
 3 I hormone.

 4           141. EDCs can increase or decrease the levels of the body's hormones by affecting the
 5   production, degradation, and storage of hormones.
 6           142. EDCs can block the hormone's stimulus by inducing epigenetic changes, modifications
 7   to DNA that regulate whether genes are tumed on or off, or altering the structure of target cells'
 8   receptors.47
 9           143. EDCs are known to cause numerous adverse human health outcomes including
10   endometriosis, impaired sperm quality, abnormalities in reproductive organs, various cancers, altered
11   nervous system and immune function, respiratory problems, metabolic issues, diabetes, obesity,
12   cardiovascular problems, growth, neurological, and leaming disabilities.48
13          144. EDCs that mimic the effects of estrogen in the body may contribute to disease risk
14   because exposure to estrogen, endogenously and exogenously, is associated with a wide variety of ~
15   reproductive diseases, including reproductive cancers, fibroids and endometriosis, and a woman's
16   lifetime risk of developing these disease increases with greater duration and cumulative exposure.
17          145. Natural and synthetic EDCs are present in hair products under the guise of "fragrance"
18   and "perfumes", and thus enter the body when these products are exogenously applied to the hair and
19   scalp. Studies exploring this issue have thus far classified EDCs as estrogens, phthalates, and parabens.
20          146. Indeed, numerous studies spanning more than two decades have demonstrated the
21   adverse impact EDCs including Di-2-ethylhexylphthalate have on the male and female reproductive
22
23
24   47 Luis Daniel Martinez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-

25   ethylhexyl) Phthalate in placental development, function, andpathophysiology, Environment
     International, January 2021,
26   https://www.sciencedirect.com/science/article/pii/S0160412020321838?via%3Dihub
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27   https://www.endocrine.org/patient-engagement/endocrine-
     library/edcs#:—:text=ED Cs%20can%20disrupt%20many%20different,%2C%20certain%20cancers%
28   2C%20respiratory%20problems%2C
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 1   systems such as inducing endometriosis, abnormal reproductive tract formation, decreased sperm
 2   counts and viability, pregnancy loss, and abnormal puberty onset.a9
 3           147.    Hair products used by Black women and children have been found to contain multiple
 4   chemicals associated with endocrine disruption. In a 2018 study testing hair products, including hair
 5   relaxers, relaxers marketed to children were found to contain the highest levels of four EDCs
 6   prohibited in the European Union (DEHP, nonylphenol, BPA and diethanolamine) and California
 7   Prop 65 law (o-phenlyphenol), with one relaxer kit (Just For Me) containing all five of these EDCs.5o
 8           i.     Phthalates
 9           148.   Phthalates are known EDCs which interfere with natural hormone production and
10   degradation and are detrimental to human health.sl
11          149.    Phthalates are used in a variety of cosmetics and personal care products. Phthalates are
12   chemical compounds developed in the last century that are used to make plastics more durable. These
13   colorless, odorless, oily liquids are also referred to as "plasticizers" based on their most common uses.
14          150.    Phthalates also function as solvents and stabilizers in perfumes and other fragrance
15   preparations. Cosmetics that may contain phthalates include nail polishes, hair sprays, aftershave
16   lotions, cleansers, and shampoos.
17          151.    Phthalates are chemicals used to improve the stability and retention of fragrances and
18   to help topical products stick to and penetrate skin and hair.52
19
20
21
22
23   49 Hee-Su Kim, et al., Hershberger Assaysfor Di-2-ethylhexyl Phthalate and Its Substitute
     Candidates, Dev Reproduction, Mar. 22, 2018,
24   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5915764/.
     50 Helm Jessica S. et al., Measurement of endocrine disrupting and asthma-associated chemicals in
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     hair products used by Black women, Environmental Research, Vol. 165:448-58 (2018),
26   https://doi.org/10.1016/j.envres.2018.03.030.
     51 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
27   9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
     52 Olivia Koski & Sheila Hu, Fighting Phthalates, National Resources Defense Council, April 20,
28   2022, https://www.nrdc.org/stories/fighting-phthalates
                                                     28
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 1          152. Phthalates are commonly used by cosmetics and hair care product manufacturers to
 2   make fragrances and colors last longer, and to make hair more flexible after a product is applied,
 3   among other uses.
 4          153. Phthalates can be found in most products that have contact with plastics during
 5   production, packaging, or delivery. Despite the short half-lives in tissues, chronic exposure to
 6   phthalates will adversely influence the endocrine system and functioning of multiple organs, which
 7   has negative long-term impacts on the success of pregnancy, child growth and development, and
 8   reproductive systems in both young children and adolescents. Several countries have established
 9   restrictions and regulations on some types of phthalates.s3
10          154. Phthalates are a series of chemical substances, which are mainly used as plasticizers l
11   added to polyvinyl chloride ("PVC") plastics for softening effects. Phthalates can potentially disrupt
12   the endocrine system.s4
13          155. Under the authority of the Fair Packaging and Labeling Act ("FPLA"), the FDA
14   requires an ingredient declaration on cosmetic products sold at the retail level to consumers.
15          156. However, the regulations do not require the listing of the individual fragrance or flavor,
16   or their specific ingredients, meaning phthalates evade listing when combined with a fragrance. As a
17   result, consumers, including Plaintiff, are not able to determine from the ingredient declaration on the
18   label if phthalates were present in a fragrance used in the herein referenced hair products used by the
19   Plaintiff and placed into the stream of commerce by Defendants.
20          157. Since 1999, the Centers for Disease Control ("CDC") found phthalates in individuals l
21   studied for chemical exposure.55 Neither IARC nor NTP has evaluated DEHP with respect to human I
22   carcinogenicity.
23          158. At all relevant times herein, Defendants' products contain phthalates, including Di-2- l
24
25
26   s3 Id.
     5a Id.
27   s5 Biomarker
                  Groups, National Report on Human Exposure to Environmental Chemicals, Center for
     Disease Control, https://www.cdc.gov/exposurereport/pdf/BiomarkerGroupslnfographic-5 08.pdf
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     ethylhexylphthalate.
 2           ii.     Di-2-ethylhexylphthalate
             159.    Di-2-ethylhexylphthalate56 ("DEHP") is a highly toxic manufactured chemica157 that is
 4   not found naturally in the environment.58
             160.    DEHP belongs to the family of chemicals called phthalates.s9
             161. DEHP was first used in 1949 in United States and has been the most abundantly used
     phthalate derivative in the twentieth century.6o
             162.    DEHP does not covalently bind to its parent material. Non-covalent bonds are weak
 9   and, as a result, DEHP readily leaches into the environment increasing human exposure.61
10           163. Humans are exposed to DEHP through ingestion, inhalation, dermal exposure for their
11   lifetimes, including intrauterine life.6z
12           164.    The Agency for Toxic Substances and Disease Registry ("ATSDR") estimates that the
13   range of daily human exposure to DEHP is 3-30 µg/kg/day.63
14
15
     56 Also known as Bis(2-ethylhexyl) phthalate.
16   57Sai Rowdhwal & Jiaxiang Chen, Toxic Effects ofDi-2-ethylhexyl Phthalate: An Overview, Biomed
     Research International, Feb. 22, 2018,
17
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5842715/#:~:text=DEHP%20is%20noncovalently%
18   20bound%20to,and%20plastic%20waste%20disposal%20sites.
     58 Toxicological Profile for Di(2-Ethylhexyl) Phthalate (DEHP), U.S. Dept of Health and Human
19   Services, January 2022, https://www.atsdr.cdc.gov/ToxProfiles/tp9.pdf (DEHP is listed as hazardous
     pollutants under the Clean Air Act.; DEHP is on the Proposition 65 list because it can cause cancer
20   and birth defects or other reproductive harm).
     s9 Di(2-ethylhexyl) phthalate (DEHP), Proposition 65, California. Gov,
21
     https://www.p65warnings.ca.gov/fact-sheets/di2-ethylhexylphthalate-dehp
     60 Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects ofEndocrine-Disrupting
22
     Chemicals: A Special Focus on Phthalates and Bisphenol A, Environmental Health Risk, June 16,
23   2016, https://www.intechopen.com/chapters/50234
     61 Katelyn H. Wong & Timur Durrani, Exposures to Endocrine Disrupting Chemicals in
                                                                                              Consumer
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25   Science Direct, May 2017,
     https://www.sciencedirect.com/science/article/pii/S1538544217300822?via%3Dihub
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     and Adipogenesis in C3H/NMice, Environmental Health Perspective, May 15, 2012,
27   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3440070/
     63 Hannon, Patrick et. al., Daily Exposure to Di(2-ethylhexyl) Phthalate Alters Estous Cyclicity and
28   Accelerates Primordial Follicle Recruitment Potentially Via Dysregulation of the
                                                      30
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 1           165. The no-observed-adverse-effect level for DEHP to humans is 4.8 mg/kg
 2   bodyweight/day and the tolerate daily intake (TDI) is 48 µg/kg bodyweight.6a
 3         Endpoint          Cancer (NSRL)            Developmental and Reproductive Toxicity
 4                                                    (MADL)
 5
           Route of          Oral         Inhalation Oral                     Inhalation
 6
           Exposure
 7

 8         DEHP              310 µg/day N.C.          410 µg/day              N.C.

 9           Source: OEHHA's safe harbor levels for TDCIPP, DBP, DEHP, benzene, and formaldehyde.

10          N.C. = not calculated by OEHHA as of August 2020.6s

11
12          166. When DEHP enters the human body, it breaks down into specific metabolites. The ~
13   toxicity of DEHP is mainly attributed to its unique metabolites which include the primary metabolite,
14~ mono-(2-ethylhexyl)phthalate      (MEHP),      and     secondary    metabolites,    mono-(2-ethyl-5-
15 I hydroxyhexyl)phthalate (MEHHP), and mono-(2-ethyl-5-oxohexyl)phthlate (MEOHP).66
16          167. DEHP and its metabolites are known to cause significant adverse-health effects ~

17   including but not limited to endometriosis, developmental abnormalities, reproductive dysfunction and

18
19
     Phosphatidylinositol 3-Kinase Signaling Pathway in Adult Mice, Biology of Reproduction Volume
20   90, Issue 6, June 2014, 136, 1-11 https://academic.oup.com/biolreprod/article/90/6/136,%201-
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21 64 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
22 9(5):603, May 18, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
   65 Aalekhya Reddam & David Volz, Inhalation of two Prop 65-listed Chemicals Within Vehicles
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25 Patients: A Focus on Di- and Mono-(2-ethylhexyl) Phthalates Exposure from Intravenous Plastic
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26 Endocrine disruption: In silico perspectives of interactions of di-(2-ethylhexyl)phthalate and itsfive
   major metabolites with progesterone receptor. BMC Structural Biology Volume 16, Suppl 1, 16,
27 Sept., 30, 2016, https://bmcstructbiol.biomedcentral.com/articles/10.1186/s12900-016-0066-4 (Other
   secondary metabolites include mono(2-ethyl-5-carboxypentyl)phthalate (5-cx-MEPP) and mono[2-
28 (carboxymethyl)hexyl]phthalate (2-cx-MMHP)).
                                                      31
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 1   infertility,67 various cancers, and metabolic syndrome within the human population and their future
 2 l children.68
 3          168.      Most of the available studies on the health effects of DEHP in laboratory animals used ~
 4   oral administration, with a few inhalation studies and only two dermal exposure studies identified.69
 5          169.      The results of the selected animal studies, along with limited human data, suggest I
 6 I potential associations between DEHP exposure and the following health outcomes:

 7                 a. Reproductive effects. Epidemiological studies suggest a potential association between ~
 8          DEHP exposure and decreased serum testosterone and altered sperm parameters in males.
 9          Available studies on fertility effects in humans do not indicate an association between DEHP
10          exposure and infertility. In animals, the available oral and inhalation studies provide evidence
11          that the male reproductive system, particularly the testes, is susceptible to DEHP toxicity.
12          Evidence from animal studies indicates decreased male and female fertility at high oral doses.
13                 b. Developmental effects. Epidemiological studies suggest a potential association
14          between reduced AGD and testicular decent in male infants and prenatal DEHP exposure. In
15          addition, human epidemiological studies provide mixed results for potential relationships
16          between exposure to DEHP and preterm birth, early puberty, and delayed mental and
17          psychomotor development in children. Studies in animals indicate that altered glucose
18          homeostasis and the development of the reproductive system following early life exposure is
19          a particularly sensitive target of DEHP toxicity.
20          170.      The global consumption of DEHP was estimated at 3.07 million tons (Global demand
21   for plasticizers continues to rise). The estimated global market of phthalates in 2020 is expected to
22   reach 10 billion USD and would still be widely used in plasticizers.70
23
24   67 Richardson, Kadeem et. al., Di(2-ethylhexyl) Phthalate (DEHP) Alters Proliferation and Uterine

25   Gland Numbers in the Uterine ofAdult Exposed Mice, Reproductive Toxicology, 77, 70-79,
     https://pubmed.ncbi.nlm.nih.gov/29458081 /
26   68 Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare (Basel)
     9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/
27   69 Chapter 2.: Health Effects, Toxicological profile for Di(2-ethylhexyl) phthalate (DEHP) (2001),
     https://www.atsdr.cdc.gov/ToxProfiles/tp9-c2.pdf
28   70 Id.
                                                         32
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 1            171. Human epidemiological studies have shown a significant association between
 2   phthalates exposures and adverse reproductive outcomes in both women and men.71
 3            172. Evidence found that DEHP was significantly related to insulin resistance and higher
 4   systolic blood pressure and the reproduction system problems, including earlier menopause, low birth
 5   weight, pregnancy loss, and preterm birth.7z
 6            173. When it comes to the impacts on children, epidemiological studies about phthalates
 7   toxicity focused on pregnancy outcomes, genital development, semen quality, precocious puberty,
 8   thyroid function, respiratory symptoms, and neurodevelopment.73
 9            174.   Since the turn of the century, restrictions on phthalates have been proposed in many
10   Asian and western countries. In 2008, the U.S. Congress announced the Consumer Protection Safety
11   Act (CPSA), which permanently banned the products, especially children's toys and childcare articles,
12   containing DEHP, DBP, and BBP at levels >0.1% by weight.74
13   E.       Regulatory Framework
14           175. The law does not require cosmetic products and ingredients, other than color additives,
15   to have FDA approval before they go to market. But there are laws and regulations that apply to
16   cosmetics placed on the market. The two most important laws pertaining to cosmetics marketed in the
17   United States is the Federal Food Drug and Cosmetic Ace ("FD&C Act") and the Fair Packaging and
18   Labeling Act ("FPLA").
19           176. The FD&C Act expressly prohibits the marketing of "adulterated" or "misbranded"
20   cosmetics in interstate commerce.
21           177. Adulteration refers to a violation involving product composition whether it results from ~
22   ingredients, contaminants, processing, packaging shipping or handling.
23
24
     71 Id.
25
     72 N.M. Grindler, et al., Exposure to Phthalate, an Endocrine Disrupting Chemical, Alters the First
26   Trimester Placental Methylome and Transcriptome in Women, Scientific Reports Volume 8, April 17,
     2018, https://doi.org/10.1038/s41598-018-24505-w
27   ~3 Id.
     74 Consumer Product Safety Improvement Act of 2008, H.R. 4040, 110t' Cong. (2008), https:
28   //www.congress.gov/110/plaws/publ314/PLAW-1 10pub1314.pdf
                                                    33
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 1           178. Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
 2   or deleterious substance causing injury to the product user and (2) if its container is composed in whole
 3   or in part, of any poisonous or deleterious substance which may render the contents injurious to health.
 4          179. Misbranding refers to violations involving improperly labeled or deceptively packaged
 5   products.
 6          180. Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading,
 7   (2) the label does not include all required information, (3) required information is not prominent and
 8   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant
 9   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.75
10          181. Under U.S. law, cosmetic manufacturers are not required to submit their safety data to
11   the FDA. However, it is against the law to put an ingredient in a cosmetic that makes the cosmetic
12   harmful when used as intended.76 An example is methylene chloride because it causes cancer in
13   animals and is likely to be harmful to human health as well.77
14          182. On May 19, 2022, the FDA issued a rule to amend its food additive regulations to no
15   longer provide for most previously authorized phthalates to be used as food additives because these
16   uses have been abandoned by industry.78 The FDA revoked authorizations for the food contact use of
17   23 phthalates and two other substances used as plasticizers, adhesives, defoaming agents, lubricants,
18   resins, and slimicides.79
19          183. Companies and/or individuals who manufacture or market cosmetics have a legal
20   responsibility and duty to ensure the safety of their own products. Neither the law nor FDA regulations
21
22
23
     75 Food and Drug Administration Cosmetic Act § 602 (1938).
24   76 Prohibited & Restricted Ingredients in Cosmetics, U.S. Food and Drug Administration,

25   https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
     cosmetics
26   '~ 21 Code of Federal Regulations § 700.19.
     7g § 87 FR 31080
27   79 Phthalates in Food Packages and Food ContactApplications, U.S. Food and Drug
     Administration, https://www.fda.gov/food/food-ingredients-packaging/phthalates-food-packaging-
28   and-food-contact-applications
                                                     34
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 1   require specific tests to demonstrate the safety of individual products or ingredients, and the law also
 2   does not require cosmetic companies to share their safety information with the FDA.
 3            184.   The FDA has consistently advised manufacturers to use whatever testing is necessary
 4   to ensure the safety of products and ingredients, which may be substantiated through (a) reliance on
 5   already available toxicological test data on individual ingredients and on product formulations that are
 6   similar in composition to the particular cosmetic and (b) performance of any additional toxicological
 7   and other tests that are appropriate in light of such existing data and information.80
 8            185.   Except for color additives and ingredients prohibited or restricted by regulation, a
 9   manufacturer may use any ingredient in the formulation of a cosmetic, provided that (1) the ingredient
10   and the finished cosmetic are safe under labeled or customary conditions of use, (2) the product is
11   properly labeled, and (3) the use of the ingredient does not otherwise cause the cosmetic to be
12   adulterated or misbranded under the laws the FDA enforces.81
13            186.   With respect to whether the product is properly labeled, Title 21 of the Code of Federal
14   Regulations defines the establishment of warning statements related to cosmetic products. Section
15   740.1 states that "[t]he label of a cosmetic product shall bear a warning statement whenever necessary
16   or appropriate to prevent a health hazard that may be associated with the product." (Emphasis added).
17   This warning directive directly correlates with the broad authority of manufacturers over their own
18   cosmetic products to ensure that products are safe under labeled or customary conditions of use,
19   properly labeled, and not adulterated or misbranded under FDA laws.
20            187.   In short, under the current regulatory framework in the United States, it is incumbent
21   upon the manufacturers of cosmetic products, and them alone, to assess the safety and efficacy of their
22   products, and to warn consumers anytime a health hazard may be associated with their products. Here,
23   a wealth of scientific information is available regarding long-term use of hair relaxers, straighteners
24   and hair dyes as containing certain endocrine-disrupting chemicals, which should have alerted
25
26
     80 FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-Regulated,
27   U.S. Food and Drug Administration, Mar., 3, 2005, https://www.fda.gov/cosmetics/cosrnetics-laws-
28   81 Id.
                                                     35
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 1 I manufacturers of these products to the specific and dangerous harms associated with their products

 2 ~ when used as intended, particularly in women of color.

 3           188.   It is generally accepted that EDCs, like those contained in Defendants' hair relaxer
 4 I products, act like "hormone mimics" and trick the body into thinking they are hormones.

 5          189.    Products containing hormones that are topically applied, are regulated by the FDA
 6   under 21 C.F.R. section 310.530, which states that "any OTC drug product containing an ingredient
 7   offered for use as a topically applied hormone cannot be considered generally recognized as safe and
 8   effective for its intended use." See 21 C.F.A 310.530(a).
 9          190.    At all relevant times, Defendants' products referenced herein, contained endocrine ~
10   disrupting chemicals and hormonal agents, and are therefore subject to regulation by the FDA under
11   21 C.F.R. section 310.530.
12          191.    The Federal Food, Drug and Cosmetic Act also expressly prohibits the marketing of
13   "adulterated" or "misbranded" cosmetics in interstate commerce.
14          192.    Adulteration refers to a violation involving product composition whether it results from ~
15   ingredients, contaminants, processing, packaging shipping or handling.
16          193.    Under the FD&C Act a cosmetic is adulterated if: (1) it bears or contains any poisonous
17   or deleterious substance causing injury to the product user and (2) if its container is composed in whole
18   or in part, of any poisonous or deleterious substance which may render the contents injurious to health.
19          194.    Misbranding refers to violations involving improperly labeled or deceptively packaged
20   products.
21          195.    Under the FD&C Act, a cosmetic is misbranded if (1) labeling is false or misleading, ( l
22   2) the label does not include all required information, (3) required information is not prominent and
23   conspicuous, (4) the packaging and labeling is in violation of an applicable regulation issued pursuant
24   to section 3 and 4 of the Poison Prevention Packaging Act of 1970.82
25          196.    In addition, the federal regulations require that every ingredient in a cosmetic product
26   and finished cosmetic product be adequately substantiated for safety prior to marketing, and state that
27
28   82 Food and Drug Administration Cosmetic Act § 602 (1938).
                                                     36
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 1   any ingredient or product for which the safety has not been adequately substantiated prior to marketing
 2   is misbranded unless it displays a waming statement declaring, "Waming — The safety or this product
 3   has not been determined." 21 C.F.R. § 740.10.
 4 I F.       California Prohibits Misbranded or Adulterated Cosmetics
 5           197.   The Califomia Sherman Food, Drug, and Cosmetic Law prohibits the sale of
 6   "misbranded" cosmetics. A cosmetic is deemed misbranded if, among other things, its labeling is false
 7   or misleading if any word, statement or other information required to appear on the label or labeling
 8   is not prominently placed upon the label or labeling with conspicuousness, as compared with other
 9   words, statements, designs, or devices, in the labeling, and in terms as to render it likely to be read and
10   understood by the ordinary individual under customary conditions of purchase and use; and, if it is
11   subjected to the federal FDA regulations but is not in compliance therewith. Cal. Health & Saf. Code
12   §§ 111730, 111790.

13           198.   Califomia also prohibits the sale of "adulterated" cosmetics mirroring the Federal ~
14   Food, Drug, and Cosmetics Act. A cosmetic is deemed adulterated if, among other things it bears or
15   contains any poisonous or deleterious substance that may render it injurious to users under the
16   conditions of use prescribed in the labeling or advertisement of the cosmetic, or under conditions of ~
17   use as are customary or unusual; and, if it is not in compliance with federal regulations. Cal. Health &
18   Saf. Code § 111670 - 111725.
19           199.   Effective January 1, 2006, the Califomia Safe Cosmetics Act of 2005 (CSCA) became
20   law.
21           200.   The CSCA requires cosmetics manufacturers to disclose to the Califomia Department l
22 ~ of Public Health (CDPH) all products sold in Califomia containing ingredients listed in the Cal. Health ~
23   & Saf. Code § 111791.5.
24           201.   The California Legislature found and declared all of the following:
25                  a. Independent testing in the United States and the European union has determined l
26                      that some cosmetic products contain substances known or suspected to cause cancer
27                      and reproductive toxicity that can harm the mother, fetus, and nursing children.
28                  b. Neither the federal Food and Drug Administration (FDA) nor the State Department
                                                         37
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 1                 of Health Services (DHS) require premarket safety testing, review, or approval of
 2                 cosmetic products. According to the FDA, the regulatory requirements governing
 3                the sale of cosmetics are not as stringent as those that apply to other FDA regulated
 4                products.
 5             c. Under the federal Food, Drug and Cosmetic Act (21 U.S.C. Sec. 301), cosmetics I
 6                and their ingredients are not required to be approved before they are sold to the
 7                public and the FDA does not have the authority to require manufacturers to file
 8                health and safety data on cosmetic ingredients or to order a recall of a dangerous
 9                cosmetic product.
10             d. Under the state Sherman Food, Drug, and Cosmetic Act, DHS has no authority to
11                identify, review, or regulate ingredients in cosmetic products that may cause
12                chronic health effects, such as cancer and reproductive toxicity.
13             e. Federal law exempts chemicals used as fragrances or flavoring from being
14                identified as ingredients on the labels of cosmetic products. Laboratory analyses of
15                cosmetic products sold in California have found products that contain substances ~
16                known to or likely to cause cancer or reproductive toxicity and not identified as an ~
17                ingredient on the product's label. The law also does not require any ingredient
18                labeling on cosmetic products sold for commercial use, thereby denying any
19                information on ingredients to beauty care workers.
20             f. Alternatives to substances that cause cancer or reproductive toxicity are readily
21                available for use in cosmetic products. A number of manufacturers, including both
22                small domestic producers and large multinational corporations, have eliminated
23                substances that cause cancer or reproductive toxicity from their products.
24             g. Given the presence of substances in cosmetic products that cause cancer or
25                reproductive toxicity, the heavy use of these products by women of childbearing
26                age, the significant exposure to these products in occupational settings such as
27                beauty salons, the adverse impacts of these substances on human health, the
28                inadequate information about the presence of these substances in products or the
                                                38
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 1                         extent of their impacts, and the availability of alternatives to the use of these
 2                         substances, it is in the interest of the people of the State of California to take steps
 3                         to ensure that cosmetic products sold and used in the state can be used safely.83
 4              202.   Section 11792(a) of the CSCA places an affirmative duty on cosmetics manufacturers
 5     to inform state officials when they sell products in California that contain carcinogens or reproductive
 6 I toxins:

 7                     Commencing January 1, 2007, the manufacturer or any cosmetic product subject to
 8                     regulation by the federal Food and drug Administration that is sold in this state shall,
 9                     on a schedule and in electronic or other format, as determined by the division, provide
10                     the division with a complete and accurate list of its cosmetic products that, as of the
11                     date of submission, are sold in the state and that contain any ingredient that is a
12                     chemical identifies as causing cancer or reproductive toxicity.
13              203.   Section 11793.5 of the Act provides:
14                     a. The Legislature finds and declares the following:
15                                (1) The Cosmetic Ingredient Review (CIR) panel is a nongovernmental
16                                    body established and funded by the cosmetics industry to review the
17                                    safety of cosmetic ingredients.
18                                (2) According to a 2004 analysis of the 2003 CIR Compendium by the
19                                    Environmental Working Group, 54 cosmetic products violate the CIR's
20                                    own safe use recommendations to manufacturers by containing an
21                                    ingredient that the CIR has found is not safe for the specific use
22                                    indicated on the product's label.
23                                (3) Federal regulations (21 C.F.R. 740.10) require every ingredient in a
24                                    cosmetic product and every finished cosmetic product to be adequately
25                                    substantiated for safety prior to marketing, and state that any ingredient
26                                    or product whose safety has not been adequately substantiated prior to
27 1

       83   Cal. Health & Saf. Code § 111791 (2007).
~                                                       39
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 1                                  marketing is misbranded unless it displays a warning statement
 2                                  declaring, "The safety of this product has not been determined."
 3                   b. The division may, as early as feasible within existing resources, determine whether
 4                       the products identified in paragraph (2) of subdivision (a) have been adequately
 5                       substantiated for safety pursuant to § 740.10 of Title 21 of the Code of Federal
 6                       Regulations. For any product adequately substantiated for safety, the division shall
 7                       determine if the product contains any ingredient that the CIR has found is not safe
 8                       for the specific use indicated on the product's label.
 9                  c. If the division finds that a product has not been adequately substantiated for safety l
10                       despite containing an ingredient that the CIR has found is not safe for the specific l
11                      use indicated on the product's label, the division shall refer its findings to the ~
12                      Attorney General and the federal Food and Drug Administration for possible
13                      enforcement action pursuant to this part and the federal Food, Drug and Cosmetic
14                      Act (21 U.S.C. Sec. 301 et seq.).
15          204.    The California Cosmetic Fragrance and Flavor Right to Know Act (CFFIRKA) became ~
16 ~ effective January 1, 2022.
17          205.    CFFIRKA requires manufacturers that sell cosmetic products in California to report l
18   certain fragrance and flavor ingredients deemed hazardous to the Department of Public Health's
19   (DPH) Safe Cosmetics Program.
20          206.    The CFFIRKA requires companies selling retail cosmetic or professional salon
21   products in California to report the presence of any fragrance or flavor ingredient that appears on one
22   or more of the twenty-three (23) authoritative hazard lists referenced in the law to the California Safe
23   Cosmetics Program.
24          207.    The California Safe Cosmetics Program Database is updated twice annually and is ~
25   available to the public.
26          208.    The policy underlying CFFIRKA is that California residents are entitled to information
27   on known potential "carcinogens, reproductive toxicants, asthmagens, neurotoxins, allergens and other
28, chemicals of concern" in cosmetics products.
                                                         40
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 1           209.    Similar to federal law, the CFFIRKA defines a "cosmetic product" as "an article for
 2 ~ retail sale or professional use intended to be rubbed, poured, sprinkled, or sprayed on, introduced into,

 3 ~ or otherwise applied to the human body for cleansing, beautifying, promoting attractiveness, or

 4 I altering the appearance."84

 5           210.    The CFFIRKA applies to both consumer and professional use products.
 6           211.    In addition to requiring the disclosure of reportable ingredients, under the CFFIRKA,
 7 l manufacturers must also disclose, 1) whether the product is intended for professional or retail use; 2)

 8   the Chemical Abstracts Service number for each ingredient and allergen; and 3) the corresponding
 9   Universal product Code for the product.
10           212.   Review of the California Safe Cosmetics Program's Reportable Ingredient list yielded
11 I at least twenty-five (25) ingredients found in hair relaxers85 that are deemed "reportable" under the I
12   California Safe Cosmetics Program.
13   G.      Uterine Fibroids are Associated with Exposure to Endocrine Disrupting Chemicals
14           213.   Uterine fibroids are associated with phthalate metabolites found in chemical hair l
15 l straightening and hair relaxer products.
16           214.   Black women have a higher prevalence of uterine fibroids and tumors than any other l
17 I ethnicity/racial group.86
18           215.   A study looking at over 1 million U.S. women from 2003 to 2014 found that Black ~
19 ~ women had the highest rate of diagnosed uterine fibroids, with most diagnoses made between the age
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21
22
23
     s4 Id.
24   85 The 45 ingredients detected in hair relaxers examined by the Helm study were compared to those

25   listed as of May 20, 2024 on the Reportable Ingredients excel database. See Helm JS, Nishioka M,
     Brody JG, Rudel RA, Dodson RE. Measurement of endocrine disrupting and asthma-associated
26   chemicals in hair products used by Black women. Environ Res. 2018 Aug;165:448-458. doi:
     10.1016/j.envres.2018.03.030. Epub 2018 Apr 25. PMID: 29705122. See also
27   htt s://cscpsubmit.cd li.ca.gov/subrnission/assets/files/ReportablelngredientsList.xlsx, last visited
     May 20, 2024.
28   86 Food and Drug Administration Cosmetic Act § 602, supra.
                                                     41
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 1   of 30 — 54 years old.87
 2          216.    Studies show that Black women are three to four times more likely to develop uterine
 3   fibroids in their lifetime compared to non-Hispanic white women, and an estimated 70-80% of Black
 4   women will develop fibroids over their lifetime.$$
 5          217.    It is estimated that the annual financial impact of uterine fibroids on Black women in
 6 l the United States is as high as 30 billion dollars, and this number may be an underestimation, as at
 7   least one-quarter of women reported losing work due to their disease.89
            218.    Black women are seven (7) times more likely to undergo a myomectomy compared to
 9   non-Hispanic white women. 90
10          219.    Uterine fibroids return at higher rates for Black women than white women following
11   surgical treatment, and recurrence can be as high as 59% within 5 years.91
12          220.    Given the magnitude of the problem — markedly altered quality of life, the effect on
13   reproductive health, and the costs of health care for this disease — the high prevalence of uterine
14   fibroids in Black women is considered a major public health issue.92
15          221.    A 2012 study in the American Journal of Epidemiology associated fibroid risk with the
16   use of hair relaxers.93 Shirley McDonald of the Hair and Scalp Clinic says, "We now know that many
17
18
     $7 Yu O, Scholes D, Schulze-Rath R, Grafton J, Hansen K, Reed SD. A US population-based study
19   of uterine fibroid diagnosis incidence, trends, and prevalence: 2005 through 2014. American Journal
20   of Obstetrics and Gynecology. 2018;219(6):591.e1-591.e8.
     88 Al-Hendv A, Salama SA. Ethnic distribution of estroaen recentor-a polvmorphism is associated
21   with a higher prevalence of uterine leiomyomas in black Americans. Fertil Steril. 2006;86(31:686-
     693. Doi:10.1016/i.fertnstert.2006.01.052
22   89 Igboeli P, Walker W, McHugh A, Sultan, A, et al. Burden of uterine fibroids: an african
     perspective, a call for action and opportunitv for intervention. COGO. 287-294.
     90 Eltoukhi HM, Modi MN, Weston M, Armstrong AY, Stewart EA. The health disparities of uterine
23
     fibroid tumors for African American women: a public health issue. Am J Obstet Gvnecol.
24   2014;210(3):194-199. doi:10.1016/i.aiog.2013.08.008
     91 Donnez J, Dolmans M. Uterine fibroid management: from the present to the future. Hum Reprod
25   Update. 22(06):665-686.
     92 Eltoukhi HM, Modi MN, Weston M, Armstrong AY, Stewart EA. The healtli disparities of
26   uterine fibroid tumors for African American women: a public healtli issue. Am J Obstet Gynecol.
     2014;210(3):194-199. doi:10.1016/j.ajog.2013.08.008
27   93 Wise LA, Palmer JR, Reich D, Cozier YC, Rosenberg L. Hair relaxer use and risk of uterine
     leiomyomata in African-American women. Am J Epidemiol. 2012 Mar 1;175(5):432-40. doi:
28   10.1093/aje/kwr351. Epub 2012 Jan 10. PMID: 22234483; PMCID: PMC3282879.
                                                    42
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;



     1   hair products contain chemicals that are considered carcinogenic and/or hormone disrupters, leading
     2   to increased risk of medical issues such as fibroids (non-cancerous tumors that grow in the uterus,
     3   potentially damaging fertility and leading to a host of other complications). Trichologists see lots of
     4   conditions that are likely to be triggered by hair products, particularly central centrifugal cicatricial
     5   alopecia, a type of permanent hair loss to the crown area of the scalp."
     6          222.    More recently, the National Institutes of Health spent eight-years studying over 46,000
     7   women of all races between the ages of 35-74. They were looking for links between chemical hair
     8   relaxers and breast cancer. They discovered Black women's breast cancer risk increased risk by 45%. 9a
     9   Breast cancer and other reproductive issues, including fibroid development, are often connected. This
    10   study suggests there are even more reasons to steer clear of chemical hair straighteners and relaxers.
    11          223.    Concerns around racial disparities in healthcare linked to chemicals found in cosmetic
    12   products are not new; previous studies, as far back as 2012, have also suggested a correlation between
    13   chemical relaxer use and uterine fibroids, a condition that disproportionately affects Black women. 9s
    14          224.    Hair relaxers are used by millions of black women, possibly exposing them to various
    15   chemicals through scalp lesions and burns. In the Black Women's Health Study, the authors assessed
    16   hair relaxer use in relation to uterine leiomyomata incidence. In 1997, participants reported on hair
    17   relaxer use (age at first use, frequency, duration, number of bums, and type of formulation). From
    18   1997 to 2009, 23,580 premenopausal women were followed for incident uterine leiomyomata. The
    19   incidence of uterine leiomyomata is 2-3 times higher in US black.women than in US white women.
    20          225.    The Houston Fibroids Clinic in Houston, Texas also highlights the association between
    21   hair relaxers and uterine fibroids, stating that black women develop fibroids up to three times as often
    22
    23
    24
         9a Che-Jung Chang, Katie M. O'Brien, Alexander P. Keil, Symielle A. Gaston, Chandra L.
    25   Jackson, Dale P. Sandler, Alexandra J. White. Use of Straighteners and Other Hair Products and
         Incident Uterine Cancer. Journal of the National Cancer Institute DOI:
    26   https://doi.org/10.1093/inci/djacl65 (2022)
    27   9sNadine White, Campaign urges beautyfirms to pull `toxic' hair products aimed at Black women,
         Independent (August 3, 2021), https://www.independent.co.uk/news/uk/home-news/black-hair-lye-
    28   no-more-lyes b1893747.html.
                                                         43
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  1    as women of other races, their fibroids develop earlier in age than other races (oftentimes in their
 2     twenties), and are more likely to suffer from anemia due to fibroids. They also have a higher risk for
 3     fibroid symptoms, including but not limited to, painful intercourse, severe pelvic pain, and heavy
 4     periods. 96
 5                                          FIRST CAUSE OF ACTION
 6                                 STRICT LIABILITY - FAILURE TO WARN
 7                                             (Against A11 Defendants)
 8              226.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation ~
 9 ~ set forth in the preceding paragraphs.

10              227.   At all pertinent times, the Defendants were manufacturing, marketing, testing,
11     promoting, selling and/or distributing the Products in the regular course of business.
12              228.   The Products had potential risks and side effects that were known or knowable to
13     defendants by the use of scientific knowledge available before, at, and after the time of manufacture,
14     distribution, and sale of the Products. Defendants knew or should have known of the defective
15     condition, characteristics, and risks associated with said product, as previously set forth herein.
16              229.   Defendants' Products were expected to and did reach consumers, including Plaintiff,
17     without substantial change in the condition in which their Products were manufactured, sold, or
18     otherwise released into the stream of commerce by Defendant.
19             230.    The Products that were manufactured, distributed, and/or sold by the defendants to l
20     Plaintiff were in a defective condition that was unreasonably and substantially dangerous to any user
21     or ordinary consumer of the Products, such as Plaintiff. Such ordinary consumers, including Plaintiff,
22     would not and could not have recognized or discovered the potential risks and side effects of the
23     Products as set forth herein.
24             231.    At all pertinent times, Plaintiff used the Products on her hair and at the roots of her hair l
25     which is a reasonably foreseeable use.
26             232.    At all pertinent times, Defendants knew or should have known that the use phthalates
27 1

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               Black Hair Relaxers and Fibroid Risk l Houston Fibroids
                                                        44
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     l   and other EDCs in hair products significantly increases the risk of diseases including but not limited
     2   to cancer, fibroids and/or endometriosis, based upon scientific knowledge dating back for decades.
     3           233.   At all pertinent times, including the time of sale and consumption, the Products,
     4   Defendants were then and there guilty of one or more of the following acts:
     5                  a. Manufactured, marketed, tested, promoted, sold, and/or distributed unreasonable
     6                      dangerous and defective products;
     7                  b. Improperly warned of increased risk of diseases as required by C.F.R. § 740.1;
     8                  c. Inadequately warned of increased risk of diseases as required by C.F.R. § 740.1;
     9                  d. Inadequately labeled relaxer products as containing EDCs that act as hormonal
    10                      agents as required by 21 C.F.R. § 310.530.
    11                  e. Improperly warned and instructed Plaintiff of inherent risks of debilitating and life-
    12                      altering conditions.
    13          234.    Plaintiff sustained the following damages as a foreseeable, direct, and proximate result
    14   of Defendants' acts and/or omissions:
    15                  a. Economic losses including medical care and lost earnings; and
    16                  b. Noneconomic losses including physical and mental pain and suffering, emotional
    17                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
    18                      and future.
    19              c. The sum of the damages Plaintiff has suffered is in excess of the minimum
    20                  jurisdictional limits of this Court.
    21          235.    Defendants' lack of sufficient instructions or warnings prior to, on, and after the date
    22   of Plaintiff's initial use of the Products was a substantial factor in causing Plaintiffls injuries and
    23   damages, as described herein.
    24          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
    25   damages together with interest, the costs of suit and such other and further relief as this Court deems
    26   just and proper.
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 1                                     SECOND CAUSE OF ACTION
 2                               STRICT LIABILITY - DESIGN DEFECT
 3                                            (Against All Defendants)
 4          236.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation l
 5   set forth in the preceding paragraphs.
 6          237.    At all relevant times, Defendants engaged in the design, development, manufacture,
 7   marketing, sale, and distribution of the Products in California and the United States.
 8          238.    At all relevant times, Defendants engaged in the design, development, manufacture, l
 9 l marketing, sale, and distribution of the Products in a defective and unreasonably dangerous condition l

10   to consumers, including Plaintiff. Said defects included, but were not limited to, the fact that the l
11   Products contained phthalates and/or other endocrine receptive chemicals that substantially increased ~
12   the risks of triggering tumors and cancerous growths in premenopausal women, thereby substantially
13   increasing the risk of diseases including but not limited to cancer, fibroids, and/or endometriosis.
14          239.    Defendants caused the Products to enter the stream of commerce and to be sold through
15   various retailers, where Plaintiff purchased the Products.
16          240.    The Products were expected to, and did, reach consumers, including Plaintiff, without
17   change in the condition in which it was manufactured and sold by Defendant L'Oreal USA, Inc. and/or
18   otherwise released into the stream of commerce.
19          241.    Plaintiff used the Products in a manner normally intended, recommended, promoted, l
20 ~ and marketed by Defendants.
21          242.    Products failed to perform safely when used by Plaintiff in a reasonably foreseeable
22   manner, specifically increasing her risk of developing uterine fibroids.
23          243.    The propensity of phthalates and other endocrine receptive chemicals to trigger tumors
24   and cancerous growths in premenopausal women, thereby substantially increasing the risk of diseases
25   including but not limited to cancer, fibroids, and/or endometriosis, renders the Products unreasonably l
26   dangerous when used in the manner it was intended and to an extent beyond that would be ~
27   contemplated by the ordinary consumer.
28          244.    Importantly, the Products are an inessential cosmetic product that do not treat or cure
                                                         4b
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 1 I any serious disease. Further, safer alternatives, including fragrance free products, have been readily
 2 I available for decades.
 3          245.    Defendants knew, or by the exercise of reasonably care should have known, that the
 4   Products are unreasonably dangerous but have continued to design, manufacture, sell, distribute,
 5   market, promote, and supply the Products to maximize sales and profits at the expense of public health
 6   and safety in conscious disregard of the foreseeable harm to the consuming public, including Plaintiff.
 7          246.    Defendants owed a duty to all reasonably foreseeable users to design a safe product.
 8          247.    At all pertinent times, Defendants were then and there guilty of one or more of the
 9 l following acts and/or omissions:
10                  a. Designing, manufacturing, selling, distributing, marketing, promoting, and
11                      supplying Products that they knew or should have known were unreasonable
12                      dangerous;
13                  b. Failing to use reasonable care in the design and/or manufacturing of their Products;
14                     or
15                  c. Failing to use reasonably feasible alternative designs in the design and/or
16                     manufacturing of the Products.
17          248.    As a direct and proximate result thereof, it became necessary for plaintiff to incur
18   expenses for doctors, hospitals, surgeries, nurses, and other reasonably required and medically
19   necessary supplies and services. Plaintiff prays for leave to amend this Complaint to insert these
20   elements of damage when the same are finally determined.
21          249.    As a direct and proximate result of Defendants' conduct, including actions, omissions,
22   and misrepresentations, Plaintiff sustained the following damages:
23                  a. Economic losses including medical care and lost earnings; and
24                  b. Noneconomic losses including physical and mental pain and suffering, emotional
25                     distress, inconvenience, loss of enjoyment and impairment of quality of life, past
26                     and future.
27                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
28                     jurisdictional limits of this Court.
                                                    47
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 1            250.    Defendants' design, manufacture, marketing, promotion, defense, and/or sale of the
 2     Products was a substantial factor in causing plaintiff's injuries, as described herein.
 3            WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 4     damages together with interest, the costs of suit and such other and further relief as this Court deems
 5     just and proper.
 6                                         THIRD CAUSE OF ACTION
 7                                     BREACH OF EXPRESS WARRANTY
 8                                              (Against All Defendants)
 9            251.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
10     set forth in the preceding paragraphs.
11            252.    Defendants made statements of fact and promises to consumers, including Plaintiff,
12 I that the Products were:
13                   a. Safe;
14                   b. efficacious;
15                   c. fit for use;
16                   d. of merchantable quality;
17                   e. adequately tested;
18                   f. did not increase the risk of injury;
19        253.        Defendants breached the express warranties as follows:
20                   a. Defendants misrepresented the safety of the Products in the Products' labeling,
21                        advertising, marketing materials, promotion, and/or publications;
22                   b. Defendants misrepresented the risks associated with the Products;
23                   c. Defendants withheld and/or concealed and/or downplayed the information and/or
24                        evidence that the products were associated with an increased risk of injuries;
25                   d. Defendants misrepresented that the Products were safe, and/or safer than other
26                        similar products used;
27                   e. Defendants fraudulently concealed information about the safety of the Products
28 1                      including information that the product was not safer than alternative products
                                                        48
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 1                      available on the market; and
 2                  f. Defendants misrepresented information regarding the safety and/or efficacy of the
 3                      Products.
 4           254.   The Products did not conform to Defendants' express representations and warranties
 5   or meet the quality of Defendants' descriptions of safety and efficacy.
 6           255.   At all relevant times, including during the period that Plaintiff used the Products, they
 7   did not perform as safely as an ordinary consumer would expect when used as intended or in a
 8   reasonably foreseeable manner.
 9           256.   At all relevant times, including during the period that Plaintiff used the Products, they
10   did not perform in accordance with the Defendants' representations.
11           257.   In deciding to purchase and use the Products, Plaintiff and other consumers relied upon
12   Defendants' express warranties.
13           258.   As a direct and proximate result of Defendants' conduct, including actions, omissions,
14   and misrepresentations described herein, Plaintiff sustained the following damages:
15                  a. Economic losses including medical care and lost earnings; and
16                  b. Noneconomic losses including physical and mental pain and suffering, emotional
17                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
18                      and future.
19                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
20                      jurisdictional limits of this Court.
21          259.    The failure of the Products to perform as represented was a substantial factor in causing
22   Plaintiff's injuries and damages, as described herein.
23          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
24   damages together with interest, the costs of suit and such other and further relief as this Court deems
25   just and proper.
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 1                                     FOURTH CAUSE OF ACTION
 2                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 3                                            (Against All Defendants)
 4           260.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6          261.    Plaintiff purchased the Products from Defendants, and each of them.
 7          262.    At all relevant and material times, including the time of Plaintiffs purchase,
 8   Defendants were in the business of manufacturing, designing, formulating, producing, marketing,
 9   promoting, selling and/or distributing the Products.
10          263.    Defendants by their occupation held themselves out as having special knowledge or
11   skill regarding the Products.
12          264.    Defendants knew and intended that the Products be used when they were placed into
13   the stream of commerce.
14          265.    Defendants knew and intended that the Products be used as they were by Plaintiff.
15          266.    Defendants impliedly warranted to Plaintiff that the Products were safe for use.
16          267.    Plaintiff reasonably andjustifiably relied on Defendants' expertise, skill, judgment, and
17   knowledge of the Defendants and upon the Defendants' express and/or implied warranty that the
18   Products were safe, of merchantable quality, and fit for use.
19          268.    The Products used were not safe, of merchantable quality, fit for use, the quality that a
20   buyer would expect, or the same quality of those products generally acceptable in the trade.
21          269.    The Products were not fit for the ordinary purposes for which such goods are used and
22   did not conform to the quality established by the parties' prior dealings or by usage of trade.
23          270.    The Products used by Plaintiff were neither safe nor fit for use.
24          271.    Defendants were aware that consumers, including Plaintiff, would use the Products,
25   which is to say that Plaintiff was a foreseeable user of Defendants' Products.
26          272.    Plaintiff was at all relevant times in privity with Defendants.
27          273.    Plaintiff took reasonable steps to notify Defendants, and each of them, within a
28   reasonable time that the Products did not have the expected quality.
                                                      50
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              274.   The Products were expected to reach and did in fact reach consumers, including
 2    Plaintiff, without substantial change in the condition in which the product was manufactured and sold
 3    by Defendants.
 4            275.   Defendants breached various implied warranties with respect to the Products as set
 5    forth above.
 6            276.   Defendants breached the implied warranties in that the Products did not conform to
 7    Defendants' implied representations and warranties.
 8            277.   Plaintiff reasonably relied upon one and/or several of the Defendants' implied
 9    warranties.
10           278.    Plaintiff used the Products as intended and directed by the Defendants and in . a
11    foreseeable manner as intended, recommended, promoted, and/or marketed by Defendants.
12,          279.    Defendants breached one or several of the implied warranties provided to and relied on ~
13 l by Plaintiff.
14           280.    As a direct and proximate result of Defendants' conduct, including actions, omissions,
15    and misrepresentations described herein, Plaintiff sustained the following damages:
16                   a. Economic losses including medical care and lost earnings; and
17                   b. Noneconomic losses including physical and mental pain and suffering, emotional
18                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
19                       and future.
20                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum
21                       jurisdictional limits of this Court.
22           281.    The failure of the Products to have the expected quality was a substantial factor in
23    causing Plaintiff's harm.
24           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
25    damages together with interest, the costs of suit and such other and further relief as this Court deems
26    just and proper.
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 1                                          FIFTH CAUSE OF ACTION
 2      BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
 3                                            (Against A11 Defendants)
 4           282.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5   set forth in the preceding paragraphs.
 6           283.   Plaintiff purchased the Products from Defendants, and each of them.
 7           284.   At the time of purchase, Defendants, and each of them, knew or had reason to know
 8   that Plaintiff intended to use the product for a particular purpose.
 9           285.   At the time of purchase, Defendants, and each of them, knew or had reason to know
10   that Plaintiff was relying on Defendants' skill and judgment to select or furnish a product that was
11   suitable for the particular purpose.
12           286.   Plaintiff reasonably and justifiably relied on Defendants' skill and judgment.
13           287.   The Products were not suitable for Plaintiff's particular purpose.
14           288.   Plaintiff took reasonable steps to notify Defendants, and each of them, within a
15   reasonable time that the Products were not suitable.
16           289.   As a direct and proximate result of Defendants' conduct, including actions, omissions,
17   and misrepresentations described herein, Plaintiff sustained the following damages:
18                  a. Economic losses including medical care and lost earnings; and
19                  b. Noneconomic losses including physical and mental pain and suffering, emotional
20                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
21                      and future.
22                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
23                      jurisdictional limits of this Court.
24           290.   The failure of the Products to be suitable was a substantial factor in causing Plaintiff's I
25   harm.
26           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
27   damages together with interest, the costs of suit and such other and further relief as this Court deems
28 1 just and proper.
                                                        52
                                             COMPLAINT FOR DAMAGES
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 1                                          SIXTH CAUSE OF ACTION
 2                        NEGLIGENCE - DESIGN. MANUFACTURE AND SALE
 3                                             (Against All Defendants)
 4            291.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 5    set forth in the preceding paragraphs.
 6'           292.    Prior to, on and after the date of Plaintiff's initial use of the Products, and at all relevant
 7    times, Defendants designed, tested, distributed, manufactured, advertised, sold, and/or marketed the
 8    Products for use by consumers, such as Plaintiff.
 9            293.    Prior to, on, and after Plaintiff's initial use of the Products, Defendants were negligent
10    and careless in and about their design, testing, distribution, manufacture, advertising, sale, and/or
11    marketing of the above-described Products.
12            294.    Prior to, on, and after Plaintifrs initial use of the Products, Defendants performed
13    inadequate evaluation and testing of the Products where such evaluation and testing would have
14    revealed the propensity of the Products' failures, and increased risk of injury as described herein.
15           295.     Prior to, on, and/or after Plaintiff's initial use of the Products, Defendants had received
16    complaints from consumers that the Products failed and posed an increased risk of injury as described
17    herein, but Defendants consciously decided not to: perform any further testing on the Products;
18    investigate the root cause of these failures and increased risk of injury; suspend sales and distribution;
19    or wam consumers, such as Plaintiff, of the propensity of the Products to fail and pose an increased
20    risk of injury as described herein.
21           296.    Defendants' conduct is per se negligent because their negligent design, manufacture,
22    and sale of defective and dangerous products violated several federal and state laws, including but not
23    limited to:
24                   a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                      accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                      and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;
27                   b. The Califomia Sherman Food, Drug, and Cosmetic Law, Cal. Health & Saf. Code
28                      § 111730, 111790;
                                                        53
                                             COMPLAINT FOR DAMAGES
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 1                  c. The California Safe Cosmetics Act of 2005, Cal. Health & Saf. Code § 111791.5;
 2                  d. The California Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
 3                      Cal. Health & Saf. Code § 111791.5; and
 4                  e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
 5                      Cal. Health & Saf. Code § 25249.5.
 6           297.   As a direct and proximate result of Defendants' above-described negligence in design,
 7   testing, distribution, manufacture, advertising, sales, and/or marketing, Plaintiff sustained the
 8   following damages:
 9                  a. Economic losses including medical care and lost earnings; and
10                  b. Noneconomic losses including physical and mental pain and suffering, emotional
11                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                       and future.
13                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
14                      jurisdictional limits of this Court.
15          298.    As a direct and legal result of Defendants' actions and/or omissions, Plaintiff has also
16   suffered, and continues to suffer, an increased risk of developing illnesses, diseases and/or disease
17   processes relating to exposure to the Products.
18          299.    As a direct and legal result of Defendants' tortious conduct, Plaintiff has also suffered
19   the past, present and future medical need to undergo diagnostic testing for the early detection of latent
20   or misidentified illnesses, diseases and/or disease processes related to her exposure to the Products.
21          300.    Diagnostic and/or monitoring procedures exist that comport with contemporary
22   scientific principles and the standard of care and make early detection of illnesses and conditions
23   related to exposiire to the Products possible and beneficial to Plaintiff.
24          301.    As a result of being significantly and repeatedly exposed to the Products, the need for
25   Plaintiff's medical monitoring is currently necessary, and the monitoring is reasonable.
26          302.    Plaintiff thus also seeks an award of the cost of medical monitoring for the early
27   detection of latent or misidentified illnesses, diseases and/or disease processes associated with
28 1 exposure to the Products.
                                                       54
                                            COMPLAINT FOR DAMAGES
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 1           303.    Defendants' negligence in design, testing, distribution, manufacture, advertising, sales,
 2   and/or marketing prior to, on, and after the date of Plaintiff's initial surgery was a substantial factor in
 3   causing Plaintiffs injuries and damages, as described herein.
 4           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 5   damages together with interest, the costs of suit and such other and further relief as this Court deems
 6   just and proper.
 7                                      SEVENTH CAUSE OF ACTION
 8                          NEGLIGENCE - FAILURE TO RECALL/RETROFIT
 9                                            (Against All Defendants)
10           304.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
11   set forth in the preceding paragraphs.
12           305.    Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
13   relevant times, Defendants designed, distributed, manufactured, sold, and/or marketed the Products
14   for use by consumers, such as Plaintiff.
15           306.    Prior to, on, and/or after the date of Plaintiff's initial use of the Products, and at all
16   relevant times, Defendants knew or reasonably should have known that the Products and their
17   warnings were dangerous or were likely to be dangerous when used in a reasonably foreseeable
18   manner.
19           307.    Prior to, on, and/or after the date of Plaintiff's initial use of the Products, defendants
20   became aware of the defects of the Products, including their propensity to increase the risk of injury
21   as described herein.
22           308.    Defendants failed to recall, retrofit, or warn consumers, such as Plaintiff, about the
23   danger of the Products prior to, on, and/or after the date of Plaintiff's initial use of the Products, and
24   at all relevant times, and continue to fail to recall the Products to date.
25           309.    In light of the severity and amount of the data available to Defendants, reasonable
26   manufacturers and distributors under the same or similar circumstances would have recalled or
27   retrofitted the Products, and would thereby have avoided and prevented harm to hundreds of thousands
28   of consumers, such as Plaintiff.
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                                            COMPLAINT FOR DAMAGES
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 1           310.    As a direct and proximate result of Defendants' above-described negligent failure to
 2   recall or retrofit, Plaintiff sustained the following damages:
 3                   a. Economic losses including medical care and lost earnings; and
 4                   b. Noneconomic losses including physical and mental pain and suffering, emotional
 5                       distress, inconvenience, loss of enjoyment and impairment of quality of life, past
 6                       and future.
 7                   c. The sum of the damages Plaintiff has suffered is in excess of the minimum
 8                       jurisdictional limits of this Court.
 9           311.    Defendants' negligent failure to recall or retrofit the Products and their warnings was a
10   substantial factor in causing Plaintiff s injuries and damages, as described herein.
11           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
12   damages together with interest, the costs of suit and such other and further relief as this Court deems
13   just and proper.
14                                       EIGHTH CAUSE OF ACTION
15                                 NEGLIGENCE - FAILURE TO WARN
16                                            (Against All Defendants)
17           312.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation l
18   set forth in the preceding paragraphs.
19           313.   At all relevant times, Defendants engaged in the design, development, manufacture,
20   marketing, sale and distribution of the Products in a defective and unreasonably dangers condition to
21   consumers, including Plaintiff.
22          314.    Defendants knew, or by the exercise of reasonable care, should have known use of their J
23   Products were dangerous, harmful, and injurious when used by consumers, such as Plaintiff, in a
24   reasonably foreseeable manner. Such danger included the Products' propensity to increase the risk of
25   injury, illness, and/or disease as described herein.
26          315.    Defendants knew, or by the exercise of reasonable care, should have known ordinary J
27   consumers, such as Plaintiff, would not have realized the potential risks and dangers of their Products, l
28   and that the Products were likely to increase the risk of tumors and cancerous growths in
                                                       56
                                            COMPLAINT FOR DAMAGES
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 1   premenopausal women, thereby increasing the risk of cancer, fibroids, and/or endometriosis, when
 2   used in the manner they were intended and to an extent beyond that would be contemplated by the
 3   ordinary consumer.
 4          316.    Defendants owed a duty to all reasonably foreseeable consumers to disclose the risks
 5   associated with the use of their Products.
 6          317.    At all pertinent times, Defendants were then and there guilty of one or more of the ~
 7 l following acts and/or omissions:

 8                 a. Failed to provide adequate wamings on their Products;
 9                 b. Inadequately provided wamings on their Products;
10                 c. Provided misleading advertisements; or
11                 d. Failed to provide instructions on how to safely use their Products.
12                 e. Failed to use due care in the manufacture, inspection and labeling of the Products to
13                     prevent risk of injuries to individuals, such as Plaintiff, who used the Products;
14                 f. Failed to provide adequate and accurate warnings and information regarding the risk
15                     and dangers associated with the Products as described herein, to non-defendant
16                     entities that sold the Products; and
17                 g. Failed to label the Products to adequately wam Plaintiff of the increased risk of
18                     injury associated with the product including an increased risk of hormone-related
19                     cancers and reproductive problems including the development of uterine fibroids
20                     and other injuries.
21      318.        Defendants' conduct is per se negligent because their failure to wam of dangerous
22          ingredients of their products violated several federal and state laws, including but not limited
23          to:
24                 a. The Food, Drug, & Cosmetics Act, 21 U.S.C. ch. 9§ 301 et seq., and its
25                     accompanying regulations, including 21 U.S.C. §§ 331, 361; 21 U.S. Code § 362;
26                     and 21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR;
27                 b. The Califomia Sherman Food, Drug, and Cosmetic Law, Cal. Health & Saf. Code
28                     §§ 111730, 111790;
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 1                  c. The California Safe Cosmetics Act of 2005, Cal. Health & Saf. Code § 111791.5;
 2                  d. The California Cosmetic Frangrance and Flavor Right to Know Act (CFFIRKA)
 3                      Cal. Health & Saf. Code § 111791.5; and
 4                  e. The Safe Drinking Water and Toxic Enforcement Act of 1986 ("Proposition 65"),
 5                      Cal. Health & Saf. Code § 25249.5.
 6           319.   As a direct and proximate result of Defendants' above-described negligent conduct,
 7   including failure to warn, actions, omissions, and misrepresentations, Plaintiff sustained the following
 8   damages:
 9                  a. Economic losses including medical care and lost earnings; and
10                  b. Noneconomic losses including physical and mental pain and suffering, emotional
11                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                      and future.
13                  c. The sum of the damages Plaintiff has suffered is in excess of the minimum
14                      jurisdictional limits of this Court.
15          320.    Defendants' negligent failure to warn consumers, including Plaintiff, at all relevant
16   times, was a substantial factor in causing Plaintiffls injuries and damages, as described herein.
17          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
18   damages together with interest, the costs of suit and such other and further relief as this Court deems
19   just and proper.
20                                       NINTH CAUSE OF ACTION
21                         FRAUD - INTENTIONAL MISREPRESENTATION
22       (Against L'Oreal USA, Inc, L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))
23          321.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
24   set forth in the preceding paragraphs.
25          322.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
26   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
27   and complete information regarding said products.
28
                                                      58
                                           COMPLAINT FOR DAMAGES
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 1           323.   Defendants fraudulently misrepresented the use of the Products as safe, effective, and
 2   not unreasonably dangerous.
 3          324.    Defendants knowingly and intentionally represented to consumers, including the
 4   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
 5   and/or promotional materials fully described all known risks associated with the Products. Said
 6   representations were of facts that were material and important to Plaintiff's decision to use the
 7   Products.
 8          325.    When Defendants made said representations, Defendants either knew that said
 9   representations were false or made said representations recklessly and without regard for their truth.
10          326.     When Defendants made said representations, Defendants intended that consumers,
11   such as Plaintiff, would rely on said representations.
12          327.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
13   representations that the Products were safe for use and that their labeling, marketing, and promotional
14   materials fully described all known risks associated with the Products.
15          328.    A recent article was published on October 4, 2022, on MSN and other online news ~
16   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young
17   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
18   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
19   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
20   Many of them are wearing natural hairstyles today.97
21          329.    At all pertinent times, Defendants were then and there guilty of one or more of the
22   following acts and/or omissions:
23                  a. Knowingly made omissions that were material, false, incomplete, misleading, l
24                      deceptive, and deceitful;
25                  b. Knowingly made misrepresentations for the purpose of deceiving and defrauding
26                     consumers, including Plaintiff; or
27
28   97 The Relaxer Box Girls: Where Are They Now? (msn.com)
                                                     59
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 1                   c. Knowingly made omissions for the purpose of deceiving and defrauding
 2                       consumers, including Plaintiff.
 3           330.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
 4   which induced her to purchase and use the Products on a regular basis for decades.
 5           331.    Defendants profited, significantly, from their unethical and illegal conduct that
 6   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective
 7 l product.
 8           332.   As a direct and proximate result of Defendants' above-described fraudulent conduct,
 9   including intentional misrepresentations, Plaintiff sustained the following damages:
10                  a. Economic losses including medical care and lost earnings; and
11                  b., Noneconomic losses including physical and mental pain and suffering, emotional
12                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
13                      and future.
14                  c. The sum of the damages Plaintiff have suffered is in excess of the minimum
15                      jurisdictional limits of this Court.
16          333.    Plaintiff's reliance on said representations made by Defendants were a substantial
17   factor in causing Plaintiff to suffer the injuries and damages described herein.
18          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory
19   damages together with interest, the costs of suit and such other and further relief as this Court deems
20   just and proper.
21                                      TENTH CAUSE OF ACTION
22                         FRAUD - INTENTIONAL 1VIISREPRESENTATION
23                             (Against Godrej SON and Strength of Nature)
24          334.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
25   set forth in the preceding paragraphs.
26          335.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
27 I of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
28 1 and complete information regarding said products.
                                                      60
                                           COMPLAINT FOR DAMAGES
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     1            336.   Defendants fraudulently misrepresented the use of the Products as safe, effective and
     2   not unreasonably dangerous. For example, Defendants Godrej Consumer Products, Godrej SON, and
     3   Strength of Nature's Soft & Beautiful Products are intentionally labeled as "Botanicals" and with
     4   "Natural" ingredients that are "Ultra Nourishing," including but not limited to using "Natural Plant
     5   Oils and Butters."
     6            337.   Defendants knowingly and intentionally represented to consumers, including the
     7   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
     8, and/or promotional materials fully described all known risks associated with the Products. Said
     9   representations were of facts that were material and important to Plaintiff's decision to use the
    10   Products.
    11            338.   When Defendants made said representations, Defendants either knew that said ~
    12   representations were false or made said representations recklessly and without regard for their truth.
    13            339.    When Defendants made said representations, Defendants intended that consumers,
    14   such as Plaintiff, would rely on said representations.
    15            340.   Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
    16   representations that the Products were safe for use and that their labeling, marketing, and promotional
    17   materials fully described all known risks associated with the Products.
    18            341.   A recent article was published on October 4, 2022, on MSN and other online news ~
    19   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young
    20   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
    21   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
    22   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
    23   Many of them are wearing natural hairstyles today.98
    24            342.   At all pertinent times, Defendants were then and there guilty of one or more of the l
    25 ~ following acts and/or omissions:
    26
    27
    28   98   The Relaxer Box Girls: Where Are They Now? (msn.coin)
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                                               COMPLAINT FOR DAMAGES
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 1                  d. Knowingly made omissions that were material, false, incomplete, misleading,
 2                      deceptive, and deceitful;
 3                  e. Knowingly made misrepresentations for the purpose of deceiving and defrauding
 4                      consumers, including Plaintiff; or
 5                  f. Knowingly made omissions for the purpose of deceiving and defrauding
 6                      consumers, including Plaintiff.
 7           343.   Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
 8   which induced her to purchase and use the Products on a regular basis for decades.
 9          344.    Defendants profited, significantly, from their unethical and illegal conduct that
10   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective
11   product.
12          345.    As a direct and proximate result of Defendants' above-described fraudulent conduct,
13   including intentional misrepresentations, Plaintiff sustained the following damages:
14                  d. Economic losses including medical care and lost eamings; and
15                  e. Noneconomic losses including physical and mental pain and suffering, emotional
16                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
17                      and future.
18                  f. The sum of the damages Plaintiff have suffered is in excess of the minimum
19                      jurisdictional limits of this Court.
20          346.    Plaintiff's reliance on said representations made by Defendants were a substantial
21   factor in causing Plaintiff to suffer the injuries and damages described herein.
22          WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory
23   damages together with interest, the costs of suit and such other and further relief as this Court deems
24   just and proper.
25                                    ELEVENTH CAUSE OF ACTION
26                         FRAUD - INTENTIONAL MISREPRESENTATION
27                                              (Against Avlon)
28          347.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
                                                          bL
                                           COMPLAINT FOR DAMAGES
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 1   set forth in the preceding paragraphs.
 2           348.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
 3   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
 4   and complete information regarding said products.
 5           349.    Defendants fraudulently misrepresented the use of the Products as safe, effective, and
 6   not unreasonably dangerous, specifically:
 7                  a. Defendants Namaste, Dabur, and Dermoviva's Products are marketed as "Olive Oil"
 8                     products to imply natural products, and their Products are advertised as being "Build
 9                     in Protection;"
10                  b. Defendants Namaste, Dabur, and Dermoviva's website states that their Products use ~
11                     "Rich Olive and Avocado Oils" that they claim "moisturize and condition while I
12                     Aloe Vera protects the skin and scalp."
13                  c. Defendants Namaste, Dabur, and Dermoviva's Products claim that they "use[] the ~
14                     latest technology to safely elongate tight coils."
15           350.   Defendants knowingly and intentionally represented to consumers, including the
16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
17   and/or promotional materials fully described all known risks associated with the Products. Said
18   representations were of facts that were material and important to Plaintiffs decision to use the ~
19   Products.
20          351.    When Defendants made said representations, Defendants either knew that said ~
21   representations were false or made said representations recklessly and without regard for their truth.
22          352.     When Defendants made said representations, Defendants intended that consumers,
23   such as Plaintiff, would rely on said representations.
24          353.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25   representations that the Products were safe for use and that their labeling, marketing, and promotional
26   materials fully described all known risks associated with the Products.
27          354.    A recent article was published on October 4, 2022, on MSN and other online news ~
28   outlets, titled "The Relaxer Box Girls: Where Are They Now ", which revealed that many of the young
                                                     63
                                           COMPLAINT FOR DAMAGES
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today.99
 5          355.    At all pertinent times, Defendants were then and there guilty of one or more of the
 6   following acts and/or omissions:
 7                  g. Knowingly made omissions that were material, false, incomplete, misleading,
 8                      deceptive, and deceitful;
 9                  h. Knowingly made misrepresentations for the purpose of deceiving and defrauding
10                      consumers, including Plaintiff; or
11                  i. Knowingly made omissions for the purpose of deceiving and defrauding
12                      consumers, including Plaintiff.
13          356.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.
15          357.    Defendants profited, significantly, from their unethical and illegal conduct that
16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective
17   product.
18          •358.   As a direct and proximate result of Defendants' above-described fraudulent conduct,
19   including intentional misrepresentations, Plaintiff sustained the following damages:
20                  g. Economic losses including medical care and lost earnings; and
21                  h. Noneconomic losses including physical and mental pain and suffering, emotional
22                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                     and future.
24                  i. The sum of the damages Plaintiff has suffered is in excess of the minimum
25                     jurisdictional limits of this Court.
26          359.    Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   99 The Relaxer Box Girls: Where Are They Now? (msn.com)
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 1   in causing Plaintiff to suffer the injuries and damages described herein.
 2           WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
 3   damages together with interest, the costs of suit and such other and further relief as this Court deems
 4 l just aiid proper.
 5                                      TWELFTH CAUSE OF ACTION
 6                            FRAUD - INTENTIONAL MISREPRESENTATION
 7                                       (Against Doe Defendants 1-100)
 8           360.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9           set forth in the preceding paragraphs.
10           361.    Defendants engaged in the development, manufacture, marketing, sale, and distribution
11   of cosmetic and personal care products, including the Products, and owed a duty to provide accurate
12   and complete information regarding said products.
13           362.   Defendants fraudulently misrepresented the use of the Products as safe, effective and
14   not unreasonably dangerous.
15           363.   Defendants knowingly and intentionally represented to consumers, including the
16   Plaintiff, and the public that the Products were safe for use and that Defendants' labeling, marketing,
17   and/or promotional materials fully described all known risks associated with the Products. Said
18   representations were of facts that were material and important to Plaintiff's decisions to use the
19   Products.
20          364.    When Defendants made said representations, Defendants either knew that said
21   representations were false or made said representations recklessly and without regard for their truth.
22          365.         When Defendants made said representations, Defendants intended consumers, such
23   as Plaintiff, would rely on said representations.
24          366.    Consumers, such as Plaintiff, reasonably and justifiably relied on Defendants'
25   representations that the Products were safe for use and that their labeling, marketing, and promotional
26   materials fully described all known risks associated with the Products.
27          367.    A recent article was published on October 4, 2022, on MSN and other online news
28   outlets, titled "The Relaxer Box Girls: Where Are They Now," which revealed that many of the young
                                                      65
                                            COMPLAINT F0R DAMAGES
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 1   black girls featured on relaxer boxes and in relaxer ads in the 80s, 90s, and 2000s, never actually got
 2   their hair relaxed. Instead, they used other straightening tools and styling products to achieve the look
 3   of having the relaxer, without having exposed themselves to the dangerous chemicals within relaxers.
 4   Many of them are wearing natural hairstyles today. loo
 5          368.    At all pertinent times, Defendants were then and there guilty of one or more of the
 6   following acts and/or omissions:
 7                  j. Knowingly made omissions that were material, false, incomplete, misleading,
 8                      deceptive, and deceitful;
 9                  k. Knowingly made misrepresentations for the purpose of deceiving and defrauding
10                      consumers, including Plaintiff; or
11                  l. Knowingly made omissions for the purpose of deceiving and defrauding
12                      consumers, including Plaintiff.
13          369.    Plaintiff relied, with reasonable justification, on the misrepresentations by Defendants,
14   which induced her to purchase and use the Products on a regular basis for decades.
15          370.    Defendants profited, significantly, from their unethical and illegal conduct that
16   fraudulently induced Plaintiff, and millions of other consumers, to purchase a dangerous and defective
17   product.
18          371.    As a direct and proximate result of Defendants' above-described fraudulent conduct,
19   including intentional misrepresentations, Plaintiff sustained the following damages:
20                 j. Economic losses including medical care and lost earnings; and
21                  k. Noneconomic losses including physical and mental pain and suffering, emotional
22                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
23                      and future.
24                 1.   The sum of the damages Plaintiff have suffered is in excess of the minimum
25                      jurisdictional limits of this Court.
26          372.   Plaintiff's reliance on said representations made by Defendants was a substantial factor
27
28   ioo The Relaxer Box Girls: Where Are They Now? (msn.coin)
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                                            COMPLAINT FOR DAMAGES
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 1   in causing Plaintiff to suffer the injuries and damages described herein.
 2           WHEREFORE, Plaintiff demand judgment against Defendants and seeks compensatory
 3   damages together with interest, the costs of suit and such other and further relief as this Court deems
 4 j just and proper.

 5                                   THIRTEENTH CAUSE OF ACTION
 6                                        FRAUD - CONCEALMENT
 7       (Against L'Oreal USA, Inc., L'Oreal USA Products, Inc., Soft Sheen, and Carson (W.I))
 8          373.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 9   set forth in the preceding paragraphs.
10          374.    In marketing and selling the Products, Defendants concealed material facts from
11   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
12   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
13   making said disclosure deceptive; intentionally failing to disclose important facts known only to
14   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
15   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
16          375.    At all pertinent times, Defendants were then and there guilty of one or more of the l
17 ~ following acts and/or omissions:
18                 a. Defendants omitted, suppressed, and/or concealed material facts concerning the
19                      dangers and risk of injuries associated with the use of the Products and the fact that
20                      the Product was unreasonably dangerous;
21                 b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
22                      and/or otherwise understated the nature of the risks associated with the use of the
23                      Products to increase sales;
24                 c. Defendants undertook the concealment of material facts with an intent that I
25                      consumers, including Plaintiff, rely upon them.
26          376.    Plaintiff and other consumers did not know that Defendants concealed material facts I
27   and were justified in their reliance on Defendants representations regarding the safety of the Products.
28          377.    Defendants had sole access to material facts concerning the dangers and unreasonable

                                           COMPLAINT FOR DAMAGES
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 1   risks of the Products.
 2           378.    The intentional concealment of information by Defendants about the substantial risks
 3   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
 4           379.   Had Defendants not fraudulently concealed the information as described herein, the
 5   Products would not have been used by Plaintiff.
 6           380.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
 7   Plaintiff would not have used them.
 8           381.   As a direct and proximate result of Defendants' fraudulent and/or intentional
 9   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
10   damages:
11                  a. Economic losses including medical care and lost earnings; and
12                  b. Noneconomic losses including physical and mental pain and suffering, emotional
13                      distress, inconvenience, loss of enjoyment and impairment of quality of life, past
14                      and future.
15                  c. The sum of the damages Plaintiff have suffered is in excess of the minimum
16                      jurisdictional limits of this Court.
17          382.    Plaintiffls reasonable reliance on Defendants' fraudulent and/or intentional
18   concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and
19   damages described herein.
20          VWIIEREFO.RE, Plaintiff demands judgment against Defendants and seek compensatory
21   damages together with interest, the costs of suit and such other and further relief as this Court deems
22   just and proper.
23                                    FOURTEENTH CAUSE OF ACTION
24                                       FRAUD - CONCEALMENT
25                             (Against Godrej SON and Strength of Nature)
26          383.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
27   set forth in the preceding paragraphs.
28          384.    In marketing and selling the Products, Defendants concealed material facts from
                                                          b~S
                                           COMPLAINT F0R DAMAGES
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 1   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
 2   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
 3   making said disclosure deceptive; intentionally failing to disclose important facts known only to
 4   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
 5   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
 6          385.    At all pertinent times, Defendants were then and there guilty of one or more of the
 7 l following acts and/or omissions:
 8                 a. Defendants omitted, suppressed, and/or concealed material facts concerning the
 9                     dangers and risk of injuries associated with the use of the Products and the fact that
10                     the Product was unreasonably dangerous;
11                 b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
12                     and/or otherwise understated the nature of the risks associated with the use of the
13                     Products in order to increase sales;
14                 c. Defendants undertook the concealment of material facts with an intent that
15                     consumers, including Plaintiff, rely upon them.
16          386.    Plaintiff and other consumers did not know that Defendants concealed material facts
17   and were justified in their reliance on Defendants representations regarding the safety of the Products.
18          387.    Defendants had sole access to material facts concerning the dangers and unreasonable
19   risks of the Products.
20          388.    The intentional concealment of information by Defendants about the substantial risks
21   of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
22          389.    Had Defendants not fraudulently concealed the information as described herein, the
23   Products would not have been used by Plaintiff.
24          390.    Had Plaintiff been aware of the increased risks of injury associated with the Products,
25   Plaintiff would not have used them.
26          391.    As a direct and proximate result of Defendants' fraudulent and/or intentional
27   concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
28   damages:
                                                      69
                                           COMPLAINT FOR DAMAGES
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     1                   d. Economic losses including medical care and lost earnings; and
     2                   e. Noneconomic losses including physical and mental pain and suffering, emotional
     3                        distress, inconvenience, loss of enjoyment and impairment of quality of life, past
     4                        and future.
     5                   f. The sum of the damages Plaintiff have suffered is in excess of the minimum
     6                        jurisdictional limits of this Court.
     7           392.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
     8 I concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and

     9 l damages described herein.

    10           WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory
    11    damages together with interest, the costs of suit and such other and further relief as this Court deems
    12    just and proper.
    13                                      FIFTEENTH CAUSE OF ACTION

,   14~                                        FRAUD - CONCEALMENT
    15                                                (Against Avlon)
    16           393.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
    17    set forth in the preceding paragraphs.
    18           394.    In marketing and selling the Products, Defendants concealed material facts from
    19    consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
    20    some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
    21    making said disclosure deceptive; intentionally failing to disclose important facts known only to
    22    Defendants and that, consumers, including Plaintiff, could not have discovered; and/or actively
    23    concealing important facts from consumers, including Plaintiff, from discovery said important facts.
    24           395.    At all pertinent times, Defendants were then and there guilty of one or more of the
    25    following acts and/or omissions:
    26                  a. Defendants omitted, suppressed, and/or concealed material facts concerning the
    27                       dangers and risk of injuries associated with the use of the Products and the fact that
    28                       the Product was unreasonably dangerous;
                                                               iu
                                                 COMPLAINT FOR DAMAGES
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  1                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
 2                       and/or otherwise understated the nature of the risks associated with the use of the
 3                       Products in order to increase sales;
 4                   c. Defendants undertook the concealment of material facts with an intent that
 5                       consumers, including Plaintiff, rely upon them.
 6            396.    Plaintiff and other consumers did not know that Defendants concealed material facts
 7     and were justified in their reliance on Defendants representations regarding the safety of the Products.
 8            397.    Defendants had sole access to material facts concerning the dangers and unreasonable
 9     risks of the Products.
10,           398.    The intentional concealment of information by Defendants about the substantial risks
11     of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
12            399.    Had Defendants not fraudulently concealed the information as described herein, the
13     Products would not have been used by Plaintiff.
14            400.    Had Plaintiff been aware of the increased risks of injury associated with the Products,
15     Plaintiff would not have used them.
16            401.    As a direct and proximate result of Defendants' fraudulent and/or intentional
17     concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
18     damages:
19                    g. Economic losses including medical care and lost earnings; and
20                    h. Noneconomic losses including physical and mental pain and suffering, emotional
21                        distress, inconvenience, loss of enjoyment and impairment of quality of life, past
22                        and future.
23                    i. The sum of the damages Plaintiff has suffered is in excess of the minimum
24                       jurisdictional limits of this Court.
25            402.    Plaintiff's reasonable reliance on Defendants' fraudulent and/or intentional
26     concealment of facts was a was a substantial factor in causing Plaintiff to suffer the injuries and
27 1 damages described herein.
28 1          WHEREFORE, Plaintiff demands judgment against Defendants and seeks compensatory
                                                        71
                                             COMPLAINT FOR DAMAGES
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 1   damages together with interest, the costs of suit and such other and further relief as this Court deems
 2   just and proper.
 3                                    SIXTEENTH CAUSE OF ACTION
 4                                        FRAUD - CONCEALMENT
 5                                 (Against Doe Defendants 1-100, inclusive)
 6           403.   Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
 7   set forth in the preceding paragraphs.
 8           404.   In marketing and selling the Products, Defendants concealed material facts from
 9   consumers, including Plaintiff. Said concealment included some or all of the following: disclosure of
10   some facts to consumers, such as Plaintiff, but intentional failure to disclose other important facts,
11   making said disclosure deceptive; intentionally failing to disclose important facts known only to
12   Defendants and that consumers, including Plaintiff, could not have discovered; and/or actively
13   concealing important facts from consumers, including Plaintiff, from discovery said important facts.
14           405.   At all pertinent times, Defendants were then and there guilty of one or more of the
15   following acts and/or omissions:
16                  a. Defendants omitted, suppressed, and/or concealed material facts conceming the
17                      dangers and risk of injuries associated with the use of the Products and the fact that
18                      the Product was unreasonably dangerous;
19                  b. Defendants purpose was willfully blind to, ignored, downplayed, avoided, concealed
20                      and/or otherwise understated the nature of the risks associated with the use of the
21                      Products in order to increase sales;
22                  c. Defendants undertook the concealment of material facts with an intent that
23                      consumers, including Plaintiff, rely upon them.
24          406.    Plaintiff and other consumers did not know that Defendants concealed material facts
25   and were justified in their reliance on Defendants representations regarding the safety of the Products.
26          407.    Defendants had sole access to material facts conceming the dangers and unreasonable
27   risks of the Products.                        -
28          408.    The intentional concealment of information by Defendants about the substantial risks
                                                          /L
                                            COMPLAINT FOR DAMAGES
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  1     of injury and/or disease associated with the Products, was known by Defendants to be wrongful.
  2             409.   Had Defendants not fraudulently concealed the information as described herein, the
  3     Products would not have been used by Plaintiff.
  4             410.   Had Plaintiff been aware of the increased risks of injury associated with the Products,
  5     Plaintiff would not have used them.
  6             411.   As a direct and proximate result of Defendants' fraudulent and/or intentional
  7     concealment of facts, upon which Plaintiff reasonably relied, Plaintiff sustained the following
  8     damages:
  9                    j. Economic losses including medical care and lost earnings; and
10                     k. Noneconomic losses including physical and mental pain and suffering, emotional
11                         distress, inconvenience, loss of enjoyment and impairment of quality of life, past
12                         and future.
13                     l. The sum of the damages Plaintiff have suffered is in excess of the minimum
14                         jurisdictional limits of this Court.
15             412.    Plaintiffs   reasonable reliance on Defendants' fraudulent and/or intentional
16      concealment of facts was a was a substantial factor in causing Plaintiff sto suffer the injuries and
17      damages described herein.
18             WHEREFORE, Plaintiff demand judgment against Defendants and seek compensatory
19      damages together with interest, the costs of suit and such other and further relief as this Court deems
20      just and proper.
21                                    SEVENTEENTH CAUSE OF ACTION
22      UNLAWFUL.LUNFAIR AND FRAUDULENT BUSINESS PRACTICES IN VIOLATION OF
23                             CALIFORNIA B & P CODE SEC. 17200, ET SEQ.
24                                               (Against All Defendants)
25             413.    Plaintiff incorporates by reference, as if fully set forth herein, each and every allegation
26      set forth in the preceding paragraphs.
27 II          414.    California's Unfair Competition Law (UCL) creates a cause of action for those harmed
28 II by unfair competition, which includes "any unlawful, unfair or fraudulent business act or practice and
                                                            is
                                              COMPLAINT FOR DAMAGES
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 1   unfair, deceptive, untrue or misleading advertising."
 2           415.    Defendants have made numerous misrepresentations to Plaintiff, consumers, and the
 3   general public. Among those misrepresentations are Defendants' claims that the Products are safe,
 4   effective, and not unreasonably dangerous.
 5           416.    Defendants failed to disclose to Plaintiff, consumers, and the general public that the
 6   Products are defective, unreasonably dangerous and are likely to increase the risk of tumors and
 7   cancerous growths in premenopausal women, thereby increasing the risk of cancer, fibroids, and/or
 8   endometriosis, and injuries as described herein.
 9           417.    Defendants' business practices relating to the Products are unlawful because they
10   constitute false advertising, intentional misrepresentation, and fraudulent concealment.
11                   m. As a direct and proximate result of Defendants' unlawful business practices and
12                        false advertising, Defendants have generated enormous revenues and profits at the
13                        expense of Plaintiff. Plaintiff is thus entitled to restitutionary disgorgement, in an
14                        amount to be proven at trial, injunctive relief, attorney's fees, and other remedies
15                        available under the law.
16           418.    Defendants' unlawful business practices, at all relevant times, were a substantial factor
17   in causing Plaintiff's harm, as described herein.
18           WHEREFORE, Plaintiff demands judgment against Defendants and seeks an order of this
19   Court awarding restitutionary disgorgement, injunctive relief, attorneys' fees and costs and all other
20   relief as this Court deems just and proper under California Business and Professions Code Section
21   17200 et seq.
22                                      V.      PRAYER FOR RELIEF
23          419.     Plaintiff incorporates by reference each and every paragraph of this Complaint as
24   though set forth here in full and further prays.
25          420.     So far as the law and this Court allows, Plaintiff demands judgment against each
26   Defendant on each count as follows:
27                   a.      Compensatory damages for the described losses with respect to each cause of
28                           action;
                                                        74
                                             COMPLAINT FOR DAMAGES
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 1                 b.       Past medical expenses;
 2                 c.       Past and future lost wages and loss of eaming capacity;
 3                 d.       Past and future emotional distress;
 4                 e.       Punitive damages with respect to each cause of action;
 5                 f.       Reasonable attomeys' fees where recoverable;
 6                 g.       Costs of this action;
 7                 h.       Pre-judgment and all other interest recoverable; and
 8                 i.       Such other additional and further relief as Plaintiff may be entitled to in law or
 9                          in equity.
10                                             JURY DEIVIAND
11         Plaintiff demands a jury trial for all claims so triable.
12
13   Dated: July 18, 2024                           SINGLETON SCHRIBER, LLP
14
15                                                  By:
                                                             Andrew Bluth (SBN: 232387)
16                                                           Christopher Rodriguez (SBN: 212274)
                                                             Danielle Ward Mason (pro hac vice
17
                                                            forthcoming)
18
                                                            Attorneysfor Plaintiff
19
20
21
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                                                      75
                                           COMPLAINT FOR DAMAGES
                 Case 3:24-cv-06845-SI                         Document 1                     Filed 09/30/24               Page 252 of 256
                                                                                                                                                                   CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):                                                         FOR COURT USE ONLY
Christopher R. Rodriguez SBN 212274, Andrew D. Bluth SBN 232387,
Singleton Schreiber, LLP, 1414 K Street, Suite 470, Sacramento, CA 958144
       TELEPHONE NO.: 9 16-248-8478            FAX NO„ (OPttona9: (619) 255-1515
                                                                                                                      ELECTRONICALLY FILED
          E-MAILADDRESS: crodrlguez@ ingletonSchreiber.com
  ATTORNEY FOR (Name): Plaintiff
                                                                                                                       S uperi or C o urt of C a lifo rnia l
SUPERIORCOURTOFCALIFORNIA,COUNTYOF ALAMEDA                                                                                 C o unty of Al a m e d a
 STREET ADDRESS: 1225       Fallon Street                                                                             0/1 /014 at 04;43;I5 PM
MAILING ADDRESS: 1225 Fallon Street
CITYANDZIPCODE: Oakland           , 94612                                                                                         By: Damaree Franklin,
     BRANCH NAME: Oakland - Rene C. DavtdsOn Courthouse                                                                                 UePuty Clerk

CASE NAME:
 Cynthia Jones v. L'Oreal USA, et al.
                                                                                                                 CASE NUMBER:
       CIVIL CASE COVER SHEET                                      Complex Case Designation
~x Unlimited                      0    Limited                 0      Counter            []      Joinder             2 4CV                 O E3 993
          (Amount                      (Amount
                                                          Filed with first appearance by defendant               JuoGE:
          demanded                     demanded is
                                                              (Cal. Rules of Court, rule 3.402)                   DEPT,:
          exceeds $25,000)             $25,000 or less) „
                                            ttelns 1=ti belqw must be _completed (see,iilstructitins on page 2).
      Check one box below for the case type that best describes this case:
     Auto Tort                                             Contract                                          Provisionally Complex Civil Lltigation
                                                                                                             (Cal. Rules of Court, rules 3.400-3.403)
     jjjjjjjjjJ Auto (22)                                  [jjjjjj] Breach of contract/warranty (06)
     L]         Uninsured motorist (46)                    [jjjjjjj Rule 3.740 collections (09)                  jJ Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property              Jjjjjjjjj Other coilections (09)                         Construction defect (10)
     DamagelWrongful Death) Tort                                                                             j       Mass tort (40)
                                                                    Insurance coverage (18)
     [jjjjjjjj Asbestos (04)                               Q        Other contract (37)                      Q      Securities litigation (28)
            Product liability (24)                                                                                 EnvironmentallToxic tort (30)
                                                           Rea[ Property
             Medical malpractice (45)                                                                        Q     Insurance coverage claims arising from the
                                                           Q       Eminent domain/Inverse
     [       Other PI/PD/WD (23)                                                                                   above listed provisionally complex case
                                                                   condemnation (14)
                                                                                                                   types (41)
     Non-PIIPD/WD (Other) Tort                             0       Wrongful eviction (33)                    Enforcement of Judgment
               Business tortlunfair business practice (07) 0       Other real property (26)                      j Enforcement of judgment (20)
               Civil rights (08)                           Unlawful Detainer
                                                                                                             Miscellaneous Civit Complaint
     Jjjj Defamation (13)                                    jjjjj Commercial (31)                           0      RICO (27)
     jjjjjjjjJ Fraud (16)                                          Residential (32)
                                                                                                                     Other complaint (not specified above) (42)
               Intellectual property (19)                          Drugs (38)
                                                                                                             Miscellaneous Civil Petition
               Professional negligence (25)                Judiciai Review
                                                                                                             [jjjjjjjj] Partnership and corporate govemance (21)
          Other non-PI/PD/WD tort (35)                     jjjjjjjjjj Asset forfeiture (05)
     Employment                                            0        Petition re: arbitration award (11)      jjjjjjjjjj Other petition (not specified above) (43)
     [~      Wrongful termination (36)                              Writ of mandate (02)
     ~~      Other employment (15)                                  Other judicial review (39)

2.  This case ®        is    (Tjjjjl is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a,.        Large number of separately represented parties        d. ,~' Large number of witnesses
         x
   b. jjjjjj1  Extensive motion practice raising difficult or novel e,, :® Coordination with related actions pending In one or more
              issues that will be time-consuming to resolve                      courts in other counties, states, or countries, or in a federal
   c. jj      Substantial amount of documentary evidence                         court
                                                                    f, Jjjjjjjj[ Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. 0          monetary b.;,'®, nonmonetary; declaratory or injunctive relief c. ~]x punitive
4. Number of causes of action (specify): 17
5. This case 0         is    ~ x is not      a class action suit.
6. If there are any known related cases, file and serve a notice of related case, (You may use
Date: 07/18/2024                                                                                   y
Andrew                                                                                                                 "~M',~"                     ~
                            (TYP_.E OR PRINT:NAtNE)a                                                   -   (SfGNATURE OF PARTY OR ATTORNEY FOR PABTY)


  • Plaintiff mList file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • Flle this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

Form Adopted for Mandatory Use                                                                                         Cal, Rules of Court, rules 2,30. 3.220, 3.400-3.403, 3,740;
  Judlclal Council ot Caliromfa
                                                               CIVIL CASE COVER SHEET                                          Cal, Standards of Judiclal Administratlon, sld. 3.10
CM-010 [Rev.Seplember 1, 2021)                                                                                                                                 envw.courts,ca.gov
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                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
To Plaintiffs and Others Fiiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      C ontract
                                                                                                   Provislonally Complex Clvil Litigatlon (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)
                                                                                                   Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease
                                                                                                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                        Contract   (not  unlawful  detainer         Construction Defect (10)
        case involves an uninsured             •                   or wrongful   evicb'on)                Claims Involving Mass Tort (40)
        moforisf claim subject to                        Contract/Warranty Breach-Seller
                                                                                                          Securities Litigation (28)
        arbitration, check this item                          Plaintiff (not fraud or negligence)
                                                                                                          EnvironmentaUToxic Tort (30)
        instead ofAuto)                                  Negligent Breach of ContracU
                                                                                                          Insurance Coverage Claims
  Other PI1PD/WD (Personal [n'u           /                   Warranty
                                     I ry                                                                       (arfsing from provlsfonafly complex
  Property DamagelWrongful Death)                        Other  Breach    of Contract/Warranty
                                                     Collections (e.g., money owed, open                        case fype listed above) (41)
  Tort                                                                                             Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)
                                                                                                       Enforcement of Judgment (20)
         Asbestos Property Damage                        Collection Case—Seller Plaintiff
                                                                                                            Abstract of Judgment (Out of
         Asbestos Personal Injury/                       Other  Promissory     Note/Collections
                                                                                                                 County)
               Wrongful Death                                 Case
                                                                                                       Confession of Judgment (non-
      Product Liability (not asbestos or            Insurance Coverage (not provisionally
                                                                                                            domestic relations)
          toxiclenvironmental) (24)                      complex) (18)
                                                                                                       Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation
                                                                                                       Administrative Agency Award
           Medical Malpractice—
                         p                               Other Coverage
                                                                                                           (not unpaid taxes)
                 Physicians & Surgeons               Other Contract     37
                                                                                                        Petition/Certification of Entry of
      Other Professional Health Care                    Contractual Fraud
                                                                                                            Judgment on Unpaid Taxes
              Malpractice                               Other Contract Dispute
                                                 Real Property                                          Other Enforcement of Judgment
      Other PI/PD/WD (23)                                                                                     Case
           Premises Liability (e.g., slip           Eminent Domain/Inverse
                                                                                                   Miscet[aneous Civil Complaint
                 and fall)                               Condemnation      (14)
                                                                                                        RICO (27)
           Intentional Bodfly Injury/PDNJD          Wrongful Eviction (33)
                                                                                                        Other Complaint (not specified
                 (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
                                                                                                             above) (42)
          Intentional Infliction of                     Writ  of Possession     of Real Property
                                                        Mortgage                                             Declaratory Relief Only
                Emotional Distress                                   Foreclosure
                                                                                                             Injunctive Relief Only (non-
           Negligent Infliction of                      Quiet Title
                                                                                                                  harassment)
                 Emotional Distress                     Other Real Property (not eminent
                                                                                                             Mechanics Lien
           Other PI/PD/WD                               domain,    landford/lenant,   or                     Other Commercial Complaint
 Non-PIIPD/WD (Other) Tort                              foreclosure)
                                                                                                                  Case (non-tort/non-complex)
      Business Tort/Unfair Business              Un[awful Detainer
                                                    Commercial (31)                                          Other  Civil Complaint
         Practice (07)                                                                                            (non-tort/non-complex)
      Civil Rights (e.g., discrimination,           Residential   (32)
                                                                                                  Miscellaneous Civil Petition
            false arrest) (not civil                Drugs (38) (if the case involves fllegal
                                                                                                       Partnership and Corporate
            harassment) (08)                        drugs,  check this item; otherwise,
                                                                                                            Governance (21)
     Defamation (e.g., slander, libel)              report as Commercial or Residentiai)
                                                                                                        Other Petition (not specified
             (13)                                Judicia[ Review                                            above) (43)
      Fraud (16)                                    Asset Forfeiture (05)
                                                                                                            Civil Harassment
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)
                                                    Writ                                                    Workplace Violence
     Professional Negligence (25)                        of Mandate     (02)
                                                                                                            Elder/Dependent Adult
         Legal Malpractice                              Writ—Administrative Mandamus
                                                                                                                 Abuse
         Other Professional Malpractice                 Writ—Mandamus on Limited Court
                                                                                                           Election Contest
               (not medical or legal)                       Case Matter
                                                                                                            Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                      Writ—Other Limited     Courtt Case
                                                                            eourase                         Petition for Relief From Late
 Employment                                                 Review
                                                                                                                 Clalm
      Wrongful Termination (36)                     Other Judicial Review (39)
                                                                                                            Other Clvil Petition
     Other Employment (15)                              Review   of Health Officer Order
                                                        Notise of Appeal-L.abor
                                                              CommissionerAppeals
CM-010 [Rev, Seplember 1, 2021]                                                                                                          Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear                                            -
This Form button after you have printed the form.           r Pfirlt thlS fO,RI     Save this fOr171                         CleaTfhls'ifQf itsi
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 short rtile:    CYt~thia Jones v. L'Oreal USA, Inc., et al.                                                          Case Number:
r
                                                       CIVIL CASE COVER SHEET ADDENDUM
                                THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                             [ ] Hayward Hail of Justice (447)
[](1 Oakland, Rene C. Davidson Alameda County Courthouse (446)                            [   ] Pleasanton, Gale-Schenone Hall of Justice (448)
Clvll Cai3e Covar
5h®at category.        ; Civil Case CoverBheet Case Type;          Alameda;County Case Type {check pnl 'one)                                             -
Auto Tort               Auta lort (22)                              [ J     34    Auto tort ((3)
                                                                   Is this an unfnsured motorist case7 j jyes                 no
Olher PI /PD /          Asbeslas (04)                               [)       75        Asbestos (D)
WD Tort                 ProduCt liability (24)                     '[ ]      89        Product Iiability ([_ol
                                                                                                           I asbestos or toxic lorUenvironmenlal) (G)
                        Medical malpractice (45)                    [)       97        Medical matpractice (G)
                        Other PIIPDAND tort (23)                             33        Other PIIPD/1ND tort (G)
Non • PI /PD /          Bus lort 1 unfalr bus. pracllce (07)        ( J      79        Bus tort / unfair bus. praclice (G)
VVD Tort                Civil rlghls (00)                           [ J      00        Civil rights (G)
                        Defamallon (13)                             ( J      84        Defamatlon (G)
                        Fraud (16)                                  ( J      24        Fraud (G)
                        Inlellec(ual property (19)                  I J      87        Inlellectual properly (G)
                        Professional negligence (25)                J J      59        Professional negligence - non-medical (G)
                        Other non-PIlPD/WD tort(35)                 (` (__03           Olher non-PUPD/WD lort G
Employment              Wrongful termlnation (36)                   J J    38          Wrongful termination (G)
                        Other emptoymenl (15)                       f)    85           Other employmonl (G)
                                                                    ( J      53        Labor comm award confirmation
                                                                             54        Nolice of ap eal - L.C.A,
Conlracl                Breach conlracl / Wrnly (06)                ( j      04        Breach contrac( / Wrrty (G)
                        Collec(ions (09)                            ( j      81        Colleclions (G)
                        Insuranec coverage (18)                     ( j      86        Ins. coverngc - non-cornplex (G)
                        Other contrect (37)                                  98        Olher contract (G)
Real Proporty           Eminerit domain I IrryCom (14)              [ j      18        Emincnt domaln I Inv Com (G)
                        Wrongful evicUon (33)                       ( J      17        Wrongful evlc(ion (G)
                        Other roal property (26)                    L J      36        Olhcr rcal pro ert (G)
                                                                                   •

Unlawful Delatner       Cornrnercial (31)                           ( J      94        Unlawful Delalner- commerclal            Is the deft. In possossion
                        Resldenllal (32)                            [' J     47        Unlawful Detalner- residen(lal            oftho proporty?
                        Drugs 38                                             21        Unlawful detainer drvgs                  j] Yes [] No
Judlclal Revlew         Asset lorfedure (D5)                        [ J      41 Asset (orteiture
                        Pellllon re: arbitrallon award (1 1)        [ 1      62 Pe(. re: arbltrallon award
                        Wrlt of Mandale (02)                        [ 1      49 Wrlt of mandale
                                                                   Is thls a CEQA action (Publ,Res.Code section 21000 01 seq) [] Yes [] No
                        Olher udlclal ievlew (39)                   l 1      84  O(her judlcial revlew
Provisionally           AntUrusl l Trade reguiallon (03)            [ J      77        Anlitrusl / Trade regulalion
Complex                 Cons(ruclion defect (10)                    []       82        Conslructiori defect
                        Claims Involving mass tort (40)             [ xJ     78        Claims involving mass torl
                        Securities litigatlon (28)                  ( 1      91        SecuriUes litlgation
                        Toxic torl ! Environmental (30)             i J      93        Toxic tort / Environmenial
                        lnscovrg from cmplx case lype (41)                   95        Ins covrg from complex case lype
Enforcemonl ol          Enforcement of judgrnenl (20)               (]       19        Enforcemenl of judgmenl
Judgment                                                                     08_       Confession of.'ud menl
rAisc Cornpialnl        RICO (27)                                   l J      90        RICO (G)
                        Parinershlp / Corp. governance (21)         l J      88        Parinership ! Corp. govemance (G)
                       1O1fier corn lalnt (42)                               e8:       AII othi;i curn lalnls G
Misc. Civll Pelllion    Other petltien (43)                         I j      06        Change of name
                                                                             69        Olher petlson
       202-19 (5!1/00)                                                                                                                                A-13
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                                                                                                        ReservedforClerKsFileStamp
                  SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF ALAMEDA                                                                           FILED
                                                                                                      S up Br lor C olJ rt of C a lri'or nl a
     COURTHOUSE ADDRESS:
                                                                                                           Countyof,a4lameda
    Rene C. Davidson Courthouse
    Administration Buildinq, 1221 Oak Street, Oakland, CA 94612                                               d71B024
     PLAINTIFF:                                                                              ~'iYadFllFie ~tlre                 rlGlzrkoftie (?au
     CYNTHIA L JONES                                                                                                        -
     DEFENDANT:
     L'Oreal USA. Inc., a corporation et al                                                                      D. Franklin
                                                                                                 CASE NUMBER:
                  NOTICE OF CASE MANAGEMENT CONFERENCE                                           24CV083993
    TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

    You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
    the filing of the complaint (Cal. Rules of Court, 3.110(b)).

    Give notice of this conference to all other parties and file proof of service.

    Your Case Management Conference has been scheduled on:


                                     Date: 11/15/2024           Time: 8:30 AM        Dept.: 23
                                     Location: Rene C. Davidson Courthouse
                                               Administration Building, 1221 Oak Street, Oakland, CA 94612

    TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

    The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
    required by law, you must respond as stated on the summons.

    TO ALL PARTIES who ,have appeared before the date of the conference must:

    Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
    must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
    Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
    Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
    Post jury fees as required by Code of Civil Procedure section 631.

    If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
    under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
    action.

    The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
    conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
    Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
    procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
Superior Court of California,                NOTICE OF
County of Alameda
ALA CIV-100 [Rev. 10/2021]
                                   CASE MANAGEMENT CONFERENCE
           Case 3:24-cv-06845-SI         Document 1         Filed 09/30/24         Page 256 of 256

                                                                                       ReservedforClerk•sFileStamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                            FILE D
                                                                                      5uperior Court of California
Rene C. Davidson Courthouse                                                              CountyofAdameda
1225 Fallon Street, Oakland, CA 94612                                                           07/18/2Q24
PLAINTIFF/PETITIONER:                                                          ciadPlike~iLe             rlCkikattie Court
CYNTHIA L JONES                                                                  ~~
DEFENDANT/RESPONDENT:                                                                            D. Franklin

L'Oreal USA. Inc., a corporation et al
                                                                               CASE NUMBER:
                        CERTIFICATE OF MAILING
                                                                               24CV083993

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Oakland, California, one copy of the original filedlentered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.



   Christopher R. Rodriguez
   SINGLETON SCHREIBER LLP
   1414 K St Ste 470
   Sacramento, CA 95814




                                                     Chad Finke, Executive Officer / Clerk of the Court

Dated: 07/22/2024                                     By:



                                                                   D. F'~n1+l'xi DeputpCle>}r




                                     CERTIFICATE OF MAILING
